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Exhibit 8
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           EXPERT REPORT, ANNA LEMBKE, M.D.
                                     August 1, 2020



                                    RELATING TO
  Cabell County Commission and City of Huntington, West Virignia, (The Cabell Huntington
  Community) v. AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson
                                      Corporation,
                      No. 1:17-op-45053-DAP and No. 1:17-op-45054
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               exposure to addictive drugs. Every human being has the potential to become
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               addicted include genetic, developmental, and environmental factors (nature,
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               increased, more people become addicted to and suffer the harms of that
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              component, characterized by neuroadaptive brain changes resulting from
              exposure to addictive drugs. Every human being has the potential to become
              addicted. Some are more vulnerable than others. Risks for becoming
              addicted include genetic, developmental, and environmental factors (nature,
              nurture, and neighborhood). One of the biggest risk factors for addiction is
              simple access to addictive drugs. When supply of an addictive drug is
              increased, more people become addicted to and suffer the harms of that
              drug. Prescription opioids are as addictive as heroin, and the Defendants’
              conduct in promoting increased supply and widespread access to
              prescription opioids has resulted in an epidemic of opioid addiction and
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           programs to give away free samples of opioids; coupons to discount
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                progression of harm (secondary prevention), and treat existing cases
                (treatment). These changes will require curbing opioid prescribing, re-
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A.     Background and Qualification

        1.     I am an Associate Professor, Chief of the Addiction Medicine Dual Diagnosis
Clinic, Medical Director of Addiction Medicine, and Program Director of the Addiction
Medicine Fellowship, in the Department of Psychiatry and Behavioral Sciences at Stanford
University School of Medicine. Since 2016, I also hold a Courtesy Appointment in the Stanford
University Department of Anesthesiology and Pain Medicine. I began my faculty career at
Stanford in 2003. A true copy of my current CV is attached to this Report as Exhibit A.

       2.      I received my undergraduate degree in Humanities from Yale University in 1989,
and my medical degree from Stanford University in 1995, where I also completed a partial
residency in Pathology (1997) and a full residency in Psychiatry (2000), as well as a Fellowship
in Mood Disorders, Department of Psychiatry and Behavioral Sciences (2002).

        3.       I have been licensed to practice medicine in the State of California from 1995 to
the present. I received the DEA-X waiver to prescribe buprenorphine products in 2013. I am a
diplomate of the American Board of Psychiatry and Neurology (2003; recertified, 2013), and a
diplomate of the American Board of Addiction Medicine (2013).

        4.      From 2001 to the present, I have taught medical students, residents, and fellows at
Stanford University School of Medicine, on a diversity of topics related to psychiatry, addiction,
and pain. For example, from 2004 to the present, I have given annual lectures on addiction
medicine within the Practice of Medicine (POM) series for Stanford medical students, including
topics such as the neurobiology of addiction, how doctors should intervene when they detect
substance use problems, and how to have difficult conversations with patients on the topic of
substance use, misuse, overuse, and addiction.

       5.       I received the Stanford Award for Excellence in Academic Teaching, Department
of Psychiatry, in 2014, and again in 2018.

        6.     In 2013 I founded and became the Training/Program Director for Stanford’s
Addiction Medicine Fellowship, a post-graduate sub-speciality training year in the treatment of
addiction for any medical graduate of a U.S. or Canadian medical school and ACGME-
accredited residency. In 2020 I was awarded the ASAM Training Directors Award “for
outstanding training in the evaluation, treatment, research and teaching of substance use
disorders.”

         7.     As a full time faculty at the Stanford University School of Medicine, I regularly
treat patients with addiction to opioids and other substances. For the last 15 years, my clinical
practice has included a significant proportion of patients taking prescription opioids for pain
relief, for whom such drugs have resulted in misuse, dependence, and addiction. As an integral
part of my practice, I work with these patients to develop treatment plans that will address their
pain while making appropriate efforts to reduce (taper) or eliminate use of opioids, and/or treat

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 their opioid addiction. Such plans can include non-opioid medications for pain, as well as
 alternative, non-pharmaceutical modalities, and counseling, with a dual focus on treating the
 underlying painful condition and the substance use disorder. I frequently collaborate with pain
 and primary care colleagues concerning populations with chronic pain and substance use
 disorders.

        8.     In 2015, I received the Stanford Chairman’s Award for Clinical Innovation for
 developing inpatient and outpatient clinical services dedicated to helping people with substance
 use problems.

        9.      In January 2015, I was appointed by Governor Jerry Brown to the Research
 Advisory Panel of California. I served on the Panel until 2017. I, along with the other Panel
 members, was tasked with assessing the safety of clinical trials to be conducted in the state of
 California using controlled substances, such as opioids. In this capacity, I applied my knowledge
 and experience to the review of study designs and protocols, and I made recommendations for
 procedures to protect patients in these trials, including, in particular, protection from potential
 harmful effects of opioids.

       10.    From 2015 to 2019, I served on the Board of the California Society of Addiction
 Medicine (CSAM). I have been a member of CSAM, and the American Society of Addiction
 Medicine (ASAM), since 2011.

        11.   In 2015-2016 I chaired the Planning Committee for the California Society of
 Addiction Medicine (CSAM) Annual Addiction Medicine Conference.

        12.    In 2016, I became president of the Addiction Medicine Fellowship Directors
 Association (AMFDA).

        13.   In 2016, I led a program funded by the Stanford Center for Continuing Medical
 Education (SCCME), titled, “Tapering Patients Off of Chronic Opioid Therapy.” 1

        14.    Since 2016, I have chaired the Addiction Medicine Task Force, Stanford
 University School of Medicine. The goal of the Task Force is to re-evaluate and re-create the
 medical school curriculum on addiction and safe prescribing of addictive substances. I have
 served as MedScholar Advisor on the topic of Developing the Addiction Curriculum at Stanford,

 1
   How to Taper Patients Off of Chronic Opioid Therapy, Stanford University School of Medicine,
 https://med.stanford.edu/cme/courses/online/opioid-taper.html. Chronic pain is frequently considered to be pain that
 lasts longer than 3 months. Dowell D, Haegerich TM, Chou R. CDC guideline for prescribing opioids for chronic
 pain—United States, 2016. JAMA 2016;15(15):1624–1645, at p. 1625.


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 Stanford University School of Medicine. The new medical school curriculum we have created
 includes didactics on the neurobiology of addiction, the treatment of addiction, the management
 of opioid prescribing in the setting of chronic pain, and the history and origins of the opioid
 epidemic.

         15.    In 2019, the Stanford Center for Health Education asked me to lead and design an
 online course on addiction for Stanford learners all over the world. I am in the process of
 developing this course, called “Psychology of Addiction and Recovery.” This course explores
 changing concepts of addiction through time, risk factors for addiction, and treatments for
 addiction including biological, psychological and public policy approaches. The course will be
 available beginning in August 2020.

        16.     I am the author of a book on the prescription drug epidemic: Drug Dealer, MD:
 How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop (Johns Hopkins
 University Press, 2016), 2 highlighted in the New York Times as one of the top five books to read
 to understand the opioid epidemic. 3

         17.     I have published over 100 peer-reviewed articles, chapters, and commentaries,
 which have appeared in the New England Journal of Medicine, Journal of the American Medical
 Association, Pain Medicine, Journal of General Internal Medicine, Addiction, and other peer
 reviewed journals. Many of these publications address the diagnosis and treatment of addiction,
 as well as the treatment of pain. I have also published articles on the importance of teaching
 addiction medicine in medical school, residency, and fellowship.

         18.    In 2016, I co-authored a peer-reviewed article, “Weighing the Risks and Benefits
 of Chronic Opioid Therapy,” which addressed issues of opioid misuse and addiction, risk
 assessment and mitigation, patient education, tapering to reduce or end opioid exposure,
 tolerance, dependence, and risks of overdose. 4 American Family Physician is among the most
 read family physician peer reviewed journals. The readership includes 32,000 medical students
 and over 3,700 nurse practitioner and physician assistant subscribers.

         19.     In 2016, I co-authored a Research Letter in JAMA Internal Medicine which
 examined Medicare data on opioid drug prescription patterns. Our analysis concluded that opioid
 prescribing is “a widespread practice relatively indifferent to individual physicians, specialty or

 2
  Lembke, Anna. Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why Its so Hard to Stop.
 Johns Hopkins University Press, 2016.
 3
  Abigail Zuger, A Doctor’s Guide to What to Read on the Opioid Crisis, N.Y.Times (Dec. 17, 2018)
 4
  Lembke A, Humphreys K, Newmark J. Weighing the risks and benefits of chronic opioid therapy. Am Fam
 Physician. 2016; 93(12):982-990.


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 region. High-volume prescribers are not alone responsible for the high national volume of opioid
 prescriptions. Efforts to curtail national opioid overprescribing must address a broad swath of
 prescribers to be effective.” 5 This article has been cited 108 times in the 4 years since its
 publication, 6 and demonstrates that the epidemic of opioid drug misuse and addiction is
 attributable to many prescribers, including but not limited to high-frequency prescribers, who are
 sometimes referred to as “pill mills.”

         20.    In 2016, I co-authored a Research Letter in JAMA Psychiatry on the high
 exposure to opioids among Medicare patients, the growing incidence of opioid use disorder in
 this population, and the lack of buprenorphine prescribers in this population, noting the gap
 between the need for treatment, and access to that treatment. 7

       21.   In 2018, I co-authored two articles in peer-reviewed pain journals on pain
 management of patients with chronic pain and opioid use disorder. 8,9

        22.     In 2019, I co-authored two articles in peer-reviewed journals on how to transition
 hospitalized patients with acute on chronic pain onto opioid agonist treatment while still
 managing pain. 10 Opioid agonist treatment refers here to buprenorphine, an opioid used to treat
 severe opioid use disorder, but which can be difficult to initiate due to its unique chemical
 properties.




 5
  Chen JH, Humphreys K, Shah NH, Lembke A. Distribution of opioids by different types of medicare prescribers.
 JAMA Intern Med. December 2015:1-3. http://dx.doi.org/10.1001/jamainternmed.2015.6662, at pp. 260-261.
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  “Distribution of opioids by different types of medicare prescribers” Google Scholar Results
 https://scholar.google.com/scholar?cites=3449278328675579417&as_sdt=2005&sciodt=0,5&hl=en (last accessed
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 7
  Lembke A, Chen JH. Use of opioid agonist therapy for medicare patients in 2013. JAMA Psychiatry. 2016;73(9).
 doi:10.1001/jamapsychiatry.2016.1390.
 8
  Harrison TK, Kornfeld H, Aggarwal AK, Lembke A. Perioperative Considerations for the Patient with Opioid Use
 Disorder on Buprenorphine, Methadone, or Naltrexone Maintenance Therapy. Anesthesiol Clin. 2018;36(3):345-
 359. doi:10.1016/j.anclin.2018.04.002.
 9
  Lembke A, Ottestad E, Schmiesing C. Patients Maintained on Buprenorphine for Opioid Use Disorder Should
 Continue Buprenorphine Through the Perioperative Period. Pain Med. 2018;(February):1-4.
 doi:10.1093/pm/pny019.
 10
   Raheemullah, A., Lembke, A. Initiating Opioid Agonist Treatment for Opioid Use Disorder in the Inpatient
 Setting: A Teachable Moment, JAMA Internal Medicine, 2019; 179(3):427-428. Raheemullah, A., Lembke, A.
 Buprenorphine Induction Without Opioid Withdrawal: A Case Series of 15 Opioid-Dependent Inpatients Induced on
 Buprenorphine Using Microdoses of Transdermal Buprenorphine. American Journal of Therapeutics, 2019; 0:1-7.

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        23.     In 2018 and 2020, I co-authored two articles in peer-reviewed journal on the risks
 of opioid and benzodiazepine co-prescribing. 11

          24.     I have devoted a significant portion of my professional career to the development
 of patient-centered protocols to reduce or discontinue opioid use among individuals for whom
 the risks of prescription opioids outweigh the benefits, including publication of such protocols
 for use by other clinicians, and my work in this area has been recognized by leading authorities. I
 have created a Stanford-supported, free, online, continuing medical education course on how to
 taper opioids in patients with chronic pain https://med.stanford.edu/cme/courses/online/opioid-
 taper.html. In September 2019, the United States Department of Health and Human Services
 (HHS) issued the HHS Guide for Clinicians on the Appropriate Dosage Reduction or
 Discontinuation of Long-Term Opioid Analgesics. On October 10, 2019, the Journal of the
 American Medical Association (JAMA) published a commentary about the HHS Guidelines,
 authored by officials of the United States Centers for Disease Control and the National Institute
 on Drug Abuse. 12 Authors of the HHS Guidelines asked for permission to include a decision-
 making “flow chart” from an article that I co-authored in the Annals of Internal Medicine in
 August 2019; that permission was granted, and the HHS Guidelines included an adaptation of
 our published decision tree, providing recommendations on how and when to taper patients from
 long-term opioid use. 13 In addition, in January 2020, American Family Physician published my
 article, “Tapering Long-Term Opioid Therapy,” which was offered to professionals for 6 hours
 of Continuing Medical Education (CME) credit, further documenting the acceptance of my work
 in this area. 14

       25.     I have testified before the United States House of Representatives on the opioid
 epidemic and possible means to mitigate harms caused by that epidemic, and I have presented at

 11
    Lembke, A., Papac, J., Humphreys, K. Our Other Prescription Drug Problem, N Engl J Med 2018; 378(8):693-
 695; Azad, Lembke, A. et al, Patterns of Opioid and Benzodiazepine Use in Opioid-Naïve Patients with Newly
 Diagnosed Low Back and Lower Extremity Pain, , J Gen Intern Med, 2019, 35(1):291-297. doi: 10.1007/s11606-
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    Dowell, et al., Patient-Centered Reduction or Discontinuation of Long-Term Opioid Analgesics. JAMA.
 2019;322(19):1855-1856. doi:10.1001/jama.2019.16409; Chou, et al., Rethinking Opioid Dose Tapering,
 Prescription Opioid Dependence, and Indications for Buprenorphine, Ann Intern Med. 2019;171(6):427-429; United
 States Department of Health and Human Services. HHS Guide for Clinicians on the Appropriate Dosage Reduction
 or Discontinuation of Long-term Opioid Analgesics. (October 2019);
 https://www.hhs.gov/opioids/sites/default/files/2019-10/Dosage_Reduction_Discontinuation.pdf at p. 3.
 13
    Chou, et al., Rethinking Opioid Dose Tapering, Prescription Opioid Dependence, and Indications for
 Buprenorphine, Ann Intern Med. 2019; 171(6):427-429. As discussed in this Report, it is essential to patients’ well-
 being that proper, patient-centered methods of tapering are followed, to reduce or eliminate opioid use without
 imposing unnecessary risks associated with rapid or formulaic discontinuation of these drugs.
 14
    Lembke A., Tapering Long-Term Opioid Therapy. Am Fam Physician 2020; 101(1):49-52.

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 numerous conferences before governmental, professional, academic and lay audiences on related
 topics.

         26.     Since the publication of my book, Drug Dealer, MD, I have been invited to make
 presentations to doctors, legislators, and the public, regarding the causes of the opioid epidemic
 and how we can combat it. A significant portion of my work in this area consists of describing
 the false and misleading messages promoted by the Pharmaceutical Opioid Industry as detailed
 in this Report, including but not limited to false representations of the risk of addiction,
 unsupported claims of long-term efficacy for chronic pain, downplaying the risks of dependence
 and withdrawal, and misinforming doctors about the extent to which opioid doses could safely be
 increased. As to all of these subjects, it has been my experience that audiences of professionals
 and lay persons alike continue to be misled by the decades-long campaign of misinformation
 promoted through the Industry's marketing of opioids. “Academic detailing” is the process of
 providing accurate information to medical providers about the risks and benefits of a drug, to
 balance and re-educate after exposure to one-sided and inaccurate messaging from the detailers
 who have conveyed Industry messages to those providers over extended periods of time. As
 noted by the Report of the Association of Schools and Programs of Public Health (ASPPH),
 issued in November 2019, there is a need for “extensive academic detailing and counter-
 detailing on opioids to correct the inaccurate and misleading claims previously made by the
 companies that manufacture those drugs, messages that continue to confuse or mislead some
 patients and prescribers.” 15 I began and performed my work in academic detailing before any
 connection or thought of involvement in litigation, and I continue in this role to counter the false
 and misleading marketing messages of the Pharmaceutical Opioid Industry.

         27.    In forming the opinions expressed in this Report, I have relied on my medical
 training, more than twenty years of clinical experience, and my own research on opioid
 prescribing. My research began circa 2001 and has been multimodal. I have done qualitative
 interviews with patients, providers, and others in the health care field on questions related to
 opioid prescribing. I have followed and analyzed the medical literature using PubMed and other
 academic search engines, along with different combinations of key words such as “pain, opioids,
 treatment, randomized clinical trials, open label trials, effectiveness, adverse effects, prescribing,
 addiction, dependence, overdose, etc. …” I have compiled statistics published by the CDC and
 other government agencies. I have, in collaboration with colleagues, analyzed opioid prescribing
 databases such as Medicare Part D. 16,17 As a regular and ongoing part of my practice, I conduct

 15
    Association of Schools & Programs of Public Health (ASPPH) Report, “Bringing Science to Bear on Opioids,”
 11/01/2019, at p. 21.
 16
    Chen et. al, “Distribution of Opioids,” fn. 5, above, at p. 259.
 17
      Lembke, et al., “Use of Opioid Agonist Therapy,” fn. 7, above, at p. 990.


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 literature searches of research on the subjects of addiction and pain treatment, which is essential
 to my work with my patients. Indeed, given the large and increasing role of opioid drugs in
 addiction, the fields of addiction and pain medicine are inevitably intertwined, such that it is
 essential to my practice to remain aware of the state of scientific inquiry in both fields.
 Specifically for this Report, I have considered the materials listed in Exhibit B, attached. I hold
 the opinions stated in this Report to a reasonable degree of scientific certainty.

        28.     Attached as Exhibit A is a copy of my current curriculum vitae and a list of all
 publications authored by me in the past 10 years.

        29.    Attached as Exhibit B is a list of data or other information considered by me in
 forming the opinions expressed herein.

          30.    Attached as Exhibit C is a statement of my compensation for services performed
 in this case.

          31.    Attached as Exhibit D is a list of all cases in which I have testified as an expert at
 trial or by deposition during the past four years.

 B.       Opinions

          For the reasons set forth in detail in this Report, I hold the following opinions:

             1.     The addictive nature of medicinal opioids has been known for centuries.
      The Pharmaceutical Opioid Industry’s misrepresentations of the safety and efficacy of
      prescription opioids reversed a century of appropriate restrictions on the use of these
      dangerous drugs, and substantially contributed to the current opioid epidemic.

             2.      Addiction is a chronic, relapsing and remitting disease with a behavioral
      component, characterized by neuroadaptive brain changes resulting from exposure to
      addictive drugs. Every human being has the potential to become addicted. Some are
      more vulnerable than others. Risks for becoming addicted include genetic,
      developmental, and environmental factors (nature, nurture, and neighborhood). One of
      the biggest risk factors for addiction is simple access to addictive drugs. When supply of
      an addictive drug is increased, more people become addicted to and suffer the harms of
      that drug. Prescription opioids are as addictive as heroin, and the Defendants’ conduct
      in promoting increased supply and widespread access to prescription opioids has
      resulted in an epidemic of opioid addiction and overdose death.




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           3.    Opioid prescribing began to increase in the 1980’s and became prolific in
   the 1990’s and the early part of the 21st century, representing a radical paradigm shift
   in the treatment of pain, and creating more access to opioids across the United States.

          4.      The Pharmaceutical Opioid Industry contributed substantially to the
   paradigm shift in opioid prescribing through misleading messaging about the safety and
   efficacy of prescription opioids. The Industry disseminated these misleading messages
   through key opinion leaders, medical school curricula, continuing medical education
   courses, clinical decision support tools, professional medical societies, the Federation of
   State Medical Boards, and the Joint Commission.

          5.     Opioid distributors collaborated with opioid manufacturers and
   pharmacies to promote sales of opioid pain pills. Such coordinated efforts included
   programs to give away free samples of opioids; coupons to discount opioids; and
   promotion of specific opioid products under the guise of education. These activities
   increased the population of opioid users, dose and duration of opioid use, and the risk of
   opioid misuse, addiction, dependence, and death.

           6.     No reliable scientific evidence shows that long-term opioid therapy is
   effective for chronic non-cancer pain.

          7.      The Pharmaceutical Opioid Industry misrepresented that the risk of
   addiction to prescription opioids is “rare,” or “less than 1%,” when in fact prescription
   opioids are as addictive as heroin, and the risk of addiction is far higher than stated by
   the Industry. The best, conservative data show an opioid addiction prevalence of 10-30%
   among chronic pain patients prescribed opioids.

            8.     Increased supply of prescription opioids contributed substantially to more
   individuals becoming addicted to opioids and transitioning from prescription opioids to
   illicit sources of opioids such as heroin and fentanyl (The Gateway Effect).

          9.      Increased supply of prescription opioids contributed substantially to more
   individuals, including newborns, becoming dependent on opioids, increasing their risk
   for opioid-related morbidity and mortality (The Dependence Effect).

          10.     Increased supply of prescription opioids contributed substantially to
   diversion of prescription opioids to individuals for whom they had not been prescribed
   (The Tsunami Effect).

          11.    The increased supply of prescription opioids through licit and illicit
   sources resulted in a prescription opioid epidemic in the United States. “Epidemic,”
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      defined as an outbreak of disease that spreads quickly and affects many individuals at
      the same time, is the appropriate term to describe the increase in opioid related
      morbidity and mortality beginning in the 1990’s and continuing to the present day.

             12.    Today’s opioid crisis would not have occurred without the overprescribing
      and excessive supply of opioids, which together contributed substantially to the scourge
      of addiction and death.

             13.     Ending the epidemic of opioid addiction, dependence, and death will
      require significant investment of resources. An effective strategy will be multifaceted,
      and will accomplish the following: prevent new cases of addiction, dependence, and
      other related harms (primary prevention), limit progression of harm (secondary
      prevention), and treat existing cases (treatment). These changes will require curbing
      opioid prescribing, re-educating patients and health care providers, creating de-
      prescribing clinics, promoting naloxone and other harm-reduction strategies, and
      building an enduring medical infrastructure to treat addiction.

 C.       Detailed Statement of Opinions

             1.     The addictive nature of medicinal opioids has been known for centuries.
      The Pharmaceutical Opioid Industry’s misrepresentations of the safety and efficacy of
      prescription opioids reversed a century of appropriate restrictions on the use of these
      dangerous drugs, and substantially contributed to the current opioid epidemic.

                  a.       Opioids are among the world's oldest known drugs. Use of opium from the
                           poppy plant for medical, recreational, and religious purposes can be traced
                           throughout history and across continents, beginning in the 4th century
                           B.C.. 18

                  b.       In the 19th century, two major scientific advances in medicinal opioids
                           had far-reaching consequences. In 1804, German pharmacist Friedrich
                           Serturner isolated morphine, an opioid alkaloid derived from opium and
                           ten times as potent. 19 In 1855, Alexander Wood invented the hypodermic
                           syringe, making possible fast easy administration of morphine. 20


 18
    Lembke A. Psychology of Addiction and Recovery. Lecture: History of Addiction (Stanford University,
 Fall/Winter 2020).
 19
    Meldrum ML. A capsule history of pain management. JAMA. 2003;290:2470-2475, at p. 2471
 20
    Lembke, “Drug Dealer MD”, fn 2, above, at p. 42. See also Meldrum, “Capsule history”, fn. 19, above, at p.
 2471.

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                  c.       It was assumed (wrongly) that opioids administered by a doctor using a
                           hypodermic syringe would not be addictive. During the Civil War, opium,
                           laudanum and hypodermic morphine were used extensively to treat
                           soldiers and Victorian housewives alike. Hypodermic morphine soon
                           became the major driver of American’s first opioid epidemic. Hundreds of
                           reports in late nineteenth century medical journals detailed iatrogenic
                           (physician-initiated) cases of morphine addiction. The risk of addiction
                           increased in cases where doctors continued to administer hypodermic
                           morphine over long periods of time for protracted illnesses. 21 The two
                           most important risk factors were exposure to opioids and a history of
                           chronic illness. In the 1870s and 1880s, America’s per capita consumption
                           of opioids tripled. 22

                  d.       The opioid addiction epidemic of the late 19th and early 20th century led to
                           ever-stricter laws and regulations regarding the prescribing and dispensing
                           of opioids in medical practice. 23 As a result, the first several decades of
                           the 1900s saw a steady decrease in the per capita consumption of
                           medicinal opioids. 24

                  e.       Medical training and education throughout the 20th century, save for the
                           last two decades, was filled with warnings about the addictive potential of
                           medicinal opioids, even to patients with severe pain and dire illness, but
                           especially when used long term in the treatment of chronic pain.
                           Physicians were urged to use opioids sparingly, for short duration, and
                           only in cases of severe trauma and at the end of life. 25 For example, a
                           peer-reviewed study published in 1954 concluded “Morphine is not the
                           answer to chronic pain. Because of the development of tolerance to the
                           analgesic effects of morphine, alleviation of pain becomes inadequate.
                           Under such circumstances the physician, by gradually withdrawing
                           narcotics, does not deprive the patient of any actual benefit but protects
                           him and his family from the possible legal, social, or economic difficulties
                           attendant on opiate addiction. The administration of morphine to a patient
                           with chronic pain is a short-lived type of kindness. Long-term kindness

 21
    Courtwright DT. “Dark Paradise: A History of Opiate Addiction in America”. Harvard University Press; 2001, at
 pp. 46-47.
 22
    Id. at pp. 2-3 and 62-63.
 23
    Lembke, “Drug Dealer MD”, fn. 2, above, at footnote p. 57.
 24
    Courtright, “Dark Paradise”, fn. 21, above, at p. 29
 25
    Lembke, “Drug Dealer MD”, fn. 2, above, at pp. 56-57.

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                          would begin when opiates are withheld or withdrawn in favor of other
                          therapeutic measures.” 26

                 f.       The current opioid epidemic in the United States, occurring almost exactly
                          100 years after the first major opioid epidemic, was ushered in by the
                          reversal of a century of prudential legislation and medical training. The
                          result, since the 1990s, has been a prolonged period of opioid
                          overprescribing with concomitant opioid addiction, dependence, and
                          overdose death. When Defendants claim that knowledge of the addictive
                          potential of medicinal opioids is new, they ignore 100 years of medical
                          experience, knowledge, and legislation. 27 The addictive nature of
                          medicinal opioids has been known for centuries.



             2.      Addiction is a chronic, relapsing and remitting disease with a behavioral
      component, characterized by neuroadaptive brain changes resulting from exposure to
      addictive drugs. Every human being has the potential to become addicted. Some are
      more vulnerable than others. Risks for becoming addicted include genetic,
      developmental, and environmental factors (nature, nurture, and neighborhood). One of
      the biggest risk factors for addiction is simple access to addictive drugs. When supply of
      an addictive drug is increased, more people become addicted to and suffer the harms of
      that drug. Prescription opioids are as addictive as heroin, and the Defendants’ conduct
      in promoting increased supply and widespread access to prescription opioids has
      resulted in an epidemic of opioid addiction and overdose death.

                 a.       Addiction is the continued use of a substance despite harm to self and
                          others and/or a desire to quit or cut back. The Diagnostic and Statistical
                          Manual of Mental Disorders (DSM-5) uses the term “substance use
                          disorder” to denote addiction. I use the terms “opioid addiction” and
                          “opioid use disorder” interchangeably here.




 26
    Rayport M. Experience in the Management of Patients Medically Addicted to Narcotics. JAMA - J Am Med Assoc.
 1954;156(7):684-691, at p. 690.
 27
    Lembke, “Drug Dealer MD”, fn. 2, above, at pp. 56-57

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                      b.    DSM-5 denotes 11 different criteria to diagnose opioid use disorder
                            (OUD) 28. A short-hand way to remember these criteria is the “four C’s”:
                            Control, Compulsion, Craving, and continued use despite Consequences.

                            i.     Control refers to out-of-control use, for example using more than
                                   intended, or an inability to cut back use when necessary.

                            ii.    Compulsion refers to mental preoccupation with using against a
                                   conscious desire to abstain.

                            iii.   Craving refers to physiologic and/or mental states of wanting.

                            iv.    Consequences refers to the social, legal, economic, interpersonal,
                                   and other problems that arise as a result of use, yet which still do
                                   not deter use.

                      c.    The physiological phenomena of tolerance and withdrawal are included in
                            the DSM-5 criteria, but they are not required in order to make the
                            diagnosis of opioid use disorder/addiction. In other words, tolerance and
                            withdrawal are recognized as separate physiologic phenomena often seen
                            in addiction, but not definitional for addiction. Further, under DSM-5, the
                            criteria of tolerance and withdrawal do not count toward a diagnosis of
                            addiction when a patient is prescribed opioids under the supervision of a
                            doctor, making it more difficult to diagnose addiction to prescription
                            opioids. As discussed later in this Report, Defendants influenced this
                            definition by characterizing dependence as a benign condition entirely
                            separate from addiction. In reality, dependence, withdrawal, and tolerance
                            are closely linked to the disease of addiction, and from a neurobiological
                            perspective, may be identical phenomena.

                      d.    The DSM-5 also recognizes that addiction is a spectrum disorder, divided
                            into mild, moderate, and severe, based on the number of criteria met. 29

                      e.    The American Society of Addiction Medicine (ASAM) has defined
                            addiction as follows: “Addiction is a primary, chronic disease of brain
                            reward, motivation, memory and related circuitry. Dysfunction in these

 28
  Diagnostic and Statistical Manual of Mental Disorders. (DSM-5) Washington, DC: American Psychiatric
 Association; 2013 at p. 541.
 29
      Id. at pp. 541-542.


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                           circuits leads to characteristic biological, psychological, social and
                           spiritual manifestations. This is reflected in an individual pathologically
                           pursuing reward and/or relief by substance use and other behaviors.
                           Addiction is characterized by inability to consistently abstain, impairment
                           in behavioral control, craving, diminished recognition of significant
                           problems with one’s behaviors and interpersonal relationships, and a
                           dysfunctional emotional response. Like other chronic diseases, addiction
                           often involves cycles of relapse and remission. Without treatment or
                           engagement in recovery activities, addiction is progressive and can result
                           in disability or premature death.” 30 This ASAM definition of addiction is
                           consistent with but not identical to the Diagnostic and Statistical Manual
                           of Mental Disorders, Fifth Edition (DSM-5). The ASAM definition does
                           not single out any specific substance, highlighting the idea that all
                           addictive drugs work on the same common brain pathway.

                  f.       From a neuroscience perspective, addiction is a disorder of the brain’s
                           reward circuitry. 31

                           i.       Opioids, in addition to binding the mu-pain receptors, also cause
                                    the release of the neurotransmitter dopamine. In order to
                                    accommodate the high amount of dopamine released, the brain
                                    adapts by downregulating its own endogenous dopamine and its
                                    own endogenous dopamine receptors. This process is called
                                    neuroadaptation, and the result is a dopamine deficit state, wherein
                                    the threshold for experiencing pleasure goes up, and the threshold
                                    for experiencing pain goes down. Addicted individuals then need
                                    the substance not to feel good, but to escape the pain of
                                    withdrawal.

                           ii.      In severe forms of addiction, individuals commit all available
                                    resources to obtaining more of the substance, even forgoing natural
                                    rewards like food, finding a mate, or raising children. 32 By

 30
   American Society of Addiction Medicine (ASAM) Definition of Addiction.
 https://www.asam.org/resources/definition-of-addiction; accessed June 20, 2018, at p. 1.
 31
   Koob GF, Volkow ND. Neurocircuitry of addiction. Neuropsychopharmacology. 2010;35:217-238.
 doi:10.1038/npp.2010.4.
 32
   Schultz W. Potential vulnerabilities of neuronal reward, risk, and decision mechanisms to addictive drugs.
 Neuron. 2011;69(4):603-617. doi:10.1016/j.neuron.2011.02.014.


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                                  hijacking the brain’s reward and motivational centers, addiction
                                  leads to compulsive, self-destructive consumption that overcomes
                                  the limits of voluntary choice. The cycle of neuroadaptation is
                                  illustrated below 33:




 33
   Volkow, ND., et al., Neurobiologic Advances from the Brain Disease Model of Addiction. N Engl J Med. 2016;
 374:363-371, Figure 1.


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                              Cycle of Neuroadaptation 34




             g.    Because addiction affects the same neural pathways evolved over millions
                   of years to encourage humans to seek out pleasure and avoid pain,
                   everyone is vulnerable to the disease of addiction.


 34
      Id.


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                           i.      Or as Nora Volkow, Director of the National Institute on Drug
                                   Abuse, and Thomas McLellan, former Deputy Director of the
                                   Office of National Drug Control Policy, wrote in their review
                                   “Opioid Abuse in Chronic Pain” in the New England Journal of
                                   Medicine (2016), “no patient is immune to addiction.” 35 Similarly,
                                   as stated by the CDC, “Anyone who takes prescription opioids can
                                   become addicted to them.” 36

                           ii.     Without activation by consumption of the drug, the disease of
                                   addiction does not exist. This is supported by studies that have
                                   identified a dopamine receptor deficit state among those exposed
                                   to addictive drugs, compared to healthy subjects who have not
                                   been exposed, as illustrated below. 37




 35
  Volkow ND, McLellan AT. Opioid Abuse in Chronic Pain - Misconceptions and Mitigation Strategies. N Engl J
 Med. 2016;374(13):1253-1263. doi:10.1056/NEJMra1507771, at p. 1254.
 36
    Centers for Disease Control and Prevention. Prescription Opioids.
 https://www.cdc.gov/drugoverdose/opioids/prescribed.html (last updated August 29, 2017)
 37
    Koob et.al, “Neurocircuitry,” fn.31, above, p. 223; Volkow ND, Fowler JS, Wang G-J, Swanson JM. Dopamine in
 drug abuse and addiction: results from imaging studies and treatment implications. Mol Psychiatry. 2004;9(6):557-
 569. doi:10.1038/sj.mp.4001507 at p. 557.


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                          The Effect of Addiction on Dopamine Receptors 38




                  h.       Exposure to/consumption of the addictive substance is a necessary
                           criterion for the development of addiction to that substance. One of the
                           biggest risk factors for becoming addicted to a substance is simple
                           exposure to that substance.

                  i.       The current opioid epidemic is a tragic and compelling example of
                           increased access leading to increased addiction and related death. The
                           nearly quadrupling of opioid prescribing between 1999 and 2012,
                           combined with widespread distribution of those opioids to every corner of
                           America, does not merely correlate with rising rates of opioid addiction
                           and related deaths, it is causative.


 38
   Volkow ND, Fowler JS, Wang GJ, Swanson JM, Telang F. Dopamine in drug abuse and addiction: results of
 imaging studies and treatment implications. Arch Neurol. (2007) 64:1575–9. 10.1001/archneur.64.11.1575 at p. 6.


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                             i.       A Task Force appointed by the Association of Schools and
                                      Programs in Public Health (ASPPH), issued a Report on November
                                      1, 2019, concluding, “The tremendous expansion of the supply of
                                      powerful (high-potency as well as long-acting) prescription opioids
                                      led to scaled increases in prescription opioid dependence, and the
                                      transition of many to illicit opioids, including fentanyl and its
                                      analogs, which have subsequently driven exponential increases in
                                      overdose.” 39 The report also stated that addiction, or Opioid Use
                                      Disorder, “is caused by repeated exposure to opioids.” 40 ASPPH
                                      consists of over 120 member institutions accredited by the Council
                                      on Education for Public Health, including including the West
                                      Virginia University School of Public Health . 41 The Task Force
                                      was appointed by the ASPPH board of directors, and was
                                      composed of 14 “recognized experts in the field.” I agree with
                                      these statements of the ASPPH Task Force, which are consistent
                                      with, and supportive of, the opinions I have expressed in this
                                      Report, and in my work prior to becoming involved in litigation
                                      related to the opioid epidemic.

                             ii.      In their 2017 report “Pain Management and the Opioid Epidemic:
                                      Balancing Societal and Individual Benefits and Risks of
                                      Prescription Opioid Use,” The National Academies of Science,
                                      Engineering and Medicine (NASEM) cited “heavy promotion of
                                      opioid prescribing by drug manufacturers (including misleading
                                      claims by some) and substantially increased prescribing” as
                                      contributors to the widespread availability and exposure to
                                      prescription opioids. 42

                             iii.     The NASEM Report also found that diversion is a key contributor
                                      to increased exposure to prescription opioids. Prescription drugs
                                      are diverted to nonmedical use in several ways: (1) diversion
                                      before a prescription has been filled (e.g., theft from production

 39
      ASPPH Report, “Bringing Science to Bear on Opioids,” fn.15, above, at p. 8 (emphasis added).
 40
      Id.at p. 10.
 41
      Id.at pp. 2-3, 56.
 42
  National Academies of Science Engineering and Medicine (NASEM). Pain Management and the Opioid
 Epidemic: Balancing Societal and Individual Benefits and Risks of Prescription Opioid Use; 2017.
 doi:10.17226/24781, at pp. 40-41 (emphasis added).


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                                    facilities or retail pharmacies), (2) diversion via the filling of a
                                    prescription (e.g., pursuant to doctor shopping and high-frequency
                                    prescribers, etc.) and (3) diversion after a prescription has been
                                    filled (e.g., by subsequent transfer or sale to a third party). “The
                                    DEA (2016b, p. 34) reports that in recent years, distributors in the
                                    United States disbursed 12–15 billion dosage units of opioid
                                    narcotics to retail-level purchasers, suggesting that total diversion
                                    is on the order of 2.5–4.0 billion dosage units.” 43 A Washington
                                    Post analysis of federal ARCOS data shows that from 2006-2014,
                                    more than 100 billion oxycodone and hydrocodone pills were
                                    delivered in the United States. 44 At the same rate of diversion
                                    reported by NASEM for the period it reviewed, that would
                                    represent diversion on the order of 15.8-25 billion pills during the
                                    nine year period from 2006-2014.

                            iv.     Likewise, decreased supply of addictive substances decreases
                                    exposure and risk of addiction and related harms. Two natural
                                    experiments in the last century tested and proved this hypothesis.
                                    The first was Prohibition, a nationwide constitutional ban on the
                                    production, importation, transportation, and sale of alcoholic
                                    beverages from 1920 to 1933, which led to a sharp decrease in the
                                    number of Americans consuming and becoming addicted to
                                    alcohol. 45 (There were other unintended consequences of
                                    Prohibition, but the positive impact on alcohol consumption and
                                    related morbidity is widely under-recognized.) Second, many
                                    soldiers in Vietnam during the Vietnam War became addicted to
                                    opioids, most of whom stopped using opioids on their return to the
                                    United States, where access was limited. 46

                       j.   Opioids are different from other addictive substances for the following
                            reasons:

 43
      Id. at p. 223.
 44
   Steven Rich, Scott Higham and Sari Horwitz More than 100 Billion Pain Pills Saturated the Nation over Nine
 Years, Washington Post, January 14, 2020.
 45
   Hall W. What are the policy lessons of National Alcohol Prohibition in the United States, 1920-1933? Addiction.
 2010. doi:10.1111/j.1360-0443.2010.02926.x, at p. 105.
 46
   Robins LN, Davis DH, Nurco DN. How permanent was Vietnam drug addiction? Am J Public Health. 1974;64(12
 Sup):38-43. doi:10.2105/AJPH.64.12_Suppl.38, at p. 40.


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                           i.      They are sold as medicine, normalizing their use and propagating a
                                   misleading safety profile, with devastating consequences.

                           ii.     They kill quickly, such that even a single exposure in an opioid
                                   naïve person can lead to death.

                           iii.    They create a debilitating dependence such that painful withdrawal
                                   leads to a vicious cycle of drug-seeking and withdrawal, as
                                   discussed in Section 9 of this Report, below.

              3.    Opioid prescribing began to increase in the 1980’s and became prolific in
      the 1990’s and the early part of the 21st century, representing a radical paradigm shift
      in the treatment of pain, and creating more access to opioids across the United States.

                  a.       Prior to 1980, doctors used opioid pain relievers sparingly, and only for
                           the short term in cases of severe injury or illness, during surgery, or at the
                           very end of life. 47 Doctors’ reluctance to prescribe opioids stemmed from
                           the legitimate concern that patients would get addicted.

                  b.       Opioid prescribing tripled between the 1990’s and 2012, and dramatically
                           increased in dose and duration. “By 2010, enough OPR [opioid pain
                           relievers] were sold to medicate every American adult with a typical dose
                           of 5 mg of hydrocodone every 4 hours for 1 month.” 48

                           i.      From 1996 to 2011 there was a 1,448% increase in the medical use
                                   of opioids, with increases of 690% from 1995 to 2004 and 100%
                                   from 2004 to 2011. Over the same time period, opioid misuse
                                   increased more dramatically: 4,680% from 1996 to 2011, with
                                   increases of 1,372% from 1996 through 2004 and 245% from 2004
                                   to 2011. The number of patients seeking treatment for opioid use
                                   disorder in this time period, not including heroin, increased 187%,
                                   whereas treatment-seeking increased 87% for heroin use disorder,
                                   40% for marijuana use disorder, and decreased 7% for cocaine use


 47
   Meldrum ML. Opioids and Pain Relief: A Historical Perspective (Progress in Pain Research and Management,
 V. 25). IASP Press; 2003, at pp. 195-199.
 48
   Paulozzi LJ, Jones CM, Mack K a, Rudd R a. Vital Signs: Overdoses of Prescription Opioid Pain Relievers ---
 {United States}, 1999–2008. MMWR Morb Mortal Wkly Rep. 2011;60(43):1487-1492,
 http://www.cdc.gov/mmwr/preview/mmwrhtml/mm6043a4.htm?s_cid=mm6043a4_w, at p. 1489.


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                                    disorder. 49 The increase in the medical use of opioid analgesics
                                    during this time period substantially contributed to increases in
                                    misuse and addictive use. The chart below, based on official
                                    government data, shows this close relationship 50:

        Rates of prescription painkiller sales and substance abuse treatment admissions
                                           (1999-2010)




 SOURCES: National Vital Statistics System, 1999-2008; Automation of Reports and Consolidated Orders System
 (ARCOS) of the Drug Enforcement Administration (DEA), 1999-2010; Treatment Episode Data Set, 1999-2009;
 Reproduced from Sullivan MD, et al., Opioid therapy for chronic pain in the US. Pain 2013; 154:S94-100, Fig.2.

                           ii.      A study by Paulozzi et al, published in 2006, analyzed death
                                    certificates from 1999-2002, and found that the most rapidly
                                    increasing category of death certificate-reported mortality was
                                    “opioid analgesic without heroin or cocaine,” which rose 129.2%
                                    in that time period, compared to deaths associated with heroin

 49
   Atluri S, Sudarshan G, Manchikanti L. Assessment of the trends in medical use and misuse of opioid analgesics
 from 2004 to 2011. Pain Physician. 2014, at p. E119.
 50
   Centers for Disease Control and Prevention. Prescription Painkiller Overdoses in the US infographic.
 https://www.cdc.gov/vitalsigns/painkilleroverdoses/infographic.html, (last updated November 1,
 2011).


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                                    alone (without prescription opioids or cocaine), which rose only
                                    23.7%, and cocaine alone, which rose 16%. 51 Paulozzi stated,
                                    “Overall, the relative increase in ARCOS opioid sales (76%) from
                                    1999 to 2002 was consistent with the relative increase in opioid
                                    poisoning (95%).” 52

                           iii.     The Paulozzi article also reported a 73% increase in opioid-
                                    analgesia-related emergency department visits between 1999-
                                    2002. 53 Paulozzi et al’s conclusion is that prescription opioids
                                    alone were the principal cause of death during the early years of
                                    the opioid epidemic 54, with illicit drugs becoming more prevalent
                                    in later years, in part due to the higher cost and/or lesser
                                    availability of prescription opioids.

                           iv.      A June 4, 2020 report of the West Virginia Attorney General
                                    shows that prescription opioid-related deaths were the first and
                                    primary driver of opioid-related deaths in West Virginia from
                                    2001-2015. The report notes, “heroin was associated with fewer
                                    than 70 overdose deaths a year until 2013, but (as shown in Table
                                    1), hydrocodone and oxycodone crossed that threshold by 2007.” 55

                           v.       “By 2005, long-term opioid therapy was being prescribed to an
                                    estimated 10 million US adults. The volume of prescribed opioid
                                    analgesics was 100 MME [Morphine Milligram Equivalent] per
                                    person in 1997; in 2007, the MME per person had increased to
                                    almost 700 MME.” 56 By 2017, the level of MME had declined




 51
    Paulozzi LJ, et. al. Increasing deaths from opioid analgesics in the United States. Pharmacoepidemiology and
 Drug Safety. 2006;15:618-627, at p. 621.
 52
    Id., at p. 624 See Appendix III to this Report, showing similar evidence for West Virginnia and Cabell County.
 53
    Id.
 54
    Id., at p. 626.
 55
    State of West Virginia Office of the Attorney General, “DEA’s Failure to Combat Diversion Cost Lives: results
 from the West Virginia Attorney General’s Investigation into the DEA’s catastrophic failure to manage the National
 Drug Quota System from 2010-2016, (June 4, 2020), at p. 3.
 56
    Paulozzi LJ, Weisler RH, Patkar A a. A national epidemic of unintentional prescription opioid overdose deaths:
 how physicians can help control it. J Clin Psychiatry. 2011;72(5):589-592. doi:10.4088/JCP.10com06560, at p. 589.


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                                      from its peak to 543.4 MME, which remains well over 5 times
                                      higher than the prescribing rate in 1997. 57

                              vi.     The number of long-term opioid users (daily for greater than 90
                                      days) increased between 1999 and 2014. “Of all opioid users in
                                      2013-2014, 79.4% were long-term users compared with 45.1% in
                                      1999-2000.” 58 The increase in long-term use is important, because
                                      increased duration of use is also directly correlated with risk of
                                      addiction. 59

                              vii.    Between 2006 and 2015, 66% of patients receiving an opioid
                                      prescription in an ambulatory (outpatient) care setting had a
                                      diagnosis of non-cancer pain, and 28% had no pain diagnosis at all.
                                      Only 5% of patients had a cancer-related pain diagnosis. Absence
                                      of a pain diagnosis was more common in visits where an opioid
                                      prescription was continued (30.5%) than those in which an opioid
                                      was newly prescribed (22.7%). 60

                              viii.   As reported in an article I co-authored in 2016, more than one-third
                                      of Part D Medicare enrollees fill at least one opioid prescription in
                                      any given year. Part D covers 68% of the roughly 55 million
                                      people on Medicare. 61 As such, more than 10 million Part D
                                      Medicare enrollees are exposed to a prescription opioid in any
                                      given year, thus becoming vulnerable to the adverse effects of
                                      opioids, including but not limited to addiction. Medicare represents
                                      just one patient population, suggesting that many millions of
                                      patient consumers in this country have been exposed to the risks of


 57
   Schieber LZ, Guy, GP, Seth P, et al. Trends and Patterns of Geographic Variation in Opioid Prescribing Practices
 by State, United States, 2006-2017. JAMA Netw Open. 2019;2(3):e190665, at p. 1.
 58
   Mojtabai R. National trends in long-term use of prescription opioids. Pharmacoepidemiol Drug Saf. 2017.
 doi:10.1002/pds.4278, at p. 526.
 59
   Edlund MJ, Martin BC, Russo JE, Devries A, Braden JB, Sullivan MD. The Role of Opioid Prescription in
 Incident Opioid Abuse and Dependence Among Individuals With Chronic Noncancer Pain. Clin J Pain.
 2014;30(7):557-564, at p. 557.
 60
  Sherry TB, Sabety A, Maestas N. Documented Pain Diagnoses in Adults Prescribed Opioids: Results From the
 National Ambulatory Medical Care Survey, 2006–2015. Ann Intern Med. 2018;169(12):892-894, at p. 892.
 61
      Lembke et al., “Use of Opioid Agonist Therapy”, fn.7, above, at pp. 990-991.


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                                        prescription opioids in recent decades, both within and outside the
                                        Medicare-eligible populations. 62

                               ix.      In an evaluation of over one million Medicaid enrollees, one out of
                                        five pregnant women (21.6%) filled an opioid prescription. From
                                        1992 to 2012, the proportion of pregnant women admitted to
                                        substance abuse treatment facilities that reported a history of
                                        prescription opioid addiction increased from 2% to 28%. 63

                       c.      As reported in another article I co-authored in 2016, increased opioid
                               prescribing is distributed across different types of prescribers, relatively
                               indifferent to individual physicians, specialty, or region. 64

                               i.       In other words, opioid overprescribing is not merely the result of a
                                        small subset of so-called “pill mill” doctors, although such doctors
                                        do exist and have contributed to the current epidemic. Doctors
                                        across diverse medical specialties are prescribing more opioids.

                               ii.      By specialty, pain doctors prescribe more opioids than doctors in
                                        any other specialties. However, by volume, family medicine and
                                        internal medicine doctors account for the most opioids, because
                                        there are more of them. 65

                               iii.     But the salient finding was that the increase in opioid prescribing is
                                        not explained by a minority of prolific prescribers alone. Rather,
                                        opioid prescribing has increased broadly across a variety of
                                        specialties. 66

                       d.      A recent peer-reviewed publication evaluated prescriptions and diagnoses
                               among enrollees in both commercial and Medicaid databases, and found
                               that of 99,395 commercially insured and 60,492 Medicaid patients with an

 62
    A recent study by Romman is consistent with our own findings, see e.g. Romman AN, et al. Opioid Prescribing
 to Medicare Part D Enrollees, 2013-2017: shifting responsibility to pain management providers. Pain Medicine.
 2020; 0(0): 1-9.
 63
    Krans EE, Patrick SW. Opioid Use Disorder in Pregnancy: Health Policy and Practice in the Midst of an
 Epidemic. Obstet Gynecol. 2016 July; 128(1): 4–10, at p. 4.
 64
      Chen et.al, “Distribution of Opioids”, fn.5, above, at p. 260.
 65
      Id. at pp. 259-260.
 66
      Id. at p. 260.


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                           OUD diagnosis between 2005-2015, “most enrollees with OUD in the data
                           had current opioid prescriptions.” 67 This supports the conclusion that
                           prescription opioids are intertwined with opioid addiction, and that the
                           paradigm shift in medicine toward liberal opioid prescribing has been a
                           major factor contributing to the increased supply which has fueled this
                           opioid epidemic.

                  e.       Although national average opioid prescribing has plateaued or decreased
                           since its peak in 2012, there are still many cities, counties, and states
                           across the nation where opioid prescribing continues to be high, and
                           overall opioid prescribing in the US remains at levels far exceeding pre-
                           1990 rates.

                           i.      The U.S. national average number of opioid prescriptions written
                                   in 2012 was 81 opioid prescriptions per 100 persons (255 million
                                   total prescriptions). By 2016, the U.S. national average had
                                   decreased to 66 opioid prescriptions per 100 persons (214 million
                                   total). In 2017, the prescribing rate had fallen to its lowest in more
                                   than 10 years, at 59 prescriptions per 100 persons (total of more
                                   than 191 million total opioid prescriptions). 68

                           ii.     However, prescribing rates in the United States are still greater
                                   than in the late 1990s, and greater than in other countries with
                                   comparable needs for analgesia. Further, in certain regions of the
                                   United States, opioid prescribing continues to remain very high,
                                   well above the national average. In 2017, according to the CDC,
                                   “In 16% of U.S. counties, enough opioid prescriptions were
                                   dispensed for every person to have one.” And “some counties had
                                   rates that were seven times higher than that.” 69



 67
    Ali MM, et al., Opioid Use Disorder and Prescribed Opioid Regimens: Evidence from Commercial and Medicaid
 Claims, 2005-2015. J Med Toxicol. 2019 Jul;15(3):156-168. doi: 10.1007/s13181-019-00715-0. Epub 2019 May 31,
 at p. 156.
 68
   Ctrs. for Disease Control and Prevention. U.S. Opioid Prescribing Rate Maps.
 https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html. See Appendix III to this Report, providing comparative,
 and substantially higher prescribing rates for West Virginia and Cabell County. In some years, the Cabell County
 prescribing rates were more than double the national average.
 69
      Id.


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                            iii.   Among 48 million individuals with any period of insurance
                                   coverage between January 2007 and December 2016, including
                                   commercial beneficiaries, Medicare Advantage beneficiaries aged
                                   65 years and over, and Medicare Advantage beneficiaries under
                                   age 65 years (eligible owing to permanent disability), data show
                                   that prescription opioid use and average daily dose measured at the
                                   individual level have not substantially fallen from their peaks.
                                   “Across all years of the study, annual opioid use prevalence was
                                   14% for commercial beneficiaries, 26% for aged Medicare
                                   beneficiaries, and 52% for disabled Medicare beneficiaries.” 70

                      f.    Opioid prescribing in the United States far exceeds that of other developed
                            nations with aging populations and comparable population needs for pain
                            relief.

                            i.     Using International Narcotics Control Board figures, the United
                                   States consumed 173,332 kilograms of 574,693 kilograms of
                                   opioids consumed globally (382,131.6 of 1,266,981.2 pounds), or
                                   30.2 percent. 71

                            ii.    Using “defined daily doses,” the United States consumed the most
                                   opioids per unit population from 2013 to 2015: 47,580 doses of
                                   narcotic drugs were consumed per day per million people. Canada
                                   comes in second with 34,444 defined doses consumed per million
                                   people per day, and Germany in third with 30,796; Japan was 50th
                                   at 1,223 defined doses/day. 72

              4.      The Pharmaceutical Opioid Industry contributed substantially to the
       paradigm shift in opioid prescribing through misleading messaging about the safety and
       efficacy of prescription opioids. The Industry disseminated these misleading messages
       through key opinion leaders, medical school curricula, continuing medical education
       courses, clinical decision support tools, professional medical societies, the Federation of
       State Medical Boards, and the Joint Commission.

 70
   Jeffery MM, Hooten WM, Henk HJ, et al. Trends in opioid use in commercially insured and Medicare Advantage
 populations in 2007-16: retrospective cohort study. BMJ. 2018;362:k2833. doi:10.1136/bmj.k2833, at p. 1.
 71
   International Narcotics Control Board, Narcotic Drugs Technical Report 2016, at pp. 200-203. See
 https://www.incb.org/incb/en/narcotic-drugs/Technical_Reports/2016/narcotic-drugs-technical-report-2016.html.
 72
      Id. at pp. 226-228.


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                   a.       The Pharmaceutical Opioid Industry targeted doctors and patients directly,
                            by promoting key opinion leaders, by infiltrating continuing medical
                            education courses, by supporting professional medical societies, and by
                            co-opting medical watchdog organizations like the Federation of State
                            Medical Boards and The Joint Commission, to convince prescribers and
                            the broader health care system that liberal opioid prescribing is based on
                            science, and that failing to prescribe opioids is tantamount to causing pain.
                            They misrepresented marketing as education and used flawed and biased
                            studies to achieve this goal. These misrepresentations were transmitted to
                            medical students, residents, and early career physicians, leading to a
                            paradigm shift in opioid prescribing, such that opioids became first-line
                            treatment for minor and chronic pain conditions. In fact, there has never
                            been sufficient evidence to justify widespread opioid prescribing. These
                            actions directly contributed to the opioid epidemic we face today. 73

                   b.       Key opinion leaders

                            i.       To encourage doctors to prescribe more opioids, opioid
                                     manufacturers promoted the careers of physicians who were
                                     sympathetic to their cause. They singled out vocal proponents of
                                     liberal opioid prescribing, especially for chronic pain conditions,
                                     and paid these physicians to promulgate the benefits and minimize
                                     the risks. 74

                            ii.      These ‘key opinion leaders’ and others, including the Defendant
                                     manufacturers, actively promoted a 1980 New England Journal of
                                     Medicine Letter to the Editor by Porter and Jick, entitled


 73
   As stated in a 2019 study, “The contribution of prescription opioids to the sharp rise in overdose deaths in the
 United States began in the late 1990’s and is primarily an iatrogenic problem, driven by an increase in opioid
 prescribing for persistent pain. The drivers of this increase are complex, including factors within the health care
 system (eg, adoption of the pain scale as the fifth vital sign, aligning physician incentive payments with patient
 satisfaction, pharmaceutical industry marketing) and public expectations for pain treatment.”Hedberg K, et al.
 Integrating public health and health care strategies to address the opioid epidemic: the Oregon Health Authority’s
 opioid initiative. Journal of Public Health Management & Practice. 2019;25(2):214-220, at p. 219 (emphasis
 added). As detailed in this section of the Report, the Pharmaceutical Opioid Industry promoted the “drivers”
 referenced in the quoted text, including the “fifth vital sign” and “patient satisfaction” based on pain scores.
 74
   Saper JR. The Influence of Pharma and Device Manufacturers on APS and other PMAs: A War Within a War.
 (MDL No. 2804 Saper Dep. Ex. 6, at pp. 3-4).


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                                        “Addiction Rare in Patients Treated with Narcotics.” 75 Porter and
                                        Jick described that among hospitalized patients taking opioids for
                                        pain, they found only four cases of addiction among 11,882
                                        patients treated with opioids. This letter was used as evidence by
                                        Defendants and key opinion leaders to argue that opioid addiction
                                        is rare in the course of medical treatment, despite the fact that the
                                        so-called evidence was of poor quality and not representative of
                                        patients seen in usual clinical care. The catch phrase “less than 1%
                                        get addicted,” based on this one data point, was used in opioid
                                        manufacturers’ branded advertisements and other promotional
                                        materials. (See Appendix I on promotional material.)

                              iii.      Significantly, the population in question in the Porter and Jick
                                        article is described as “hospitalized,” and receiving at least one
                                        dose of an opioid, without any reference to the size of the dose or
                                        range of duration of exposure. There is no reasonable basis to
                                        compare the risk of addiction among hospitalized patients who
                                        may have received only a single dose or short term course of
                                        opioid medication, with the far greater risk among patients
                                        prescribed opioids for non-cancer chronic pain, outside the hospital
                                        setting. This is especially true in light of the well-known
                                        relationship between longer duration of opioid exposure and
                                        increased risk of dependence and abuse. Despite the lack of
                                        reasonable or scientific basis for using Porter and Jick to support
                                        the concept of the “rarity” of addiction, Defendants and their key
                                        opinion leaders frequently cited this letter to the editor as if it
                                        provided sound scientific support for wide prescribing of opioids.
                                        (See Appendix I on promotional material.)

                                        A.       A 2017 study reported in the New England Journal of
                                                 Medicine found that the Porter and Jick letter had been
                                                 cited 608 times, compared to a median of 11 citations to
                                                 other letters published contemporaneously. The authors
                                                 stated: “In conclusion, we found that a five-sentence letter
                                                 published in the Journal in 1980 was heavily and
                                                 uncritically cited as evidence that addiction was rare with
                                                 long-term opioid therapy. We believe that this citation

 75
      Porter J, Jick H. Addiction rare in patients treated with narcotics. N Engl J Med. 1980;302(2):123.


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                                             pattern contributed to the North American opioid crisis by
                                             helping to shape a narrative that allayed prescribers’
                                             concerns about the risk of addiction associated with long-
                                             term opioid therapy. In 2007, the manufacturer of
                                             OxyContin and three senior executives pleaded guilty to
                                             federal criminal charges that they misled regulators,
                                             doctors, and patients about the risk of addiction associated
                                             with the drug. Our findings highlight the potential
                                             consequences of inaccurate citation and underscore the
                                             need for diligence when citing previously published
                                             studies.” 76

                                    B.       The following are examples of Pharmaceutical Opioid
                                             Industry-sponsored, inappropriate and misleading reliance
                                             upon the Porter and Jick letter: (i) In 1996, a Purdue
                                             Frederick-funded study reported that: “In three studies
                                             involving almost 25,000 patients without a history of drug
                                             dependence, there were only 7 cases of iatrogenic
                                             addiction.” 77 (Citing Porter and Jick and 2 other
                                             inapplicable studies by Perry and Medina, discussed in this
                                             Report at §4.b.viii -ix, below). Moulin et al. described the
                                             risk of addiction as “negligible.” 78 Purdue Frederick is
                                             listed as a grant supporter of the Moulin article. 79 (ii) In
                                             1997, Purdue published “I Got My Life Back” a brochure
                                             and video promoting a “less than 1%” addiction rate, citing
                                             to Porter and Jick (1980); 80 (iii) In 1998, a Janssen-funded
                                             study reported that a “low risk of iatrogenic psychological
                                             dependence has been observed in patients without a history
                                             of substance abuse” citing to Porter and Jick (1980); 81 (iv)
                                             A 2001 Janssen presentation, “Optimizing Chronic Pain
                                             Management with Duragesic,” cites Porter and Jick (1980)

 76
    Leung PTM, et al. A 1980 Letter on the Risk of Opioid Addiction. N Engl J Med. 2017; 376:2194-2195, at p.
 2194
 77
    Moulin DE et al. Randomised trial of oral morphine for chronic non-cancer pain. Lancet. 1996;347:143-147, at p.
 143.
 78
    Id., at p. 147.
 79
    Id.
 80
    PKY183063227 (brochure); PPLPC009000022561 (video transcript) (emphasis added)
 81
    Dellemijn PLI, et. al. Prolonged treatment with transdermal fentanyl in neuropathic pain. Journal of Pain and
 Symptom Management. 1998;16(4):220-229, at pp. 227-228. (emphasis added)

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                                         for “low” risk of addiction in non-addicts and states that
                                         “the potential for addiction is in the patient, not the
                                         opioid.”; 82 (v) In 2001, an Endo-sponsored KOL (Dr.
                                         Covington, Cleveland Clinic) presentation and handout
                                         titled “Opioid maintenance in chronic non-malignant pain”
                                         concluded that “Iatrogenic addiction in treatment of acute
                                         pain is virtually nonexistent” citing to Porter and Jick
                                         (1980); 83 (vi) In 2002, a Cephalon annual sales meeting
                                         presentation entitled, “The Myth of Addiction” concluded
                                         there was a “0.06% chance of becoming addicted” citing to
                                         Porter and Jick, 84 and directed its sales force: “Never Refer
                                         to Addiction when talking about opioids – especially
                                         Actiq!” 85 These examples demonstrate the point made in
                                         the 2017 NEJM article, that the Porter and Jick Letter was
                                         “heavily and uncritically cited as evidence that addiction
                                         was rare with long-term opioid therapy,” and “contributed
                                         to the North American opioid crisis by helping to shape a
                                         narrative that allayed prescribers’ concerns about the risk of
                                         addiction associated with long-term opioid therapy.” 86

                         iv.     An article by Portenoy 1986 co-author Foley and others stated,
                                 “We disagree with the concept of setting a maximum dose. The
                                 pharmacology of opioid use in the treatment of pain is based on
                                 dose titration to effect.” 87 This statement encouraged the practice
                                 of increasing the dose of opioids over time as tolerance developed.
                                 I have seen scores of patients over the years on very high doses of
                                 opioids, some as high as 2,000 morphine milligram equivalents per
                                 day (MED), putting them at high risk for opioid-related morbidity
                                 and mortality. Meanwhile, there is no reliable evidence to support
                                 the use of higher doses of opioids, and mounting evidence that
                                 risks of opioids are directly related to dose and duration: the higher
                                 the dose, and the longer patients are on them, the higher the risk.

 82
    JAN-MS-00653403 (December 14, 2001), at *66 (produced natively).
 83
    ENDO-OPIOID_MDL-02002494; ENDO-OPIOID_MDL-02002495 at slides 4-5 (emphasis added)
 84
    TEVA_AAMD_00791885 at 1901-1902 (emphasis added)
 85
    TEVA_AAMD_00791885 at 1887
 86
    Leung, “A 1980 Letter”, fn. 76, above, at p. 2194.
 87
    Foley KM, Fins JJ, Inturrisi CE. A true believer’s flawed analysis. Arch Intern Med. 2011.
 doi:10.1001/archinternmed.2011.166, at p. 867.

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                               v.       Edlund et al. state, “Clinicians should be aware that as they
                                        proceed from acute to chronic opioid therapy, the evidence of
                                        efficacy decreases whereas the opioid use disorder (OUD) risk
                                        increases substantially.” 88 The odds of developing an OUD in
                                        those exposed to opioids for 90 days or more, compared to those
                                        not exposed (odds ratio), are as follows: For low dose (1-36 MMEs
                                        per day), the odds ratio was 14.92 (95% CI = 10.38, 21.46); for
                                        medium dose (36-120 MMEs per day) the odds ratio was 28.69
                                        (95% CI = 20.02, 41.13); for high dose (> 120 MMEs per day) the
                                        odds ratio was 122.45 (95% CI = 72.79, 205.99). 89 Another way to
                                        say this is that patients exposed to 120 MMEs of opioids for 90
                                        days or more, were 122 times more likely to develop an opioid use
                                        disorder within the year than those not exposed to opioids.

                               vi.      These data from the Edlund study show that both dose and
                                        duration affect the risk of opioid use disorder. That is, the higher
                                        the dose, the greater the risk; and the longer the duration of
                                        exposure, the greater the risk. When both higher dose and longer
                                        duration are found, patients are 120 times more likely to suffer
                                        from opioid use disorder than patients who were not prescribed
                                        opioids.

                               vii.     Other articles cited by key opinion leaders and Defendants on low
                                        addiction rates in pain patient populations, included a national
                                        survey of burn facility staff with knowledge of >10,000 burn
                                        patients administered opioids, with no cases of iatrogenic addiction
                                        identified. 90 Burn debridement, consisting of the removal of dead
                                        tissue to promote healing, is a procedure carried out in a hospital
                                        setting. Mean administered morphine during the procedure was
                                        only 8.9 mg, a very low dose. Although the authors referred to
                                        continued narcotic therapy after debridement, no details were
                                        provided regarding dose or duration, and burn healing is inherently

 88
      Edlund, et al., Role of Opioid Prescription,” fn.59, above, at p. 561,
 89
    Id. at p. 559-60. As shown in Table 3 at p.561, based on Edlund’s data, the OR with increasing dose and duration
 is far greater than the OR for other factors, such as prior substance use disorders or psychiatric diagnoses.
 90
   Perry, S, Heidrich, G, Management of pain during debridement: A survey of U.S. burn units. Pain.
 1982;13(3):267-280, at. 267-77.
 http://ovidsp.ovid.com/ovidweb.cgi?T=JS&PAGE=reference&D=emed1a&NEWS=N&AN=1982178505.


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                                 a time-limited process unlike chronic arthritis, back pain, or other
                                 conditions for which Defendants promoted opioid therapy. As in
                                 the case of the Porter and Jick letter, the low risk of addiction for a
                                 short-term, hospital-based procedure and its limited sequelae are
                                 not comparable to the significant risk of addiction with long-term
                                 opioid therapy for chronic pain, and it is misleading to cite the
                                 burn study to support a claim of low addiction risk of opioids.
                                 Further, the study was not a priori designed to study addiction
                                 outcomes and did not use rigorous methodology to study this
                                 outcome.

                         viii.   Defendants and their key opinion leaders also cited a survey study
                                 of a large headache clinic by Medina, et al., in support of the claim
                                 that risk of addiction was low. 91 Sixty-two patients fulfilled
                                 criteria for inclusion in the study, in that they had been prescribed
                                 either a narcotic (codeine or propoxyphene), or a barbiturate
                                 (butalbital) or both. Thirty-eight of the 62 patients were treated
                                 with butalbital, a Schedule III medication in the class of
                                 barbiturates, and six were treated with propoxyphene (Darvon), a
                                 Class IV drug. The authors reported, “Eight were dependent; six
                                 physically addicted, two psychologically dependent and two were
                                 abusers . . . . There is danger of dependency and abuse in patients
                                 with chronic headaches.” Reliance upon the Medina study to
                                 suggest absence of risk appears to contradict the interpretation of
                                 the data by the authors themselves, who explicitly acknowledged
                                 the dangers. The authors also used conflated definitions of
                                 dependence, addiction, and ‘abuse’ not consistent with other
                                 studies or with DSM criteria of any edition; however, the finding
                                 that two patients were “psychologically dependent” would
                                 generally have been considered equivalent to a diagnosis of
                                 “addiction” at the time of the Medina article. In addition, the study
                                 did not use objective criteria for tracking misuse, such as urine
                                 toxicology or collateral information from family or the prescription
                                 drug monitoring database, which would have increased the
                                 investigators’ likelihood of identifying aberrant behavior.


 91
   Medina JL, Diamond S. Drug Dependency in Patients with Chronic Headaches. Headache J Head Face Pain.
 1977;17(1):12-14. doi:10.1111/j.1526-4610.1977.hed1701012.x, at pp. 1-2.


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                                ix.      Key opinion leader Dr. Russell Portenoy, former chairman of the
                                         Department of Pain Medicine and Palliative Care at Beth Israel
                                         Medical Center in New York City, conceded in 2011 that there was
                                         no reliable evidence to support the statement that opioids are ‘low
                                         risk.’ In a taped interview with Dr. Portenoy in 2011, Portenoy
                                         described his promotion of opioids in the 1990s and early 2000s: “I
                                         gave so many lectures to primary care audiences in which the
                                         Porter and Jick article 92 was just one piece of data that I would
                                         then cite. I would cite 6 to 7 maybe 10 different avenues of thought
                                         or evidence, none of which represents real evidence. And yet what
                                         I was trying to do was to create a narrative so that the primary care
                                         audience would look at this information in toto and feel more
                                         comfortable about opioids in a way they hadn’t before. . . .
                                         Because the primary goal was to de-stigmatize, we often left
                                         evidence behind.” 93 (emphasis added). Dr. Portenoy’s statement
                                         supports my opinion that there was no reliable evidence that
                                         opioids are low risk.

                                x.       Between 1997 and 2012, Dr. Portenoy received nearly $29,000 in
                                         direct payments from Janssen and its parent Johnson & Johnson
                                         (J&J), including $16,940 for “sponsored research”. 94 Dr. Portenoy
                                         spread his pro-opioid messages as President of the American Pain
                                         Society, and as a member of the boards of the American Pain
                                         Foundation and the American Pain Society, organizations that
                                         received funding from the Pharmaceutical Opioid Industry. 95 The
                                         many hundreds of thousands of dollars in Pharmaceutical Opioid
                                         Industry payments to individuals such as Dr. Portenoy are further
                                         evidence of Industry support for “key opinion leaders” whose work




 92
      Porter, Jick, et al., “Addiction Rare,” fn. 75, above.
 93
   Lurie J., Doctors Receive Opioid Training. Big Pharma Funds It. What Could Go Wrong? Mother Jones.
 https://www.motherjones.com/politics/2018/04/doctors-are-required-to-receive-opioid-training-big-pharma-funds-it-
 what-could-go-wrong/.
 94
      JAN-MS-00000001 at 0008.
 95
      Declaration of Russell K. Portenoy, M.D. in MDL 2804, at ¶ 37-40.


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                                  was used by the Industry to encourage opioid prescribing through
                                  aggressive misrepresentation of risks and benefits. 96

                          xi.     In a 2001 discussion regarding abuse reports relating to Duragesic,
                                  Janssen’s VP of Pain, Steve Zollo stated, “let’s be clear about this
                                  issue – As the use of Duragesic continues to rise (which it will), so
                                  will drug abusers trying to find creative ways to extract fentanyl
                                  from the patch. That’s why it’s a scheduled drug. As our use goes
                                  up, so will published reports of abuse.” 97

                          xii.    Yet in a 2001 Duragesic patient guide, Janssen made false and
                                  misleading statements regarding the addiction potential of
                                  Duragesic, stating that “addiction is relatively rare when patients
                                  take opioids appropriately.” 98

                   c.     Medical School Curricula

                          i.      In 2003, Purdue entered into an agreement with Harvard Medical
                                  School that provided for a significant financial contribution from
                                  Purdue to Harvard, as well as a cooperative arrangement between
                                  the two entities in developing curriculum and materials for
                                  instruction about pain management. In particular, Attachment B to
                                  the Agreement provides that (i) “Purdue Pharma shall be
                                  encouraged to suggest ideas for areas where education in the field
                                  of pain is needed, and for curriculum which might meet such
                                  needs”; (ii) “Purdue Pharma shall be encouraged to suggest ideas
                                  for CME [Continuing Medical Education] courses”; and (iii) with
                                  respect to the goals of the educational program, “Purdue Pharma
                                  shall be encouraged to make suggestions concerning such courses
                                  and materials.”



 96
    Senate Homeland Security and Gov Affairs Comm, 116th Cong., Report on Fueling an Epidemic Report Two:
 Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy Groups (2018) at pp. 10-11,
 https://www.hsgac.senate.gov/imo/media/doc/REPORT-Fueling%20an%20Epidemic-
 Exposing%20the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%20Party%20
 Advocacy%20Groups.pdf.
 97
      JAN-MS-00287030 at 7031.
 98
      JAN-MS-02757826 at 7847.


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                               ii.      I also personally experienced the influence of the pharmaceutical
                                        industry on the curriculum during my own medical education in
                                        the 1990s.

                      d.       Continuing Medical Education.

                               i.       The practicing physician relies on continuing medical education
                                        (CME) conferences to acquire state of the art knowledge about the
                                        latest scientific evidence in medical practice. The average clinician
                                        busy seeing patients cannot wade through the voluminous literature
                                        him or herself. Instead, (s)he attends CME conferences, and
                                        assumes that the knowledge disseminated there, especially by
                                        esteemed academic colleagues, represents unbiased research. The
                                        FDA hires independent auditors to review CME courses to make
                                        sure they’re following a blueprint and are free of pharmaceutical
                                        influence, but auditors are required to audit no more than 10% of
                                        all CME. 99 (See discussion of one example of an opioid CME
                                        designed by Mallinckrodt, in Appendix I)

                               ii.      Drug company–sponsored continuing medical education (CME)
                                        preferentially highlights the sponsor’s drug(s) compared with other
                                        CME programs. The average physician attending CME courses
                                        underestimates the influence of industry-sponsored speakers and
                                        industry-sponsored CME, which is considerable. Data show
                                        changes in prescriber practice in favor of the sponsor’s drug, after
                                        participation in an industry sponsored CME event. 100

                               iii.     Not only has drug-company involvement in continuing medical
                                        education programs become prolific generally over the past several
                                        decades, but Defendants employed CME as part of the strategy to
                                        deploy their message about opioids starting in the late 1990s and
                                        continuing to today. 101



 99
      Lurie, “Doctors Receive Opioid Training”, fn. 93, above, at p. 3.
 100
    Wazana A. Physicians and the pharmaceutical industry: Is a gift ever just a gift? JAMA. 2000;283(3):373-380.
 http://dx.doi.org/10.1001/jama.283.3.373, at pp. 373, 377-78.
 101
       Saper, “The Influence of Pharma,” fn. 74, above, at p. 2.


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                          iv.     The use of “Speakers Bureaus” of doctors, trained by a drug
                                  company to promote its product, is an adjunct to the CME strategy.
                                  “From 1996 to 2001, Purdue conducted more than 40 national
                                  pain-management and speaker-training conferences at resorts in
                                  Florida, Arizona and California. More than 5000 physicians,
                                  pharmacists, and nurses attended these all-expenses paid symposia,
                                  where they were recruited and trained for Purdue’s national
                                  speaker bureau. It is well-documented that this type of
                                  pharmaceutical company symposium influences physicians’
                                  prescribing, even though the physicians who attend such symposia
                                  believe that such enticements do not alter their prescribing
                                  patterns.” 102

                          v.      Teva/Cephalon Pharmaceutical’s “2005 ACTIQ Marketing Plan”
                                  tactical summary of sales strategies clearly delineate how they
                                  planned to use misleading marketing messages in the form of
                                  “continuing medical education” to promote their products,
                                  including their branded-fentanyl product “Actiq.” As explained in
                                  Appendix 1B of this Report, Teva/Cephalon’s strategy focused on
                                  persuading doctors of the need for ACTIQ as a supplement to
                                  chronic opioid therapy, to treat so-called “Breakthrough Pain,”
                                  (BTP) when in fact such patients likely sought greater doses of
                                  opioids because they had experienced “tolerance,” that is, they
                                  needed greater amounts of opioids to get the same degree of pain
                                  relief. See excerpted quotes below which describe
                                  Teva/Cephalon’s CME plan:

                                  A.       “ACTIQ marketing strategies will be executed through a
                                           variety of tactical initiatives that convey ACTIQ key
                                           messages and differentiate ACTIQ from its competitors
                                           based on its primary patient benefit, rapid onset of
                                           analgesia and pain relief.… Both promotional and
                                           continuing medical education programs will be
                                           implemented in 2005 and will continue to comprise a
                                           critical component of the tactical plan. New in 2005 is
                                           Emerging Solutions in Pain (ESP) which is an initiative
                                           developed by physicians for physicians, pharmacists and
 102
   Van Zee A. The promotion and marketing of oxycontin: Commercial triumph, public health tragedy. Am J Public
 Health. 2009. doi:10.2105/AJPH.2007.131714, at pp.221-22.

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                                   other healthcare professionals, to address some of the most
                                   critical issues in pain management today.” 103

                              B.   “Continuing Medical Education CME played a vital role in
                                   the education of physicians, nurses and pharmacists in 2004
                                   regarding chronic cancer pain and non-cancer pain and
                                   Abuse, Addiction and Diversion. The major CME
                                   initiatives in 2004 included a CME on-demand
                                   teleconference, local and regional CME symposia (CEP
                                   Lectures), a tri-mesterly newsletter entitled Emerging
                                   Solutions in Pain, a repository website by the same name
                                   EmergingSolutionsinPain.com, sponsorship of the
                                   Pharmacologic Management of Pain Resource Center on
                                   Medscape and the sponsorship of the Breakthrough Cancer
                                   Pain category on pain.com, the most popular pain website
                                   on the internet. Additional CME initiatives included a CME
                                   insert in CME-TODAY for Primary Care Physicians and
                                   CME Symposia at the annual congresses for AAPM,
                                   AAPM&R and the Northeast PRJ-MED .” 104

                              C.   “The local and regional CME Symposia represented one of
                                   the most significant educational efforts in the area of pain
                                   management in 2004. These symposia allowed for the
                                   scientific exchange of extensive information on diagnosis,
                                   assessment and management of various pain related issues.
                                   Approximately 214 of these programs are expected to be
                                   completed by year end.” 105

                              D.   “The tri-annual newsletter, Emerging Solutions in Pain,
                                   currently has a circulation of over 11,000 clinicians
                                   (8,000+ physicians and 2000+ nurses). The newsletter
                                   allows for communication of information on diagnosis and
                                   management of various pain types, in two distinct media:




 103
     TEVA_CAOC_00759630 at 9634.
 104
     Id. at 9664.
 105
     Id.

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                                             written and CD-ROM. The accompanying website serves
                                             as a repository for all CME programs created.” 106

                           vi.      I have personally experienced this strategy of marketing messages
                                    misrepresented as CME. For example, in 2001, every licensed
                                    physician in the state of California was mandated to attend a day-
                                    long CME course on the treatment of pain as a requirement to
                                    maintain licensure. I attended that day-long course, in which use of
                                    opioids was promoted. I recall that there was no accurate
                                    presentation of the risks of opioids, and the messages that were
                                    provided tracked the misconceptions described above regarding
                                    overstatement of the benefits of opioids.

                  e.       Clinical Decision Support Tools

                           i.       Clinical decision support (“CDS”) tools help doctors know when
                                    and how to provide certain types of treatments. They provide
                                    nudges based on flowcharts and algorithms, which are presumably
                                    based on hard science. They come in many different forms, from
                                    reminders on pocket cards, to infographics on wall posters, to
                                    prompts and alerts in the electronic medical record system. 107 If
                                    these tools are corrupted by commercial influence, they provide a
                                    very dangerous and insidious form of corruption because they are
                                    invisible to the consumer.

                           ii.      For example, in January 2020, Practice Fusion, Inc, a provider of
                                    electronic health records (EHRs) including CDS tools embedded
                                    within the EHRs, “admitted to conspiring with an opioid
                                    manufacturer to create a pain alert tool to encourage physicians to
                                    prescribe more extended release opioids,” and agreed to pay $145
                                    million to resolve criminal and civil allegations that it accepted
                                    ‘kickbacks’ in exchange for creating and implementing a CDS that
                                    promoted such prescribing. 108


 106
     Id.
 107
     U.S. Department of Health and Human Services. Clinical Decision Support. (April 10, 2018).
 https://www.healthit.gov/topic/safety/clinical-decision-support
 108
     Taitsman JK, et. al. Commercial Influences on Electronic Health Records and Adverse Effects on Clinical
 Decision Making. JAMA Intern Med. 2020;10.1001/jamainternmed.2020.1318.
 doi:10.1001/jamainternmed.2020.1318, at p. E1.

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                              iii.    According to an article in JAMA, “The resulting alerts promoted
                                      opioid prescribing that deviated from accepted medical standards
                                      by suggesting extended-release opioids as a treatment option for
                                      patients with less than severe pain, even if nonopioid or
                                      immediate-release opioid alternatives could have adequately
                                      controlled the pain. Physicians who received these pain alerts
                                      prescribed extended-release opioids at a higher rate than those who
                                      did not.” 109 A statement by the United States Department of Justice
                                      stated, “In marketing the ‘pain’ CDS alert, Practice Fusion touted
                                      that it would result in a favorable return on investment for the
                                      opioid company based on doctors prescribing more opioids.” 110
                                      Such prescribing exposed patients to increased risks of harms
                                      caused by prescription opioids.

                     f.       Professional Medical Societies

                              i.      According to Janssen’s response to a May 2012 US Senate Finance
                                      Committee request, between 1997-2012 Janssen and its parent J&J
                                      made payments to professional societies that advocated
                                      unwarranted expanded use of opioids, under the guise of practice
                                      guidelines, including the American Pain Society, the American
                                      Academy of Pain Medicine, Joint Commission Resources and
                                      others totaling more than $4 million dollars. 111 From 2012-2017,
                                      Janssen continued payments and close coordination with these
                                      groups, providing almost a half a million dollars in funding.
                                      Janssen also acknowledged making payments via a third party to
                                      front groups including the American Pain Society and American
                                      Academy of Pain Medicine. 112

                              ii.     Joel Saper, M.D., a past board member of the American Pain
                                      Society (APS), testified that the American Pain Society (APS)



 109
     Id.
 110
     US Department of Justice. Electronic Health Records Vendor to Pay $145 Million to Resolve Criminal and Civil
 Investigations (January 27, 2020). https://www.justice.gov/opa/pr/electronic-health-records-vendor-pay-145-
 million-resolve-criminal-and-civil-investigations-0
 111
     JAN-MS-00000001.
 112
       HSGAC Report, “Fueling an Epidemic”, fn. 96, above, at pp. 1, 17.


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                                      received financial support from the Pharmaceutical Opioid
                                      Industry, which he referred to as “narcopharma.” 113

                              iii.    Consistent with and supportive of my personal experience, Dr. Joel
                                      Saper testified that “the educational programs of AAPM
                                      [American Academy of Pain Management] and APS particularly as
                                      they involve opioid advocacy, were greatly influenced by
                                      commercial largess. In my opinion, commercial dynamics
                                      influenced, if not steered, the selection of abstracts, course topics,
                                      and faculty to commercially friendly participants as it involved
                                      opioid advocacy, largely ignoring those imposing or exhorting
                                      caution against the growing advocacy for opioids for chronic
                                      nonmalignant pain.” 114

                              iv.     Dr. Saper testified that such educational programs of AAPM and
                                      APS involving opioid advocacy were “inappropriate”, 115 and I
                                      agree.

                              v.      Dr. Saper further stated that “APS and AAPM and its members
                                      have participated, if not promoted, this crisis by failing to assure
                                      the presentation of unbiased, balanced educational programs and
                                      guideline development, thereby protecting the public from
                                      commercial influence through undisclosed support from the
                                      Pharmaceutical Opioid Industry. In failing to do so, the
                                      organizations failed to protect patients.” 116

                              vi.     In 2009, Janssen partnered with the American Geriatrics Society
                                      and American Academy of Pain Medicine to create a 2009 patient
                                      education guide entitled, “Finding Relief: Pain Management for




 113
   Saper JR. The Influence of Pharma and Device Manufacturers on APS and other PMAs: A War Within a War.
 (MDL No. 2804 Saper Dep. Ex. 6, at p. 5).
 114
       Deposition of Joel R. Saper, M.D., January 11, 2019, MDL No. 2804, at 92:13-22.
 115
       Id. at 93:15-19.
 116
       Id. at 115:24-116:6.


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                                     Older Adults.” 117 In 2010, Janssen paid the American Geriatrics
                                     Society more than $158,209 for “educational grants.” 118

                             vii.    The “Finding Relief” patients’ guide included the claims shown
                                     below. 119 These claims were false and misleading in that addiction
                                     to prescription opioids is common, not rare, and chronic use does
                                     not confer substantial benefit, as discussed later in this Report.




                             viii.   Further, an internal Purdue Pharma email from Richard Sackler to
                                     Paul Goldenheim, dated April 13, 2001, concerned a planned
                                     meeting with “leaders of APS, APF [American Pain Foundation]
                                     and other pain societies.” Dr. Sackler stated, “Our goal is to bind

 117
       HSGAC Report, “Fueling an Epidemic”, fn.96, above, at p. 13.
 118
       JAN-MS-00000001 at 0007.
 119
       JAN-MS-00000306 at 0315.


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                                   these organizations more closely to us than heretofore, but also to
                                   align them with our expanded mission and to see that the fate of
                                   our product(s) are [sic] inextricably bound up with the trajectory of
                                   the pain movement.” 120

                          ix.      These documents and testimony support my opinion that the
                                   Pharmaceutical Opioid Industry improperly supported the pro-
                                   opioid mis-education of medical professionals in order to increase
                                   sales of prescription opioids that resulted in an unprecedented
                                   epidemic of drug-induced mortality and morbidity. As I have
                                   written and stated elsewhere, doctors must bear some
                                   responsibility for the over-prescribing of opioids for chronic pain.
                                   However, the Pharmaceutical Opioid Industry bears the far greater
                                   share of the responsibility, for its role in promoting false messages
                                   of substantial benefit and low risk of opioids that influenced
                                   doctors to prescribe.

                   g.     The Federation of State Medical Boards

                          i.       The Federation of State Medical Boards (FSMB) is a national
                                   organization that oversees the 70 medical and osteopathic boards
                                   of the United States and its territories. The State Board
                                   organizations serve many functions, but the most important is to
                                   exert disciplinary action against doctors who are deemed
                                   dangerous to patients. One of the most severe forms of disciplinary
                                   action is to revoke a doctor’s license to practice medicine.

                          ii.      In 1998, the Federation of State Medical Boards released a policy
                                   to reassure doctors that they would not be prosecuted if they
                                   prescribed even large amounts of opioids, as long as it was for the
                                   treatment of pain. Further, the Federation urged state medical
                                   boards to punish doctors for under-treating pain. Doctors lived in
                                   fear of disciplinary action from the State Medical Boards and the
                                   lawsuit that usually followed, if they denied a patient opioid
                                   painkillers.

                          iii.     The Federation of State Medical Boards published a book
                                   promoting the use of opioid painkillers. This book was sponsored

 120
       PPLPC045000004928 at 4929

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                                        by a “consortium” that included Abbott Laboratories, Alpharma
                                        Pharmaceuticals, Cephalon, Inc., Endo Pharmaceuticals, and the
                                        Wisconsin PPSG. 121 (See Appendix II.)

                               iv.      As detailed in Appendix II to this Report, the Pharmaceutical
                                        Opioid Industry provided substantial funding to the Wisconsin
                                        PPSG, which lobbied State Medical Boards to increase access to
                                        opioids, preclude punishment if opioids were prescribed for pain,
                                        and classify undertreatment of pain as inappropriate conduct.
                                        PPSG played a central role in revising the Federation of State
                                        Medical Board’s Model Guidelines on the Use of Controlled
                                        Substances for Pain Management 122, now entitled Model Policy for
                                        the Use of Controlled Substances for Pain Management. 123

                               v.       The American Pain Society, funded and influenced by the
                                        Pharmaceutical Opioid Industry, supported University of
                                        Wisconsin Pain and Policy Study Group (PPSG) professors David
                                        Joranson and June Dahl to “visit boards of medicine in state after
                                        to state to argue the importance of lessening the regulation of
                                        doctors who prescribe opioids for cancer, acute, and end-of-life
                                        pain.” 124 In 1995, APS created a Regulatory Issues Committee and
                                        a Public Affairs Committee, with Joranson in a leadership role of
                                        both these Committees. 125 James Campbell, then President of APS,
                                        stated that “myths of liability for addiction” and “fear of
                                        government regulation” caused “underuse” of opioids for chronic
                                        pain. 126 These Committees had a mission to persuade State
                                        legislatures to ease restrictions on opioid prescribing, and to
                                        protect doctors from discipline for prescribing them. [Campbell
                                        asserted, “We need to train doctors and nurses to treat pain as a

 121
   Fishman, S.(ed.), “Responsible Opioid Prescribing: A Physician’s Guide” (Federation of State Medical Boards,
 Waterford Life Sciences, 2007).
 122
       WIS_PPSG_008292.
 123
    Federation of State Medical Board’s Model Guidelines on the Use of Controlled Substances for Pain
 Management (2004),
 http://www.fsmb.org/Policy%20Documents%20and%20White%20Papers/2004_model_pain_policy.asp
 124
       Saper, “The Influence of Pharma,” fn. 74, above, at p. 9.
 125
       Campbell 1995; APS Presidential Address; Pain Forum 1996; 85-88, at p. 87.
 126
       Id.

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                                   vital sign,” that hospitals’ standard of care should include measures
                                   of the facilities’ efforts to treat pain. 127. APS explicitly stated that
                                   it would seek “backing from industry,” along with the public and
                                   its members, for a pain “foundation,” to further its messages. 128
                                   These industry-funded efforts contributed significantly to the
                                   paradigm shift in opioid prescribing that gave rise to the opioid
                                   epidemic.

                          vi.      In addition to the indirect support by the Industry through the APS,
                                   direct financial support to PPSG was provided by the
                                   Pharmaceutical Opioid Industry, as revealed in documents
                                   produced by PPSG and summarized in Appendix II to this Report.
                                   Those documents show substantial contributions by several opioid
                                   manufacturers, including Janssen, Endo, Ortho-McNeil (an
                                   affiliate of Johnson and Johnson), Alpharma, 129 and Cephalon,
                                   over a period of over a decade, during which PPSG justified its
                                   recurring requests for further funding on the basis of its successful
                                   efforts to loosen restrictions on opioid prescribing by lobbying
                                   State Medical Boards, presentations at professional conferences,
                                   leading industry-friendly Continuing Medical Education seminars,
                                   and publications in the scientific literature. (See Appendix II to this
                                   Report).

                          vii.     The Pharmaceutical Opioid Industry and PPSG influenced states to
                                   adopt intractable pain laws that encouraged opioid prescribing by
                                   shielding physicians from liability. Although the statutes may
                                   have initially been intended for cancer, acute, and end-of-life pain,
                                   the statutes do not necessarily include any such limitations, and the
                                   West Virginia statute did not restrict its protective shield to those
                                   circumstances. 130 Intractable pain laws in various states, including
 127
     Id. at pp.86-87
 128
     Id. at p.87.
 129
     Actavis (now Allergan) acquired Kadian from Alpharma in 2008; see Press Release, Actavis, Actavis Acquires
 Kadian; Extends Specialty Drug Portfolio in U.S., (Dec. 30, 2008),
 https://www.businesswire.com/news/home/20081230005227/en/Actavis-Acquires-Kadian-Extends-Specialty-Drug-
 Portfolio.
 130
    WV Code § 30-3A-2 (1998), Limitation on disciplinary sanctions or criminal punishment related to management
 of intractable pain,
 http://www.wvlegislature.gov/Bill_Text_HTML/1998_SESSIONS/RS/Bills/HB4058%20ENR.htm. Code was
 updated in 2012 to remove reference to exceeding average dosage. See WV Code § 30-3A-2 (2012), Limitation on
                                                                          Footnote continued on next page
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                                   West Virginia, opened the floodgates to physicians’ prescribing
                                   more opioids, while insulating them from disciplinaryaction.. In
                                   particular, under the West Virginia Management of Intractable
                                   Pain Act of 1998, a physician was not subject to either disciplinary
                                   sanctions or criminal punishment for administering or dispensing
                                   pain-relieving controlled substances, even when the dosage
                                   exceeded the average dosage of a pain-relieving controlled
                                   substance. 131 J&J and Janssen worked with the Robert Wood
                                   Johnson Foundation (“RWJF”), which paid $5,926,294.00 in
                                   grants to the University of Wisconsin-Madison School of
                                   Medicine, the eventual home of the PPSG between 1997 and
                                   2004. 132 Dr. Richard Payne (co-chair of the National Pain
                                   Education Council (NPEC) with Russell Portenoy) was on the
                                   Janssen and RWJF medical advisory boards during overlapping
                                   periods. 133 NPEC was a Janssen-funded front group which Janssen
                                   launched in support of the Duragesic tactical plan. 134 RWJF also
                                   funded the creation and dissemination of the Model State
                                   Guidelines through the Federation of State Medical Boards and its
                                   collaboration with PPSG, and provided funding to The Joint
                                   Commission as well. 135

                           viii.   According to PPSG’s ranking system, West Virginia received a
                                   Grade of “C” in 2000; the Grade was “improved” to “B” in 2003
                                   and 2006; and ultimately “improved,” to a “B+” in 2012. 136
                                   According to PPSG, West Virginia and six other states “improved”
                                   their grade by repealing statutes that either mandated alternative

 Footnote continued from previous page
 disciplinary sanctions or criminal punishment related to management of pain,
 http://www.wvlegislature.gov/wvcode/Code.cfm?chap=30&art=3A.
 131
     Id.
 132
     MDL_RWJF_0000001: Grant ID 032037 for $1,601,991; MDL_RWJF_0000003: Grant ID 036509 for
 $998,000; MDL_RWJF_0000004: Grant ID 036547 for $998,865; MDL_RWJF_0000005: Grant ID 037589 for
 $1,408,628; MDL_RWJF_0000009: Grant ID 043412 for $200,450; MDL_RWJF_0000010: Grant ID 043940 for
 $421,800; MDL_RWJF_0000012: Grant ID 048204 for $183,680; MDL_RWJF_0000013: Grant ID 051813 for
 $112,880.
 133
       JAN-MS-00402671.
 134
       JAN-MS-00306713.
 135
       PDD1706042217.
 136
       PPLPC017000046138 at 6152; PPLPC017000514276 at 4282.

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                                    treatment before use of opioids, or stated or implied that opioids
                                    were a treatment of “last resort.” 137 These so-called
                                    “improvements” encouraged improper use of opioids, and the more
                                    recent Guidelines of the CDC and others have reversed the PPSG’s
                                    industry-funded accomplishments by encouraging the use of
                                    alternative treatments before opioids are employed. For example,
                                    the West Virginia “Best Practices Toolkit,” adopted in 2016, states,
                                    “One of our goals with these guidelines is to dramatically reduce
                                    the use of opioids as a first-line treatment option for patients with
                                    pain and significantly increase the use of non-opioid alternatives
                                    for these patients,” and further advises doctors to “[i]mplement a
                                    tiered approach for prescribing opioids for pain and take every
                                    possible step to utilize non-opioid options first.”138

                           ix.      Despite the absence of reliable evidence for the use of long-term
                                    opioid therapy in the treatment of chronic pain, the Pharmaceutical
                                    Opioid Industry sought to shame prescribers into opioid
                                    prescribing, by claiming that the ‘failure’ to prescribe opioids was
                                    tantamount to causing pain, and to scare them into prescribing by
                                    suggesting reprisal from regulatory bodies like The Federation. In
                                    their promotional material and “Train the Trainer” course,
                                    Defendants frequently invoked sources that characterized opioid
                                    prescribing as a moral obligation, and the failure to prescribe as the
                                    equivalent of causing pain, leading to legal sanctions. (See
                                    Appendix I for more detail)

                           x.       I remember that fear of ‘undertreating pain’ permeated medical
                                    practice and culture at this time. Doctors in some states were
                                    subject to the risks of disciplinary action from the board, and
                                    lawsuits that could follow, if they denied a patient’s request for
                                    opioids.

                  h.       The Joint Commission

                           i.       The Joint Commission on Accreditation of Healthcare
                                    Organizations (JCAHO), often simply referred to as “The Joint

 137
    PPLPC017000046138 at 6156.
 138
    West Virginia Attorney General, “Best Practices for Prescribing Opioids in West Virginia,” pp. 1, 2,
 http://ago.wv.gov/Documents/2016.08.19%20BP%20Prescribing.PDF. (emphasis added.)

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                                     Commission” (TJC), is a United States–based nonprofit tax-
                                     exempt 501(c) organization that accredits health care organizations
                                     and programs in the United States. The Joint Commission arose
                                     out of a movement in the 1950s to reform hospitals by looking at
                                     whether or not patients got better. JCAHO went through a
                                     consolidation of power over the years, combining multiple medical
                                     organizations under one roof, simplifying its name in 2007 to “The
                                     Joint Commission.” Its positioning statement is “Helping Health
                                     Care Organizations Help Patients.” 139

                             ii.     Today, having Joint Commission accreditation is required for
                                     many hospitals and clinics to remain licensed. Payment for
                                     services from the Centers for Medicare and Medicaid Services
                                     (CMS), the largest federally funded insurance program, is also
                                     contingent on TJC approval. TJC approval is obtained through
                                     periodic surveys.

                             iii.    In 2001, the Joint Commission made pain the fifth vital sign,
                                     alongside heart rate, temperature, respiratory rate, and blood
                                     pressure, and promoted the use of the Visual Analog Scale (VAS),
                                     a series of happy or sad faces supposedly corresponding to pain
                                     levels from 0 (no pain) to 10 (the most extreme pain). 140 The Joint
                                     Commission’s actions followed the prior advocacy of the “vital
                                     sign” campaign,that originated with the APS in 1995, as described
                                     above. The Joint Commission sold educational materials to
                                     hospitals so they could meet the standards of pain treatment that
                                     would be required to pass the next Joint Commission Survey.
                                     These materials included laminated cards and posters of the Visual
                                     Analog Scale of pain, as well as teaching videos promoting more
                                     liberal prescribing of opioids for pain, including misleading
                                     statements such as: “Some clinicians have inaccurate and
                                     exaggerated concerns about addiction, tolerance and risk of
                                     death. . . . This attitude prevails despite the fact there is no
                                     evidence that addiction is a significant issue when persons are
                                     given opioids for pain control.” 141 Per the GAO 2003 report,
 139
       The Joint Commission, http://www.jointcommission.org/.
 140
    Lembke, ”Drug Dealer MD”, fn. 2, above, at p. 66.
 141
    Catan T, Perez E., A Pain Drug Champion Has Second Thoughts. The Wall Street Journal. December 2012, at
 p.4.

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                                 “During 2001 and 2002, Purdue funded a series of nine programs
                                 throughout the country to educate hospital physicians and staff on
                                 how to comply with JCAHO’s pain standards for hospitals and to
                                 discuss postoperative pain treatment. Purdue was one of only two
                                 drug companies that provided funding for JCAHO’s pain
                                 management educational programs. Under an agreement with
                                 JCAHO, Purdue was the only drug company allowed to distribute
                                 certain educational videos and a book about pain management;
                                 these materials were also available for purchase from JCAHO’s
                                 Web site. Purdue’s participation in these activities with JCAHO
                                 may have facilitated its access to hospitals to promote OxyContin.”

                           iv.   On December 31, 2000, an internal Purdue email from Robin
                                 Hogen to Mortimer Sackler, MD, responded to Dr. Sackler’s
                                 assertion that more articles were needed “to help counteract the
                                 negative articles in the national media.” Hogen’s email, regarding
                                 press coverage of JCAHO pain guidelines, stated, “With respect to
                                 generating more articles about pain guidelines, we ‘loaned’
                                 JCAHO our PR firm (Fleishman Hillard) last year during the
                                 national roll out of the new standards. I suspect some of these
                                 stories which are now breaking at year-end were generated by
                                 media contacts made several months ago. We could certainly
                                 renew that grant ($75k) this year- to generate as much positive,
                                 unbranded publicity about the new pain standards and the chronic
                                 undertreatment of pain in America. Good idea.” This exchange
                                 supports my opinion that the Pharmaceutical Opioid Industry
                                 played a significant, insidious role in the epidemic of over-
                                 prescribing of opioids, by funding the widespread promotion of
                                 standards that mandated pain treatment, while the medical
                                 profession and the public were unaware of Industry’s hidden
                                 role. 142

                           v.    As noted above, J&J and Janssen worked with the RWJF to
                                 support the Wisconsin PPSG. These entities also worked together
                                 to provide funding to The Joint Commission (JCAHO).

                           vi.   The JCAHO and PPSG, financially supported by Janssen and
                                 RWJF, were instrumental in creating new pain treatment standards
 142
       PDD8801183361 at 3363.

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                                    that promoted increased opioid use as well as opioid-friendly
                                    prescribing guidelines in the early 2000’s.

                           vii.     A recent study shows that the Pharmaceutical Opioid Industry
                                    continues to spend vast amounts of money to promote their
                                    products and “consulting” relationships with influential doctors
                                    and educators. An analysis of CMS Open Payment data for non-
                                    research payments by companies marketing opioids to teaching
                                    hospitals from 2013-2018 found that “[o]verall, there were 444
                                    payments linked to opioid products totaling $7,023,140 (median
                                    value of individual payment $1348; IQR $245 to $20,291)… In
                                    addition to payments linked to opioids, we identified 5,168
                                    payments made by 22 companies marketing opioids which were
                                    not linked to any opioid or non-opioid product; the total value of
                                    these payments was $120.0 million.” 143 Of the $7 million linked
                                    to specific opioid products, $3.7 million of that was for “consulting
                                    fees”. 144 The products promoted at teaching hospitals include
                                    Endo’s Opana, Purdue’s OxyContin, Hysingla and Butrans and
                                    Janssen’s Nucynta. 145

                           viii.    My opinions stated above are consistent with, and supported by,
                                    the ASPPH Report referenced above, which found, “The medical
                                    community became more aggressive in its use of opioids in
                                    response to a multi-faceted Pharmaceutical Opioid Industry -
                                    funded campaign that downplayed opioid risks and exaggerated
                                    benefits,” and that “the opioid crisis was caused largely by
                                    deceptive marketing.” 146 The ASPPH Report also stated, “The
                                    opioid crisis can be directly tied to practices adopted and
                                    encouraged by opioid manufacturers and distributors. As such, the
                                    industry’s credibility is near zero . . . .” 147

                   i.      Examples of Misrepresentations: “Pseudoaddiction” and “Breakthrough
                           Pain”

 143
     Anderson TS et al. Financial payments to teaching hospitals by companies marketing opioids. J. General
 Internal Medicine (2019), at p. 1.
 144
     Id. at Table 2.
 145
     Id. at Table 1.
 146
     ASPPH Report, “Bringing Science”, fn. 15, above, at p. 7; emphasis added.
 147
       Id.at 32.


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                          i.      The Pharmaceutical Opioid Industry created promotional material
                                  misrepresented as educational material, and disseminated this mis-
                                  education through all the modalities described above, from key
                                  opinion leaders, to continuing medical education, to professional
                                  medical societies, to the Pain and Policy Study Group, to the
                                  Federation of State Medical Boards, to The Joint Commission.
                                  Misleading concepts such as “pseudoaddiction” and “breakthrough
                                  pain” provide two prominent examples.

                          ii.     Defendants mischaracterized addictive behavior as
                                  “pseudoaddiction.”

                                  A.      Based on a single case report of a patient who engaged in
                                          drug-seeking behavior, 148 doctors were encouraged to
                                          conceptualize the patient’s addictive behavior as evidence
                                          of under-treated pain. This case report was co-authored by
                                          David Haddox. The authors of the case report incorrectly
                                          asserted that treatment of pain is often inadequate because
                                          of “excessive fears of tolerance and dependence by both
                                          health professionals and the public,” 149 when in fact those
                                          fears were well-justified and should have been respected. In
                                          addition, since the conditions of addiction and dependence
                                          are common, their recommended treatment to continue
                                          administering or even increase opioids despite addictive
                                          behavior, undoubtedly put more patients at risk of
                                          becoming addicted or dependent.

                                  B.      There is no such thing as “pseudoaddiction,” and no
                                          evidence that providing more opioids is an appropriate
                                          response to patients exhibiting drug-seeking behavior. On
                                          the contrary, tolerance, dependence, and withdrawal,
                                          markers of neuroadaptation to the drug, constitute an
                                          adverse medical reaction and should trigger consideration
                                          of tapering the opioid medication, not increasing its dose.


 148
    Weissman DE, Haddox JD. Opioid pseudoaddiction--an iatrogenic syndrome. Pain. 1989; 36(3):363-366.
 http://www.ncbi.nlm.nih.gov/pubmed/2710565.
 149
       Id. at p. 365.


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                                   C.       In a review article on use of the term “pseudoaddiction,”
                                            the authors found, “By 2014, pseudoaddiction was
                                            discussed in 224 articles. Only 18 of these articles
                                            contributed to or questioned pseudoaddiction from an
                                            anecdotal or theoretical standpoint, and none empirically
                                            tested or confirmed its existence. Twelve of these articles,
                                            including all four that acknowledged pharmaceutical
                                            funding, were proponents of pseudoaddiction. In contrast,
                                            six articles, none with pharmaceutical support, questioned
                                            pseudoaddiction as a clinical construct.” 150 Further, the
                                            authors wrote, “In conclusion, we find no empirical
                                            evidence yet exists to justify a clinical ‘diagnosis’ of
                                            pseudoaddiction.” 151 I agree that there is no empirical
                                            evidence to justify a diagnosis of pseudoaddiction, and that
                                            use of this term was spread by the manufacturers of
                                            prescription opioids, with the explicit and dangerous
                                            message to doctors that more opioids should be prescribed.

                                   D.       To “correctly define addiction” the Pain and Policy Study
                                            Group (PPSG), discussed above, took consensus definitions
                                            from the Pharmaceutical-Opioid-Industry-funded American
                                            Society of Addiction Medicine, American Academy of Pain
                                            Medicine, and the American Pain Society. 152 Those
                                            included a definition of the term pseudoaddiction:
                                            “Pseudoaddiction is a term which has been used to describe
                                            patient behaviors that may occur when pain is undertreated.
                                            Patients with unrelieved pain may become focused on
                                            obtaining medications, may ‘clock watch,’ and may
                                            otherwise seem inappropriately ‘drug seeking.’ Even such
                                            behaviors as illicit drug use and deception can occur in the
                                            patient’s efforts to obtain relief. Pseudoaddiction can be
                                            distinguished from true addiction in that the behaviors
                                            resolve when pain is effectively treated.” 153 Thus, PPSG,

   Greene MS, Chambers RA. Pseudoaddiction : Fact or Fiction ? An Investigation of the Medical Literature. Curr
 150

 Addict Rep 2015:310-317. doi:10.1007/s40429-015-0074-7, at p. 310.
 151
       Id. at p. 314.
 152
       WIS_PPSG_002042, June 8, 2001.
 153
       Id.


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                                               an entity funded by the Pharmaceutical Opioid Industry,
                                               aligned with and promoted the Industry-supported view of
                                               “pseudoaddiction” as a real diagnosis for which more
                                               opioids were the prescribed treatment. (See Appendix II to
                                               this report). Dr. Portenoy later criticized the Pharmaceutical
                                               Opioid Industry’s use of the term pseudoaddiction. 154

                                      E.       The 1998 Industry-influenced guidelines of the Federation
                                               of State Medical Boards, discussed above, incorporate the
                                               concept of pseudoaddiction, 155 providing further evidence
                                               of industry’s influence over the FSMB.

                             iii.     Defendants mischaracterized tolerance as “breakthrough pain.”

                                      A.       “Breakthrough pain” is a supposedly heightened state of
                                               intermittent pain that exceeded the analgesic capacity of the
                                               patients’ underlying chronic opioid dose. On the contrary,
                                               ‘breakthrough pain’ is far more likely to represent the
                                               patients’ declining response to their prescribed opioids due
                                               to the well-established effect of tolerance, whereby a
                                               greater opioid dose is needed to attain the same effect over
                                               time; thus the addition of ACTIQ or other opioids for so-
                                               called “breakthrough pain” represented an increased opioid
                                               dose that added to patients’ risk of adverse effects.

                                      B.       Tolerance is the need for more and more of the drug to get
                                               the same effect. As the dose is increased to overcome
                                               tolerance to the pain relieving effects of the drug, patients
                                               are exposed to the other dose-dependent risks associated
                                               with the drugs, including the risk of death. Furthermore,
                                               tolerance to the respiratory suppressant effects (the ability
                                               of opioids to decrease breathing rate and thus blood
                                               oxygenation) develops more slowly than tolerance to the
                                               pain-relieving effects of the drug. As such, as the dose of
                                               opioids goes up to target pain relief, the breathing rate goes

 154
       Declaration of Russell K. Portenoy, M.D. in MDL 2804, at ¶ 44.
 155
   Federation of State Medical Boards. Model Guidelines for the Use of Controlled Substances for the Treatment of
 Pain (May 2, 1988), https://painpolicy.iu.edu/sites/default/files/sites/www.painpolicy.wisc.edu/files/model_0.pdf.


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                                              down, increasing the risk of accidental overdose and
                                              death. 156 Tolerance is not a short-lived phenomenon. It
                                              persists and renders the opioid largely ineffective for the
                                              underlying pain condition. Despite tolerance, patients often
                                              endorse ongoing subjective benefit from the opioid, not
                                              because it is treating underlying pain, but because it is
                                              relieving the pain of opioid withdrawal from the previous
                                              dose.

                                     C.       Once tolerance occurs, patients may experience opioid
                                              withdrawal multiple times a day between pain pill doses,
                                              and need higher and higher doses to avoid between-pill
                                              withdrawal. Tolerance, dependence, and withdrawal,
                                              markers of neuroadaptation to the drug, constitute an
                                              adverse medical reaction and should trigger consideration
                                              of tapering the opioid medication. Instead, in the 1990’s
                                              and early 2000s, Defendants’ promotional messages
                                              advised doctors that tolerance should be addressed by
                                              adding short-acting opioids to long-acting opioids for
                                              “breakthrough pain”, or by “rotating” to another opioid.

                                     D.       As explained more fully in Appendix I.B. to this Report,
                                              Defendants marketed opioids such as ACTIQ as “the ideal
                                              agent” for breakthrough chronic pain. 157 This promotional
                                              message was misleading and contributed to opioid over-
                                              exposure.

              5.     Opioid distributors collaborated with opioid manufacturers and
       pharmacies to promote sales of opioid pain pills. Such coordinated efforts included
       programs to give away free samples of opioids; coupons to discount opioids; and
       promotion of specific opioid products under the guise of education. These activities
       increased the population of opioid users, dose and duration of opioid use, and the risk of
       opioid misuse, addiction, dependence, and death.

                   a.       Opioid distributors worked in close collaboration with opioid
                            manufacturers and pharmacies to promote sales of opioid pain pills. The

 156
    Lembke, et al., “Weighing the Risks,” fn.4, above, at p. 987; Chou, et al., “Effectiveness and Risks,” fn. 204,
 below, at p. ES-25.
 157
       TEVA_CAOC_00759630 at 9633.

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                          claim that Distributors were indifferent transporters of opioid pain pills
                          between Manufacturers and Pharmacies (‘We’re just the trucks’) is refuted
                          by the many documents demonstrating a coordinated partnership to
                          promote prescription opioid consumption, as well as a quid pro quo
                          reimbursement structure. At every step in the supply chain, money flowed.
                          Theirs was a coordinated, psychologically sophisticated effort which
                          appeared on its face to be about helping patients save money, ‘overcome
                          barriers,’ and ‘adhere to medical treatment,’ but was in fact an elaborate
                          scheme designed to promote sales of specific opioid products.

                  b.      Distributors, Manufacturers, and Pharmacies collaborated to offer free and
                          discounted samples of dangerous and addictive opioids. As any drug
                          dealer can tell you, 158 free samples are a tried and true way to hook
                          consumers and secure future sales. Further, once patients become
                          dependent on opioids, their continued consumption is income and price
                          sensitive, making them vulnerable to discounted products. “An extensive
                          account of addiction as a rational response weighing marginal benefits and
                          marginal costs of consumption has been modeled in the economic
                          literature (Stigler & Becker, 1977; Becker & Murphy, 1988; Chaloupka,
                          1991; Iacconne, 1986). When a reduction in income is anticipated, it is
                          predicted that consumption will decrease. When subsidies are eliminated,
                          the reaction is similar to a decrease in income.” 159 By offering free
                          samples for prescription opioids, the Opioid Pharmaceutical Industry
                          created customers in the form of opioid-dependent patients, and then kept
                          them coming back with discounted prices. I observed these economic
                          factors exert their influence among my own patients. Prescription opioids
                          and illicit heroin/fentanyl are interchangeable in terms of their addictive
                          and euphoric effects, and my patients would commonly use whichever
                          opioid was more readily available at the lowest price.

                          i.       McKesson collaborated with Janssen to give away free fentanyl, an
                                   opioid that is 50 times more potent than heroin. Branded
                                   advertisements promoted the free-give-away of 5 x 25 mcg


 158
     “Drug Dealer Admits to Giving Free Sample.” https://www.herald-dispatch.com/news/drug-dealer-admits-to-
 giving-free-sample/article_ce289f74-e9c3-58ce-8cce-d7483e774627.html; dealer “admitted he provided the free
 sample of drugs to secure future sales…”
 159
     Roddy J, Steinmiller CL, Greenwald MK. Heroin purchasing is income and price sensitive. Psychol Addict
 Behav. 2011;25(2):358-364. doi:10.1037/a0022631

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                                   Duragesic fentanyl patches, claimed by submitting a voucher to
                                   McKesson. 160

                             ii.   The coordinated collaboration did not end there. On the back end,
                                   Janssen trained its sales reps to promote the free fentanyl patches
                                   to doctors, with language as follows:

                                   A.     “Physicians may be more inclined to try Duragesic because
                                          patients are now able to ‘sample’ Duragesic free of
                                          charge.” 161

                                   B.     “Sell the coupons like they are a third product and close for
                                          action. ‘Dr. Smith, do you feel that the Duragesic coupons
                                          will be helpful to you and your patients when you are ready
                                          to convert to a long acting, because they can try Duragesic
                                          for free?’” 162

                                   C.     “Pull out one coupon from the pack and explain each
                                          section of the coupon …. Explain that one coupon is good
                                          for one free box of five patches, which is fifteen days of
                                          treatment. Remind the doctors that the coupon must be
                                          accompanied by a written prescription.” 163

                                   D.     “Display the coupons in a prominent place for easy access
                                          and to help remind the doctors of the program. It is very
                                          important to explain to the staff that you will replenish their
                                          coupon supply every month. This is very important so the
                                          doctors do not save the coupons for special patients.” 164

                                   E.     “Be very enthusiastic about the coupons! Make the
                                          physicians feel special because they are a part of only a
                                          select few that have the opportunity to participate in this
                                          coupon program.” 165


 160
     MCKMDL00334317
 161
     JAN-TX-00066294.
 162
     Id.
 163
     Id.
 164
     Id.
 165
     Id. (emphasis in original)

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                                  F.       “I respond [to the doctor expressing reservations] by
                                           saying, ‘I believe that a patient in true chronic pain will try
                                           anything that you prescribe for them, because all the [sic]
                                           they want is pain relief. So, why not use a coupon that
                                           allows the patient to try Duragesic for free! You and the
                                           patient have nothing to lose.’” 166

                          iii.    McKesson partnered with Janssen to give away free and
                                  discounted Nucynta and Nucynta ER.

                                  A.       A “Nucynta ER/Nucynta New 10 Free Pills Program” from
                                           September 1, 2011 to December 31, 2012, gave patients
                                           free drug. 167 Per this document, where the “10 Free Pills”
                                           program was in place, “Average monthly claims [went] up
                                           198% over 2011.” 168 When an older “10 Free Pills”
                                           program was phased out, Nucynta claims went down. 169

                          iv.     2011 Purdue Dear HC Professional (McKesson): McKesson
                                  partnered with Purdue to distribute a “Butrans Savings Card.” 170

                 c.       Opioid Distributors collaborated with Opioid Manufacturers to advertise
                          specific opioid products.

                          i.      AmerisourceBergen collaborated with Janssen to advertise
                                  Nucynta for a fee of        for a 2 week marketing campaign:
                                  “Horizontal Banner Ad on ABC Order, the new product ordering
                                  and communication platform for AmerisourceBergen Drug
                                  Corporation customers.” 171

                          ii.     McKesson partnered with TEVA to promote ACTIQ and
                                  FENTORA including an agreement to “distribute three (3) e-mail
                                  messages promoting the products identified below to 7,000 retail



 166
     JAN-TX-00066294 at 6295.
 167
     JAN-MS-01071368 at 1399.
 168
     JAN-MS-01071368 at 1401.
 169
     JAN-MS-01071368 at 1408.
 170
     Purdue Pharma Butrans Product Alert, September 2011, http://rphmail.com/ch/2011/butrans_101411.html
 171
     ABDCMDL00002828

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                              pharmacy recipients” and “four hundred sixty three (463) mailers
                              to our top Independent Pharmacies.” 172

                       iii.   Cardinal Health partnered with TEVA to promote TEVA
                              products.Cardinal Health agreed to distribute, at Teva’s request,
                              “one (1) e-mail communication to approximately 105,000 retail
                              pharmacists and pharmacy technicians in Cardinal Health’s
                              eConnection program database that includes information on the CII
                              product launch.” 173 And “The communication distributed by
                              Cardinal Health will be prepared by Teva in accordance with the
                              specifications set forth below.” 174 Content “May include product
                              benefits, ordering information and website links. Teva to provide
                              the message to appear in the subject line of the email
                              communication.” “The cost to distribute the above one (1) e-mail
                                                                                              175
                              communication shall be

                       iv.    Cardinal Health partnered with Actavis to promote Kadian. 176

                       v.     McKesson Specialty Health Pharmaceutical & Biotech Solutions,
                              LP, collaborated with Purdue Pharma to advertise Butrans
                              Transdermal System in October 2016, for a fee of              .
                              McKesson “agrees to post Supplier’s graphical ad with a link to
                              Supplier’s Supplier Product website (https://www.butrans.com), on
                              McKesson’s online ordering portal, McKesson Connect. The
                              graphical ad will be posted for a total of four (4) weeks.” 177

                       vi.    AmerisourceBergen partnered with Purdue in 2008 to promote
                              Oxycontin’s “new items and the Rebate program”. 178

               d.      Opioid Distributors used sophisticated psychological methods to target
                       patients directly. McKesson trained pharmacists in Motivational



 172
     MCKMDL00353368 at3368.
 173
     CAH_MDL2804_00132726 at 2727.
 174
     Id.
 175
     Id.
 176
     ACTAVIS0220239
 177
     MCKMDL00353277
 178
     PPLPC004000146529 at 6530.

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                          Interviewing, 179 a form of individual psychotherapy originally conceived
                          to help addicted patients get into recovery. It is ironic that the Opioid
                          Pharmaceutic Industry used (is using) these techniques to get patients to
                          continue to take opioids, under the guise of promoting ‘medication
                          adherence.’

                                   i.       In 2012, McKesson collaborated with Janssen to promote
                                            Nucynta directly to customers using a phone program and
                                            face to face Motivational Interviewing at the “pharmacy
                                            counter.” 180

                                   ii.      McKesson’s Pharmacy Intervention Program’s stated goal
                                            was to “Increase patient adherence to prescribed drug
                                            therapy through a series of targeted ‘behavioral
                                            modification’ counseling sessions delivered at the
                                            pharmacy counter” 181 and a “Comprehensive McKesson
                                            team assembled to support pharmacy execution.” 182

                                   iii.     Of note, this intervention includes training pharmacists in
                                            Motivational Interviewing (MI), an advanced psychologic
                                            method of persuasion first developed to treat addiction. The
                                            pharmacies, in turn, were reimbursed for doing MI at “the
                                            counter.” “McKesson reimburses pharmacy for service
                                            provided.” 183 The below McKesson slide shows how the
                                            Pharmacy Intervention Program (“PIP”) worked 184:




 179
     Rollnick S, Miller W. What is Motivational Interviewing? Behavioural and Cognitive Psychotherapy.
 1995;23(4):325-334.
 180
     JAN-MS-01071368 at 1416.
 181
     Id.
 182
     Id.
 183
     JAN-MS-01071368 at 1417.
 184
     Id.

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                                  iv.   Branded content was camouflaged inside non-branded
                                        ‘educational’ content in the context of Motivational
                                        Interviewing. A slide in this document, shown below,
                                        shows a column on the left labeled “Pharmacy
                                        Training/Support” which includes “Motivational
                                        Interviewing CE Coursework,” next to a column on the
                                        right labeled “Brand Specific Kit Contents” which includes
                                        the following statement: “Manufacturer sponsors may elect
                                        to provide a piece of branded patient collateral.” 185



 185
       JAN-MS-01071368 at 1419.

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                                                   .




                                    v.   In 2013, McKesson promoted its Pharmacy Intervention
                                         Program by letting Purdue know about their “Pharmacy
                                         Brand Kit,” whereby Purdue could promote its product
                                         under the guise of education: “The Brand Specific
                                         Pharmacy Kit is mailed to each participating pharmacies
                                         prior to launch. This kit includes a Cover Letter and
                                         Coaching Guide. Purdue will have the opportunity to
                                         participate in the development and review all pharmacy
                                         materials specific to their program. The brand kit can also
                                         include any additional resources the pharmacist should read
                                         as well as patient brochures to hand out during the coaching
                                         session (Purdue would develop and provide).” 186 In other
 186
       PPLPC002000140782 at 0783.

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                                         words, the McKesson’s Pharmacy Intervention Program is
                                         a vehicle for opioid manufacturers to advertise their
                                         products.

                                 vi.     McKesson directly targeted patients as well as pharmacists.
                                         McKesson described its “US-based, healthcare-dedicated
                                         contact center” 187 which delivers “patient-centric
                                         behavioral coaching” 188 as part of its broader “Behavioral
                                         Call Campaign” wherein “Agents make outbound calls to
                                         patients in order to uncover personal barrier and provide
                                         appropriate messaging/content to help overcome those
                                         barriers.” 189 These efforts, claim McKesson, are “aligned to
                                         address Janssen’s needs.” 190

                                 vii.    As described in this email exchange between Cardinal
                                         executive Leslie Arend and Covidian executive Connie
                                         Kisinger on April 12, 2013, Cardinal’s own legal team
                                         expressed reservations about ads promoting the opioid
                                         product Exalgo: “I received word late this morning that due
                                         to some things with the DEA, our legal team made several
                                         changes to marketing programs with controlled substances.
                                         While we can feature Exalgo on the ordering platform, it
                                         was deemed that it could only be prompted by a search key
                                         word of ‘Exalgo’. The reason for this is legal has said that
                                         the pharmacist must actually be searching for the product in
                                         order to show the advertisement otherwise it may seem as
                                         though Cardinal Health is ‘pushing’ a controlled
                                         substance.” 191

                                 viii.   This document details how Purdue and McKesson
                                         proposed to thwart a trend they observed in 2013 in which
                                         patients were discontinuing opioids. 192 Many patients on
                                         opioids at this time had good medical reasons for

 187
      JAN-MS-01071368 at 1428.
 188
      Id. at 1427.
 189
      Id. at 1426.
 190
     Id. at 1424.
 191
      MNK-T1_0007819281
 192
      PPLPC002000140782

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                                          discontinuing opioids, including adverse medical
                                          consequences and serious risk of addiction and overdose
                                          death. Instead of helping patients with this goal, McKesson
                                          promoted maintaining and even increasing doses of
                                          Butrans: “In 2013, one of our commercial goals is to reduce
                                          discontinuation and improve patient adherence…. HCPs
                                          are initiating opioid-experienced patients inappropriately
                                          on the 5 mcg/hour when they should be initiated on the 10
                                          mcg/hour. These factors are negatively impacting patient
                                          adherence, and Marketing would like to execute the
                                          McKesson Pharmacy Intervention Program in order to
                                          reduce the Butrans discontinuation rate.” 193 This is another
                                          example of how Manufacturers and Distributors used
                                          ‘improving patient adherence’ as a proxy for boosting sales
                                          of a specific branded product.

               6.     No reliable scientific evidence shows that long-term opioid therapy is
       effective for chronic non-cancer pain.

                  a.      Through the aforementioned methods, and by relying on flawed and
                          industry-backed studies, the Pharmaceutical Opioid Industry encouraged
                          and promoted several misconceptions concerning opioid use, including
                          overstatement of benefits of long-term use for chronic pain. In fact, there
                          is not, and has never been, reliable evidence that long-term opioid use
                          improves pain or function to any clinically meaningful degree.

                  b.      The best evidence available suggests that there is little or no improvement
                          in pain or function for most patients on long-term opioid therapy. The
                          Industry further claimed that the failure to prescribe opioids led to the
                          “undertreatment of pain.” Whether or not pain was undertreated does not
                          change the fact that prescription opioids are an inappropriate method to
                          address that concern, due to the absence of evidence of long-term benefit,
                          and the strong evidence of unacceptable risk. 194 Patients often endorse
                          ongoing subjective benefit from the opioid, not because it is treating

 193
    Id.
 194
    As stated in the NASEM 2017 Report, “The very real problems of underdiagnosis and undertreatment of
 pain are valid concerns, but it would be a mistake to infer that greater utilization of opioids would
 ameliorate these problems,” due to the lack of evidence that opioids provide long-term benefits for chronic
 pain. NASEM Report (2017), fn. 42, above, at p. 51. (emphasis added).

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                           underlying pain, but because it is relieving the pain of opioid withdrawal
                           from the previous dose. Studies show that pain improves when patients on
                           chronic high dose opioid therapy reduce their dose or come off opioids.
                           Limiting opioid prescribing is good medicine, because it decreases
                           exposure to a dangerous and potentially lethal drug, without
                           compromising pain treatment.

                  c.       Scientific evidence of prescription opioids’ benefit for chronic pain has
                           been repeatedly described as “weak,” or “inconclusive.” Randomized,
                           placebo-controlled clinical trials, generally 12 weeks or less, were too
                           brief to support claims of long-term benefit, and non-randomized trials do
                           not provide reliable evidence of efficacy. Such evidence was inadequate to
                           support the widespread use of the drugs and the risks they imposed. Even
                           the 2009 Guidelines promulgated by advocacy groups funded by the
                           Pharmaceutical Opioid Industry admitted that evidence regarding chronic
                           opioid therapy was “insufficient to assess effects on health outcomes.” 195
                           Twelve-week studies of opioids are insufficient to assess their risks and
                           benefits, for the following reasons:

                           i.       Prescription opioids differ from other pain medications in
                                    important ways. In addition to providing acute pain relief, opioids
                                    also have unintended psychotropic effects (improved mood,
                                    increased energy, decreased anxiety), which make them more
                                    likely to be reinforcing and to lead to addiction. Patients with
                                    chronic pain can find opioids reinforcing, independent of whether
                                    they provide pain relief. 196 Although addiction to opioid painkillers
                                    can occur quickly in some individuals, for others, addiction may
                                    take weeks, months, or years to manifest, and duration of exposure
                                    is the most significant risk factor for addiction (see discussion of
                                    Edlund study, above). Hence, a true assessment of the risks of
                                    highly addictive drugs like opioid pain relievers (the molecular
                                    equivalent of heroin) requires a longer period of study than 12
                                    weeks.

 195
   Chou R. Clinical Guidelines for the use of chronic opioid therapy in chronic noncancer pain. Journal of Pain.
 2009;10(2):113-130 at p. 130.e5.
 196
   Matthias M, Donaldson MT, Jensen AC, Krebs EE. “I was a little surprised”: Qualitative Insights from Patients
 Enrolled in a 12-Month Trial Comparing Opioids to Non-Opioid Medications for Chronic Musculoskeletal Pain. J
 Pain. 2018: 1-9, at p. 1.


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                               ii.      According to a study of combat injury victims among military
                                        personnel, 6.8% developed an opioid addiction after a short-term
                                        prescription of opioids (within a 7-day discharge window). The
                                        median time to diagnosis of the opioid use disorder was 3 years. 197
                                        The authors state that this was “the first study to show that
                                        persistent opioid use after trauma is associated with the
                                        development of clinically recognized opioid abuse years after the
                                        initial injury.” 198 The long median time to diagnosis of opioid
                                        addiction reinforces the conclusion that industry-sponsored studies
                                        claiming a low risk of addiction are far too brief to provide
                                        reliable, real-world estimates of risk. 199

                               iii.     Naliboff et al., in their two-arm, randomized, pragmatic clinical
                                        trial comparing stable dose to escalating dose of opioid
                                        medications among 135 patients at a VA clinic in Los Angeles,
                                        “carefully selected” as appropriate candidates for chronic opioid
                                        therapy, nevertheless discharged 27% of patients over the course of
                                        the study due to opioid misuse/noncompliance. 200 Urine toxicology
                                        screens were included in the protocol. 201 The authors concluded,
                                        “Overall, this study confirms that even in carefully selected
                                        tertiary-care patients, substance misuse is a significant problem.
                                        Importantly, 40% of these misuse problems did not become
                                        apparent within the first 6 months, pointing out the need for studies
                                        of longer duration.” 202 (emphasis added). These data also support
                                        the need for ongoing monitoring for misuse and addiction in
                                        patients prescribed opioids long-term.

                               iv.      There are serious and certain risks associated with long-term
                                        opioid therapy, including but not limited to tolerance, dependence,
                                        withdrawal, opioid induced hyperalgesia (increased pain caused by
 197
    Beyer CA, Poltavskiy E, Walker LE et. al., Persistent Opioid Use After Combat Injury and Subsequent Long-
 term Risk of Abuse: a retrospective cohort study. Annals of Surgery, 2019; 1-9, at p. 1.
 198
       Id. at p. 3.
 199
       See discussion of industry-sponsored studies of addiction risk at Section C.7, below.
 200
    Naliboff BD, Wu SM, Schieffer B, et al. A randomized trial of 2 prescription strategies for opioid treatment of
 chronic nonmalignant pain. J Pain. 2011;12(2):288-296, at p. 288.
 201
       Id. at p. 291.
 202
       Id. at p. 295.


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                                   opioids), immunosuppression, serious constipation, depression,
                                   cognitive decline, cardiac effects, breathing effects, hormonal
                                   effects, addiction, accidental overdose, and death, reflecting a low
                                   benefit to risk ratio for long-term opioid therapy. 203 These risks
                                   increase with increasing dose and duration of the drug. 204 Hence,
                                   the high risks associated with opioids necessitate a longer study
                                   period to assess the true benefit-risk ratio for all patients.

                  d.      A series of reviews, including several in the Cochrane Database, a
                          collection of reviews that summarize the results of medical research, have
                          reached similar conclusions regarding the inadequacy of the scientific
                          evidence of long-term opioid therapy for chronic non-cancer pain.

                          i.       The 2010 Cochrane Review (Noble 2010) found that there was
                                   only “weak” evidence to support the use of opioids for chronic
                                   non-cancer pain. 205

                                   A.       “All of the evidence bases considered in this systematic
                                            review were of low internal validity and therefore at
                                            potentially high risk of bias.” Reasons for this assessment
                                            included the funding source (“Only two studies did not
                                            clearly have a funding source with a potential conflict of
                                            interest in the findings (e.g., drug company),” failure to
                                            compare characteristics of dropouts to those of patients
                                            who completed the studies, and failure to describe
                                            recruitment methods. The highest risk of bias existed for
                                            the “continuous outcomes” of pain relief and quality of life,
                                            because “high attrition rates affect both the risk of bias and


 203
     Lembke et al., “Weighing The Risks,” fn.4, above, at p. 985; see also Chou R, Deyo R, Devine B, et al. The
 Effectiveness and Risks of Long-Term Opioid Treatment of Chronic Pain. Evid Rep Technol Assess (Full Rep).
 2014;218(218):63. doi:10.23970/AHRQEPCERTA218 at p. ES-1; see also Edelman EJ, Gordon KS, Crothers K, et
 al. Association of Prescribed Opioids with Increased Risk of Community-Acquired Pneumonia among Patients with
 and Without HIV. JAMA Internal Medicine. 2018, at p. 298.
 204
    Chou R, Turner J a., Devine EB, et al. The Effectiveness and Risks of Long-Term Opioid Therapy for Chronic
 Pain: A Systematic Review for a National Institutes of Health Pathways to Prevention Workshop. Ann Intern Med.
 2015;162(4). doi:10.7326/M14-2559, p. 283.
 205
   Noble M, Treadwell JR, Tregear SJ, et al. Long-term opioid management for chronic noncancer pain. Cochrane
 Database Syst Rev. 2010;(1):CD006605. doi:10.1002/14651858.CD006605.pub2, p. 2.


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                               the generalizability of the results from the continuous data
                               outcomes.” 206

                         B.    At pp. 9-14, specific data on attrition were provided: For
                               the “strong opioid” category (categories described at p. 7),
                               including extended release morphine, controlled release
                               oxycodone, extended release oxymorphone, extended
                               release tramadol and methadone; for oral medications,
                               34.1% discontinued due to adverse effects 207 and 10.3%
                               discontinued due to insufficient pain relief 208, for a total of
                               44.4% who discontinued strong oral opioids. 209 Almost half
                               of all study participants dropped out of the study before it
                               was complete, yet their data was not included in the final
                               analyses.

                         C.    The review states that only 273 (58%) of those who began
                               the long-term extensions of short-term trials remained in
                               the study at the 6-7.5 month cut-off point where data were
                               available for all three oral opioid studies. “Because the
                               attrition rate is so high, the participants are likely highly
                               selected, and the data may be biased.” 210

                         D.    The authors report pain relief for those able to remain on
                               oral opioids for six months; however: “The strength of the
                               evidence supporting this conclusion is weak.” 211

                         E.    Quality of Life (QoL):

                               I.      For oral morphine: A single study (Allan, 2005),
                                       reporting a “small improvement on the mental
                                       subscale and a larger improvement of the physical


 206
       Id. at pp. 7-8.
 207
     Id. at p. 10
 208
     Id. at p. 13.
 209
     Id. at pp. 9-14.
 210
       Id. at p. 15.
 211
       Id. at p. 16.


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                                                  subscale” provided an “insufficient quantity of data
                                                  from which to draw conclusions.” 212

                                          II.     QoL improvement was “weakly supported” with
                                                  transdermal fentanyl (TDF). 213 For QoL with
                                                  intrathecal opioids, there were inconsistent findings
                                                  “No conclusions can be drawn.” 214

                                  F.      “Data describing long-term safety and efficacy of opioids
                                          for CNCP [chronic non-cancer pain] are limited in terms of
                                          quantity and quality. An evidence base consisting of low-
                                          quality studies provides only weak evidence from which to
                                          draw qualitative conclusions and only low-stability
                                          evidence from which to draw quantitative conclusions.”
                                          (Emphasis added.) 215

                                  G.      “Despite the identification of 26 treatment groups with
                                          4,768 participants, the evidence regarding the effectiveness
                                          of long-term therapy in CNCP was too sparse to draw firm
                                          conclusions.” 216

                         ii.      Another Cochrane Review of opioids in the treatment of chronic
                                  low back pain (CLBP) (Chaparro 2013) found, “There is some
                                  evidence (very low to moderate quality) for short-term efficacy
                                  (for both pain and function) of opioids to treat CLBP compared to
                                  placebo.” 217 (emphasis in original). Yet the authors make clear
                                  there is little or no evidence of opioid efficacy long-term.

                                  A.      “There are no placebo-RCTs supporting the effectiveness
                                          and safety of long-term opioid therapy for treatment of

 212
       Id. at p. 20.
 213
       Id. at p. 21.
 214
       Id. at p. 22.
 215
       Id. at p. 23.
 216
       Id. at p. 25.
 217
    Chaparro LE, Furlan AD, Deshpande A, Mailis-Gagnon A, Atlas S, Turk DC. Opioids compared to placebo or
 other treatments for chronic low-back pain. Cochrane Database Syst Rev. 2013.
 doi:10.1002/14651858.CD004959.pub4, at p. 2


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                                           CLBP . . . . We have no information from randomized
                                           controlled trials supporting the efficacy and safety of
                                           opioids used for more than four months. Furthermore, the
                                           current literature does not support that opioids are more
                                           effective than other groups of analgesics for LBP such as
                                           anti-inflammatories or anti-depressants.” 218

                                  B.       “The very few trials that compared opioids to non-steroidal
                                           anti-inflammatory drugs (NSAIDs) or antidepressants did
                                           not show any differences regarding pain and function. The
                                           initiation of a trial of opioids for long-term management
                                           should be done with extreme caution, especially after a
                                           comprehensive assessment of potential risks.” 219

                          iii.    Another Cochrane review (McNicol 2013) found: “While
                                  intermediate term studies all indicated that opioids were better than
                                  placebo, most studies were small, most were short, and none used
                                  methods known to be unbiased. All these features are likely to
                                  make effects of opioids look better in clinical trials than they are in
                                  clinical practice.” 220 Note that the McNicol review defined
                                  “intermediate” term studies as 35-84 days (i.e., 5-12 weeks).
                                  Accordingly, these so-called intermediate studies are actually 12
                                  weeks or less, therefore too brief to provide data relevant to
                                  efficacy for chronic pain, typically defined as lasting 12 weeks or
                                  more. 221

                          iv.     Another 2014 Cochrane Review reached similar conclusions:
                                  “Similar to previous systematic reviews of randomized trials on
                                  opioid therapy for non-cancer pain [cites omitted], we found that




 218
       Id.
 219
       Id.
 220
    McNicol E, Midbari A, Eisenberg E. Opioids for neuropathic pain (Review). Cochrane Database Syst Rev. 2013.
 doi:10.1002/14651858.CD006146.pub2, at p. 3
 221
       Id. at p. 13.


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                                        most of the trials included in our review had a treatment duration
                                        of several days or a few weeks only.” 222

                                        A.       “Although some of the newer trials in the update had
                                                 slightly longer treatment durations [cites omitted], in none
                                                 of the trials did the participants receive opioids for longer
                                                 than six months. This is still too short to address the impact
                                                 of opioid treatment on routine clinical practice in the
                                                 treatment of a chronic condition such as osteoarthritis.
                                                 While no evidence of long-term effects is available from
                                                 randomized trials, observational studies indicate that long-
                                                 term treatment with opioids of chronic conditions such as
                                                 osteoarthritis may have deleterious effects and do not seem
                                                 to improve pain relief [citation omitted].”223

                                        B.       Reviewers found that the “small mean benefit” was
                                                 “contrasted by significant increases in the risk of adverse
                                                 events. For the pain outcome in particular, observed effects
                                                 were of questionable clinical relevance since the 95% CI
                                                 [confidence interval] did not include the minimally
                                                 clinically important difference” of 0.9 cm on a 10 cm visual
                                                 analog scale. 224

                                        C.       The 2014 Cochrane Review included studies of tapentadol,
                                                 as well as several other opioids. In particular, a study of
                                                 tapentadol by Afilalo, et al., was among the studies as to
                                                 which the Cochrane Review found too little evidence of
                                                 benefit to justify the risk. 225 Afilalo compared tapentadol
                                                 ER 100-250 mg twice daily against placebo or oxycodone


 222
   da Costa BR, Nuesch E, Kasteler R, et al. Oral or transdermal opioids for osteoarthritis of the knee or hip
 (Cochrane Review). 2014, at p. 28.
 223
       Id.
 224
     Id. at p. 2. Some authors have endorsed a “Minimal Important Difference” of 1.0 cm rather than 0.9 cm on the 10
 cm VAS. See e.g., Busse JW, Wang L, Kamaleldin M. Opioids for Chronic Noncancer Pain: A Systematic Review
 and Meta-analysis. JAMA. 2018;320(23):2448-2460. doi:10.1001/jama.2018.18472. In either case, the salient point
 is that opioid therapy generally does not meet even this minimal threshold of efficacy in randomized clinical trials,
 which makes the extraordinary risks of opioid therapy all the more unacceptable.
 225
       da Costa, “Oral or transdermal” fn. 222, above, at p. 15.


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                                                  CR 20-50 mg twice daily. 226 The primary, pre-specified
                                                  endpoint of the study was changes from baseline Average
                                                  Pain Intensity (API) as measured on an 11-point numerical
                                                  rating scale (NRS). 227 The Afilalo study was funded by
                                                  Johnson and Johnson, and 9 of the 10 listed authors were
                                                  employed by either J&J or Grunenthal (the German entity
                                                  that developed tapentadol). 228

                                         D.       To correctly interpret the results of an efficacy study, it is
                                                  important to distinguish between “statistical significance,”
                                                  a numerical calculation, and “clinical significance,” which
                                                  addresses the question of whether a patient experiences a
                                                  noticeable beneficial difference with the treatment under
                                                  investigation. Contrary to the practice of setting a pre-
                                                  specified, “minimal clinically important difference” by
                                                  which to assess relevant changes, as described in the
                                                  Cochrane review (above), the Afilalo study did not
                                                  establish such a standard. Instead, the authors reported
                                                  “statistically significant” reduced average pain intensity for
                                                  tapentadol compared to placebo, although the API
                                                  difference between tapentadol and placebo was only 0.7
                                                  cm, 229 which fails to meet the test of a minimally clinically
                                                  important difference. That this study failed to mention the
                                                  lack of a clinically significant difference between
                                                  tapentadol and placebo for the primary, prespecified
                                                  endpoint, suggests the possibility of bias in reporting. 230

 226
    Afilalo M, et al. Efficacy and safety of tapentadol extended release compared with oxycodone controlled release
 for the management of moderate to severe chronic pain related to osteoarthritis of the knee Clin. Drug Investig 2010;
 30:489-505.
 227
    Tapentadol (CG5503), Clinical Trials.Gov (last updated Apr. 18, 2012),
 https://clinicaltrials.gov/ct2/show/NCT00421928.
 228
       Afilalo, “Efficacy and Safety”, fn. 226, above, at p. 503.
 229
       Id. at 489.
 230
     The authors emphasized a claim of “clinical” significance based on a statistically significant result for one of six
 secondary endpoints, that is, the proportion of subjects reporting more than 50% improvement in pain intensity from
 baseline. Tapentadol (CG5503), Clinical Trials.Gov (last updated Apr. 18, 2012),
 https://clinicaltrials.gov/ct2/show/NCT00421928. However, the Afilalo study made no adjustment to impose a more
 strict test of significance due to testing of multiple endpoints.


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                                       E.       In 2015, Janssen and Grunenthal funded a study by Buynak
                                                et al purporting to evaluate the long-term efficacy of
                                                tapentadol ER among subjects with osteoarthritis or low
                                                back pain, who had completed one of four underlying,
                                                manufacturer-sponsored studies, one of which was the
                                                Afilalo study described above. 231 The Buynak 2015 article
                                                does not state that the underlying studies failed to meet the
                                                accepted standard for a Minimally Important Difference
                                                from placebo (Afilalo 2010, -0.7 cm; Buynak 2010, -0.8
                                                cm; Lange 2010, -0.6 cm).

                                       F.       As noted in the Cochrane Review (2010), above, the
                                                highest risk of bias occurs in opioid studies for the
                                                “continuous outcomes” such as pain relief because high
                                                attrition rates affect the risk of bias and the generalizability
                                                of the results. The tapentadol studies described above suffer
                                                from such bias, in that (1) the underlying studies all
                                                experienced significant dropout rates (only 57.3%, 52.2%,
                                                56.5% and 46.2% of the tapentadol subjects completed the
                                                Afilalo, Buynak 2010, Lange, and Wild studies,
                                                respectively); and (2) only 60.5% of the subjects completed
                                                the study analyzed in the 2015 Buynak article, 232 even
                                                though the population that entered the latter study consisted
                                                of the subset of subjects who had successfully completed
                                                the prior trials. In each study, adverse events and lack of
                                                efficacy were leading reasons for failure to complete the
                                                study.


 231
    Buynak R et al., Long-term safety and efficacy of tapentadol extended release following up to 2 years of
 treatment in patients with moderate to severe, chronic pain: results of an open-label extension trial. Clin. Ther. 2015;
 37:2420-2438. In addition to the Afilalo study, the Buynak (2015) article analyzed data for patients from prior
 manufacturer-sponsored studies by Buynak R. et al. Efficacy and safety of tapentadol extended release for the
 management of chronic low back pain: results of a prospective, randomized, double-blind, placebo-and active-
 controlled phase III study. Expert Opin. Pharmacother. 2010; 11:1787-1804; Lange B, et al., Efficacy and safety of
 tapentadol prolonged release for chronic osteoarthritis pain and low back pain. Adv. Ther 2010; 27:381-399); Wild
 JE, et al. Long-term safety and tolerability of tapentadol extended release for the management of chronic low back
 pain or osteoarthritis pain. Pain Practice 2010; 10:416-427. The Wild study did not include a placebo group and
 thus provided no data regarding difference in average pain intensity between tapentadol and placebo.
 232
       Buynak, “Long-term safety”, fn. 231, above, at p. 2424.


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                               v.       Chou et al. in their 2015 systematic review on the effectiveness of
                                        opioids in the treatment of chronic pain stated: “Evidence is
                                        insufficient to determine the effectiveness of long-term opioid
                                        therapy for improving chronic pain and function. Evidence
                                        supports a dose-dependent risk for serious harms.” 233 The authors
                                        reported that most placebo-controlled studies were less than 6
                                        weeks, and none were over 16 weeks long. “We did not include
                                        uncontrolled studies for these outcomes; reliable conclusions
                                        cannot be drawn from such studies because of the lack of non-
                                        opioid comparison group and heterogeneity of the results.” 234

                               vi.      In 2009, Chou was the lead author of a panel made up of a
                                        majority of Industry-funded physicians and psychologists who
                                        promulgated Guidelines that allowed for the use of chronic opioid
                                        therapy; in the same publication, those authors admitted that
                                        evidence regarding chronic opioid therapy was “insufficient to
                                        assess effects on health outcomes.” 235

                               vii.     In another systematic review of opioid and non-opioid medication
                                        for acute or chronic low back pain, Chou et al. found that evidence
                                        for opioids “remains limited to short term trials showing modest
                                        effects versus placebo for chronic low back pain.” 236
                                        Shortcomings of the studies included high attrition (30-60% in
                                        most trials) and “short follow-up” (one at 16 weeks, all others
                                        shorter). 237 Authors also noted: “Trials were not designed to assess
                                        the risk for overdose or opioid use disorder because of relatively
                                        small samples, short follow up, and exclusion of higher risk
                                        patients; in addition, many studies used an enriched enrollment
                                        randomized withdrawal design which could underestimate

 233
    Chou R, Turner J a., Devine EB, et al. The Effectiveness and Risks of Long-Term Opioid Therapy for Chronic
 Pain: A Systematic Review for a National Institutes of Health Pathways to Prevention Workshop. Ann Intern Med.
 2015;162(4). doi:10.7326/M14-2559, at p. 276 (emphasis added.)
 234
       Id. at p. 280
 235
       Chou, et al., “Clinical Guidelines,” fn.195, above, at p. 130.e5.
 236
    Chou R, Deyo R, Friedly J, et al. Systemic pharmacologic therapies for low back pain: A systematic review for
 an American College of physicians clinical practice guideline. Ann Intern Med. 2017. doi:10.7326/M16-2458, at p.
 480.
 237
       Id. at p. 483

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                                     harms.” 238 (See paragraphs 6.e, below, for discussion of enriched
                                     enrollment study design).

                             viii.   In a systematic review and meta-analysis (Häuser, Schmerz, 2015)
                                     of open-label continuation trials up to 26 weeks in duration in
                                     patients with a variety of different chronic pain disorders, the
                                     authors state “… the risk of bias [for these studies] was high … all
                                     studies were funded by the manufacturers of the drugs 239 . . . .
                                     average pain scores are unrepresentative of patient experience and
                                     of very limited utility240 …. The positive effects of opioid in long-
                                     term open-label studies cannot be disentangled from those of co-
                                     therapies not controlled for, from unspecific (placebo) effects
                                     because of the lack of placebo group or from the spontaneous
                                     recovery because of the lack of no treatment group. The external
                                     validity of open-label extension studies was comprised [sic] by a
                                     highly selected group of patients without major medical disease or
                                     mental disorders. The self-selected group of patients who were
                                     willing to participate in the open-label extension studies does not
                                     permit a clear conclusion on the long-term efficacy of opioids in
                                     routine clinical care.” 241

                             ix.     At a 2001 Janssen Scientific Advisory Board, while discussing
                                     how to promote Janssen’s fentanyl patch, Duragesic, the consensus
                                     statements made it clear that funding for research would be
                                     contingent on getting results favorable to Duragesic: “If a pilot
                                     pans out we may increase funding to expand the study.” 242 And
                                     “The goals for EMRP studies should be explicitly stated: Janssen
                                     wants to obtain certain data and seed studies that, after completion,
                                     may be expanded by funding from other sources.” 243 This is


 238
       Id. at pp. 486-487.
 239
   Häuser W, Bernardy K, Maier C. Long-term opioid therapy in chronic noncancer pain: A systematic review and
 meta-analysis of efficacy, tolerability and safety in open-label extension trials with study duration of at least 26
 weeks. Schmerz. 2015. doi:10.1007/s00482-014-1452-0, at p. 4.
 240
       Id. at p. 7
 241
       Id. at p. 8.
 242
       JAN-MS-00481055 at 1056
 243
       Id. at 1057.

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                                    indicative of the types of bias that can arise from industry-funded
                                    studies.

                        e.   Many studies used an enriched enrollment randomized withdrawal
                             (EERW) study design, an inherently biased methodology which a priori
                             favors opioids over placebo. EERW design selects patients who are
                             predisposed to tolerate and prefer opioids, and hence are not reflective of
                             the general clinical population.

                             i.     Randomized, double blind, placebo-controlled trials of 12 weeks
                                    durations or less (15 studies total) of opioids in the treatment of
                                    chronic pain used to get FDA approval, relied on enriched
                                    enrollment design (Meske et al. 2018), 244 and hence were biased
                                    toward favoring opioids. Open-label continuation trials commonly
                                    included subjects who successfully completed the randomized
                                    controlled trial phase using an enriched enrollment design. Hence
                                    those who entered the open label phase included those who
                                    successfully tolerated opioids through the randomized controlled
                                    trial period, resulting in an additional layer of bias favoring
                                    opioids, and diminishing the applicability of the study results to
                                    real world conditions.

                             ii.    For example, of the 295 initial subjects in the study by Caldwell et
                                    al. (2002) 222 subjects were assigned to opioid groups and 73 were
                                    assigned to placebo. 245 A 4-week randomized controlled trial
                                    (RCT) preceded an open-label phase; 40% of the opioid group who
                                    participated in the RCT dropped out due to adverse effects or
                                    inadequate pain relief, 246 and only those who lasted the full four
                                    weeks were permitted to enter the open-label phase. Of the 184
                                    subjects who entered the open-label phase, 131 (72%) came from
                                    the opioid groups, while only 50 (28%) came from the placebo
                                    group; therefore, the open-label phase included a large majority of
 244
     Meske DS, Lawal OD, Elder H, Langberg V, Paillard F, Katz N. Efficacy of opioids versus placebo in chronic
 pain: A systematic review and meta-analysis of enriched enrollment randomized withdrawal trials. J Pain Res. 2018.
 doi:10.2147/JPR.S160255, at pp. 923-934.
 245
   Caldwell JR, Rapoport RJ, Davis JC, et al. Efficacy and safety of a once-daily morphine formulation in chronic,
 moderate-to-severe osteoarthritis pain: Results from a randomized, placebo-controlled, double-blind trial and an
 open-label extension trial. J Pain Symptom Manage. 2002. doi:10.1016/S0885-3924(02)00383-4, at p. 283.
 246
       Id. at p. 283.


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                                      subjects who had demonstrated the capability to tolerate opioids,
                                      and the study’s claims of efficacy are not transferable to a real-
                                      world population. Despite the bias favoring opioid-tolerant
                                      subjects, more than half failed to complete the open-label phase;
                                      95/181 (52.5%) discontinued. 247

                              iii.    A meta-analysis of short term studies (< 6 weeks) confirmed a
                                      difference between enriched enrollment studies and non-enriched
                                      enrollment studies in terms of adverse medical consequences: “The
                                      incidence of adverse effects was noticeably different in the trials
                                      that used a classical non-EERW design from those that used the
                                      EERW design (Table 3). Among the trials with a non-EERW
                                      design, the number of reported adverse effects was 26, while
                                      among the trials with an EERW design, only eight adverse effects
                                      were reported.” 248

                         f.   A recent (Busse 2018) meta-analysis confirms that there are no data to
                              show clinically significant long-term efficacy of opioids in the treatment
                              of chronic pain. 249

                              i.      The primary study outcomes were “pain relief, physical
                                      functioning, and vomiting.” 250 The study defined the term
                                      Minimally Important Difference (MID) as “the smallest amount of
                                      improvement in a treatment outcome that patients would recognize
                                      as important.” 251 The data showed that opioid therapy failed to
                                      meet the MID as to the primary outcomes of pain relief and
                                      physical functioning, as well as the secondary outcomes of
                                      emotional functioning, social functioning, or sleep quality
                                      compared to placebo. 252


 247
       Id. at p. 286.
 248
    Furlan AD, Chaparro LE, Irvin E, Mailis-Gagnon A. A comparison between enriched and nonenriched
 enrollment randomized withdrawal trials of opioids for chronic noncancer pain. Pain Res Manag. 2011;16(5):337-
 351. doi:10.1155/2011/465281, at p. 347.
 249
       Busse, “Opioids for Chronic Noncancer Pain”, fn. 224, above.
 250
       Id. at p. 2449.
 251
       Id. at p. 2450.
 252
       Id.at pp.2451, 2455.


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                                ii.    For pain relief, the MID was defined as 1 cm on the 10 cm Visual
                                       Analog Scale (VAS); the data showed that the difference between
                                       opioid therapy and placebo was only 0.79 cm on the VAS, thus no
                                       minimally important difference was shown. 253 Despite not meeting
                                       the standard, the authors state, “Although the difference did not
                                       meet the minimally important difference of 1 cm, opioids were
                                       associated with pain relief compared to placebo . . . .” 254 A more
                                       accurate statement would be that opioids were associated with a
                                       clinically insignificant difference in pain relief, since the change
                                       did not meet the study’s own definition of a clinically significant
                                       difference. The study reported a difference of 2.80 favoring
                                       opioids over placebo on a 100-point scale for “role functioning;”
                                       however, “[w]hen restricted to trials reporting actual change, high
                                       quality evidence from 16 RCTs (5329 patients) demonstrated no
                                       association of opioids on role functioning compared to placebo.” 255

                                iii.   For the primary endpoint of vomiting, the opioid subjects had more
                                       than a 4-fold greater risk in nonenrichment trials, and a 2.5 times
                                       greater risk in enrichment trials, that is, trials in which subjects
                                       were pre-selected for greater ability to tolerate opioid therapy. 256

                                iv.    As for “Active Comparator” studies, the authors state: Moderate
                                       quality evidence [9 RCTs, 1431 patients] showed “no difference in
                                       the association of opioids versus nonsteroidal anti-inflammatory
                                       drugs for pain relief,” and the same was true for physical function.
                                       The only significant difference was over 4-fold greater vomiting
                                       with opioids compared to NSAIDs (RR = 4.74, p < 0.001). 257

                                v.     Although the goal was to assess “chronic” non-cancer pain, the
                                       authors acknowledge that “it was not possible to assess the long-
                                       term associations of opioids with chronic non-cancer pain because
                                       no trial followed up patients for longer than 6 months.” 258 There is
 253
       Id. at p. 2451.
 254
       Id. at pp. 2451-2452.
 255
       Id. at pp. 2451, 2455.
 256
       Id. at p. 2455.
 257
       Id.
 258
       Id. at p. 2457.


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                                       some inconsistency in the literature about the definition of
                                       “chronic.” For example, the Cochrane Review (Noble, 2010) cites
                                       the International Association for the Study of Pain (IASP) for a
                                       definition of “pain which persists past the normal point of
                                       healing,” considered to be 3 months 259; however, on the very next
                                       page, the Cochrane review states that it considered only studies of
                                       at least six months, which it termed “Chronic opioid use…”. 260 In
                                       any case, the Busse authors’ statement that it could not be applied
                                       to “long-term” use is an important limitation.

                              vi.      The Busse study states, “Studies with longer follow-up reported
                                       less relief,” which provides significant support for the reduced pain
                                       relief of opioids over time, and which buttresses the conclusion
                                       that even the minor “improvements” in pain and physical function
                                       shown in the studies compiled by Busse, which had a median of
                                       only 60 days’ follow-up, 261 cannot be extrapolated to longer term
                                       opioid use.

                              vii.     Over three-quarters of the studies (79%) reported receiving
                                       industry funding. 262

                              viii.    Despite these limitations, the authors concluded: “… some patients
                                       may find the modeled proportion of 12% for achieving the
                                       minimally important difference for pain relief warrants a trial of
                                       treatment with opioids.” The figure of 12% appears to represent
                                       the difference between the percentage who reported MID pain
                                       relief on placebo (48.7%) and those who reported MID pain relief
                                       on opioid therapy (60.6%); difference = 11.9%. 263

                              ix.      In sum, the Busse analysis stands for the proposition that, by
                                       submitting to opioid therapy, the patient incurs significant and
                                       potentially fatal risks, in exchange for “benefits” that are found to
                                       be comparable to placebo for the large majority of subjects studied.

 259
       Noble, et al., “Long Term Opioid Management,” fn.205, above, at p. 2.
 260
       Id. at pp. 3, 6.
 261
       Busse, et al., “Opioids for Chronic Noncancer Pain,” fn.224, above, at p. 2451.
 262
       Id. at p. 2451.
 263
       Id. at p. 2456.


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                             x.      The pain relief MID standard adopted in the Busse study was at the
                                     low end of the spectrum of such study definitions, meaning that
                                     less improvement was required to meet the MID standard. A
                                     pooled analysis of multiple pain studies found that the average
                                     MID was 17 mm (1.7 cm) on the VAS scale, or over twice the 0.79
                                     cm difference reported in the Busse meta-analysis. 264 Despite the
                                     lenient standard to show a difference that patients would notice,
                                     the Busse results failed that test.

                        g.   The SPACE randomized clinical trial study, published in JAMA in 2018,
                             comparing opioid and non-opioid medication in the treatment of chronic
                             pain, is the first long-term (one year) randomized controlled trial of
                             opioids in the treatment of moderate to severe pain, and found no benefit
                             of opioids over non-opioid medication. 265

                             i.      The SPACE trial showed no benefit of opioids over non-opioid
                                     medication (NSAIDs, acetaminophen) in the treatment of moderate
                                     to severe chronic back, hip, or knee pain. The opioid group had
                                     significantly more adverse medication related symptoms. 266

                             ii.     The SPACE trial used a gold standard study design, as follows. It
                                     was 12 months in duration, a sufficient length to assess efficacy in
                                     the treatment of chronic pain. It included only patients not
                                     previously on long-term opioid therapy, and assessed preference
                                     for opioids prior to randomization, thereby eliminating the
                                     enriched enrollment bias evident in other studies. It used a
                                     naturalistic sample of patients in the primary care setting, including
                                     some patients with severe depression and post-traumatic stress
                                     disorder, the same patients who are often on high dose long-term
                                     opioid therapy in real-life. 267 Participants were regularly assessed

 264
    Olsen MF, Bjerre E, Hansen MD, et al. Pain relief that matters to patients: Systematic review of empirical studies
 assessing the minimum clinically important difference in acute pain. BMC Med. 2017. doi:10.1186/s12916-016-
 0775-3, at p. 10.
 265
    Krebs EE, Gravely A, Nugent S, et al. Effect of opioid vs non-opioid medications on pain-related function in
 patients with chronic back pain or hip or knee osteoarthritis pain the SPACE randomized clinical trial. JAMA - J Am
 Med Assoc. 2018. doi:10.1001/jama.2018.0899.
 266
       Id. at p. 872.
 267
       Id. at p. 873.


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                                    for medication misuse, including checking the prescription drug
                                    monitoring database and urine drug testing. 268 It was not sponsored
                                    by an opioid manufacturer. 269

                             iii.   It is very significant that a gold standard RCT, conducted by
                                    independent researchers and published in a leading medical journal
                                    (JAMA), reached an opposite result from those claimed by the
                                    Pharmaceutical Opioid Industry based on biased, short-term
                                    studies conducted by their own employees or paid consultants, and
                                    often published in specialty journals. The SPACE trial strongly
                                    supports my opinion that chronic opioid therapy does not provide
                                    greater long-term efficacy, rendering its high risks all the more
                                    unacceptable.

                             iv.    Some patients in the non-opioid group received Tramadol, an
                                    opioid, leading to questions about the claim that non-opioids were
                                    equally effective. The number of patients receiving Tramadol was
                                    small, and Tramadol was administered as a second or third line
                                    rescue medicine, to simulate how it might be used in real-life
                                    clinical practice. The authors re-ran the data without the patients
                                    who were given Tramadol, and the results were “unchanged: over
                                    12 months, pain-related function did not differ between groups
                                    (P=.19) and the nonopioid group had better pain intensity
                                    (P=.01).” 270 Krebs, et al., also state, “Although both groups
                                    improved, we concluded results did not support opioid initiation
                                    for chronic back pain or osteoarthritis pain because opioids did not
                                    demonstrate any treatment advantages that offset their well-known
                                    risks of death and addiction.” 271

                        h.   The opinion has been expressed that a 3-month study is the “standard
                             clinical trial duration accepted by the FDA for many chronic
                             conditions.” 272 However, some manufacturers have tested their pain
                             medications in significantly longer randomized clinical trials against other

 268
       Id. at p. 875.
 269
       Id. at p. 881.
 270
     Krebs EE et al., In reply: opioids vs nonopioids for chronic back, hip or knee pain. JAMA. 2018;305(5): 508-509
 at p. 509.
 271
     Id.
 272
     Meske, “Efficacy of opioids versus placebo”, fn. 244, above, at pp. 923-924.

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                           pain relievers. For example, the VIOXX label indicates that VIOXX was
                           tested in clinical trials of up to 86 weeks for osteoarthritis of the knee and
                           hip, against ibuprofen; 273 and the CELEBREX label states that
                           CELEBREX was tested in clinical trials of up to 24 weeks in a rheumatoid
                           arthritis population, as well as a 9-month clinical trial that revealed higher
                           rates of complicated ulcers among patients taking CELEBREX plus
                           aspirin for cardiac prophylaxis, compared to CELEBREX alone. 274
                           Similarly, manufacturers of opioids could have conducted clinical trials of
                           longer duration; if they had done so, it is likely that the results would have
                           been comparable to those found by Krebs, that is, a higher risk of adverse
                           events and no “treatment advantages” to offset those risks. 275 Such early
                           testing would have contradicted the promotion of opioids purported
                           benefits and claims of low risks, which would have discouraged the
                           widespread use of opioids and prevented the ensuing epidemic.

                  i.       Other studies have also shown that opioids are no better than non-opioids
                           for pain treatment.

                           i.       In the Cochrane Review by Chaparro, et al., discussed above,
                                    opioids were not superior to non-opioids for chronic low back
                                    pain. 276

                           ii.      In a review of randomized head to head comparisons of opioids vs
                                    non-opioid pain relieving medication, non-opioids were found to
                                    be superior to opioids in terms of physical function and tolerability
                                    for short term (4-12 weeks) therapy of neuropathic, low back, and
                                    osteoarthritic pain. 277




 273
     Vioxx label (2004), see https://www.accessdata.fda.gov/drugsatfda_docs/label/2004/21647_vioxx_lbl.pdf at p. 3
 274
     Celebrex label (2005), see https://www.accessdata.fda.gov/drugsatfda_docs/label/2005/020998s017lbl.pdf at pp.
 4, 6-7
 275
     Krebs, “In reply”, fn. 270, above, at p. 509.
 276
     Chaparro, et al., “Opioids Compared to Placebo,” fn.217, above, at p. 2.
 277
    Welsch P, Sommer C, Schiltenwolf M, Häuser W. Opioids in chronic noncancer pain-are opioids superior to non-
 opioid analgesics? : A systematic review and meta-analysis. Schmerz. 2015. doi:10.1007/s00482-014-1436-0, at p. 3.


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                               iii.      A systematic review comparing oral NSAIDs with opioids for
                                         treatment of pain due to knee osteoarthritis over at least 8 weeks’
                                         duration found opioids were no better than NSAIDs. 278

                      j.       The evidence for long-term opioid therapy for chronic non-cancer pain,
                               going all the way back to Portenoy’s 1986 article, 279 was never more than
                               “weak.” Such “weak evidence” was never sufficient to justify the
                               Pharmaceutical Opioid Industry’s misleading messaging or the significant
                               increase in opioid prescribing for chronic pain. Moreover, the “weak
                               evidence” based on flawed studies of the past has been refuted by strong,
                               gold-standard randomized clinical trial evidence 280 that opioids are not
                               more effective than non-opioid pain relievers, while imposing greater
                               risk. 281 “Weak evidence” of benefit to a small minority of patients was
                               never sufficient to offset the strong evidence of risk. According to the
                               National Academy of Science, Engineering, and Medicine (NASEM) 2017
                               Report, “Pain Management and the Opioid Epidemic,” there is a “lack of
                               evidence that the drugs are effective for long-term pain management”
                               (VonKorff et al., 2011) (emphasis added). 282

                      k.       Evidence of the imbalance between significant risk and minimal benefit is
                               reinforced by the studies demonstrating that significant numbers of pain
                               patients will go on to long-term use of these addictive drugs, even with
                               brief opioid exposure. Long-term exposure increases the risk of
                               developing the disease of opioid addiction.

                      l.       The ASPPH Report concluded, “We urge that, consistent with CDC
                               guidelines, opioid pain relievers be treated as highly addictive, controlled
                               substances not typically indicated for long-term use for chronic pain


 278
    Smith SR, Deshpande BR, Collins JE, Katz JN, Losina E. Comparative pain reduction of oral non-steroidal anti-
 inflammatory drugs and opioids for knee osteoarthritis: Systematic analytic review. Osteoarthr Cartil. 2016.
 doi:10.1016/j.joca.2016.01.135, at p. 962.
 279
   Portenoy RK, Foley KM. Chronic use of opioid analgesics in non-malignant pain: report of 38 Cases. Pain.
 1986;25(2):171-186.
 280
    Krebs et al., “Effect of Opioid,” fn. 265, above, at p. 873; Welsch et al., “Opioids in Noncancer Pain,” fn. 277,
 above, at p. 3.
 281
       Krebs et al., “Effect of Opioid,” fn. 265, above, at p. 880.
 282
       NASEM 2017 Report at fn. 42, above p. 29.


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                              outside of active cancer treatment, palliative care, and end-of-life care; and
                              for which lobbying and marketing are inappropriate.” 283

                     m.       A recent VA/DoD guideline is even more emphatic, stating, “We
                              recommend against initiation of long-term opioid therapy for chronic pain.
                              (Strong against).” 284 The authors stress that “Based on the evidence, it was
                              considered that opioid therapy should no longer be given when all
                              nonopioid approaches fail due to the substantial risk of harms.The CDC
                              guideline states, ‘Nonpharmacologic therapy and nonopioid
                              pharmacologic therapy are preferred for chronic pain. Clinicians should
                              consider opioid therapy only if expected benefits for both pain and
                              function are anticipated to outweigh risks to the patients.’ Our guideline
                              takes a stronger stance against opioid therapy, largely driven by the risk
                              for development of opioid use disorder. Both guidelines find little
                              evidence of benefit for long-term opioid use.” 285

                     n.       I have reviewed a letter submitted by the American Medical Association
                              to the CDC on June 16, 2020, advocating major revisions to the CDC
                              2016 Guidelines for opioid use. 286 While this letter asserts that some
                              patients are benefitting from long-term opioid therapy for chronic pain, it
                              provides no data to support that assertion, nor to rebut the great weight of
                              authority cited above. Further, the letter omitted the undisputed body of

 283
       ASPPH Report, “Bringing Science”, fn. 15, above, at p. 11 (emphasis added).
 284
     Rosenberg JM, et al. Opioid Therapy for Chronic Pain: overview of the 2017 US Department of Veterans Affairs
 and US Department of Defense clinical practice guidelines. Pain Medicine. 2018;19:928-941, at p. 930 (emphasis
 added).
 285
     Id. (emphasis added)
 286
     James L. Madara, MD (AMA) to Deborah Dowell, MD (CDC), Re: Docket No. CDC-2020-0029, June 16, 2020,
 https://searchlf.ama-
 assn.org/undefined/documentDownload?uri=%2Funstructured%2Fbinary%2Fletter%2FLETTERS%2F2020-6-16-
 Letter-to-Dowell-re-Opioid-Rx-Guideline.pdf. The West Virginia Coalition on Chronic Pain Management,
 established by the passage of SB 339, issued a series of reports and recommendations in 2019. SB 339 appears to be
 part of a backlash in response to the CDC Guidelines of 2016. The Coalition found and recommended that West
 Virginia SB 273 “has inadvertently and inappropriately interfered with the patient practitioner relationship,
 unnecessarily regulating the evidence-based practice of medicine and, in some cases, even dissuade [sic] physicians
 who deliver safe, legal, and necessary medical care to patients suffering from pain.” To the extent that this statement
 refers to the use of opioids for chronic pain, I disagree that encouraging physician freedom is “evidence-based.” To
 the contrary, as noted elsewhere in this Report, there is substantial evidence that opioids increase the risk of
 mortality, nonfatal overdose, OUD, and NAS, while there is no reliable evidence of benefit in the treatment of
 chronic pain with opioids, compared to nonopioid therapies. See Coalition on Chronic Pain Management 2019
 Report to the Legislature, West Virginia Legislature.

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                          evidence of OUD and mortality, which would be exacerbated by the
                          absence of the CDC and VA/DoD guidelines to limit dose and duration of
                          opioid therapy. I agree with the AMA letter’s advocacy for a preference
                          for non-pharmacologic and non-opioid therapies; however, the evidence
                          supports the VA/DoD determination that opioids should no longer be
                          given even when other approaches fail, due to the substantial risk of
                          harms. Physicians’ freedom to treat their patients as they choose is not
                          absolute, but must be tempered by evidence and data. AMA’s emphasis on
                          physicians’ freedom is out of proportion to the clear evidence of risk, and
                          the lack of evidence of benefit, for long-term opioid therapy for chronic
                          pain.

                  o.      Opioids have been generally considered appropriate for cancer pain,
                          because cancer treatment has been closely aligned with end-of-life care, a
                          stage when risks of addiction are considered less important than potential
                          palliative care. However, patients with cancer related pain, even at the end
                          of life, are not immune to addiction and they should be monitored
                          carefully for addiction and other adverse consequences, and should receive
                          the lowest dose for the shortest possible duration.

                          i.      A first-person perspective piece in the New England Journal of
                                  Medicine, describes the experience of an oncologist (cancer
                                  doctor) whose patient gets addicted to opioids. 287 In my clinical
                                  experience, opioid misuse and addiction are as common among
                                  cancer patients as non-cancer patients.

                          ii.     There were more than 15 million cancer survivors in the United
                                  States in 2016. 288 Even patients with cancers once considered
                                  incurable, now go into remission for decades and more,
                                  emphasizing the need for caution in treating a very large
                                  population of patients with opioids.

              7.      The Pharmaceutical Opioid Industry misrepresented that the risk of
       addiction to prescription opioids is “rare,” or “less than 1%,” when in fact prescription
       opioids are as addictive as heroin, and the risk of addiction is far higher than stated by

 287
    Loren AW. Harder to Treat Than Leukemia - Opioid Use Disorder in Survivors of Cancer. NEJM. 2018;379(26).
 288
    Bluethmann SM, Mariotto AB, Rowland JH. Anticipating the “silver tsunami”: Prevalence trajectories and
 comorbidity burden among older cancer survivors in the United States. Cancer Epidemiol Biomarkers Prev. 2016.
 doi:10.1158/1055-9965.EPI-16-0133, at p. 1029.

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       the Industry. The best, conservative data show an opioid addiction prevalence of 10-30%
       among chronic pain patients prescribed opioids.

                       a.     Even when being prescribed by a doctor for a legitimate pain condition,
                              opioid painkillers are as addictive as heroin purchased on a street corner,
                              because the prescription opioids have the same addictive effects on the
                              neurocircuitry of the brain. 289 The addictiveness of prescription opioids
                              has been demonstrated in many studies, yet the Pharmaceutical Opioid
                              Industry has consistently downplayed this risk.

                       b.     A 2015 systematic review by Vowles, et al., provides the most reliable
                              pooled estimate of the risk of addiction (10-30%) in patients receiving
                              chronic opioid therapy. 290 The Vowles review is cited by the ASPPH Task
                              Force to state the risk of addiction and misuse of prescription opioids, 291
                              reinforcing my opinion as to the validity of the Vowles review.

                              i.       Vowles’ data synthesis prioritized studies using real world data
                                       designed to research opioid misuse and addiction. They also
                                       prioritized subjects from real world populations, rather than pre-
                                       screened clinical trial subjects enrolled in studies not designed to
                                       assess misuse or addiction. The authors adopted a priori criteria to
                                       assess study quality, and then checked their pooled results against
                                       the data from the highest quality studies. 292 (By contrast, Fishbain
                                       et al., described below, completely excluded studies that did not
                                       meet their quality standards, which they admitted were arbitrary.)
                                       Further, Vowles, et al. disclosed that they had no conflicts of
                                       interest. 293 Because most available studies used patient
                                       questionnaires rather than objective urine drug screening, Vowles’

 289
     See, e.g., Okie S, A flood of opioids, a rising tide of deaths. NEJM 2010;363(21): 1981-1985: Prescription
 opioids are “essentially legal heroin.” (Quoting FDA Advisory Committee member Lewis Nelson. “We need to
 think about how we would conduct a REMS [Risk Evaluation and Mitigation Strategy] if we were going to be
 marketing heroin.” Id, at 1981.)
 290
     Vowles KE, McEntee ML, Julnes PS, Frohe T, Ney JP, Van Der Goes DN. Rates of opioid misuse, abuse, and
 addiction in chronic pain: A systematic review and data synthesis. Pain. 2015.
 doi:10.1097/01.j.pain.0000460357.01998.f1. at p. 569. I address the link between prescription opioid addiction and
 heroin addiction below in paragraph C.8.g.
 291
       ASPPH Report, “Bringing Science”, fn. 15, above, at p. 14.
 292
       Vowles, “Rates of Opioid Misuse”, fn. 290, above, at p. 570-571.
 293
       Id.at p. 575.


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                                      analysis would represent a likely underestimate of addiction,
                                      despite a more appropriate selection of real world populations for
                                      the study.

                             ii.      In their systematic review and meta-analysis from 38 studies,
                                      Vowles, et al. cite a wide range of problematic prescription opioid
                                      use in patients being treated for a medical condition, ranging from
                                      <1% to 81% across studies. Across most calculations, rates of
                                      opioid misuse averaged between 21% and 29% (range, 95%
                                      confidence interval [CI]: 13%-38%), and rates of opioid addiction
                                      averaged between 8% and 12% (range, 95% CI: 3%-17%). 294

                             iii.     Even the lower risk classification of 8-12% would be considered a
                                      “very common” risk according to the World Health Organization
                                      and the Council of International Organizations of Medical
                                      Sciences: 295

                                      A.       Very common >= 1/10

                                      B.       Common >= 1/100> and < 1/10

                                      C.       Uncommon >= 1/1000 and < 1/100

                                      D.       Rare >= 1/10,000 and < 1/1,000

                                      E.       Very rare < 1/10,000

                                      F.       Although the US has not adopted a standard hierarchy like
                                               WHO/CIOMS, frequency of adverse events in product
                                               information material in the United States is consistent with
                                               the WHO standards: “rare” in US labels is commonly <




 294
    Id. at, pp. 572-573. It is noteworthy that well-respected scientific sources have cited Vowles’ article as a reliable
 estimate of risk. See, e.g., Els, et al., High-dose opioids for chronic non‐cancer pain: an overview of Cochrane
 Reviews. Cochrane Database Syst Rev. 2017 Oct; 2017(10): CD012299, citing the Vowles article as support for
 “rates of addiction averaging between 8% and 12%.
 295
    World Health Organization, CIOMS,
 http://www.who.int/medicines/areas/quality_safety/safety_efficacy/trainingcourses/definitions.pdf, at p. 10.


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                                                1/1000; “Infrequent” is >1/1,000 to < 1/100; and anything
                                                over 1/100 is “frequent.” 296

                              iv.      Vowles’ definition of “misuse” as culled from the included articles
                                       is consistent with the DSM-5 definition of mild opioid use
                                       disorder. 297 As such, the prevalence of opioid use disorder in
                                       Vowles’ review using DSM-5 criteria is between 21-29%,
                                       including the spectrum from mild through severe OUD. 298 (This is
                                       reasonably consistent with the Boscarino, et al. study299 described
                                       below.)

                              v.       As with other meta-analyses, reports of misuse/addiction were
                                       higher in studies which relied on urine drug testing instead of self-
                                       report. For example, included in the Vowles analysis, a study by
                                       Brown, et al. demonstrated the lower rates based on self-report
                                       versus those based on urine toxicology. 300

                                       A.       This was a nonrandomized, open-label study of morphine
                                                sulfate ER (Avinza) for a titration period of 2-4 weeks
                                                followed by treatment for 12 weeks, administered to
                                                patients in primary care settings, evaluated for risk
                                                stratification and aberrant behaviors (including urine
                                                screening, early renewal requests, increased dose without
                                                authorization, oversedation). 301

                                       B.       Only 561 (38%) of the 1,570 originally enrolled patients
                                                completed the study, despite its relatively brief duration of
 296
    Eriksson R, Aagaard L, Jensen LJ, et al. Discrepancies in listed adverse drug reactions in pharmaceutical product
 information supplied by the regulatory authorities in Denmark and the USA. Pharmacol Res Perspect. 2014;2(3):1-
 10. doi:10.1002/prp2.38, at p. 6.
 297
       Vowles, “Rates of Opioid Misuse”, fn. 290, above, at p. 574.
 298
       Id.at p. 569.
 299
    Boscarino J, Rukstalis MR, Hoffman SN, et al. Prevalence of prescription opioid-use disorder among chronic
 pain patients: comparison of the DSM-5 vs. DSM-4 diagnostic criteria. J Addict Dis. 2011;30(3):185-194.
 doi:10.1080/10550887.2011.581961.
 300
    Brown J, Setnik B, Lee K, et al. Assessment, stratification, and monitoring of the risk for prescription opioid
 misuse and abuse in the primary care setting. J. Opioid Management. 2011;(December):467-483
 doi:10.5055/jom.2011.0088.
 301
       Id. at p. 468.


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                                       12 weeks of treatment. Of the 890 patients for whom
                                       reasons for withdrawal were provided, 410 (46%) included
                                       adverse events or failure of treatment among their reasons
                                       to withdraw. Five percent were asked to withdraw due to
                                       investigator assessment of “high risk level for drug
                                       abuse/misuse” after enrollment, and another 5% for
                                       “noncompliance.” 302

                                  C.   The Vowles analysis incorporates the Brown study’s
                                       assertion that 2-3% of patients exhibited aberrant drug-
                                       related behaviors during visits 2 through 4, and 6% at visit
                                       5, listing those percentages in the “misuse” column. 303

                                  D.   However, Urine Drug Screening (UDS) showed much
                                       higher rates of misuse and/or addictive use (although
                                       Vowles did not include these findings in the analysis): In
                                       particular, 17, 11, 11 and 15 subjects had positive UDS for
                                       oxycodone in weeks 2-5, despite prohibition of that drug
                                       after Visit 1. 304 By week 5, there were 79 subjects
                                       remaining in the study, and the 15 subjects with positive
                                       UDS for oxycodone yield a rate of 19% misuse and/or
                                       addictive use. This finding provides objective evidence that
                                       the prevalence of aberrant drug-related behavior was
                                       approximately 3 to 9 times the “2-6%” rate of aberrant drug
                                       related behaviors reported by the investigators 305 and cited
                                       by Vowles. Such use occurred despite patients having
                                       signed agreements to refrain from illicit drug use, and
                                       despite knowledge that UDS would be conducted. 306

                                  E.   Objective measures of addictive/aberrant behavior like drug
                                       screening results are more reliable than questionnaire
                                       responses, and these data from the Brown study support
                                       that view.
 302
       Id. at p. 473.
 303
       Id. at p. 572.
 304
       Id. at p. 475, Figure 2.
 305
       Id. at p. 476.
 306
       Id. at pp. 478-479.


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                                 F.      This study was Pfizer-sponsored. Authors included
                                         Pfizer/subsidiaries/consultants. 307

                         vi.     Also included in the Vowles analysis was a study by Fleming, et
                                 al., again highlighting the discrepancy between self-report and
                                 urine toxicology. 308

                                 A.      This Fleming article reported on substance use disorders
                                         among 801 chronic pain patients receiving daily opioid
                                         therapy from the same Wisconsin primary care practices
                                         that provided the population analyzed in the Fleming article
                                         discussed above. Fleming reported a point prevalence of
                                         3.8% for opioid use disorder and 9.7% for substance abuse
                                         and/or dependence, using DSM-4 criteria 309 and Vowles
                                         incorporated these percentages into the data synthesis.

                                 B.      The diagnoses included in the percentages above were
                                         based on a 2-hour interview of each patient by the doctor or
                                         nurse at the primary care practice. 310 As referenced above,
                                         Fleming noted the large disparity between the patients’
                                         self-reporting of other drug use and the results of urine drug
                                         screening. There were 156 positive urine screens for
                                         cannabis compared to 106 self-reports, and 60 positive
                                         urine screens for cocaine compared to 24 self-reports. 311

                                 C.      Although the article provided urine drug screen data on
                                         certain illicit drugs, sufficient to show the discrepancy
                                         between deceptive self-report and objective toxicology, the
                                         article did not provide data on the results of urine screens
                                         specifically for opioids, so there were no data to determine
                                         how many patients used opioids that were not prescribed


 307
       Id. at p. 481.
 308
   Fleming MF, Balousek SL, Klessig CL, Mundt MP, Brown DD. Substance Use Disorders in a Primary Care
 Sample Receiving Daily Opioid Therapy. J Pain. 2007. doi:10.1016/j.jpaa.2012.02.008, at p. 579.
 309
       Id. at p. 573.
 310
       Id. at p. 574.
 311
       Id. at p. 579.


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                                                 (evidence of misuse), or less/no evidence of the prescribed
                                                 opioids (evidence of possible diversion).

                                        D.       Fleming also reported that “the frequency of opioid use
                                                 disorders was 4 times higher in patients receiving opioid
                                                 therapy compared with general population samples (3.8%
                                                 vs 0.9%).” 312

                                        E.       Despite acknowledging the disparity between toxicology
                                                 tests and diagnoses based on interview data, Fleming
                                                 concluded that the “3.8% rate of opioid addiction is a small
                                                 risk compared with the alternative of continuous pain and
                                                 suffering. The data presented in this paper support the use
                                                 of opioids for the treatment of chronic pain by primary care
                                                 physicians.” 313 I disagree with this interpretation of the
                                                 findings, especially in light of (a) the acknowledged
                                                 disparity between the urine drug screen rate and the rate
                                                 based on self-reports; (b) the unreliability of the latter; and
                                                 (c) the unwarranted assumption that opioid therapy would
                                                 alleviate chronic pain and suffering as a trade-off for
                                                 accepting the risk of dependence or addiction.

                        c.     A study indicating a high risk of addiction from prescription opioids was
                               published by Boscarino, et al., who analyzed addiction rates in a large
                               population of patients receiving opioids to treat a medical condition, and
                               found a 41.3% lifetime prevalence of opioid use disorder (using DSM-5
                               criteria). 314 The research in this study is strengthened by the fact that it
                               was based on a random sample of outpatients seen in a large
                               multispecialty group practice. Subjects were identified through drug
                               orders in the electronic health records and subsequently were interviewed
                               using the final DSM-5 criteria. Weaknesses include the low numbers
                               willing to be interviewed (33%). 315

 312
       Fleming, et al., “Substance Use Disorders,” fn. 308, above, at p. 573.
 313
       Id. at p. 581.
 314
     Boscarino J, Hoffman S, Han J. Opioid-use disorder among patients on long-term opioid therapy: impact of final
 DSM-5 diagnostic criteria on prevalence and correlates. Subst. Abuse Rehabil. 2015:83. doi:10.2147/SAR.S85667,
 at p. 83.
 315
       Id. at p. 84.

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                              i.       “Using electronic records from a large US health care system, we
                                       identified outpatients receiving five or more prescription orders for
                                       opioid therapy in the past 12 months for noncancer pain (mean
                                       prescription orders =10.72; standard deviation =4.96). In 2008, we
                                       completed diagnostic interviews with 705 of these patients using
                                       the DSM-4 criteria. In the current study, we reassessed these
                                       results using the final DSM-5 criteria. Results: The lifetime
                                       prevalence of DSM-5 opioid-use disorders using the final DSM-5
                                       criteria was 58.7% for no or few symptoms (< 2), 28.1% for mild
                                       symptoms (2–3), 9.7% for moderate symptoms (4–5), and 3.5% for
                                       severe symptoms (six or more). Thus, the lifetime prevalence of
                                       “any” prescription opioid-use disorder in this cohort was 41.3%
                                       (95% confidence interval [CI] =37.6–45.0).” 316

                              ii.      “A comparison to the DSM-4 criteria indicated that the majority of
                                       patients with lifetime DSM-4 opioid dependence were now
                                       classified as having mild opioid-use disorder, based on the DSM-5
                                       criteria (53.6%; 95% CI =44.1–62.8). In ordinal logistic regression
                                       predicting no/few, mild, moderate, and severe opioid-use disorder,
                                       the best predictors were age 65 years, current pain impairment,
                                       trouble sleeping, suicidal thoughts, anxiety disorders, illicit drug
                                       use, and history of substance abuse treatment.” 317

                              iii.     In my opinion, the moderate-severe categories of DSM-5 OUD are
                                       consistent with Vowles’ definitions of addiction, and the milder
                                       DSM-5 diagnoses are more consistent with Vowles’ definition of
                                       misuse. 318 Accordingly, the totals of 13% “moderate to severe
                                       opioid use disorder” in Boscarino are consistent with Vowles’
                                       findings of 8-12% “addicted”; further, Vowles’ finding of 21-29%
                                       “misuse” is reasonably consistent with Boscarino’s report of 28%
                                       with “mild opioid use disorder.” In other words, both of these
                                       publications are reasonably consistent in assessing the risk of
                                       opioid addiction, ranging from mild to severe, in a clinical
                                       population of patients receiving opioids.


 316
       Id. at p. 83.
 317
       Id. at p. 83.
 318
       Vowles, “Rates of Opioid Misuse”, fn. 290, above, at p. 574.


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                      d.       Even very limited exposure to prescription opioids can result in addiction,
                               as evidenced by a study in teens and young adults: 14,888 persons aged 16
                               to 25 years-old who received an initial opioid prescription from a dentist,
                               found that 6% were diagnosed with an opioid use disorder (OUD) within
                               one year. For women in this group, the rate was 10%. This study
                               highlights the risk to teens and young adults, even after limited exposure
                               to a dental procedure, such as removal of wisdom teeth. 319

                      e.       A 2019 study found that for opioid-naive individuals receiving an initial
                               opioid prescription between 2011-2014, “long-term opioid use (3+
                               months) is associated with more than double the risk of incident OUD and
                               opioid-related death.” 320 In fact, the cumulative incidence of opioid use
                               disorder rose for each time period measured after opioid naïve individuals
                               received an opioid prescription, so that for those receiving an initial opioid
                               prescription in 2011, the cumulative incidence of OUD was 0.62% at 6
                               months, 1.18% at 1 year, 2.244% at 2 years, 3.79% at 3 years and 4.90%
                               at 4 years. 321

                      f.       Numerous other publications have reported addiction rates from
                               prescription opioids higher than those that appear in the Pharmaceutical
                               Opioid Industry promotional materials that I have reviewed. These include
                               the following prevalence studies cited in the Vowles 322 data synthesis:
                               Manchikanti (2003), 323 Cowan (2003), 324 Adams (2006), 325 Fleming
                               (2007), 326 Banta-Green (2009), 327 Schneider (2009), 328 Edlund (2007), 329


 319
     Schroeder AR, Dehghan M, Newman TB, Bentley JP, Park KT. Association of Opioid Prescriptions From Dental
 Clinicians for US Adolescents and Young Adults With Subsequent Opioid Use and Abuse. JAMA Intern Med. 2018,
 at p. E6.
 320
     Burke LG, et al. Trends in opioid use disorder and overdose among opioid-naïve individuals receiving an opioid
 prescription in Massachusetts from 2011 to 2014. Addiction. 2019:1-12, at p. 9
 321
     Id., p. 6, Table 3
 322
     Vowles, et al., “Rates of Opioid Misuse,” fn. 290, above.
 323
   Manchikanti et.al Prevalence of prescription drug abuse and dependency in patients withchronic pain in western
 Kentucky. J Ky Med Assoc 2003;101:511–17, at p. 511.
 324
    Cowan DT, Wilson-Barnett J, Griffiths P, Allan LG. A survey of chronic noncancer pain patients prescribed
 opioid analgesics. Pain Med. 2003;4(4):340-351, at p. 340.
 325
   Adams EH, Breiner S, Cicero TJ, et al. A Comparison of the Abuse Liability of Tramadol, NSAIDs, and
 Hydrocodone in Patients with Chronic Pain. J Pain Symptom Manage. 2006;31(5):465-476, at p. 465.
 326
       Fleming, et al., “Substance Use Disorders,” fn.308, above, at p. 573.


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                            Hojsted (2010), 330 Jamison (2010), 331 Passik (2011), 332 and Meltzer
                            (2012), 333 which reported addiction at 8.4%, 2.8%, 4.9%, 3.8%, 13%,
                            15.7%, 0.7%, 14.4-19.3%, 34.1%, 6-11%, and 23%, respectively. With
                            one exception, all of these studies showed addiction prevalence multiple
                            times higher than the “less than one percent” figure that Defendants
                            continued to cite, while omitting data from these peer-reviewed studies of
                            relevant, real world populations of chronic opioid patients. 334



 Footnote continued from previous page
 327
    Banta-Green CJ, Merrill JO, Doyle SR, Boudreau DM, Calsyn D a. Opioid use behaviors, mental health and
 pain--development of a typology of chronic pain patients. Drug Alcohol Depend. 2009;104(1-2):34-42, at p. 37.
 328
    Schneider, MD, PhD JP, Kirsh, PhD KL. Defining clinical issues around tolerance, hyperalgesia, and addiction:
 A quantitative and qualitative outcome study of long-term opioid dosing in a chronic pain practice. J Opioid Manag.
 2010;6(6):385-395, at p. 390.
 329
    Edlund MJ, Sullivan M, Steffick D, Harris KM, Wells KB. Do users of regularly prescribed opioids have higher
 rates of substance use problems than nonusers? Pain Med. 2007. doi:10.1111/j.1526-4637.2006.00200.x, at p. 651.
 330
    Højsted J, Nielsen PR, Guldstrand SK, Frich L, Sjøgren P. Classification and identification of opioid addiction in
 chronic pain patients. Eur J Pain. 2010;14(10):1014-1020, at p. 1014.
 331
    Jamison RN, Butler SF, Budman SH, Edwards RR, Wasan AD. Gender Differences in Risk Factors for Aberrant
 Prescription Opioid Use. J Pain. 2010. doi:10.1016/j.jpain.2009.07.016, at p. 5.
 332
    Passik SD, Messina J, Golsorkhi A, Xie F. Aberrant drug-related behavior observed during clinical studies
 involving patients taking chronic opioid therapy for persistent pain and fentanyl buccal tablet for breakthrough pain.
 J Pain Symptom Manage. 2011;41(1):116-125, at p. 116.
 333
    Meltzer, E, Rybin, D, et al. Aberrant Drug-Related Behaviors: Unsystematic Documentation Does Not Identify
 Prescription Drug Use Disorder. Pain Med. 2012 November; 13(11): 1436-1443, at p. 1437.
 334
    The sole exception, the Edlund (2007) study, can be explained in that the 0.7% incidence pertained to the entire
 healthcare database, rather than the subset of prescription opioid users. As to the latter group, the incidence of
 addiction was actually 7.3%, which is consistent with the other data synthesized by Vowles. Edlund, et al., “Do
 Users Have Higher Rates,” fn. 329, above, at p. 651. Because this distinction is important and not obvious, I provide
 the additional details below.
          First, the data used in the Edlund 2007 study came from a nationally representative community sample,
 Healthcare for Communities (HCC). The sample consisted of 9,279 people who were interviewed to investigate self-
 reported opioid misuse and “problem” opioid misuse among users and non-users of prescribed opioids, as well as
 use/ “problem use” of other substances (illicit drugs other than opioids, alcohol). “Opioid misuse” was defined to
 mean either without a doctor’s prescription, or in a larger amount or for a longer time than prescribed. “Problem
 opioid use” added criteria of tolerance and/or psychological or emotional problems due to drug use to the general
 “misuse” definition. Id. at pp. 649-650.
          This Edlund study did not provide any data on “addiction.” Nevertheless, the Vowles data synthesis
 included a value of 0.7% for “addiction.” Vowles, et al., “Rates of Opioid Misuse,” fn. 290, above, at p. 572, Table
 2. However, the Edlund definition of “problem opioid use” is consistent with Vowles’ definition of “addiction” to
                                                                               Footnote continued on next page
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                   g.       The above-described studies show that pain treatment with opioids is
                            naturally linked with addiction. Furthermore, this linkage would have been
                            known and obvious to Defendants before and throughout the period of
                            time when they marketed and promoted their opioid medications with the
                            false message that addiction was “less than 1%,” or “rare,” or
                            “uncommon,” and that false message deprived doctors and patients of
                            necessary data to inform the true risks of chronic opioid therapy. Internal
                            documents show that Defendants were aware of the link between
                            prescription opioids and opioid misuse, diversion, addiction and death, as
                            discussed below.

                            i.        On April 22, 2011, Joseph Tomkiewicz, Corporate Investigator at
                                      AmerisourceBergen, sent an email to colleagues under the subject
                                      “Saw This and Had To Share It …” 335 It was a parody written to
                                      the tune of the Beverly Hillbillies: “Come and listen to a story
                                      about a man named Jed, A poor mountaineer, barely kept his habit
                                      fed…. Said Sunny Florida is the place you ought to be, So they
                                      loaded up the truck and drove speedily, South, that is, Pain Clinics,
                                      cash ‘n carry, A Bevy of Pillbillies …. Pill Mills that is. Buy some

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 mean a “[p]attern of continued use with experience of, or demonstrated potential for, harm, (e.g., impaired control
 over drug use, compulsive use, continued use despite harm, and craving).” Id. at p. 570.
          Further, the reference to “0.7%” in the Edlund 2007 article appearing at p. 651, stated the percentage of
 problem opioid misuse in “the total HCC sample,” (emphasis added), which consisted of 8,997 (97%) nonusers of
 prescription opioids compared to 282 (3%) of the HCC sample who were prescription opioid users. The Edlund
 study reported, “Rates of problem opioid misuse were significantly higher in those with prescription opioid use
 (7.3%, 17 out of 282, vs. 0.5%, 69 out of 8,997, P<0.001.”; (emphasis added)). Edlund, et al., “Do Users Have
 Higher Rates,” fn. 329, above, at p. 651.
          In the absence of any data specific to addiction in the Edlund article, it can only be inferred that Vowles
 intended to use Edlund’s “problem opioid misuse” as a surrogate for addiction, and that the reference to 0.7% for the
 total population is inappropriate, since all of the other studies that Vowles synthesized had determined the
 percentage of addiction/ misuse among subjects exposed to prescription opioids, and not the percentage of
 addiction/misuse among a general population consisting almost entirely of non-users of prescription opioids.
          Thus, the proper figure from the Edlund study to include in the Vowles data synthesis would have been
 “7.3%, 17 out of 282” prescription opioid users, and the inclusion of the prescription opioid nonusers differentiates
 the Edlund study from all others that Vowles used in his data synthesis. At 7.3%, the Edlund study is very similar to
 the range of 8-12% addiction that Vowles assessed for the studies as a whole.
          Finally, Edlund acknowledged, “Our analyses of substance abuse rely on self-report, which might suffer
 from recall bias, or respondents might under-report symptoms due to the stigma associated with illicit substance
 abuse. To the extent this is true, our results are underestimates of the true rates.” Id. at p. 654. Accordingly, 7.3% is
 a lower bound, and the true rate of addiction among the population in the Edlund study may well have been greater.
 335
     ABDCMDL05795672

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                                   pills. Take a load home.” 336 This is shocking for its gross disregard
                                   of human suffering caused by the opioid epidemic. Just as
                                   shocking is the fact that the offensive email was circulated among
                                   several high-ranking regulatory affairs executives and diversion
                                   control investigators at Amerisource Bergen, who not only failed
                                   to express disapproval, but rather stated, “I sent this to you a
                                   month or so ago--nice to see it recirculated,” with a “smiley face
                                   icon. 337

                          ii.      On July 2, 2012, the same AmerisourceBergen employee, Joseph
                                   Tomkiewicz, also sent to colleagues under the subject “Oxycontin
                                   for kids”, an image resembling a Kellogg’s cereal box, but instead
                                   of “Kellogg’s” it reads “Killogg’s”, the cereal is called “SMACK”,
                                   a slang term for heroin, and the cereal box features a frog with a
                                   syringe getting ready to inject, holding up a spoonful of pills, next
                                   to a bowl of coupons labeled “Free Trial Offer.” 338 This image
                                   encapsulates the link between prescription opioids, industry
                                   promotion of those opioids through marketing strategies like
                                   coupons for free samples, and the development of opioid addiction
                                   which in some cases leads to illicit opioids like heroin. As in the
                                   case of the “Pillbillies” email, the “Smack” email was circulated
                                   among several employees without evidence of any objections. 339

                          iii.     On June 19, 2015, a memorandum from Healthcare Distribution
                                   Management Association (HDMA) titled “Strategy to Turn the

 336
     Id.
 337
     Id. The email’s recipients included Julie Eddy (Director State Government Affairs) Chris Zimmerman (Vice
 President Corporate Security and Regulatory Affairs), Edward Hazewski (Director Diversion Control Program) ,
 Kevin Kreutzer (Diversion Control Investigator), David Breitmayer (Diversion Control Investigator), Paul Ross
 (Senior Director Corporate Security Regulatory Affairs), Bruce Gundy (Director of Investigations) , Robert Crow
 (Director Security Services), and Steve Mays (Senior Director Corporate Security and Regulatory Affairs - Group
 Compliance Officer, Drug Distribution). See https://www.linkedin.com/in/julie-eddy-458b118,
 https://www.linkedin.com/in/chriszimmerman, https://www.linkedin.com/in/edwardhazewski,
 https://www.linkedin.com/in/kevin-kreutzer-b1763512, https://www.linkedin.com/in/davebreitmayer,
 ABDCMDL05775790, https://www.linkedin.com/in/bruce-gundy-5b5085a, https://www.linkedin.com/in/robert-
 crow-7b97aa192, https://www.linkedin.com/in/steve-mays-47833336.
 338
     ABDCMDL00532594
 339
     Id. The email’s recipients included Kevin Kreutzer (Diversion Control Investigator), David Breitmayer
 (Diversion Control Investigator), Edward Hazewski (Director Diversion Control Program), and Elizabeth Garcia
 (Corporate Investigator). See https://www.linkedin.com/in/kevin-kreutzer-b1763512,
 https://www.linkedin.com/in/davebreitmayer, https://www.linkedin.com/in/edwardhazewski, ABDCMDL00532649.

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                                   Tide in West Virginia,” summarizes suggestions for distributors to
                                   fend off negative press and lawsuits due to their role in inciting the
                                   opioid epidemic. 340 This memorandum includes the statement,
                                   “The fact is that 200 million pills over a four-year period is a
                                   significant problem. The story is made worse given the following:
                                   The distributors do not want to make their sales data public….
                                   While patient access issues can help support the need for
                                   distributors, they can also turn against distributors, as these
                                   companies must self-monitor and restrict the supply of medicine to
                                   protect their ability to continue serving the needs of doctors,
                                   pharmacists, and their patients.” 341 HDMA is an alliance of
                                   pharmaceutical distributors, largely funded by the Defendants in
                                   this litigation. 342

                          iv.      In 2001, Janssen convened an advisory board to discuss Janssen’s
                                   Duragesic patch. When the topic of Duragesic’s addictive potential
                                   was raised, advisory board members, who were all KOLs in the
                                   field of pain, had this to say:

                                   A.       “All opioids are in the same class and have the same
                                           potential for abuse.” 343

                                   B.      “So why is OxyContin so subject to abuse? … Availability
                                           - $1B worth on the market. Street price indicates likelihood
                                           of diversion.” 344

                                   C.      “Drug abusers will figure out how to abuse Duragesic once
                                           it is more available …. As market share goes up, so will
                                           abuse. Over-promising on the lack of abuseability is what
                                           got OxyContin in trouble. Duragesic should not repeat the
                                           same mistake.” 345



 340
     ABDCMDL00269293
 341
     Id.
 342
     Healthcare Distribution Alliance (formerly known as the HDMA) leadership remains with David Neu of
 Amerisource, https://www.hda.org/persons/david-neu
 343
     JAN-MS-00481055 at 1059.
 344
     Id.
 345
     Id. at 1060.

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                                    D.       These comments make it clear that members of the
                                             advisory board were well aware of the risks of misuse,
                                             addiction, and overdose deaths caused by prescription
                                             opioids, and that these risks were directly tied to
                                             availability, which increases the risk of patients getting
                                             addicted, and also diversion to non-patients. Despite the
                                             KOLs advice, Janssen promoted Duragesic in ways similar
                                             to those that “got OxyContin in trouble,” 346 including free
                                             samples and aggressive marketing of purported low risk of
                                             addiction (See 5.a.ii for discussion of Duragesic free
                                             samples and promotion) .



                     h.    Opioid manufacturers have sought to counter evidence of addiction risk by
                           claiming ‘abuse-deterrent’ status for their products. For example, Janssen
                           sought FDA approval of an “abuse deterrence” claim for tapentadol
                           (Nucynta). However, an FDA Memorandum in 2008 noted that tapentadol
                           displayed “high abuse potential comparable to that of hydromorphone, a
                           drug that is associated with high levels of abuse.” 347 The FDA authors
                           likened tapentadol to “other strong opioids such as hydromorphone and
                           oxycodone,” and warned against using tapentadol IR “chronically as this
                           increases the adverse event profile, including the likelihood of addiction
                           and abuse.” 348 Further, the memorandum noted that tapentadol causes
                           dependence and subjective withdrawal on par with oxycodone. 349

                           i.       A study by Butler et al. in Pain Medicine (2015), sponsored by
                                    Janssen, reports on a population of about 114,000 patients
                                    evaluated for prevalence and prescription-adjusted prevalence of
                                    self-reported, past 30-day “abuse” of tapentadol in comparison to

 346
     Id.
 347
     Food and Drug Administration Center for Drug Evaluation and Research (FDA-CDER), Application Number:
 22-304 (November 4, 2008), https://www.accessdata.fda.gov/drugsatfda_docs/nda/2008/022304s000_OtherR.pdf, at
 p. 2. The relatively lower rates of misuse and diversion of tapentadol formulations in the community to date are
 likely a function of lower prescribing rates, a shorter period since the drug was approved for sale, and lower level
 awareness of the drug among prescribers, patient consumers, and individuals with opioid addiction, not an
 intrinsically lower abuse potential of tapentadol.
 348
       Id.at p. 3.
 349
       Id.at p. 9.


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                                    several other opioids, between January 2011 and September
                                    2012. 350 Tapentadol IR “abuse” prevalence was reported to be
                                    lower than all other opioids except fentanyl, while tapentadol ER
                                    “abuse” prevalence was reported to be lower than other opioids
                                    except hydromorphone. 351 (Of interest, 20.8% of the population
                                    self-reported “abuse” of analgesics within the last 30 days.) 352
                                    Most importantly, rate of “abuse” adjusted for number of
                                    prescriptions 353 (tapentadol had far fewer prescriptions than other
                                    opioids), demonstrates that tapentadol “abuse” was greater than
                                    tramadol and nearly identical to hydrocodone. It is likely that
                                    tapentadol, with a similar “abuse potential” to hydrocodone, would
                                    show similar rates of addiction and diversion if prescribed at equal
                                    volumes.

                           ii.      A study by Cepeda et al. (2013), also Janssen-funded, reported a
                                    65% lower rate of “abuse” in a relatively small cohort of 6,000
                                    total tapentadol subjects compared to 37,000 oxycodone subjects,
                                    identified in 2010 and followed for one year. 354 However, the
                                    study provided no details as to the duration of exposure to either
                                    drug. Since duration of exposure is a significant cause of opioid
                                    use disorder, the absence of such data weakens the validity of the
                                    findings. Also, there are significant differences in prescribing rates
                                    between tapentadol and oxycodone, with much higher prescribing
                                    for oxycodone. Comparing these two drugs fails to take into
                                    account the longer history on the market and greater drug
                                    awareness for oxycodone. This is further supported by the animal
                                    and human studies finding tapentadol comparable to morphine,
                                    hydromorphone, and oxycodone in its likeability, reinforcing
                                    properties, and propensity for physiologic dependence, as noted in
                                    the 2008 FDA memorandum referenced above. 355


 350
     Butler SF et al. Tapentadol Abuse Potential: a postmarketing evaluation using a sample of individuals evaluated
 for substance abuse treatment. Pain Medicine. 2015;16: 119-130, at p. 119.
 351
     Id.
 352
     Id. at p. 122.
 353
     Id. at p. 119.
 354
     Cepeda, MS et al. Comparison of the risks of opioid abuse or dependence between tapentadol and oxycodone:
 results from a cohort study. Journal of Pain. 2013:14(10): 1227-1241 at p. 1227.
 355
     FDA-CDER. fn. 347, above, at pp. 8-10.


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                            iii.    For the same reasons, a drug diversion surveillance study by Dart
                                    et al., which finds relatively low rates of tapentadol diversion, is
                                    not a good measure of problematic opioid use in the community. 356
                                    Lower rates of tapentadol diversion are likely attributable to lower
                                    tapentadol prescribing rates and the ready availability of other
                                    opioids in the community. This opinion is supported by FDA
                                    reviewers, who stated in a 2013 letter to Janssen that in regard to
                                    tapentadol “abuse” in the community, “it is unclear whether the
                                    relatively low amount of abuse detected is due to a low level of
                                    awareness of the drug as a consequence of its short marketing
                                    history, low utilization, reduced opioid receptor affinity of the
                                    tapentadol molecule, or the tamper- resistant characteristics of the
                                    extended-release formulation.” 357

                    i.      Tramadol is an addictive opioid yet was marketed as a “non-narcotic.”

                            i.      After ingestion, tramadol is metabolized by the cytochrome P450
                                    2D6 liver enzyme into an active metabolite that binds the opioid
                                    receptors and exhibits the same properties as other opioids, like
                                    morphine. J&J was well aware of tramadol’s opioid status before
                                    marketing it to the public and was specifically instructed not to
                                    market tramadol as non-scheduled, i.e. non-addictive, given its
                                    robust activity at the opioid receptor. 358 Despite knowledge of
                                    tramadol’s potent activity at the opioid receptor, and despite a
                                    direct warning from the FDA, as shown below J&J falsely
                                    marketed tramadol as “non-narcotic” and repeatedly called
                                    attention to its unscheduled status, thus misleading prescribers into
                                    thinking tramadol is safer than other opioids and carries less risk of
                                    addiction.

                            ii.     The 1995 tramadol New Drug Application (NDA) makes it clear
                                    that manufacturers knew from before tramadol was marketed that
                                    the mechanism of action is that of an opioid. The original labeling
                                    for ULTRAM (tramadol) stated, “ULTRAM’s opioid activity
 356
   Dart RC, et al. Assessment of the abuse of tapentadol immediate release: the first 24 months. Journal of Opioid
 Management 2012; 8:395-402.
 357
       FDA-CDER Letter to Janssen (August 1, 2003). JAN-MS-00704213 at 4219.
 358
    FDA-CDER. NDA 20-281 File. (March 3, 1995).
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/pre96/020281Orig1s000rev.pdf..

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                                  derives from low affinity binding of the parent compound to u-
                                  opioid receptors and higher affinity binding of the M-1
                                  metabolite….,” and the NDA Review of PharmacologyToxicology
                                  Data stated, “This metabolite [M1] appears to play a major role in
                                  the opioid binding and analgesic effects, 4 times to nearly 200
                                  times as potent as the parent tramadol and is often present at
                                  equivalent blood levels.” 359

                          iii.    In a letter from the FDA to the manufacturers dated March 3, 1995,
                                  manufacturers were warned not to call attention to tramadol’s
                                  (Ultram’s) status as a non-scheduled, i.e. non-addictive drug: “As
                                  Ultram may have an abuse potential of an unknown degree, you
                                  are not permitted to advertise, promote or market the drug product
                                  by calling attention to its unscheduled status under the U.S.
                                  Controlled Substance Act.” 360

                          iv.     In a 2008 internal J&J document, under “Strengths (Prioritized)”,
                                  is the statement: “Ultram ER [tramadol extended release] is non-
                                  narcotic which mid-level practitioners can prescribe.” 361 The
                                  reference to mid-level practitioners implies that tramadol is safer
                                  than ‘narcotics’ i.e. opioids, and hence can be prescribed by nurse
                                  practitioners who have less training in the risks of
                                  pharmacotherapy.

                          v.      The “Ultram ER Core Visual Aid Tour” depicts tramadol (Ultram
                                  ER) as a safer stepping-stone in a “pain treatment ladder” between
                                  non-opioid medications like acetaminophen/NSAIDS and
                                  “scheduled narcotics.” See “Key Points – PAIN LADDER: Use
                                  ULTRAM ER before moving to scheduled narcotics to treat
                                  moderate chronic pain; Around the clock pain deserves around the
                                  clock treatment without the concerns of scheduled narcotics.” 362
                                  Although it is accurate that tramadol was not scheduled before
                                  2014, this pain treatment ladder is misleading because it suggests
                                  that tramadol is not an opioid, and that tramadol is safer than
                                  opioids, neither of which is true.

 359
     Id., at pp. 8, 332.
 360
     Id. at p. 5.
 361
     JAN-TX-00022608, produced natively at *2.
 362
     JAN-TX-00001492, produced natively at *9.

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                           vi.     Tramadol sales representatives were coached to say the following
                                   to prescribers while showing them pictures from a direct-to-
                                   consumer television ad for Ultram ER, of people looking healthy
                                   and happy while engaged in different physical activities - hiking,
                                   playing on the beach, climbing stairs: “Doctor, after seeing this
                                   commercial, your patients may come to you asking about treatment
                                   options, including those that work around the clock. Those patients
                                   with chronic low back or osteoarthritis pain may be especially
                                   interested. Let’s discuss such a challenging patient in your practice
                                   – maybe you have a 50 year old female with chronic OA pain who
                                   needs to treat her pain on a daily basis and isn’t getting sufficient
                                   pain relief from her prescription NSAIDs, but whom you would
                                   rather not move to a scheduled narcotic. For that patient, why not
                                   put her on ULTRAM ER before moving her to a scheduled
                                   narcotic?” 363 (“Ultram ER Core Visual Aid Tour”) The suggestion
                                   here is that Ultram ER is somehow less risky than other opioids
                                   because it was not “scheduled.” There is no evidence to support
                                   this suggestion and substantial evidence to the contrary.

                           vii.    Tramadol is addictive, as demonstrated by the references below.

                           viii.   In recognition of its addictive potential, in 2014 tramadol was
                                   changed from a non-scheduled drug, to a scheduled drug (Schedule
                                   IV). 364

                           ix.     A study of treatment-seeking adolescents at a substance use
                                   treatment facility in Sweden showed “tramadol was by far the most
                                   prevalent opioid detected.” 365

                           x.      A study of long-term use of tramadol following acute exposure,
                                   published in the British Medical Journal (BMJ 2019) states: “Our
                                   study suggests that tramadol carries a similar or somewhat greater
                                   risk of transitioning from acute to prolonged use compared with
                                   other short acting opioids. Although prescribing was relatively

 363
     Id., at *7
 364
     Schedules of Controlled Substances: Placement of Tramadol into Schedule IV. 79 Fed. Reg. 37,628 (July 2,
 2014).at p. 37628
 365
     Olsson MO, et al. High rates of tramadol use among treatment-seeking adolescents in Malmo, Sweden: a study of
 hair analaysis of nonmedical prescription opioid use. Journal of Addiction 2015:1-9, at p. 1.

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                                     infrequent (4% of patients with opioid fills, including those who
                                     received tramadol with other short acting opioids), tramadol was
                                     the third most frequently prescribed opioid in this study (after
                                     hydrocodone and short acting oxycodone), and its use seems to be
                                     increasing (fig 1).” 366 The authors conclude, “Our findings suggest
                                     that from the standpoint of risk of dependency, clinicians
                                     prescribing tramadol for acute pain should exercise a level of
                                     caution similar to that surrounding the prescribing of other short
                                     acting opioids, including those on higher Drug Enforcement
                                     Administration schedules.” 367

                                     A.       Persistent medical use of opioids is a risk factor for
                                              addictive use. Short-term tramadol prescribing leads to
                                              persistent use, especially as doses increase. Thiels reported
                                              that receipt of tramadol alone was associated with a 6%
                                              increase in the risk of additional opioid use relative to other
                                              short-acting opioids; a 47% increase in the risk of persistent
                                              opioid use (defined as episodes of use lasting 90 or more
                                              days, that started in the 180 days following surgery); and a
                                              41% increase in the most stringent category of persistent
                                              use (the CONSORT criteria; opioid use lasting at least 90
                                              calendar days and including either 10 or more opioid fills
                                              or 120 or more days supply); all of these increases met
                                              criteria for statistical significance. 368 Thiels also reported
                                              that doses of 300 MME and larger were associated with
                                              higher risk of prolonged use(odds ratios 1.1 to 1.6, see
                                              appendix F). 369 This aligns with CDC data supporting the
                                              conclusion that the risk of prolonged use increases
                                              significantly when patients receive prescriptions for more
                                              opioids. 370

                                     B.       Tramadol manufacturers coached sales representatives to
                                              push higher doses: “Key Points: 100 mg is only starting
 366
     Thiels CA, et al. Chronic use of tramadol after acute pain episode: cohort study. BMJ 2019;365: |1849, 1-10 at
 pp. 5-6.
 367
     Id. at p. 6.
 368
     Id., at p. 1.
 369
     Id.,at p. 6.
 370
     Shah A, Hayes CJ, Martin BC. Characteristics of Initial Prescription Episodes and Likelihood of Long-Term
 Opioid Use — United States, 2006–2015. MMWR Morb Mortal Wkly Rep 2017;66:265–269

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                                               dose for most patients – will likely need to go to 200 or 300
                                               mg. Sample Detail: ‘So if we go back to that 50 year old
                                               female patient with chronic OA pain, for whom scheduled
                                               narcotics are inappropriate does it make sense to prescribe
                                               ULTRAM ER and use it on a daily basis to provide
                                               effective pain relief? Good. There are three strengths – 100,
                                               200 and 300mg. For patients not already on tramadol, you
                                               want to start on 100mg, increasing the dose by 100mg
                                               increments every 5 days. The 100 mg dose is just a starting
                                               dose for most patients.” 371

                            xi.       Lay press articles have detailed widespread tramadol misuse,
                                      addiction, and diversion abroad. For example, a 2015 article
                                      reported that tramadol was “ubiquitous” in Egypt, and a clinic
                                      physician stated that up to 40% of his patients were “addicted” to
                                      tramadol. 372 Another tramadol article reported that “Fueled by cut-
                                      rate Indian exports and inaction by world narcotics regulators,
                                      tramadol dependency extends across Africa, the Middle East and
                                      into parts of Asia and eastern Europe.” 373 The same article
                                      reported that, in the US, emergency room visits related to tramadol
                                      had tripled between 2005-2011, and that, in Northern Ireland,
                                      “tramadol is killing more people than heroin.” 374 These sources
                                      provide additional support for the conclusion that tramadol is an
                                      addictive and dangerous drug.

                            xii.      The misleading message that tramadol is a “non-narcotic”
                                      penetrated the medical literature, including government reports and
                                      peer reviewed clinical studies, creating a false sense of safety
                                      about tramadol.

                                      A.       In a September 2011 Government Accountability Office
                                               Report to Congressional Requesters on the problem of




 371
     JAN-TX-00001492, produced natively at *12.
 372
     Drug Abuse in Egypt: A pill for work and play, The Economist, April 18, 2015.
 373
     Justin Scheck, Tramadol: The opioid crisis for the rest of the world, Wall St. J., Oct. 19, 2016.
 374
     Id.

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                                              ‘doctor shopping’, tramadol is listed in Table 1 as a “non
                                              narcotic painkiller.” 375

                                     B.       Yet within the report tramadol is among the most common
                                              drugs that patients engaged in ‘doctor shopping’ to obtain,
                                              fifth behind hydrocodone, oxycodone, morphine, and
                                              fentanyl, in a list of fourteen highly addictive prescription
                                              drugs. 376

                                     C.       J&J’s own published studies included misleading claims
                                              based on tramadol’s non-scheduled status. For example, a
                                              2007 study by Ortho-McNeil Janssen employees stated,
                                              “Concerns about regulatory scrutiny can cause the
                                              underprescription of conventional opioids and subsequent
                                              unrelieved or undermanaged pain. Thus, tramadol may be
                                              an option to postpone the use of conventional opioids while
                                              providing effective pain relief.” 377 This statement is
                                              misleading in that it differentiates between tramadol and
                                              “conventional opioids,” when in fact tramadol’s
                                              mechanism of action includes the M1 metabolite that acts
                                              in the same manner as a “conventional opioid,” and it
                                              promotes such use on the basis that “regulatory concerns”
                                              would thereby be avoided—a coded reference to the
                                              tramadol’s non-scheduled status, which J&J had been
                                              instructed not to use in its promotion of the drug. 378

                            xiii.    I personally experienced the marketing message that tramadol was
                                     not an opioid and was therefore safer and less addictive than opioid
                                     pain medications. It is my opinion that my experience was not
                                     unique, and that similar or identical messages were conveyed to
                                     the medical community in general. Tramadol prescribing went up
                                     between 2009 and 2017, even as prescribing of other opioids went

 375
     US. Government Accountability Office. (2011, September). Medicare Part D: Instances of questionable access to
 prescription drugs, (Publication No. GAO-11-699) at p. 11, https://www.gao.gov/new.items/d11699.pdf,
 376
     Id., at Table 2, p. 12.
 377
     Vorsanger G, et al., Post hoc analysis of a randomized, double-blind placebo-controlled efficacy and tolerability
 study of tramadol extended release for the treatment of osteoarthritis pain in geriatric patients. Clin Ther 2007;
 29:2520-2535, at p. 2530.
 378
     FDA-CDER. NDA 20-281 File. (March 3, 1995),
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/pre96/020281Orig1s000rev.pdf.

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                                     down. 379 With growing national awareness of the opioid epidemic,
                                     J&J promoted tramadol as a ‘safer alternative’, despite evidence
                                     of abuse, addiction, and risk of other serious side effects.

                                     A.       As tramadol prescribing went up, so did reports of harm,
                                              including addiction and death, as described below.

                                     B.       An independent Steering Committee tasked with
                                              monitoring tramadol after it went on the market found
                                              multiple reports of severe opioid withdrawal following
                                              tramadol (Ultram) cessation. Further, in some cases
                                              patients were exhibiting symptoms of withdrawal “not
                                              normally observed in opiate withdrawal, such as
                                              hallucinations, paranoia, extreme anxiety, panic attacks,
                                              confusion and unusual sensory experiences such as
                                              numbness and tingling in one or more extremities.
                                              Withdrawal symptoms of either type were one of the more
                                              prevalent adverse events associated with chronic Ultram
                                              use, comprising nearly 40% of all adverse events reported
                                              with Ultram. Most of these consisted of typical opiate
                                              withdrawal symptoms, but 1 in 8 cases presented as
                                              atypical. These results indicate that physicians and other
                                              healthcare professionals need to be aware of the potential
                                              of Ultram to induce withdrawal of the classical opioid type,
                                              and that atypical withdrawal may also occur.” 380

                                     C.       A study from the United Kingdom showed prevalence of
                                              tramadol users increased from 2000 to 2015, and then
                                              significantly reduced after tramadol was made a Schedule
                                              IV drug (2014). “Both annual tramadol utilisation and rate
                                              of tramadol-related deaths increased before tramadol
                                              classification and decreased thereafter.” 381




 379
     Thiels, “Chronic Use of Tramadol”, fn. 366, above, at Figure 1.
 380
     Senay EC, et al. Physican dependence on Ultram (tramadol hydrochloride): both opioid-likeand atypical
 withdrawal symptoms occur. Drug and Alcohol Dependence 2003;69:233-241, at p. 233.
 381
     Chen T-C, et al. A 15-year overview of increasing tramadol utilization and associated mortality and the impact of
 tramadol classification in the United Kingdom. Pharmacoepidemiol Drug Saf. 2018;27:487-494, at p. 487.

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                                     D.       A 2010 study analyzed tramadol poisoning data from 2003-
                                              2009 in the States of West Virginia, Ohio, Kentucky and
                                              Arkansas. In 2007-08, Kentucky and Arkansas imposed
                                              Schdule IV status on tramadol (several years before the
                                              FDA acted to do so), while tramadol remained unscheduled
                                              in West Virgina and Ohio. 382 The study showed that
                                              poisonings due to tramadol rose in West Virginia and Ohio
                                              throughout the study period, while tramadol poisionings
                                              rose in Kentucky and Arkansas only until Schedule IV
                                              status was imposed, and declined thereafter. 383 This study
                                              period was contemporaneous with the publication of the
                                              Vorsanger article promoting the use of tramadol as an
                                              alternative to “scheduled” opioids.

                   j.       In addition to being falsely marketed as non-narcotic and safer/less
                            addictive than other opioids, tramadol was also falsely marketed as safer
                            than non-opioid pain medications like acetaminophen and ibuprofen.

                            i.       From Ultram ER Core Visual Aid Tour: “Sample Detail:
                                     ‘ULTRAM ER gives you added confidence due to its safety
                                     profile. As you know from your experience with tramadol,
                                     ULTRAM ER is not a scheduled product and is not associated with
                                     the GI or CV warnings of NSAIDs or COX-2s, and ULTRAM ER
                                     can be used safely for long term therapy. Please make sure you are
                                     familiar with this important Safety Information before you
                                     prescribe ULTRAM ER.” 384

                            ii.      Because of tramadol’s unique metabolism and mechanism of
                                     action, it poses additional risks that do not occur with standard
                                     non-opioid medications like acetaminophen and ibuprofen.

                                     A.       The enormous inter-individual variability in CYP2D6
                                              metabolism means that tramadol imposes risks on some
                                              patients that are greater than the risks for others, because
                                              the degree of metabolism in a given individual is

 382
     Spiller HA, et al. Effect of scheduling tramadol as a controlled substance on poison center exposures to tramadol.
 Annals of Pharmacotherapy 2010;44:1016-1021, at p 1017
 383
     Id., at pp.,1018, 1020.
 384
     JAN-TX-00001492, produced natively at *10

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                                              unpredictable and unknown prior to the patient’s
                                              experience of an adverse event. Poor metabolizers won’t
                                              get sufficient analgesic effects of tramadol, and thus can be
                                              left without pain relief. Rapid metabolizers will effectively
                                              get more opioids, making them more vulnerable to
                                              toxicity. 385

                                     B.       Case reports of pediatric patients with overactive CYP2D6
                                              enzymes dying from tramadol have been reported. “These
                                              ultra-rapid metabolizers experience an increase in the
                                              production of active metabolites of codeine and tramadol,
                                              which can lead to oversedation, respiratory depression, and
                                              death.” 386 As a result, in 2017, the U.S. Food and Drug
                                              Administration updated their warnings regarding tramadol
                                              use, making tramadol contraindicated in patients under 12
                                              years of age. 387

                                     C.       Further, administering tramadol with other medications
                                              increases the unpredictability of its metabolism.
                                              “Comedication may compromise drug safety by increasing
                                              the risk of drug interactions and adverse events, a fact often
                                              underestimated in patients. Comedication can produce
                                              enzyme induction or inhibition mimicking genetic defects,
                                              which also contributes to the variable response to drugs.” 388

                            iii.     Tramadol carries the additional risk of seizures 389 and life-
                                     threatening hypoglycemia. 390 These are not risks typically seen
                                     with other analgesics, opioids and non-opioids alike.



 385
     Stamer UM, et al. Concentrations of tramadol and O-desmethyltramadol enantiomers in different CYP2D6
 genotypes. Clinical Pharmacology & Therapeutics 2007;82(1):41-47.
 386
     Fortenberry M, et al. The use of codeine and tramadol in the pediatric populations – what is the verdict now? J
 Pediatr Health Care 2019;33:117-123, at p. 117
 387
     Id.
 388
     Stamer, “Concentrations of tramadol”, fn. 385, above, at p. 45.
 389
     Ryan NE, Isbister GK. Tramadol overdose causes seizures and respiratory depression but serotonin toxicity
 appears unlikely. Clinical Toxicology 2015;53:545-550, at p. 545.
 390
     Fournier J-P, et. al. Tramadol use and the risk of hospitalization for hypoglycemia in patients with noncancer
 pain. JAMA Intern Med. 2015;175(2):186-193, at p. 186.

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                           iv.      Zeng et al. found: “Among patients aged 50 years and older with
                                    osteoarthritis, initial prescription of tramadol was associated with a
                                    significantly higher rate of mortality over 1 year of follow-up
                                    compared with commonly prescribed nonsteroidal anti-
                                    inflammatory drugs, but not compared with codeine.” 391

                  k.       The Pharmaceutical Opioid Industry has relied on flawed and industry-
                           influenced studies regarding the risk of addiction from prescription
                           opioids. The studies relied on by Defendants to estimate the risk of
                           addiction from prescription opioids provide a significant underestimation
                           of the true risk of misuse, dependence, and addiction for several reasons:

                           i.       Many studies, particularly trials conducted by opioid
                                    manufacturers, screen out patients at higher risk of addiction, who
                                    are not commonly screened from real world clinical exposure.

                           ii.      Many studies are not designed a priori to identify addiction
                                    outcomes, which means that they lack methodology to diagnose or
                                    otherwise accurately account for the cases.

                           iii.     Many studies are sponsored and/or written by industry authors,
                                    raising conflict of interest and bias issues.

                           iv.      Many studies are too short to assess addiction risk (as discussed
                                    previously).

                           v.       Many studies do not use rigorous detection methods.

                                    A.       Most studies rely solely on patient questionnaire responses
                                             to identify problematic behavior, despite generally accepted
                                             knowledge that a significant subset of respondents will not
                                             disclose behaviors of interest that could subject them to
                                             stigma, sanction, or both, as exemplified by the Fleming
                                             study (discussed above, and below).

                                    B.       A retrospective study of urine toxicology information for
                                             122 patients maintained on chronic opioid therapy, found

 391
   Zeng C, et al. Association of tramadol with all-cause mortality among patients with osteoarthritis. JAMA
 2019;321(10):969-982, at p. 969.

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                                             that 43% of patients had a “problem” with opioids: positive
                                             urine toxicology or one or more aberrant drug taking
                                             behaviors. The authors concluded “Monitoring both urine
                                             toxicology and behavioral issues captured more patients
                                             with inappropriate drug-taking behavior than either alone.
                                             Requiring a report of behavioral issues and urine
                                             toxicology screens for patients receiving chronic opioids
                                             creates a more comprehensive monitoring system than
                                             either alone.” 392

                                    C.       Urine drug tests provide more reliable evidence of drug
                                             misuse and addiction than patient report. Fleming found a
                                             24% rate of positive toxicology tests for illicit drugs.
                                             “Eighty-four of 185 (46%) patients with positive
                                             toxicology testing denied illicit drug use during the
                                             research interview, even when they were guaranteed
                                             anonymity. This finding confirms clinical observations that
                                             patients with chronic pain often mislead their physicians
                                             about illicit drug use . . . . Minimization of drug use and
                                             drug problems by patients is a major concern in all studies
                                             that try to estimate rates of addiction, especially for illegal
                                             drugs.” 393 In other words, rates of opioid use disorder were
                                             potentially 8 times higher in the same population when
                                             objective measures of urine drug screens were used.

                                    D.       Databases with information on prescribing of controlled
                                             substances provide more reliable evidence of drug misuse
                                             and addiction than patient report. Checking a database with
                                             access to this information gives more reliable evidence on
                                             duplicate prescriptions, early refills, “doctor shopping,” and
                                             other indicators of misuse and addiction. 394


 392
    Katz NP, Sherburne S, Beach M, et al. Behavioral monitoring and urine toxicology testing in patients receiving
 long-term opioid therapy. Anesth. Analg. 2003. doi:10.1213/01.ANE.0000080159.83342.B5, at p. 1097.
 393
   Fleming MF, Balousek SL, Klessig CL, Mundt MP, Brown DD. Substance Use Disorders in a Primary Care
 Sample Receiving Daily Opioid Therapy. J Pain. 2007. doi:10.1016/j.jpaa.2012.02.008, at pp. 580-581.
 394
    Ctrs. for Disease Control and Prevention, What States Need to Know about PDMPs.
 https://www.cdc.gov/drugoverdose/pdmp/states.html.


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                        l.   A particularly flawed article is the 2008 review by Fishbain, which
                             claimed that the risk of addiction from chronic use of prescription opioids
                             is 3.27% overall; 0.19% if considering de novo opioid users only. 395
                             Overall, Fishbain included 67 studies in his review and analysis of various
                             measures of addiction or abuse. With respect to the 3.27% / 0.19%
                             addiction rates, Fishbain stated that he relied on a subset of 24 studies with
                             a total of 82 addiction cases among 2,507 patients, identified in Appendix
                             1 to the article, accessed at the journal website. However, review of the
                             Appendix 1 table shows only 23 studies with 81 addiction cases among
                             2173 patients, resulting in a prevalence of 3.73%, rather than 3.27%.
                             These figures are not reliable indicators of true prevalence of OUD, for the
                             reasons explained below.

                             i.      The Fishbain analysis included studies that (a) were too short to
                                     accurately assess addiction risk; (b) administered low doses;
                                     (c) screened out patients at higher risk of addiction; (d) were not
                                     designed to identify addiction; (e) did not apply rigorous detection
                                     methods; and (f) were sponsored and/or written by industry
                                     authors, raising conflict of interest and bias issues.

                             ii.     Fishbain’s pooled analysis found substantially higher evidence of
                                     drug misuse/addiction (14.5%) when findings were based on the
                                     more objective measure of aberrant urine toxicology screens. 396

                             iii.    Fishbain’s 2008 review omitted two studies from his 1992 review
                                     that had reported substantially higher prevalence than the pooled
                                     figure of 3.27% stated in the 2008 article. Studies by Evans,
                                     Anesthesia 1981; 36:597-602, 397 (reported 16% addiction in
                                     Fishbain’s 1992 article 398), and Katon, Am J Psychiatry 1985;

 395
    Fishbain DA, Cole B, Lewis J, Rosomoff HL, Rosomoff RS. What percentage of chronic nonmalignant pain
 patients exposed to chronic opioid analgesic therapy develop abuse/addiction and/or aberrant drug-related
 behaviors? a structured evidence-based review. Pain Med. 2008; 9(4):444-459. doi:10.1111/j.1526-
 4637.2007.00370.x, at p. 444.
 396
       Id. at p. 450.
 397
    Evans PJD. Narcotic addiction in patients with chronic pain. Anaesthesia. 1981;36(6):597-602.
 doi:10.1111/j.1365-2044.1981.tb10323.x.
 398
    The Evans article states that the addiction rate was 7%, which appears to be based on 9 cases among the full
 study population of 130 subjects. (Evans at p. 600) Fishbain’s 1992 article states, “Of 56 chronic benign patients, 9
 or 16% exhibited features of addiction.” (Fishbain 1992, Table 4, at p. 83; emphasis added). Thus, comparing the
                                                                               Footnote continued on next page
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                                      142:1156-60, (reporting 18.9% addiction) 399, both appeared in
                                      Fishbain 1992 but were omitted from Fishbain 2008. Further, the
                                      Evans study, in turn, cited to an article by Maruta, Mayo Clinic
                                      Proceedings 1976; 54:241-4, 400 which reported an incidence of
                                      24% addiction among a chronic pain population. 401 Fishbain 2008
                                      stated that his search for relevant articles went back to 1966, so
                                      these three references would have been within the time period he
                                      searched. Fishbain was a litigation consultant for Defendant
                                      Purdue between at least 2005-2008, a relationship that was not
                                      disclosed in the 2008 article, and which casts the exclusion of the
                                      higher prevalence studies in a disturbing light.

                             iv.      In 1992, Fishbain had published an earlier study of addiction risk
                                      with chronic opioid exposure, which stated, “According to the
                                      results of this review, to date, only three studies have attempted to
                                      address the concepts of psychological dependence and compulsive
                                      use, i.e., addiction, in an acceptable fashion. These studies have
                                      found a prevalence from 3.2% to a high of 16% for the possibility
                                      of addiction in chronic pain patients.” 402 The same article also
                                      stated, “It is interesting to note that the only two studies to utilize
                                      urine toxicologies found illicit drug use in 6.41 and 12.5% of their
                                      chronic pain patients. These results may therefore indirectly
                                      support the results of the other ‘addiction’ studies described earlier,
                                      as they are both within the prevalence percentages derived from
                                      these studies.” 403 However, these higher prevalence figures, and


 Footnote continued from previous page
 two articles, it appears that Evans included the 74 cancer patients, who had no reported cases of addictive behavior,
 in the total of 130 subjects. Conversely, Fishbain 1992 limited his study to “Drug Abuse, Dependence, and
 Addiction in Chronic Pain Patients,” (emphasis added); thus the figure of 16% (9/56) appears accurate.
 399
   Egan K, Katon W. Chronic Pain: Lifetime Psychiatric Diagnoses and Family History. Am J Psychiatry.
 1985;(October):1156-1160, at p. 1157.
 400
    Note that the Maruta article was actually published in 1979, and the cite in the Evans article lists the incorrect
 year of publication.
 401
   Maruta T., Swanson D., Finlayson, R. Drug Abuse and Dependence in Patients with Chronic Pain. Mayo Clin.
 Proc. 1979 (April):241-244, at p. 242.
 402
    Fishbain DA, Rosomoff HL, Rosomoff RS. Drug abuse, dependence, and addiction in chronic pain patients. Clin
 J Pain. 1992. doi:10.1097/00002508-199206000-00003, at p. 80.
 403
       Id. at p. 81.


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                                         the sources from which they came, were omitted from Fishbain’s
                                         2008 analysis.

                                v.       Also, Fishbain’s 2008 review 404 included data from a 1992 study
                                         by Bouckoms, et al., which found that 14 of 59 clinic patients
                                         (24%) taking opioids for long-term met criteria for “narcotics
                                         addiction.” 405 Bouckoms also stated: “The influence of population
                                         sample bias in prevalence studies of narcotic addiction is
                                         dramatically shown in a comparison of studies in the literature.
                                         Table 5 summarizes data from the studies of Porter, Maruta, Taub,
                                         Evans, Langemark, and Portenoy, wherein the prevalence of
                                         addiction was 0.03%, 24%, 4.2%, 7%, 35%, and 5%,
                                         respectively.” 406 Notably, the 0.03% figure in Bouckoms’ text is
                                         based on the Porter and Jick 1980 Letter 407—the only one of the 5
                                         references that was not based on a population of patients treated
                                         with opioids for chronic pain.

                                vi.      All of the sources cited by Bouckoms were available to Defendants
                                         from 1992 on. Yet their promotional statements beginning in the
                                         1990s cited the inapt Porter and Jick study 408 of hospitalized
                                         patients with any exposure to opioids, regardless of duration, as the
                                         source for the claim of “less than one percent” prevalence of
                                         addiction. I am not aware of any Defendants having issued a
                                         promotional statement citing the results of 24%, 4.2%, 7%, 35% or
                                         5%, referenced by Bouckoms in 1992. 409 Nor am I aware of any
                                         such statements by Defendants that cited the range of “prevalence
                                         from 3.2% to a high of 16% for the possibility of addiction”
                                         reported by Fishbain in 1992. 410 The timeline below shows the
                                         dates of publications demonstrating far greater risks of addiction to

 404
       Fishbain, et al., “What Percentage,” fn. 395, above.
 405
    Bouckoms AJ, Masand P, Murray GB, Cassem EH, Stern TA, Tesar GE. Chronic nonmalignant pain treated with
 long-term oral narcotic analgesics. Ann Clin Psychiatry. 1992. doi:10.3109/10401239209149570, at p. 185.
 406
       Id. at p. 188.
 407
       Porter, Jick, et al., “Addiction Rare,” fn. 75, above, at p. 123.
 408
       Id.
 409
       Bouckoms, et al., “Chronic Nonmalignant,” fn. 405 above, at p. 188.
 410
       Fishbain, et al., “Drug Abuse,” fn. 402, above, at p. 80.


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                                        prescription opioids than those misrepresented by Defendants.
                                        Further, the timeline below illustrates that risks were known and
                                        published in the peer-reviewed literature well before the 1990s,
                                        when the Pharmaceutical Opioid Industry began their misleading
                                        marketing of addiction rates that were “less than 1%,” “rare,”
                                        “nonexistent,” or “negligible” (see references at 7.b above):




                               vii.     Fishbain made an admittedly “arbitrary” decision to apply a 65%
                                        “quality score” requirement, despite his own reference to a source
                                        stating that studies with scores below 50% are generally not
                                        used. 411 The Tables in the Appendix to the Fishbain 2008 article
                                        provide the quality scores only for the studies that were included,
                                        but not for those that were excluded, so it cannot be determined
                                        whether the three higher prevalence studies were excluded for

 411
       Fishbain, et al., “What Percentage,” fn.395, above, at p. 448.


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                                      failure to meet the arbitrary quality score threshold, or for other
                                      reasons. Their absence from the 2008 review casts further doubt on
                                      its reliability.

                        m.     Another flawed and biased study that was reviewed by Fishbain was co-
                               authored by Portenoy. 412 In this study, 27 physicians who attended
                               training sessions to serve on “a pain-oriented speakers’ bureau” applied a
                               “Pain Assessment and Documentation Tool” (PADT) to 388 of their
                               patients, with diverse pain syndromes, who had been on various regimens
                               of chronic opioid therapy for at least 3 months. 413 The physicians reported
                               their assessment that 5.93% (23/388) of their patients were addicted. 414
                               However, the doctors also reported that 19.3 % (75/388) engaged in 3 or
                               more “aberrant drug-taking behaviors,” such as requests for early
                               renewals, increasing doses without authorization, reporting lost or stolen
                               prescriptions, obtaining medications from other doctors, declining
                               physical/social/psychological function, over-sedation, etc.; and that 10.8%
                               (41/388) engaged in 5 or more such behaviors. 415 Their conclusion of
                               5.93% addicted lacks validity for several reasons.

                               i.     Appendix 1 states: “Of the total sample 5.93% were thought to
                                      demonstrate opioid prescription abuse/ addition [sic].” 416 This is
                                      not correct, since the 5.93% applies solely to addiction, whereas
                                      the abuse rates were much higher, as described above.

                               ii.    Other studies on Fishbain’s reference lists would count such
                                      behaviors as evidence of addiction, such that the addiction rate in
                                      the Passik study would be about 2 to 4 times greater than the
                                      5.93% rate based on the doctors’ reports. Including the full range
                                      of opioid use disorder (mild, moderate, severe) based on DSM-5
                                      criteria, this study’s summative results (5.93% + 19.3% +10.8%)
                                      demonstrate that 36.06% of patients met DSM-5 criteria for opioid


 412
    Passik SD, Kirsh KL, Whitcomb L, et al. Monitoring outcomes during long-term opioid therapy for noncancer
 pain: Results with the Pain Assessment and Documentation Tool. J Opioid Manag. 2005.
 413
       Id. at p. 258.
 414
       Id. at p. 263.
 415
       Id. at pp. 260-261.
 416
       Id. at Appendix I, p. 47.


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                                         use disorder, approximating the 40% rate of opioid use disorder
                                         consistent with the Boscarino, et al. study417 described above.

                               iii.      The possibility of underestimating the addiction rate is of
                                         particular concern in light of the participating physicians’ roles as
                                         Speakers’ Bureau trainees.

                        n.     In yet another flawed study reviewed by Fishbain et al., 10 patients, who
                               had been treated for chronic noncancer pain (CNCP) with morphine for an
                               average of 2 years, participated in a study alternating between one 60 hour
                               period of morphine and one 60 hour period of placebo (two and a half
                               days each). 418 “When asked ‘Do you have any drug craving?’ (graded as
                               mild, moderate or severe), no patients reported craving for morphine or a
                               compulsion to take any,” during the period of cessation of opioids. 419 The
                               authors concluded from these data “that there exists a group of CNCP
                               patients whose long-term opioid consumption can be beneficial and
                               remain moderate without them suffering from the consequences of
                               problematic opioid drug use.” 420 Appendix 1 states: “0% demonstrated
                               psychological dependence.” 421 This conclusion lacks validity for several
                               reasons.

                               i.        The short duration without opioids is insufficient to assess
                                         “problematic opioid drug use.” This methodology might detect
                                         physical dependence and withdrawal, but not addiction. Addiction
                                         is a chronic relapsing and remitting illness evidenced by a pattern
                                         of behavior over weeks to months, not hours to days.

                               ii.       Craving and withdrawal are very subjective and not diagnostic of
                                         addiction. Further, asking study subjects about “craving” is likely
                                         to bias their response: “craving” is a loaded term associated with

 417
       Boscarino, et al., “Opioid-use disorder,” fn. 314, above, at p. 83.
 418
    Cowan DT, Wilson-Barnett DJ, Griffiths P, Vaughan DJA, Gondhia A, Allan LG. A randomized, double-blind,
 placebo-controlled, cross-over pilot study to assess the effects of long-term opioid drug consumption and subsequent
 abstinence in chronic noncancer pain patients receiving controlled-release morphine. Pain Med. 2005.
 doi:10.1111/j.1526-4637.2005.05020.x, at p. 113.
 419
       Id. at p. 116.
 420
       Id. at p. 119.
 421
       Id. at Appendix 1.


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                                        addiction. Patients would be savvy enough to want to avoid this
                                        pejorative label.

                               iii.     This British study was funded by Janssen-Cilag, introducing
                                        inherent bias. 422

                               iv.      Although this is a small study that would have little overall impact
                                        on the pooled analysis, it is worth attention if only to demonstrate
                                        the contradiction between Fishbain’s inclusion of an almost
                                        absurdly brief study of 60 hours of exposure, while omitting
                                        relevant studies with higher prevalence that he personally cited in
                                        his earlier review article.

                        o.     Higgins, et al., performed a meta-analysis of incidence of addiction
                               studies, that is, addiction diagnosed in a pre-specified period of time
                               following the initial exposure to a prescription opioid. The authors argued
                               for a 4.7% overall incidence of iatrogenic addiction to prescription
                               opioids, 423 but their findings need to be considered in light of a number of
                               limitations.

                               i.       Higgins did not account for the role of dose and duration as the
                                        main cause of opioid use disorder. In particular, Higgins claimed to
                                        rely on the Edlund (2014) study for an incidence rate of 0.2%,
                                        while omitting Edlund’s finding that the rate in his healthcare
                                        database study was 50 times higher for those who were exposed to
                                        chronic (>90 days) high dose (>120 MME), compared to patients
                                        with only acute exposures (over 6% for the former, compared to
                                        0.12% for the latter). Edlund noted that it was “almost meaningless
                                        to talk of a single ‘rate’” 424 under these circumstances, yet that is
                                        precisely what Higgins did. Similarly, Higgins cited the Cepeda
                                        (2013) study for an overall rate of 0.5%, ignoring that this
                                        healthcare database study included all patients who “initiated”
                                        opioid therapy, without analysis of variations in rates between
                                        patients with different doses and durations of exposure.

 422
       Id. at p. 113.
 423
   Higgins C, Smith BH, Matthews K. Incidence of iatrogenic opioid dependence or abuse in patients with pain who
 were exposed to opioid analgesic therapy: a systematic review and meta-analysis. Br J Anaesth. 2018;120(6):1335-
 1344. doi:10.1016/j.bja.2018.03.009, p. 1339.
 424
       Edlund, “Role of Opioid Prescription”, fn. 59, above, at p. 562.

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                         ii.    Incidence will inevitably under-report the number of cases in a
                                population, because it will only examine data for a fixed beginning
                                and endpoint; whereas prevalence is the more accurate marker of
                                the number of cases existing in a population at a given point in
                                time, including all cases of addiction among the population taking
                                prescription opioids.

                         iii.   New onset opioid use disorder (incidence) does not take into
                                account the harm done to patients who maintain or relapse to
                                opioid addiction as a result of medical exposure to opioids. That is,
                                continued exposure imposes continued risk of misuse, dependence,
                                overdose, and the panoply of ill effects of chronic opioid therapy
                                described herein.

                         iv.    The authors speculate that the pooled rate was higher for the
                                studies of “weak” opioids than for “strong” opioids because the
                                subjects might have displayed “pseudoaddiction,” 425 i.e., because
                                the opioids were weak, they displayed drug-seeking behaviors to
                                alleviate their pain that were misconstrued by the physicians, rather
                                than because of a use disorder. The report of a higher rate with
                                lower doses is an unreliable, outlier finding that contradicts
                                numerous large, well-done studies demonstrating the dose-
                                response relationship between higher opioid dose and greater
                                addiction and mortality. Also, Higgins’ comparison of “weak”
                                versus “strong” opioids failed to meet standard methods of
                                comparing the dose of prescription opiods according to their
                                milligrams morphine equivalent, or MME.

                         v.     The authors’ restrictive criteria resulted in only 12 studies having
                                been included 426 compared to others (e.g., Vowles), who included
                                38 studies.

                         vi.    The authors erroneously stated that Vowles reached a similar
                                conclusion as to the rates of addiction (4.3 v. 4.7%), 427 when in


 425
       Id. at p. 1343.
 426
       Id. at p. 1335.
 427
       Id. at p. 1342.

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                                        fact Vowles reported rates of addiction as 8-12%, 428 or
                                        approximately 21-29% when the spectrum of mild through severe
                                        OUD is included.

                               vii.     Two of three authors report pharma consulting, including Pfizer. 429

                      p.       The 2010 Cochrane Review by Noble et al. (2010), stated that opioid
                               addiction occurred in “0.27% of participants in the studies that reported
                               that outcome,” 430 and “… serious adverse events, including iatrogenic
                               opioid addiction, were rare.” 431 However, the underlying studies in the
                               Cochrane Review that were selected for analysis were predominantly
                               funded by the manufacturers and were neither intended nor designed to
                               detect addiction risks. As detailed below, estimates based on those studies
                               are unreliable and unrealistically low.

                               i.       The Cochrane 2010 review analyzed 26 studies with 27 treatment
                                        groups that enrolled a total of 4,893 participants. Twenty ﬁve of
                                        the studies were case series or uncontrolled long-term trial
                                        continuations. The other was an RCT comparing two opioids. 432
                                        Only 8 of the 26 included studies provided data on addiction:
                                        Allan; Anderson; Hassenbusch; McIlwain; Milligan; Mystakidou;
                                        Portenoy; and Zenz.

                               ii.      Only one of these studies (Portenoy, 2007) 433 was a priori
                                        designed to assess risk of opioid use disorder/addiction. The rest
                                        were designed to assess pain efficacy, and addiction risk was an
                                        afterthought. Further, none applied rigorous detection methods, or
                                        in most cases any detection methods at all to assess opioid misuse
                                        or addiction. All of the studies excluded patients with a history of
                                        alcohol or substance use disorders. Seven of the eight studies were

 428
   Vowles, et al., “Rates of Opioid Misuse,” fn. 290, above, at p. 569; McNicol, et al., Cochrane Review 2013, fn.
 220, above, at p. 28.
 429
       Higgins, et al., “Incidence of Iatrogenic,” fn. 423, above, at p. 1343.
 430
       Noble, et al., “Long Term Opioid Management,” fn. 205, above, at p. 9.
 431
       Id. at p. 2.
 432
       Id. at p. 1.
 433
   Portenoy, et al., Long Term Use of Controlled-release Oxycodone for Noncancer Pain: Results of a 3-year
 Registry Study. Clin. J. Pain 2007; 23: 287-299, DOI: 10.1097/ 01.brs.0000186860.23078.a8.


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                                  sponsored and/or written by industry authors, raising conflict of
                                  interest and bias issues.

                          iii.    Below, I address in detail each of the eight studies providing data
                                  on addiction that were included in the 2010 Cochrane Review.

                                  A.       Allan et al. compared efficacy and safety of transdermal
                                           fentanyl and sustained release morphine in opioid naïve
                                           patients with chronic low back pain over 13 months. 434
                                           Classification as “opioid naïve” was based on the patient
                                           receiving limited opioids in the 4 weeks prior to the study,
                                           with no screening for opioid use prior to 4 weeks. 435 Opioid
                                           misuse and addiction did not warrant listing in the Adverse
                                           Event “Table 8.” 436 In other words, it was not a variable the
                                           authors were measuring, as corroborated by the absence of
                                           any instrument to assess addiction, despite the use of other
                                           survey questionnaires used to track other adverse events.

                                           I.      Yet the authors claimed “Addiction was not
                                                   reported as an adverse event for any participant.” 437
                                                   The authors further stated “No cases of addiction
                                                   were reported as an adverse event; this is in line
                                                   with other studies, which have shown that opioids
                                                   can be used in chronic noncancer pain without
                                                   significant risk of abuse. [citing Jamison et al.,
                                                   Spine 1998].” 438

                                           II.     The authors’ conclusions are not reliable based on
                                                   methodologic inadequacies to assess for addiction
                                                   risk. Even when investigators are attempting to
                                                   detect addiction and abuse, as in the studies
                                                   described above, the difficulties are daunting, as

 434
    Allan L, Richarz U, Simpson K, Slappendel R. Transdermal Fentanyl Versus Sustained Release Oral Morphine in
 Strong-Opioid Naıve Patients With Chronic Low Back Pain. Spine 2005; 30(22):2484-2490, at p. 2484.
 435
       Id. at p. 2485.
 436
       Id. at p. 2488.
 437
       Id.
 438
       Id. at p 2489.


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                                                   indicated by reports of patient concealment of
                                                   problem behaviors and substantial disparities
                                                   between questionnaire responses and urine drug
                                                   screening; when researchers do not look for
                                                   addiction and abuse, they are quite unlikely to find
                                                   such evidence. Further, the study was underwritten
                                                   by Janssen pharmaceuticals, the makers of
                                                   Duragesic, transdermal fentanyl, suggesting bias
                                                   conferred by industry sponsorship. 439

                                  B.      Anderson et al. followed 30 patients prospectively for 24
                                          months to assess the long-term safety and efficacy of
                                          chronic intrathecal morphine (injected into the spinal canal,
                                          or into the subarachnoid space so that it reaches the
                                          cerebrospinal fluid) in the treatment of chronic pain. 440
                                          Patients with “psychopathological or substance abuse
                                          problems” were screened out and deemed ineligible.
                                          Questionnaires were used to track many different variables,
                                          but none asked about signs and symptoms of opioid use
                                          disorder.

                                          I.       The authors report that one patient (1/30, 3%) “was
                                                   withdrawn from therapy because of drug-seeking
                                                   behavior . . . .” 441 This patient “complained of
                                                   continually escalating pain after infusion system
                                                   implant, despite successful pain relief during trial at
                                                   an epidural dose of less than 10mg per day … and
                                                   sought to obtain oral narcotics from other health
                                                   care providers,” although the authors do not
                                                   disclose how they obtained this information. When
                                                   further requests for dose increases were denied, the
                                                   patient dropped out of the study. 442


 439
       Id. at p. 2484.
 440
   Anderson VC, Ph D, Burchiel KJ. Prospective Study of Long-term Intrathecal Morphine in the Management of
 Chronic Nonmalignant Pain. Neurosurgery 1999;44(2), at p. 289.
 441
       Id. at p. 292.
 442
       Id. at pp. 295-296.


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                                           II.      The authors conclude “In general, the incidence of
                                                    addiction among patients with nonmalignant pain
                                                    receiving chronic opioid is low,” but their findings
                                                    are unreliable given methodological failures to
                                                    assess addiction risk. The study was sponsored by
                                                    Medtronic, Inc., the makers of the intrathecal
                                                    pump. 443

                                   C.      Hassenbusch, like Anderson, examined a case series of
                                           patients (22) with intrathecal opioid infusion pumps. In this
                                           case, they followed patients for 5 years. 444 The same
                                           limitations described in the Anderson study apply here:
                                           patients with history of mental illness or addiction were
                                           excluded, 445 and there were no screening instruments or
                                           any other detection method to assess for opioid misuse or
                                           addiction. Yet the authors conclude “There was no
                                           occurrence of opioid dependence, either physical or
                                           psychological . . . .” 446

                                   D.      McIlwain et al. did a 52-week open label extension study
                                           of oxymorphone extended release (ER) in patients with
                                           moderate to severe chronic osteoarthritis related pain. 447
                                           The study was sponsored by Endo Pharmaceuticals, the
                                           makers of the study drug. 448 The study did not use
                                           screening instruments or other detection methods for opioid
                                           misuse or addiction. Their Table 2 of adverse events did
                                           not include opioid misuse/addiction, despite including 11
                                           other opioid-related adverse events. 449 Despite the absence

 443
       Id. at p. 299.
 444
   Hassenbusch S, Stanton-Hicks M, et al. Long Term Intraspinal Infusions Of Opioids in the Treatment of
 Neuropathic Pain. Journal of Pain and Symptom Management. 1995:10:527-543, at p. 529.
 445
       Id. at p. 528.
 446
       Id. at p. 536.
 447
    McIlwain H, Ahdieh H. Safety, Tolerability, and Effectiveness of Oxymorphone Extended Release for Moderate
 to Severe Osteoarthritis Pain A One-Year Study. Am J Ther. 2005;112:106-112, p. 106.
 448
       Id. at p. 111.
 449
       Id. at p. 108.


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                                            of any method for detecting or measuring addiction risk,
                                            the authors concluded, “No instances of drug addiction or
                                            abuse were recorded.” 450

                                   E.       Milligan et al. studied 532 chronic noncancer pain patients
                                            (only 301 completed the trial) being treated with
                                            transdermal fentanyl for up to 12 months. They report
                                            “drug abuse/dependence” in less than 1% of their sample,
                                            but qualify this by saying, “none was considered definitely
                                            related to the treatment.” 451 Like the other studies included
                                            in the addiction risk assessment of the 2010 Cochrane
                                            review, this study was not designed to reliably assess
                                            addiction risk: patients with a history of substance abuse or
                                            psychiatric disorders were excluded, no screening or
                                            detection instruments for opioid misuse or addiction were
                                            described. 452

                                            I.       The authors report three cases of “drug abuse (2
                                                     moderate and 1 severe)”; two cases of “moderate
                                                     physical drug dependence (as opposed to abuse)”;
                                                     and “no reports of addiction.” 453 Yet how these
                                                     concepts were defined and the cases detected are
                                                     not clarified.

                                            II.      The study was supported by a grant from
                                                     Janssen. 454 Despite these serious flaws, the authors
                                                     concluded, “There were no reports of addictive
                                                     behavior in any of the patients during this long-term
                                                     study. Because the fear of addiction is one of the
                                                     reasons for the underuse of opioids in chronic
                                                     noncancer pain, this study provides further evidence

 450
       Id. at p 109.
 451
    Milligan K, Lanteri-minet M, Borchert K, et al. Evaluation of Long-term Efficacy and Safety of Transdermal
 Fentanyl in the Treatment of Chronic Noncancer Pain. J Pain. 2001;2(4):197-204 at p. 197,
 doi:10.1054/jpai.2001.25352.
 452
       Id. at p. 198.
 453
       Id. at pp. 201-202.
 454
       Id. at p. 197.


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                                                 that these fears are unfounded.” 455 This conclusion
                                                 does not follow from the evidence.

                                 F.      The study by Mystakidou recruited 529 patients into an
                                         open-label study of transdermal therapeutic system-
                                         fentanyl (TTS-F) for 28 days, followed by an open-label
                                         follow-up for a median of 10 months between 1996-
                                         2002. 456 The first page of the article includes the copyright
                                         symbol for the American Pain Society, which had been
                                         funded substantially by opioid manufacturers; the authors
                                         do not disclose a corporate sponsor, but they cite to prior
                                         studies of Dellemijn and Allan that acknowledged
                                         participation by Janssen-Cilag, the manufacturer of
                                         Duragesic TTS-F, and the Janssen Research Foundation. 457

                                         I.      A complete description of exclusion criteria was not
                                                 provided; the authors stated only, “Exclusion
                                                 criteria included a history of opioid abuse, surgery
                                                 in the preceding 7 days or scheduled surgery,
                                                 contraindications to opioids, and opioids use outside
                                                 of the designated treatment regimen.” 458 No
                                                 information is provided as to what constituted
                                                 “contraindications to opioids;” and the exclusion for
                                                 “opioids use outside the designated treatment
                                                 regimen” inherently eliminates the population with
                                                 the most obvious defining characteristic of
                                                 addiction.

                                         II.     The authors state, “Following discontinuation from
                                                 the study, no patient complained of withdrawal
                                                 symptoms or was found to display dependency” 459;
                                                 however, like the others described above, the

 455
       Id. at p. 203.
 456
   Mystakidou K, et al. Long-Term Management of Noncancer Pain With Transdermal Therapeutic System-
 Fentanyl. J Pain. 2003;4(6):298-306. doi:10.1016/S1526-5900(03)00632-1, at pp. 298-299.
 457
       Id. at p. 305.
 458
       Id. at p. 299.
 459
       Id. at pp. 300-301.


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                                                          Mystakidou study included no protocol to detect
                                                          addiction, withdrawal, dependency or abuse, either
                                                          during the study or after discontinuation. Without
                                                          such information, it is unknown whether patients
                                                          experienced such effects during the study, nor
                                                          whether they returned to their former opioid
                                                          regimens after the study ended.

                                        G.       Portenoy describes an open label continuation study using
                                                 controlled release (CR) oxycodone (OxyContin) in a
                                                 population of chronic pain patients who had previously
                                                 participated in controlled trials of CR oxycodone for pain.

                                                 I.       Unlike the other studies included in the 2010
                                                          Cochrane review, this study by Portenoy et al.
                                                          included specific methods for assessing opioid
                                                          misuse and addiction, including an independent
                                                          review panel to determine types of problematic
                                                          opioid use. However, the information evaluated by
                                                          the independent review panel was based entirely on
                                                          patient self-report, which we know to be inherently
                                                          unreliable, particularly in the context of a clinical
                                                          trial designed to assess pain efficacy.

                                                 II.      The authors reported “6 of 227 (2.6%) patients
                                                          could be considered to have probable drug abuse or
                                                          dependence based on the independent expert
                                                          review, none of whom met diagnostic criteria for
                                                          substance abuse.” 460 This appears to be the basis for
                                                          the “3%” figure used in the Noble 2010 review.
                                                          However, the article also reported that 133 patients
                                                          dropped out of the study, so the use of 227 as the
                                                          denominator is questionable. Further, “Patients with
                                                          self-reported past or present substance or alcohol
                                                          abuse” were excluded, as were patients with a
                                                          “documented allergy to oxycodone or other


 460
       Portenoy, et al., “Long Term Use,” fn. 433, above, at p. 296.


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                                                  opioids.” 461 Finally, the study was sponsored by
                                                  Purdue Pharma, the makers of Oxycontin. 462

                                  H.      Zenz described 100 chronic nonmalignant pain patients
                                          who were given opioids in an open-label, non-controlled
                                          setting, between 1986-1990. 463 Treatment was discontinued
                                          in 59 patients (21 did not respond to opioid therapy; 20
                                          changed to an alternative treatment method; 10 were
                                          discontinued for “lack of compliance;” and 8 died during
                                          the study period). 464

                                          I.      Zenz reported, “There were no cases of respiratory
                                                  distress or addiction to opioids.” 465 As in the studies
                                                  described above, Zenz had no protocol to look for
                                                  or record addiction or abuse.

                                          II.     No details were provided as to the type of
                                                  “noncompliance” that caused 10 patients to be
                                                  discontinued, but “noncompliance” in the setting of
                                                  opioid therapy is a red flag for concern over signs of
                                                  abuse as to which the lack of further information is
                                                  another conspicuous weakness of the study.

                         iv.      In summary, the studies contributing to the addiction rate reported
                                  in the 2010 Cochrane review are subject to common inadequacies,
                                  primary among them their focus on efficacy, lack of any method to
                                  detect addiction or misuse, and the screening out of higher risk
                                  patients. Their data do not square with the much higher prevalence
                                  of OUD reported among real world chronic pain populations, by
                                  investigators who were looking for it.



 461
       Id. at p. 288.
 462
   Id. at p. 287.
 463
   Zenz M, et al. Long Term Oral Opioid Therapy in Patients with Chronic Nonmalignant Pain. J Pain Symptom
 Manage. 1992;7(2):69-77, at p. 70.
 464
       Id. at p. 73.
 465
       Id. at p. 69.


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                                v.       As mentioned above, the 1980 New England Journal of Medicine
                                         letter to the editor entitled “Addiction Rare in Patients Treated with
                                         Narcotics,” reported only four cases of addiction among 11,882
                                         patients treated with opioids. 466 This letter did not represent
                                         relevant or reliable evidence of the risk of opioids for chronic non-
                                         cancer pain, because the article pertained to a hospitalized
                                         population, including patients who received no more than a single
                                         dose, rather than the outpatient chronic pain population for whom
                                         opioid use was promoted and became prevalent. Nonetheless, it
                                         influenced prescribers and was frequently quoted by the
                                         Pharmaceutical Opioid Industry in its advertisements for opioids in
                                         the treatment of chronic pain, as proving that “less-than-1%” of
                                         patients receiving opioids for pain becomes addicted. Defendants’
                                         promotional messages continued to cite their “less-than-1%” claim,
                                         or that addiction with chronic opioid therapy was “rare,” despite
                                         numerous peer-reviewed studies to the contrary over a period of
                                         decades. (See Appendix I.)

                      q.        In summary, there is not, and has never been, scientific support for the
                                claim that the risk of addiction from chronic opioid therapy is low, “rare,”
                                or “less than 1%.” In fact, the best evidence available shows that the risk
                                of addiction in patients taking opioids for chronic pain is between 10%
                                and 30%. In teens and young adults, the evidence shows that even very
                                limited exposure to prescription opioids can result in addiction

                      r.        The Pharmaceutical Opioid Industry also made inaccurate claims as to the
                                validity of patient screening as a predictor of who will become addicted.
                                The largest risk factors for addiction are dose and duration of opioid
                                exposure, regardless of whether a particular patient may have identifiable
                                risk factors in his or her social or genetic history. It is difficult, if not
                                impossible, to predict in advance who will and will not get addicted to a
                                prescription opioid. When it occurs in patients taking opioid medications
                                for pain, addiction is neither easy to identify nor easily managed.

                                i.       Over the years of increased use of opioids for chronic pain, as the
                                         epidemic of addiction has grown, a number of physicians have
                                         attempted to develop “screening” instruments that might identify

 466
       Porter, Jick, et al., “Addiction Rare,” fn. 75, above, at p. 123.


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                                        patients at high risk of addiction, who could then be screened out
                                        of opioid therapy, or closely monitored if such therapy were
                                        instituted. However, even if screening for established risk factors
                                        were implemented, data support the conclusion that OUDs would
                                        not be eliminated. In the Edlund study, the odds ratio for the
                                        incidence of OUDs associated with chronic use, even at low doses,
                                        was far higher than the odds ratio for established risk factors that
                                        screening instruments attempt to identify. In particular, the odds
                                        ratios with chronic low dose use (14.92), medium (28.69), and high
                                        dose (122.45) were all substantially greater than the odds ratios for
                                        mental health diagnosis (3.12); multiple mental health diagnoses
                                        (5.71); prior alcohol use disorder (3.22); and prior non-opioid
                                        abuse disorder (8.26). 467 For chronic/high dose opioid use, the
                                        odds ratio of approximately 122 is 40 times greater than for a
                                        mental health or alcohol use diagnosis, and 15 times higher than
                                        for a prior non-opioid use disorder. According to these data, the
                                        chronic use of opioids is responsible for far more OUDs than the
                                        existence of identifiable risk factors for OUDs. These data are
                                        shown in the graph below:




 467
       Edlund, et al., “Role of Opioid Prescription,” fn.59, above, at p. 563.


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                   ii.   It is true that a priori risk of addiction is related to genetics (a
                         biological parent or grandparent with addiction), as well as
                         complex psychosocial factors such as co-occurring mental illness,
                         poverty, unemployment, multigenerational trauma, and peer
                         influence. Persons with a history of addiction are more likely to
                         develop problematic opioid use to the opioid their doctor is

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                                        prescribing. 468 These risk factors notwithstanding, it is also true
                                        that addiction can occur in persons with none of these risk factors,
                                        and it is difficult, if not impossible, to predict in advance who will
                                        and will not get addicted to a prescription opioid. Hence, caution
                                        and monitoring are necessary for all patients being prescribed these
                                        medications, and even then will never be a failsafe method.

                               iii.     A validated screening instrument to predict which patients are
                                        more vulnerable to the adverse consequences of opioid therapy,
                                        including addiction, is theoretically of benefit, but to date, none
                                        has been shown to predict future adverse consequences. Kaye et al.
                                        summarizes the progress in a narrative review as follows:
                                        “Although several screening instruments and strategies have been
                                        introduced in recent years, there is no single test or instrument
                                        which can reliably and accurately predict those patients not
                                        suitable for opioid therapy or identify those who need increased
                                        vigilance or monitoring during therapy.” 469

                               iv.      Chou et al., in reviewing four studies that evaluated the accuracy
                                        of risk assessment instruments, found that three studies reported
                                        “inconsistent results” for the 10-item Opioid Risk Tool . . . . No
                                        study evaluated the effectiveness of risk mitigation strategies for
                                        improving outcomes related to overdose, addiction, abuse, or
                                        misuse.” 470

                               v.       Indeed the Opioid Risk Tool, which was touted by Defendants for
                                        screening patients who could “safely” be prescribed opioids, has
                                        recently been invalidated. “In this population, we were not able to
                                        replicate the findings of the initial ORT study. Self-report was no

 468
    Weisner CM, Campbell CI, Ray GT, et al. Trends in prescribed opioid therapy for non-cancer pain for
 individuals with prior substance use disorders. Pain. 2009;145(3):287-293, p. 292.
 469
    Kaye A, Jones M, Kaye A, et al. No Prescription Opioid Abuse in Chronic Pain: An Updated Review of Opioid
 Abuse Predictors and Strategies to Curb Opioid Abuse: Part 1.Title. Pain Physician J. 2017, at p. 573. This
 conclusion was reaffirmed in a very recent review that concluded: “Despite their widespread use, most screening
 tools involving combinations of questions were based on low-quality studies or, when diagnostic performance was
 assessed among high-quality studies, demonstrated poor performance in helping to identify patients at high vs low
 risk.” Klimas, et al., Strategies to Identify Patient Risks of Prescription Opioid Addiction When Initiating Opioids
 for Pain: A Systematic Review. JAMA Netw Open. 2019;2(5):e193365. doi:10.1001/jamanetworkopen.2019.3365.
 470
       Chou, et al., “Effectiveness and Risks – Systemic,” fn. 204, above, at p. 280.


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                                     better than chance in predicting those who would have an opioid
                                     aberrant behavior. The ORT risk variables did not predict aberrant
                                     behaviors in either gender group. There was significant disparity in
                                     the scores between self-reported ORT and the ORT supplemented
                                     with medical record data (enhanced ORT).” 471

                            vi.      There is a potential risk of any opioid risk tool: that prescribers
                                     gain a false sense of knowing who can and cannot get addicted,
                                     when in fact the biggest predictors of opioid dependency and
                                     addiction are access to opioids in the first place, and dose and
                                     duration, not personal characteristics. Indeed this focus on risky
                                     patients, rather than the inherent risk associated with opioids
                                     themselves, has been prevalent among prescribers in the 1980’s,
                                     1990’s, and 2000’s who were encouraged by the Defendants to
                                     rely on such tools, and it is in part responsible for the opioid
                                     epidemic we face today. Prescribers were incorrectly taught that by
                                     screening out high risk patients, they would avoid opioid misuse
                                     and addiction. For example, Janssen also promoted the concept
                                     that “the potential for addiction is in the patient, not the opioid”
                                     and defined high risk as “long-term exposure to opioids in
                                     addicts.” 472 Both of these statements are false and misleading:
                                     opioids are inherently addictive and long-term exposure is a
                                     significant risk factor even in patients without other risk factors for
                                     addiction. Also, as discussed in this Report, abundant scientific
                                     literature demonstrates that even short-term exposure will result in
                                     chronic use and its attendant problems of addiction and
                                     dependence in a significant subset of patients.

                            vii.     The impact of the dose-duration risks of prescribed opioids will be
                                     felt for years, as evidenced by a recent study of OUD among
                                     hospitalized chronic pain patients which found that “prevalence of
                                     OUD increased substantially from 2011 to 2015…increas[ing]
                                     from 109,222 in 2011 to 172,680 in 2015 (P< 0.001)”. 473 As

 471
   Clark, et al., Re-assessing the Validity of the Opioid Risk Tool in a Tertiary Academic Pain Management Center
 Population, Pain Med. 2018 Feb 2. doi: 10.1093/pm/pnx332. at p. 1382 (emphasis added).
 472
       JAN-MS-00310473, produced in native at *11-12.
 473
   Orhurhu V et al. Trends of opioid use disorder among hospitalized patients with chronic pain. Pain Practice.
 2019;19(6): 656-663, at p. 656.

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                                     patients are exposed to opioids for longer durations, the risk for
                                     developing OUD rises.

                            viii.    Further, prescribers who relied on Pharmaceutical Opioid Industry
                                     statements regarding the great benefits and minimal risks of
                                     prescribing opioids for pain would also gain a false sense that there
                                     was little or no need for screening.

                            ix.      It is unlikely that asking patients about risk factors will ever be a
                                     suitable method of screening, as motivation to minimize or omit
                                     risk factors in pursuit of obtaining a specific type of drug will
                                     weigh heavily on the truthfulness and transparency of reporting
                                     (See discussion of Fleming study, above). As noted in a very recent
                                     JAMA review, “Despite their widespread use, most screening tools
                                     involving combinations of questions were based on low-quality
                                     studies or, when diagnostic performance was assessed among high-
                                     quality studies, demonstrated poor performance in helping to
                                     identify patients at high vs low risk.” 474

                            x.       Finally, Defendants were well aware that primary care physicians
                                     (PCPs), had neither the skills nor the resources to effectively
                                     monitor their patients for the development of opioid misuse and
                                     addiction, but nonetheless targeted these providers to promote
                                     sales.

                                     A.       At a 2001 Scientific Advisory Board meeting for Janssen
                                              Duragesic, it was evident that Janssen was targeting front
                                              line providers, i.e. PCPs to promote Duragesic. 475

                                     B.       At the same time and at the same meeting, Janssen and its
                                              advisors were well aware the PCPs were not adequately
                                              trained to track opioid misuse and addiction: “Physicians




 474
    Klimas, et al., Strategies to Identify Patient Risks of Prescription Opioid Addiction When Initiating Opioids for
 Pain, A Systematic Review, JAMA Netw Open. 2019;2(5):e193365. doi:10.1001/jamanetworkopen.2019.3365,
 at p. 1.
 475
       JAN-MS-00481055

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                                         are writing more opioid prescriptions, but they do not know
                                         how to monitor patients.” 476

                                 C.      Janssen’s own advisors conceded that even with training, it
                                         is extremely difficult to tell which patients will develop an
                                         opioid misuse problem: “Preliminary findings show that
                                         information or impressions gained in the doctor-patient
                                         relationship cannot predict which patients will have a
                                         positive urine toxicology screen. Even urine tox screens
                                         may not be reliable as they vary, and some have low
                                         sensitivities to oxycodone and fentanyl.” 477

                                 D.      Yet despite these tangible and openly recognized
                                         limitations, Defendants launched an aggressive marketing
                                         campaign targeting prescribings, which misrepresented the
                                         facts on risk of addiction and validity of screening, and
                                         instead aggressively promoted uptitrating of their
                                         products. 478



                8.     Increased supply of prescription opioids contributed substantially to more
       individuals becoming addicted to opioids and transitioning from prescription opioids to
       illicit sources of opioids such as heroin and fentanyl (The Gateway Effect).

                  a.     There is a clear causal link between prescription opioid exposure,
                         prescription opioid misuse, and opioid addiction. Opioid misuse, or non-
                         medical use of prescription opioids (NMUPO), is defined as taking an
                         opioid medication outside of a prescribed indication. 479 With increased
                         opioid prescribing in the United States, more Americans have been
                         exposed to prescription opioids at higher doses and for longer durations
                         (including those not directly prescribed the opioid), contributing to rising
                         incidence and prevalence of opioid misuse, dependence, addiction, and
                         overdose death. 480 These are the expected and natural consequences of
                         exposing large populations to addictive and dangerous drugs, particularly
 476
     Id. at 1062.
 477
     Id. at 1064.
 478
     See JAN-MS-00779345, FDA Warning Letter to Janssen, RE: NDA #19-813, September 2, 2004.
 479
     NASEM Report (2017), fn. 42, above, at p. 152.
 480
     Id., at p. 193

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                             where tolerance requires users to increase the dose to achieve the same
                             effect, resulting in ever-greater risk of harm.

                      b.     Teens are especially vulnerable to the increased access to prescription
                             drugs. Adolescence is a time when the rapidly growing brain is more
                             plastic, and therefore more vulnerable on a neurological level, to
                             potentially irreversible brain changes caused by chronic drug exposure.
                             Teens are also more likely to take risks, without appreciating the adverse
                             consequences associated with those risks. 481

                      c.     In 2012, some 1.9 million individuals aged 12 or older misused a
                             prescription drug for the first time within the past twelve months, an
                             average of 1,350 initiatives per day. Prescription drugs now rank fourth
                             among the most-misused substances in America, behind alcohol, tobacco,
                             and marijuana. They rank second among teens. Of those who became
                             addicted to any drug in the previous year, a quarter started out using a
                             prescription medication: 17 percent began with opioid pain relievers, 5
                             percent with sedative-hypnotics, and 4 percent with stimulants. 482

                      d.     In 2017, McCabe et al. found, “Adolescents who reported both medical
                             and nonmedical use of prescription opioids were more likely to indicate
                             medical use of prescription opioids before initiating nonmedical use…” 483
                             “The findings provide compelling evidence that medical use of
                             prescription opioids and NUPO are highly correlated, especially among
                             adolescents. . . .We found that the majority of NUPO involved a history of
                             medical use, and this finding should provide some concern to health
                             professionals who prescribe opioid medications to adolescents, given the
                             serious health consequences associated with NUPO.” 484 McCabe’s
                             references for this point include the Compton (2016) article (cited in
                             8.g.vi, below) that describes the trajectory from non-medical use to illicit
                             opioids, thus emphasizing that McCabe is referring to the “Gateway
                             Effect” transition, i.e., from initial medical use, to subsequent non-medical
                             use, and ultimately to illicit opioids.

 481
       Lembke, Drug Dealer MD, fn. 2, above, at pp. 26 and 48.
 482
       Id., at pp. 25-26.
 483
   McCabe, Sean Esteban, et al. Trends in medical and nonmedical use of prescription opioids among US
 adolescents: 1976–2015. Pediatrics 139.4 (2017): e20162387, at p. 1.
 484
       Id. at p. 8.


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                        e.   McCabe et al. also conducted a subsequent prospective national study of
                             high school seniors in the U.S. to identify the sequence of medical versus
                             non-medical use of prescription opioids, and the later development of a
                             substance use disorder (addiction). They found that almost one in every
                             two high school seniors who reported the medical use of prescription
                             opioids after initiating NMUPO had two or more substance use disorder
                             (addiction) symptoms at age 35. 485

                             i.     These data show that teens who are exposed to prescription opioids
                                    without a prescription will often be further exposed through a
                                    subsequent medical prescription, and as a result are at increased
                                    risk of developing an opioid addiction later in life. The cumulative
                                    effect of prescription opioid exposure, through both medical and
                                    non-medical use, causally leads to opioid addiction. 486

                             ii.    The authors write, “These results indicate substantial risk for
                                    developing SUD among adolescents who have already initiated
                                    NMUPO and reinforce the critical role of screening when
                                    prescribing opioid analgesics to adolescents.” 487 While the authors
                                    suggest that screening can play a role in mitigating future opioid
                                    addiction, screening tools have been shown to have limited
                                    efficacy in identifying at risk patients. 488 The more significant goal
                                    is to reduce access to prescription opioids, which increases risk by
                                    increasing exposure to both medical and subsequent non-medical
                                    use.

                        f.   Writing in the journal Pediatrics (2018) Harbaugh et al. report that “The
                             majority of US high school seniors with both medical use and nonmedical
                             use of prescription opioids reported medical use before initiating
                             nonmedical use of prescription opioids, suggesting a role of leftover

 485
    McCabe SE, Veliz PT, Boyd CJ, Schepis TS, McCabe V V., Schulenberg JE. A prospective study of nonmedical
 use of prescription opioids during adolescence and subsequent substance use disorder symptoms in early midlife.
 Drug Alcohol Depend. 2019. doi:10.1016/j.drugalcdep.2018.10.027, at p. 379.
 486
       Id. at p. 381.
 487
       Id. at p. 383.
 488
    Clark MR, Hurley RW, Adams MCB. Re-assessing the Validity of the Opioid Risk Tool in a Tertiary Academic
 Pain Management Center Population. Pain Med. 2018;19(7):1382-1395. http://dx.doi.org/10.1093/pm/pnx332, at p.
 1382.


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                             prescriptions in the transition to a nonmedical use of prescription opioids.
                             This may be due, in part, to the perception that prescription opioids are
                             safe if they are prescribed by physicians despite the fact that the addiction
                             potential is similar to heroin.” 489

                        g.   There is a clear causal link between prescription opioid exposure and the
                             subsequent use of heroin and other illicit opioids.

                             i.       The natural history of the disease of addiction is that individuals
                                      with addiction require increasing amounts and/or more potent
                                      forms over time to overcome tolerance, to maintain physiologic
                                      homeostasis, and to avoid painful withdrawal.

                             ii.      As increasing numbers of Americans became addicted to
                                      prescription opioids over the past two decades, they were forced to
                                      seek out cheaper and more potent opioids. The illicit drug market
                                      met that increased demand with cheap and available heroin and
                                      fentanyl. Fentanyl, which is 50-100 times more potent than heroin
                                      and comes in white powder form similar to heroin, made its way
                                      into the illicit market without users realizing what they were
                                      ingesting, resulting in a surge of fentanyl related overdose deaths.

                             iii.     “A preponderance of evidence suggests that the major increase in
                                      prescription opioid use beginning in the late 1990s has served as a
                                      gateway to increased heroin use 490… The interrelated nature of the
                                      prescription and illicit opioid epidemics means that one cannot be
                                      addressed separately from the other.” 491

                             iv.      In the 1960s, 80% of opioid users reported that their first exposure
                                      to opioids was in the form of heroin. By the 2000s, however, 75%
                                      of opioid users reported that their first exposure to opioids was in
                                      the form of prescription painkillers. 492

 489
   Harbaugh CM, Lee JS, Hu HM, et al. Persistent Opioid Use Among Pediatric Patients After Surgery. Pediatrics.
 2018;141(1):e20172439, at p. 5.
 490
       NASEM Report (2017) at fn. 42, above at p. 215.
 491
       Id. at p. 248.
 492
    Cicero TJ, Ellis MS, Surratt HL, Kurtz SP. The changing face of heroin use in the united states: A retrospective
 analysis of the past 50 years. JAMA Psychiatry. 2014. doi:10.1001/jamapsychiatry.2014.366, at p. E-1.


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                              v.       In a study based on NSDUH data from 2002-2011, the incidence of
                                       heroin use among people who reported prior nonmedical use of
                                       prescription opioids was 19 times as high as the incidence among
                                       persons who reported no previous nonmedical use. 493

                              vi.      Prescription opioid use disorder/addiction is associated with a
                                       likelihood of heroin addiction that is 40 times as great as the
                                       likelihood with no prescription-opioid misuse or addiction, even
                                       after accounting for sociodemographic, geographic, and other
                                       substance abuse or dependence characteristics. 494

                              vii.     Eighty-six percent of urban people who used injected heroin in
                                       New York and Los Angeles in 2008 and 2009 had used
                                       prescription opioids nonmedically before using heroin. 495 Similar
                                       studies conducted in San Diego, Seattle, and New York showed
                                       that 40%, 39%, and 70% of heroin users, respectively, reported
                                       that they had used prescription opioids nonmedically before
                                       initiating heroin use. 496

                              viii.    Muhuri found that 79.5% of persons who recently began using
                                       heroin had used prescription opioids nonmedically before initiating
                                       heroin use. 497

                              ix.       A study of heroin users in Wilmington, Delaware, found that
                                       “most reported that prescription opioids were indeed their gateway
                                       to heroin use.” 498

                              x.        A 2014 research paper evaluating transitions from opioid pills to
                                       heroin injecting in Philadelphia and San Francisco, concluded that,
 493
    Muhuri PK, Gfroerer JC, Davies MC. Associations of nonmedical pain reliever use and initiation of heroin use in
 the united States. CBHSQ Data Rev. 2013;(August):1-16, at p. 1.
 494
   Compton WM, Jones CM, Baldwin GT. Relationship between Nonmedical Prescription-Opioid Use and Heroin
 Use. N Engl J Med. 2016. doi:10.1056/NEJMra1508490, at p. 157.
 495
   Lankenau SE, Teti M, Silva K, Bloom JJ, Harocopos A, Treese M. Initiation into prescription opioid misuse
 amongst young injection drug users. Int J Drug Policy. 2012;23(1):37-44, at p. 41.
 496
       Compton, et al., “Relationship Between NPOU and Heroin Use,” fn. 494, above, at p. 156.
 497
       Muhuri, et al., “Associations of NMPRU and Heroin,” fn. 493, above, at p. 1.
 498
   Inciardi JA, et al., Prescription Opioid Abuse and Diversion in an Urban Community: The Results of an Ultra-
 Rapid Assessment. Pain Medicine. 2009;10:537-548, at p. 544.

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                                     “Unlike those substances previously labeled ‘gateway drugs’,
                                     opioid pills seem to have a direct relationship with progression to
                                     heroin initiation.” 499

                            xi.      A recent article by Pielech, et al., stated, “Emerging data indicate
                                     that any exposure to opioids as an adolescent (medical or non-
                                     medical) appears to present short and long term risks for initiating
                                     heroin and prescription opioid use.” 500

                            xii.     The number of Americans aged 12 and older with past month
                                     heroin use, rose from 281,000 to 335,000 between 2011 and 2013,
                                     a significant increase from the 166,000 using heroin in 2002. 501

                            xiii.    In 2017, more than 28,000 deaths in the United States involved a
                                     synthetic opioid, primarily fentanyl, more deaths than from any
                                     other type of opioid. 502

                            xiv.     Appendix III to this report provides details of the ten-fold greater
                                     prevalence of prescription-opioid mortality compared to heroin
                                     mortality in Cabell County between 2001-2011; the wave of
                                     increased mortality related to illicit fentanyl did not arrive in
                                     Cabell County until 2015. As these data confirm, the use of
                                     addictive prescription opioids commonly precedes and results in
                                     the subsequent use of addictive heroin and fentanyl.

                   h.       The epidemic of prescription opioid misuse, addiction, and overdose death
                            beginning in the 1990s has been a significant factor contributing to the
                            subsequent increase in heroin and fentanyl misuse, addiction, and
                            overdose death. Further, the Pharmaceutical Opioid Industry knew that
                            prescription opioids are a gateway to illicit opioids. In March 2011,
                            Purdue’s “Hair Testing Advisory Panel,” convened to help make the
 499
     Mars SG, et al., “Every ‘Never’ I Said Came True”: Transitions from Opioid Pills to Heroin Injecting. Int’l J. of
 Drug Policy. 2014;25:257-266, at p. 264
 500
     Pielech, et al., Receipt of Multiple Outpatient Prescriptions Is Associated With Increased Risk of Adverse
 Outcomes in Youth: Opioid Prescribing Trends, Individual Characteristics, and Outcomes from 2005-2016. PAIN
 2020, published ahead of print. DOI:10.1097/j.pain.0000000000001812, at p. 2 (emphasis in original).
 501
     McCarthy M. Illicit drug use in the US holds steady, but heroin use is on rise. BMJ. 2013;347(September):f5544.
 doi:10.1136/bmj.f5544, at p. 1.
 502
    Cts. for Disease Control and Prevention. Synthetic Opioid Overdose Data, (Apr. 2, 2019)
 https://www.cdc.gov/drugoverdose/data/fentanyl.html.


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                           argument in favor of OxyContin’s “tamper-resistant formulation,”
                           concluded that one of the “anticipated impacts of reformulation” was
                           “reducing OxyContin’s role as a gateway drug” for recreational users. 503

              9.      Increased supply of prescription opioids contributed substantially to more
       individuals, including newborns, becoming dependent on opioids, increasing their risk
       for opioid-related morbidity and mortality (The Dependence Effect).

                  a.       Prescription opioids induce physiological dependence almost universally,
                           and dependence leads to addiction in a significant subset of users,
                           particularly as dose and duration of exposure are increased.

                  b.       Over the last 30 years, the liberal prescribing of opioids for chronic pain
                           has created a “legacy” population of patients who have been on opioids for
                           several years if not decades, and are now physically dependent on opioids,
                           making it difficult to come off (The Dependence Effect).

                  c.       Physiologic dependence, as currently defined by the DSM-5, is not the
                           same as addiction. Dependence is the process whereby the body comes to
                           rely on the drug to maintain biochemical equilibrium. When the drug is
                           not available at expected doses or time intervals, the body becomes
                           biochemically dysregulated, which manifests as the signs and symptoms
                           of withdrawal. Although opioid dependence as currently defined is not the
                           same as addiction, dependence on opioids can be associated with
                           significant morbidity and mortality, and thus is not the same thing as
                           dependence on other medications used as evidence-based treatment for
                           illness. 504 Also, while dependence is defined differently from addiction,
                           the line between them is not well-defined; in particular, the evidence of
                           addiction often comes when an opioid-dependent patient attempts to taper
                           and discovers that the loss of the drug causes the craving and compulsion
                           that define addiction. In my clinical experience, dependence in some
                           individuals can develop quickly. This clinical experience is consistent with
                           studies showing that even short-term prescriptions of opioids for acute
                           injuries result in long-term use of opioids after the acute condition has
                           passed. 505 In the DSM-4, the edition prior to the DSM-5, “opioid use

 503
     PPLP003370086 at 0106 (emphasis added).
 504
     Lembke, et al., “Weighing the Risks,” fn. 4, above.
 505
     Delgado M, et al. National Variation in Opioid Prescribing and Risk of Prolonged Use for Opioid-Naive Patients
 Treated in the Emergency Department for Ankle Sprains. Ann Emerg Med. 2018, at p. 1; see also Howard R, Fry B,
                                                                            Footnote continued on next page
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                               disorder” was called “opioid dependence.” The new DSM-5 criteria made
                               it more difficult to diagnose Opioid Use Disorder (opioid addiction), by
                               removing the criteria of withdrawal and tolerance from the definition in
                               the case of a patient taking prescribed opioids under a doctor’s care. The
                               DSM-5 thereby reduced the proportion of patients who could be diagnosed
                               with opioid use disorder.

                      d.       By 2005, long-term opioid therapy was being prescribed to approximately
                               10 million Americans. “In 2014 alone, U.S. retail pharmacies dispensed
                               245 million prescriptions for opioid pain relievers. Of these prescriptions,
                               65% were for short-term therapy (<3 weeks), but 3 to 4% of the adult
                               population (9.6 million to 11.5 million persons) were prescribed longer-
                               term opioid therapy.” 506

                      e.       Once established, opioid dependence represents a complex, debilitating,
                               and sometime irreversible clinical problem. In some cases, the suffering
                               from withdrawal is so extreme that patients say they would rather die than
                               go through it. Indeed people can die from opioid withdrawal, due to vital
                               sign instability, suicide, and other complications.

                      f.       Opioids cause neuroadaptation 507and lead to tolerance, physiologic
                               dependence, and painful withdrawal, even without the more complex
                               biopsychosocial disease of addiction. As such, tolerance, dependence, and
                               withdrawal in and of themselves represent real harm to patients as a result
                               of opioid therapy. Due to tolerance, dependence, and withdrawal, many
                               patients taking prescription opioids today will require an enormous
                               investment of resources to help them get off of opioids or onto lower, safer
                               doses.

                      g.       Withdrawal refers to the physiologic manifestations of not having the
                               substance, the symptoms of which vary from substance to substance. As a
                               general albeit oversimplified principle, the characteristics of withdrawal
                               from a given substance are the opposite of intoxication for that substance.
                               Withdrawal from opioids includes dysphoria (unhappiness), anxiety,

 Footnote continued from previous page
 Gunaseelan V, et al. Association of Opioid Prescribing with Opioid Consumption after Surgery in Michigan. JAMA
 Surgery. 2018, at p. E-6.
 506
     Volkow, et al., “Misconceptions and Mitigation,” fn. 35, above, at p. 1253.
 507
       Koob, “Neurocircuitry”, fn. 31, above, at p. 217.

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                              insomnia, agitation, restlessness, muscle fasciculations, increased heart
                              rate, elevated blood pressure, diarrhea, nausea, vomiting, and body pain.
                              Although opioid withdrawal is generally thought to be painful but not life
                              threatening, people can die from opioid withdrawal, due to vital sign
                              instability, suicide, and other complications. 508

                         h.   Clinical experience and clinical studies demonstrate that the majority of
                              opioid legacy chronic pain patients (that is, patients who have been taking
                              opioids daily for months to years) are physiologically dependent on
                              opioids and struggle to taper, even when opioids pose imminent risk.

                              i.     In a study at Oregon Health & Sciences University, after a hospital
                                     and clinic wide policy was implemented to get high dose legacy
                                     patients’ doses down below 120 MED per day, including intensive
                                     physician education from 2011 to 2013, 509 71 (63%) continued
                                     high-dose opioids in the post-intervention period. 510 In other
                                     words, even with a hospital wide initiative, a minority of patients
                                     tapered to safer doses.

                              ii.    In a Danish study in which subjects were tapered off of opioids by
                                     reducing by 10% of the daily opioid dose every week until
                                     discontinuation, 511 only 13 of 35 patients randomized to the opioid
                                     taper completed the study without dropping out. The authors wrote
                                     “Although our study is hampered by a vast dropout rate, we still
                                     feel that it is highly justiﬁed to point to the fact that the
                                     stabilization of opioid treatment is not a simple task and opioid
                                     tapering off seems to be extremely difﬁcult in CNCP patients in
                                     general . . . .” 512


 508
    Stark MM, Payne-James J. People can die from opiate withdrawal. Med Sci Law. 2017;57(2):103.
 doi:10.1177/0025802417704600 at p. 103; see also Bohnert ASB, Ilgen MA. Understanding Links among Opioid
 Use, Overdose, and Suicide. N Engl J Med. 2019. doi:10.1056/nejmra1802148, at p. 77.
 509
    Weimer MB, Hartung DM, Ahmed S, Nicolaidis C. A chronic opioid therapy dose reduction policy in primary
 care. Subst Abus. 2016;37(1):141-147, at pp. 141-142.
 510
       Id. at p. 114.
 511
    Kurita GP, Højsted J, Sjøgren P. Tapering off long-term opioid therapy in chronic non-cancer pain patients: A
 randomized clinical trial. Eur J Pain. 2018;22(8):1528-1543, at p. 1531.
 512
       Id. at p. 1536.


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                  i.        On May 18, 2006, Purdue’s David Haddox received the “excellent news”
                            from Sidney Scholl, of Pinney Associates, that “Chuck O’Brien will be
                            heading up the SUD [Substance Use Disorder] section of the DSM-V.
                            This means that there is a good chance that ‘addiction’ will replace
                            ‘dependence’ and there can be some changes in the diagnostic criteria that
                            will reflect issues related to abuse and addiction of prescription opioids.
                            Chuck asked me to assist him in this process. I would appreciate your
                            input in this process. … If Marc Schuckit, who was originally slated to
                            head up the SUD section, was still in charge, we would not be in this
                            position as he likes the use of dependence over addiction. This is an
                            opportunity we should not overlook, as major revisions of the DSM do not
                            occur very often.” Haddox wrote back, “This is really good news, Sid.” 513

                  j.        On March 24, 2008, Haddox wrote to Phillipp Lippe in response to
                            Lippe’s request for comments regarding the American Medical
                            Association’s Report on Substance Abuse. Haddox wrote, “I am glad to
                            see AMA getting into this area. Certainly the definitions and diagnostic
                            criteria need some work…we are all fortunate that Charles O’Brien is the
                            head of the substance use disorders section.” 514

                  k.        On November 6, 2008, Haddox wrote to Chuck O’Brien, “It was good to
                            see you this past weekend at ICPCD [International Conference on Pain
                            and Chemical Dependency]. I really am excited that you are educating
                            your nonclinical colleagues about the need for diagnostic nomenclature
                            that are applicable in the real (read: clinical) world.” Haddox went on to
                            ask O’Brien to consult on a tamper-resistant opioid analgesic work group,
                            and referenced prior payment of $2400 at O’Brien’s rate of $600 per hour,
                            “when it was anticipated that you would accompany us to the FDA
                            Advisory Committee in March.” Haddox added, “Also, in the interest of
                            public health and medicine, I don’t want to do anything to impair your
                            ability to complete your DSM-V duties.” O’Brien wrote back on
                            November 12, 2008, to “Dave, I would be very happy to do this but it
                            would simplify my life with Penn if we could considered this activity an
                            extension [of] my efforts of several months ago where I already signed a




 513
       PPLP004058443.
 514
       PPLPC031000425439.

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                          contract.” Haddox replied that he was “really pleased that you will be able
                          to work with us on this.” 515

                  l.      On March 25, 2008, Haddox again exchanged emails with Phillipp Lippe.
                          Dr. Lippe expressed concern that under DSM-IV, the first three criteria for
                          diagnosis of substance dependence “are inherent in pain management,”
                          that is, “(1. Tolerance; (2) withdrawal symptoms; and (3) increased dosage
                          or length of use.” Haddox wrote to Lippe, “I have great confidence that
                          the DSM-V will improve on this language, based on the chair of the SUD
                          [committee].”516

                  m.      Dr. O’Brien’s consulting and financial relationship with Purdue goes back
                          to at least 2003. 517 Through 2006, Dr. O’Brien appeared as an expert
                          witness for Purdue in at least 9 cases in the federal courts of Florida,
                          Missouri, Ohio, Texas, Georgia and Illinois and Texas state court 518
                          providing opinions that plaintiffs were not addicted, and not injured by
                          dependence, which was described as an “expected consequence” of taking
                          OxyContin and easily resolved by tapering. 519 In the Savant v. Purdue
                          case in 2005, Dr. O’Brien’s report stated that he was compensated at the
                          rate of $550 per hour. 520 O’Brien signed a consulting agreement with
                          Purdue, effective from April 2008-April 2013, 521 essentially
                          contemporaneous with his tenure as Chair of the DSM-5 Substance Abuse


 515
     PPLPC018000252189 at 2190-2191.
 516
     PPLPC018000201219 at 1219-1222.
 517
     Dr. O’Brien testified that since 1969, he has been a paid consultant to numerous pharmaceutical/opioid
 manufacturers including McNeil, Janssen, Johnson & Johnson, Cephalon, Purdue and others. O’Brien also testified
 that he “helped them [McNeil] decide to purchase Tramadol from a German company and help them get that
 started.” Timmons v Purdue Pharma (2005) Deposition of Charles P. O’Brien, produced at PKY183320282 at
 PKY183320393-0394.
 518
     Timmons v Purdue Pharma et al. No. 8:04-CV-1479-T-26MAP (M.D. Fla., 2005) produced at PKY183320282;
 Savant v Purdue Pharma et al., No. 04-394-DRH, 2005 WL 6503987 (S.D.Ill. 2005); Taylor v Purdue Pharma et al.,
 No. 504-CV-197, 2005 WL 3308504 (M.D. Georgia 2005); McKnight v Purdue Pharma et al., No. 9:04 Civ-116,
 2005 WL 5794391 (E.D.Texas 2005); Harris v Purdue Pharma et al., No. C-1-01-428, 2004 WL 4012101 (S.D.
 Ohio 2004); Branch v Purdue Pharma et al. No. LR 1696-3, 2004 WL 3752789 (Tex. Dist. Richmond Civil);
 Campbell v Purdue Pharma et al, No. 1:02CV00163TCM, 2004 WL 6057307 (E.D. Missouri 2004); Labzda v
 Purdue Pharma et al, No. 01-8726-CIV-FERGUSONSNOW, 2003 WL 26100920 (S.D. Fla. 2003); Williams v
 Purdue Pharma et al. No. 4:04CV02407 (S.D. Texas 2006), produced at PKY182921037
 519
     Harris, 2004 WL 4012101, at *5.
 520
     Savant, 2005 WL 6503987, at *9.
 521
     PPLP003478540

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                          working group, from 2007-2013. 522 Remarkably, in 2013, O’Brien
                          disclosed no financial relationship to Purdue or any other party as a co-
                          author and Chair of the group that published the rationale for the changes
                          to the new DSM-5 section on substance abuse. 523

                  n.      This sequence of events indicates that Purdue’s consultant, O’Brien, who
                          was on a first name basis with Haddox, was responsible for the work that
                          altered the DSM-5 definition of opioid use disorder in a manner that suited
                          Purdue’s goals by distinguishing between “dependence” on the one hand,
                          and “use disorder” or “addiction” on the other. This history is consistent
                          with a larger effort on the part of Purdue and other opioid manufacturers
                          to characterize dependence as a benign condition entirely separate from
                          addiction. In reality, dependence, withdrawal, and tolerance, are closely
                          linked to the disease of addiction, and from a neurobiological perspective,
                          may be identical phenomena. Further, by excluding the criteria of
                          tolerance and withdrawal, and by completely removing dependence from
                          the diagnostic criteria, the DSM-5 raised the threshold for diagnosing
                          OUD in this vulnerable population, consisting of approximately 20-30%
                          of long-term opioid users who progressed to OUD. 524 As a result of
                          making it more difficult to diagnose OUD, some of these patients were
                          denied the benefits of timely, evidence-based treatment of their conditions.

                  o.      Regardless of these changing and disparate definitions, the bottom line has
                          not changed: prescription opioids induce physiological dependence almost
                          universally, and result in addiction in a significant subset of users,
                          particularly as dose and duration of exposure are increased. Both represent
                          significant harms.

                  p.      Even limited exposure to opioids through a doctor’s prescription, can lead
                          to persistent opioid use. In other words, once patients start opioids, they
                          are at significant risk to continue them beyond the time of injury, i.e. to
                          become dependent on them.




 522
     Hasin DS, O’Brien CP et al. DSM-5 Criteria for Substance Use Disorders: recommendations and rationale. Am J
 Psychiatry 2013;170(8):834-851. at p.2,
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3767415/pdf/nihms515995.pdf,
 523
     Id., at pp. 1 and 12.
 524
     Vowles, “Rates of Opioid Misuse”, fn. 290, above, discussed above at §C.7.b.

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                               i.        Brummett et al. sought to determine the incidence of new
                                         persistent opioid use after minor and major surgical procedures.
                                         Using a nationwide insurance claims data set from 2013 to 2014,
                                         they calculated the incidence of persistent opioid use for more than
                                         90 days among opioid-naive patients after both minor and major
                                         surgical procedures. The authors found the rates of new persistent
                                         opioid use were similar between the two groups, ranging from
                                         5.9% to 6.5%. By comparison, the incidence in the nonoperative
                                         control cohort was only 0.4%. The authors wrote, “New persistent
                                         opioid use represents a common but previously underappreciated
                                         surgical complication that warrants increased awareness.” 525 The
                                         more opioids prescribed after surgery, the more patients tend to
                                         use. The number of opioid pain pills prescribed after surgery is a
                                         bigger predictor of how many opioids the patient will use, than is
                                         self-reported pain.

                               ii.       A study by Delgado et al. looked at opioid naïve patients being
                                         treated for a common minor injury, ankle sprain, in the emergency
                                         department (ED) to determine the association between initial
                                         opioid prescription intensity and transition to prolonged opioid use.
                                         The authors concluded that opioid prescribing for ED patients
                                         treated for ankle sprains is “common,” and prescriptions greater
                                         than 225 MED were associated with approximately five times
                                         higher rates of prolonged opioid use than with lower MED
                                         exposure. As the authors stated, “This is concerning because these
                                         prescriptions could still fall within 5- or 7-day supply limit policies
                                         aimed at promoting safer opioid prescribing.” 526

                               iii.      A very recent 2020 retrospective cohort study of 259,115 opioid
                                         naïve adult patients undergoing endocrine surgery found the rate of
                                         new persistent opioid use [ie, receipt of 1 or more opioid
                                         prescriptions 90-180 days postop with no intervening procedures]
                                         was 7.4% but that “[i]mportantly, the risk for persistent opioid use



 525
    Brummett CM, Waljee JF, Goesling J, et al. New persistent opioid use after minor and major surgical procedures
 in us adults. JAMA Surg. 2017., at p. 1.
 526
       Delgado, et al., “National Variation,” fn. 505, above, at p. 1


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                                        increased with higher doses of total amount of opioids
                                        prescribed.” 527

                               iv.      Numerous other studies have been published in the last three years
                                        showing persistent opioid use 3-12 months after even minor
                                        surgeries in opioid naïve patients: (10% 528; 10% 529; 5% 530; 13%531;
                                        13% 532; 8% 533;10%-13% 534)

                      q.       Conversely, the fewer opioids prescribed in the weeks and months
                               following surgery, the less likely patients are to become persistent opioid
                               users. 535 When opioids are restricted, patients do not tend to experience
                               more pain, less satisfaction, or call in more frequently for refills. 536



 527
       Kuo JH, et al. Use andMisuse of Opioids after Endocrine Surgery Operations. Annals of Surgery. 2020:1-6,at p.
 1.
 528
     Marcusa DP et al. Prescription Opioid Abuse among Opioid-Naïve Women Undergoing Immediate Breast
 Reconstruction. Plast Reconstr Surg. 2017 Dec;140(6):1081-1090. doi: 10.1097/PRS.0000000000003832,
 at p. 1081.
 529
   Lee JS et al. New Persistent Opioid Use Among Patients with Cancer after Curative-Intent Surgery. J Clin Oncol.
 2017 Dec 20;35(36):4042-4049. doi: 10.1200/JCO.2017.74.1363, at p. 4042.
 530
       Harbaugh, et al., “Persistent Opioid Use”, fn. 489, above, at p. 1.
 531
    Deyo RA et al. Use of Prescription Opioids Before and After an Operation for Chronic Pain (lumber fusion
 surgery). Pain. 2018 Jun;159(6):1147-1154. doi: 10.1097/j.pain.0000000000001202, at p. 5.
 532
    Johnson SP et al. Risk of Prolonged Opioid Use Among Opioid-Naïve Patients Following Common Hand
 Surgery Procedures. J Hand Surg Am. 2016 Oct;41(10):947-957.e3. doi: 10.1016/j.jhsa.2016.07.113, at p. 947.
 533
    Goesling J et al. Trends and Predictors of Opioid Use After Total Knee and Total Hip Arthroplasty. Pain. 2016
 Jun;157(6):1259-65. doi: 10.1097/j.pain.0000000000000516, at p. 1259.
 534
    Cook DJ et al. Benchmarks of Duration and Magnitude of Opioid Consumption After Total Hip and Knee
 Arthroplasty: a database analysis of 69,368 patients. J. Arthroplasty. 2019; 34: 638-644, at p. 638.
 535
     Brummett, “New Persistent Opioid Use”, fn. 525, above; Gil JA, et al. Risk of Prolonged Opioid Use Among
 Opioid-Naïve Patients After Common Shoulder Arthroscopy Procedures. Am J Sports Med 2019; 47(5); 1043-1050,
 at p. 1049; Larach DB, Sahara MJ, et al. Patient Factors Associated with Opioid Consumption in the Month
 Following Major Surgery. Ann Surg. 2019; 1-9, at p. 1.
 536
    Bateman BT, Cole NM, et al. Patterns of opioid prescription and use after cesarean delivery. Obstet Gyn. 2017;
 130(1): 1-17, at p. 3; Howard R, et al. Reduction in opioid prescribing through evidence-based prescribing
 guidelines. JAMA Surg 2018; 153(3): 285-287, at p. 287; Lee JS, Hu HM, Brummett CM, et al. Postoperative
 Opioid Prescribing and the Pain Scores on Hospital Consumer Assessment of Healthcare Providers and Systems
 Survey. JAMA. 2017;317(19):2013–2015, at p. 2014; Sekhri S, Arora NS, et al. Probability of opioid prescription
 refilling after surgery: does initial prescription dose matter? Ann Surg. 2018; 268(2): 271-276, at p. 275.


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                   r.       A recent NASEM Report addresses the role of opioid prescribing for acute
                            pain, including surgical and other contexts, as a contributing factor to the
                            epidemic of abuse, overdose and mortality. 537 The Report confirms the
                            increasing awareness that opioids are overprescribed even for acute pain,
                            and that an important subset of acute pain patients go on to long-term use
                            of prescription opioids and the risks that accompany such use. 538

                   s.       Just as increased exposure has been the cause of increased consumption
                            and risk, 539 decreasing exposure decreases opioid consumption and risk.
                            When doctors initiate fewer opioids, patients consume fewer opioids,
                            without increases in pain. Limiting opioid prescribing is good medicine,
                            because it decreases exposure to a dangerous and potentially lethal drug,
                            without compromising pain treatment, while at the same time reducing the
                            risk of diversion of unused pills to unauthorized users. Recent studies in a
                            wide range of medical conditions have consistently demonstrated that
                            patients’ experience of pain is not increased when opioids are reduced or
                            eliminated from treatment protocols. Examples of research are
                            summarized below.

                            i.       In a study in which patients were treated with Tylenol/ibuprofen
                                     after parathyroid and thyroid surgery, the authors concluded that
                                     such patients “need very little, if any, post-operative opioids.…
                                     Decreasing the volume of opioid medications prescribed at
                                     discharge will decrease waste and reduce potential for
                                     addiction.” 540


 537
     National Academies of Sciences, Engineering, and Medicine (NASEM 2020). 2020. Framing Opioid Prescribing
 Guidelines for Acute Pain: Developing the Evidence. Washington, DC: The National Academies
 Press..https://www.nap.edu/catalog/25555/framing-opioid-prescribing-guidelines-for-acute-pain-developing-the-
 evidence
 538
     Id., at p. 1. A further, very recent publication adds to this evidence: among women who took prescription opioids
 for acute pain after childbirth, there was an increased risk of Serious Opioid-Related Events (a composite consisting
 of persistent opioid use, opioid use disorder diagnosis, methadone or buprenorphine prescription, opioid overdose
 diagnosis, and opioid-related death) compared with women who did not take opioids after childbirth, and the risk
 increased with more post-partum opioid prescriptions. Osmundson SS, et al., Opioid prescribing after childbirth and
 risk for serious opioid-related events: a cohort study. Annals of Internal Medicine 2020; doi:107326/M19-3805, at p.
 2.
 539
     Howard, et al., “Association of Opioid Prescribing,” fn. 505, above, at p. E6.
 540
    Shindo M, Lim J, Leon E, Moneta L, Li R, Quintinalla-Diek L. Opioid Prescribing Practice and Needs in Thyroid
 and Parathyroid Surgery. JAMA Otolaryngology - Head and Neck Surgery. 2018, at p. 1102.


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                           ii.      A case-control cohort study of 1,231 patients undergoing
                                    gynecologic oncology surgery, implemented an “ultrarestrictive
                                    opioid prescription protocol” (UROPP), resulting in a significant
                                    decrease in the number of opioids dispensed during the entire
                                    perioperative period, without changes in postoperative pain scores,
                                    complications, or increases in the number of refill requests. 541

                           iii.     The authors write, “For patients who underwent laparoscopic or
                                    robotic surgery, the mean (SD standard deviation) number of
                                    opioid tablets given at discharge was 38.4 (17.4) before
                                    implementation of the UROPP and 1.3 (3.7) after implementation
                                    (P < .001). After ambulatory surgery, the mean (SD) number of
                                    opioid tablets given at discharge was 13.9 (16.6) before
                                    implementation of the UROPP and 0.2 (2.1) after implementation
                                    (P < .001). The mean (SD) perioperative oral morphine equivalent
                                    dose was reduced to 64.3 (207.2) mg from 339.4 (674.4) mg the
                                    year prior for all opioid-naive patients (P < .001).” 542

                           iv.      “The significant reduction in the number of dispensed opioids was
                                    not associated with an increase in the number of refill requests
                                    (104 patients [16.6%] in the pre-UROPP group vs 100 patients
                                    [16.5%] in the post-UROPP group; P = .99), the mean (SD)
                                    postoperative visit pain scores (1.1 [2.2] for the post-UROPP
                                    group vs 1.4 [2.3] for pre-UROPP group; P = .06), or the number
                                    of complications (29 cases [4.8%] in the post-UROPP group vs 42
                                    cases [6.7%] in the pre-UROPP group; P = .15).” 543

                           v.       Similarly, non-opioids have been found equivalent to opioids for
                                    relief of pain treated in emergency departments. “For adult ED
                                    [Emergency Department] patients with acute extremity pain, there
                                    were no clinically important differences in pain reduction at 2
                                    hours with ibuprofen and acetaminophen or 3 different opioid and


 541
    Mark J, Argentieri DM, Gutierrez CA, et al. Ultrarestrictive Opioid Prescription Protocol for Pain Management
 After Gynecologic and Abdominal Surgery. JAMA Netw Open. 2018;1(8):e185452.
 doi:10.1001/jamanetworkopen.2018.5452.
 542
       Id. at p. 1.
 543
       Id. at pp. 1-2.


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                                      acetaminophen combination analgesics.” 544 Based on data from
                                      2006-2010, opioids were prescribed for 18.7% of ED discharges;
                                      yet “[t]he findings support the inference that there are no clinically
                                      meaningful differences between the analgesic effects of these 4
                                      analgesics and suggest that a combination of ibuprofen and
                                      acetaminophen represents an alternative to oral opioid analgesics
                                      for the treatment of acute extremity pain in the ED.” 545

                     t.      In most cases, opioid dependent patients require a protracted medically
                             supervised taper to lower their doses. I have worked with others to
                             develop a protocol for safely and compassionately tapering opioid-
                             dependent patients to lower doses or to eliminate them entirely. See
                             discussion of the “BRAVO Protocol” and my recent publication on
                             patient-centered tapering, below. Studies show that pain in the majority of
                             patents improves when patients on chronic high dose opioid therapy
                             reduce their dose or come off of opioids.

                     u.      It is inhumane to abruptly discontinue opioids in patients who have
                             become dependent through a medical prescription. 546 The preferred
                             approach is a slow and compassionate taper 547when risks outweigh the
                             benefits.

                     v.      A retrospective research study of patients consecutively admitted to the
                             Mayo Clinic Pain Rehabilitation Center from 2006 through 2012, with a
                             pain diagnosis of fibromyalgia, showed that patients tapered off of opioids
                             had significant improvements in pain-related measures including numeric
                             pain scores and functionality. 548


 544
     Chang AK, et al. Effect of a Single Dose of Oral Opioid and Nonopioid Analgesics on Acute Extremity Pain in
 the Emergency Department: A Randomized Clinical Trial. JAMA. 2017;318(17):1661–1667.
 doi:10.1001/jama.2017.16190, at p.1661.
 545
     Id.
 546
     United States Department of Health and Human Services. HHS Guide for Clinicians on the Appropriate Dosage
 Reduction or Discontinuation of Long-term Opioid Analgesics. (Oct. 2019);
 https://www.hhs.gov/opioids/sites/default/files/2019-10/Dosage_Reduction_Discontinuation.pdf.
 547
       Id. at p. 3, opioid tapering flowchart based on Oregon Pain Guidance BRAVO protocol.
 548
    Cunningham JL, Evans MM, King SM, Gehin JM, Loukianova LL. Opioid tapering in fibromyalgia patients:
 Experience from an interdisciplinary pain rehabilitation program. Pain Med (United States). 2016.
 doi:10.1093/pm/pnv079, at p. 1676.


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                        w.   A meta-analysis of opioid legacy patients (patients on long-term opioid
                             therapy as a “legacy” of opioid prescribing in the 1990s) demonstrated
                             that pain improves for many patients who decrease or go off of long-term
                             opioid therapy (LTOT). Sixty-seven studies were included in this analysis.
                             Among 40 studies examining patient outcomes after dose reduction,
                             improvement was reported in pain severity (8 of 8 fair-quality studies),
                             function (5 of 5 fair-quality studies), and quality of life (3 of 3 fair-quality
                             studies). 549 The authors repeatedly note the need for more research and
                             better quality evidence. Nonetheless, the authors concluded, “this
                             systematic review suggests that pain, function and quality of life may
                             improve during and after opioid dose reduction.” 550

                        x.   In a study by Sullivan et al., high dose legacy patients were randomly
                             assigned to a 22-week taper support intervention (psychiatric consultation,
                             opioid dose tapering, and 18 weekly meetings with a physician assistant to
                             explore motivation for tapering and learn pain self-management skills) or
                             usual care (N=35). 551 The authors write, “It is important to note that the
                             opioid dose reduction in both the taper support and usual care groups was
                             achieved without a significant increase in pain severity. In fact, pain
                             severity decreased on average from baseline to 22 weeks by approximately
                             1 point on the 0–10 scale in the taper support group and approximately a
                             half-point in the usual care group. This finding is consistent with those in
                             studies of inpatient pain rehabilitation programs, which have documented
                             pain reduction with opioid dose reduction.” 552

                        y.   A small outpatient study of opioid tapering in community patients showed
                             no increase in pain intensity scores in patients who were able to taper their
                             opioids by greater than 50% from the starting dose. The median opioid
                             dose in the sample was 288 MED. The median duration of opioids was six
                             years. Median pain intensity was moderate (5 out of 10 on a numeric pain
                             rating). After four months, the median MED was reduced to 150 (IQR, 54-

 549
    Frank JW, Lovejoy TI, Becker WC, et al. Patient outcomes in dose reduction or discontinuation of long-term
 opioid therapy: A systematic review. Ann Intern Med. 2017;167(3):181-191. doi:10.7326/M17-0598, at pp. 185-186.
 550
       Id. at p. 186.
 551
    Sullivan MD, Turner JA, DiLodovico C, D’Appollonio A, Stephens K, Chan Y-F. Prescription Opioid Taper
 Support for Outpatients With Chronic Pain: A Randomized Controlled Trial. J Pain. 2017.
 doi:10.1016/j.jpain.2016.11.003, at p. 308.
 552
       Id. at p. 318.


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                           248) mg (P = .002). Of note, neither pain intensity (P = .29) nor pain
                           interference (P = .44) increased with opioid reduction. 553

                  z.       Many patients on chronic opioid therapy are reluctant to taper. In addition,
                           some physicians and authors question whether tapering is necessary if the
                           patient is stable and adherent to their current dose. Yet it is well
                           established that patients on high doses of opioids are at increased risk for a
                           variety of side effects, serious morbidities, and death. 554 Quality of life
                           may be adversely affected, despite the fact that the patient perceives
                           benefit in terms of pain relief. Indeed, as above, data show that in addition
                           to reducing opioid-related risk, pain can improve when patients lower their
                           opioids, which is evidence in and of itself that opioids do not work for
                           chronic pain for those patients.

                  aa.      A newborn is born dependent on opioids as a result of being exposed to
                           opioids in utero. According to DSM-5 criteria, the opioid dependent
                           newborn is not “addicted,” because addiction requires the manifestations
                           of certain pathological and maladaptive behaviors in conjunction with
                           opioid use. The newborn is the passive recipient of opioids due to the
                           mother’s exposure.

                           i.      The rate of admission to neonatal intensive care units (“NICU”) for
                                   neonatal abstinence syndrome (“NAS”), a drug-withdrawal
                                   syndrome that occurs after in utero exposure to opioids, increased
                                   from 7 cases per 1000 admissions to 27 cases per 1000 admissions
                                   between 2004 and 2013. 555

                           ii.     Tolia reported that “the median length of stay increased from 13
                                   days to 19 days (P<0.001 for both trends). The total percentage of
                                   NICU [neonatal intensive care unit] days nationwide that were

 553
   Darnall BD, Ziadni MS, Stieg RL, Mackey IG, Kao MC, Flood P. Patient-centered prescription opioid tapering in
 community outpatients with chronic pain. JAMA Intern Med. 2018. doi:10.1001/jamainternmed.2017.8709, at p.
 708.
 554
    Gomes T, Mamdani MM, Dhalla Ia, Paterson JM, Juurlink DN. Opioid dose and drug-related mortality in
 patients with nonmalignant pain. Arch Intern Med. 2011;171(7):686-691. doi:10.1001/archinternmed.2011.117, at p.
 686; see also Lembke et al., Weighing The Risks,” fn. 4, above, at p. 982; Edlund et al., Role of Opioid
 Prescription,” fn. 59, above, at p. 7; Chou et al., “Effectiveness and Risks,” fn. 204, above, at p. ES-1.
 555
    Tolia VN, Patrick SW, Bennett MM, et al. Increasing incidence of the neonatal abstinence syndrome in U.S.
 neonatal ICUs. Obstet Gynecol Surv. 2015. doi:10.1097/OGX.0000000000000243, at p. 2118.


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                                      attributed to the neonatal abstinence syndrome increased from
                                      0.6% to 4.0% (P<0.001 for trend), with eight centers reporting that
                                      more than 20% of all NICU days were attributed to the care of
                                      these infants in 2013.” 556

                               iii.   This approximate quadrupling of the rate of NAS is directly
                                      attributable to the epidemic of opioid use disorder that began with
                                      promotion of prescription opioids and continues to the present,
                                      accompanied by use of illicit opioid drugs. A recent article reports,
                                      “Neonatal abstinence syndrome (NAS) is seen at a very high rate
                                      at our institution in Huntington, West Virginia,” and a table of
                                      commonly identified drug combinations all include opioids
                                      (“Opioid and gabapentin,” “Opioid and THC,” “Opioid and
                                      benzodiazepine,” “Opioid and Nicotine,” “Opioid and
                                      nicotine/caffeine.”) 557 As noted previously, prescription opioids
                                      alone were most common among patients who overdosed during
                                      the period from 1999-2002, before users transitioned to heroin and
                                      fentanyl, And the same was true in Cabell County based on the
                                      available data starting in 2001. 558

                         bb.   Defendants’ promotional documents conveyed the message that
                               prescription opioid dependence is not a significant concern, and that
                               patients can be easily tapered off their prescriptions in a brief period of
                               time. That message is contradicted by the scientific literature, my own
                               clinical experience, and patients’ own accounts. 559 This messaging
                               improperly contributed to physicians’ false sense of security in the belief
                               that prescription opioids can be prescribed without substantial risk. (See
                               Appendix I). Further, misleading statements by Defendants on the efficacy
                               of opioids in the treatment of chronic pain (see Appendix I) are
                               inconsistent with the medical evidence that pain improves in many chronic
                               pain patients who are tapered down and/or off of opioids.


 556
       Id. at p. 2118.
 557
     Lester, W., et al. Symptomology Associated with In Utero Exposures to Polysubstance in an Appalachian
 Population. Marshall Jounral Of Medicine. 2019; 5(2):38-51, at pp.38,41.
 558
     Paulozzi LJ, et. al. Increasing deaths from opioid analgesics in the United States. Pharmacoepidemiology and
 Drug Safety. 2006;15:618-627, at p. 621; Appendix III to this report.
 559
     Rieder TN. In opioid withdrawal, with no help in sight. Health Aff. 2017;36(1):182-185.
 doi:10.1377/HLTHAFF.2016.0347


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              10.    Increased supply of prescription opioids contributed substantially to
       diversion of prescription opioids to individuals for whom they had not been prescribed
       (The Tsunami Effect).

                      a.       As stated in the 2013 CDC Report: “Almost all prescription drugs
                               involved in abuse come from prescriptions originally. However, once they
                               are prescribed and dispensed, prescription drugs are frequently diverted to
                               people using them without prescriptions. There are instances where
                               pharmacies are dispensing large quantities of opioids as part of an illegal
                               distribution scheme as well as pharmacists who fail to meet their
                               obligation to determine that a prescription was issued for a legitimate
                               medical purpose.” 560

                      b.       This quote highlights the large role that diversion of prescription opioids
                               has played in the current epidemic. In addition to people getting addicted
                               to and being harmed by opioids prescribed directly to them, millions have
                               been harmed through diversion of prescription opioids to unauthorized
                               sources, from teenagers experimenting to people already addicted to
                               opioids gaining easier access through the illicit market.

                      c.       An efficient distributor supply chain made prescription opioids available
                               on a mass scale to large numbers of people in rural and remote settings, as
                               well as urban and suburban settings, expanding both the licit and illicit
                               drug market, and setting this opioid epidemic apart from prior epidemics
                               and other drug epidemics. The sheer scale of access to opioids made
                               possible through the distribution and supply chain, led individuals who
                               otherwise would never have been exposed, to use and subsequently be
                               killed or harmed by opioids. 561

                      d.       It is important to recognize that although many of the communities hit
                               hardest by the opioid epidemic were already struggling with serious social
                               and economic problems, the sudden availability of and easy access to
                               opioids, initially in prescription pill form, contributed to the economic and



 560
    United States Department of Health and Human Services. Addressing Prescription Drug Abuse in the United
 States. :1-36, at p. 16. See
 https://www.cdc.gov/drugoverdose/pdf/hhs_prescription_drug_abuse_report_09.2013.pdf.
 561
       See also, paragraph, above, re likely extent of diversion of prescription opioids.


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                              social devastation of many towns across America. 562 Economic downturn
                              and the efflux of manufacturing jobs in towns across America in the last
                              thirty years, have contributed to so-called “deaths of despair”—early
                              mortality in middle aged non-Hispanic whites due primarily to drug
                              overdose. 563 Nonetheless, economic disadvantage contributes only 10-
                              20% of mortality risk attributable to opioids, whereas the larger share of
                              risk is due to supply of opioids in a given geographic region. 564

                        e.    ARCOS data on opioid prescribing show a 9% increase in opioid-related
                              hospitalizations for each one morphine kilogram equivalent increase in
                              opioid sales at the county level. 565 These data demonstrate a clear and
                              convincing geographic-specific link between opioid dispensing and opioid
                              related harm. 566

                        f.    Khan et al., writing in JAMA Internal Medicine in 2019, show that an
                              opioid prescription to one family member increases the risk of opioid
                              overdose death to others in the same family, even though they do not have
                              an opioid prescription. This study identifies 2,303 individuals who
                              experienced opioid overdose and 9,212 matched control individuals, and
                              shows that any prior opioid dispensing to family members was associated
                              with overdose (odds ratio [OR], 2.89 [95% CI, 2.59-3.23]) in other family
                              members. Risk of overdose increased in a dose-response fashion: Odds of
                              overdose (>0-<50 morphine milligram equivalents per day: OR, 2.71
                              [95% CI, 2.42-3.03]; 50-<90 morphine milligram equivalents per day: OR,
                              7.80 [95% CI, 3.63-16.78]; ≥90 morphine milligram equivalents per day:
                              OR, 15.08 [95% CI, 8.66-26.27]). 567



 562
   Ruhm CJ. Deaths of Despair or Drug Problems? NBER Working Paper No. 24188, NBER Program(s):Health
 Care, Health Economics, Public Economics, National Bureau of Economic Research, Inc. (2017).
 563
    Case A, Deaton A. Rising morbidity and mortality in midlife among white non-Hispanic Americans in the 21st
 century. Proc Natl Acad Sci. 2015. doi:10.1073/pnas.1518393112, at p. 15081.
 564
       Ruhm, et al., “Deaths of Despair,” fn. 562, above.
 565
    Ghertner R. U.S. County Prevalence of Retail Prescription Opioid Sales and Opioid-Related Hospitalizations
 from 2011 to 2014. Drug and Alcohol Dependence 194 (2019) 330–335, at p.330.
 566
       Id. at p. 333.
 567
   Khan NF, Bateman BT, et al. Association of Opioid Overdose with Opioid Prescription to Family Members.
 JAMA Intern Med. doi:10.1001/jamainternmed.2019.1064, at p. E3.


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                   g.       The recent NASEM report on guidelines for opioid use for acute pain
                            (NASEM 2020), referenced above, further states that “Opioids pose risks
                            not only to the patients for whom they are prescribed, but also to family
                            members and to the community. Unused opioid pills from opioid
                            prescriptions can be diverted to family members and friends (Bicket et al.,
                            2019; Hill et al., 2017; Howard et al., 2019; Thiels et al., 2017). These
                            unused pills, which often are not disposed of properly, may be used by the
                            patient for indications other than those for which they were prescribed
                            (e.g., as a sleep aid), or they may be used by someone other than the
                            patient (Bicket et al., 2017; Jones et al., 2014). Individuals with opioid use
                            disorder commonly report that they started by misusing prescription
                            opioids (Ali et al., 2019; Becker et al., 2008; Cicero et al., 2014; NASEM,
                            2019). Furthermore, there is an association between the size of a patient’s
                            opioid prescription and the likelihood of an opioid overdose among the
                            patient’s family members (Khan et al., 2019). This association is present
                            in children and adolescents as well as in adults (Khan et al., 2019). Among
                            individuals who misuse prescription opioids, the most common source of
                            opioids was pills from family members and friends. Among individuals
                            who use heroin, the majority (66%) previously misused prescription
                            opioids (Cicero et al., 2014). Thus, opioid overprescribing, that is,
                            prescribing more opioids than are necessary to control a patient’s acute
                            pain, is a factor contributing to the public health epidemic of opioid
                            overdoses.” 568

                   h.       Finally, an objective observer would have appreciated that the number of
                            opioid pills being shipped to pharmacies all over the United States was far
                            in excess of medical need. For example, the Annual Production Quotas
                            (APQs) that were approved by the DEA, despite FDA recommendations
                            for lower amounts, were based on industry claims of market demand,
                            without consideration of legimitate medical need or the likelihood that the
                            APQs reflected substantial diversion. 569 The DEA routinely accepted
                            sales figures and unsupported claims of increased demands as a proxy for
                            the legitimate needs of the United States. 570 The West Virginia Attorney




 568
     NASEM 2020, fn. 537, above, at pp. 15-16 (emphasis added).
 569
     West Virginia Attorney General, “DEA’s failure”, fn 55, above , at p. 29
 570
     Id.

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                             General’s office concluded that APQs “were clearly excessive from 2010-
                             2016.” 571

              11.    The increased supply of prescription opioids through licit and illicit
       sources resulted in a prescription opioid epidemic in the United States. “Epidemic,”
       defined as an outbreak of disease that spreads quickly and affects many individuals at
       the same time, is the appropriate term to describe the increase in opioid related
       morbidity and mortality beginning in the 1990’s and continuing to the present day.

                    a.       The societal effects of this opioid epidemic are worse than the societal
                             effects of other drug epidemics, because of the accelerated devastation to
                             individuals and communities, including high rates of pregnant women
                             being exposed to opioids and giving birth to babies dependent on opioids;
                             who in turn suffer long-term cognitive consequences; 572 the tragic
                             disruption to families and communities due to loss of parental
                             caregivers, 573 requiring substantial resources for fostercare; exodus from
                             the work force as a result of opioid dependence and addiction; 574 and high
                             rates of addiction and death in young people in the prime of their lives. 575

                    b.       Long-term effects of Prenatal Opioid Exposure (POE): In a recent JAMA
                             meta-analysis, the authors reported statistically significant cognitive and
                             motor deficits among children exposed to prenatal opioids compared to
                             unexposed children, from birth through age 6; deficits found among
                             children from age 7-18 were no longer statistically significant. 576 The
                             authors stated, “The cause and association of this with POE or other

 571
   Id., at p. ES-4.
 572
   Yeoh SJ, et al. Cognitive and motor outcomes of children with prenatal opioid exposure: a systemic review and
 meta-analysis. JAMA Network Open. 2019; 2(7): 1-14, at pp. 1-2.
 573
   Radel L, Baldwin M, et al. Substance use, the opioid epidemic, and the child welfare system: key findings from a
 mixed methods study. ASPE Research Brief. (March 7, 2018)
 574
    Franklin GM, et al. Early opioid prescription and subsequent disability among workers with back injuries. Spine.
 2008; 33(2): 199-204; see also Anora M. Gaudiano, How the opioid epidemic is exacerbating a US labor-market
 shortage. MarketWatch, June 29, 2018. https://www.marketwatch.com/story/how-the-opioid-epidemic-is-
 exacerbating-a-us-labor-market-shortage-2018-06-28.
 575
    From 2012 to 2015 there were 621 opioid related overdose deaths in those under age 35 in West Virginia, with
 135 of those being oxycodone. West Virginia Drug Overdose Deaths Historical Overview 2001-2015, West
 Virginia Department of Health and Human Resources, August 17, 2017, at p.9,
 https://dhhr.wv.gov/oeps/disease/ob/documents/opioid/wv-drug-overdoses-2001_2015.pdf.
 576
       Yeoh, “Cognitive and Motor Outcomes”, fn. 572, above.


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                          factors (e.g., withdrawal treatment) are uncertain but suggest that POE
                          necessitates long-term support and intervention.” 577 It should be noted
                          that, to the extent that “withdrawal treatment” may be a cause of the
                          observed deficits, such treatment itself would not have been required if not
                          for the POE that precipitated the withdrawal and accompanying need for
                          treatment. Further, “children with POE are 3 times more likely to have
                          severe intellectual disability according to the Diagnostic and Statistical
                          Manual of Mental Disorders, 5th edition criteria . . . . Poor
                          neurodevelopmental outcomes in children with POE, even from an early
                          age, is not novel information. However, our data appear to indicate that
                          neurodevelopment did not improve after preschool and worsened by
                          school age.” 578

                          i.      Similar results were reported in a study of the academic testing of
                                  Australian children who had been diagnosed with NAS at birth.
                                  Test scores of NAS children were compared to those of matched
                                  controls and the general population, at Grades 3, 5, 7, and 9, which
                                  correspond to ages 8-9, 10-11, 12-13, and 14-15, respectively. The
                                  authors reported, “Our results show that a diagnosis of NAS is
                                  associated with poorer performance in standardized and
                                  compulsory curriculum-based tests from as early as 8 or 9 years of
                                  age in grade 3 of school when compared with other NSW [New
                                  South Wales] children, including those who were matched for
                                  gender, gestation, and socioeconomic status. Indeed, by the first
                                  year of high school, children with NAS performed even more
                                  poorly than other children in grade 5 who were, on average, 2
                                  years younger. By grade 7, 44% of children with NAS had failed to
                                  meet NMS [National Minimum Standards] in ≥1 domain of
                                  testing.” 579

                          ii.     While noting that the cause for these effects is “uncertain,” the
                                  authors cited known biological mechanisms that could reasonably
                                  explain the deficits: “NAS is caused by transplacental exposure to
                                  drugs of addiction or dependency that interfere with brain function

 577
       Id. at p. 2.
 578
       Id.at pp. 8-9.
 579
    Oei JL, et al. Neonatal Abstinence Syndrome and High School Performace. Pediatrics. 2017;139(2):e20162651,
 at p. 7

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                                    and development. Opioids impair adult brain function and
                                    cognitive skills even after only a few days of use, and their effects
                                    on the developing brain are subtle but long-lasting and include
                                    alterations to neuronal apoptosis, dendritic morphogenesis, and
                                    neurotransmitter homeostasis.” 580 Further, the risk of failure to
                                    meet NMS (OR=2.5) was greater for NAS than for any other risk
                                    factor investigated. 581

                           iii.     The consistency of results from the Yeoh and Oei studies provides
                                    support for the conclusion that NAS contributes substantially to
                                    persistent developmental deficits. “This finding is of great concern
                                    because school failure increases the risk of myriad poor adult
                                    outcomes, including depression in women, criminal activity, and
                                    drug use. We showed that children with NAS performed more
                                    poorly in all 5 test domains, including reading or literacy skills, 1
                                    of the most important predictors of school success. Children who
                                    cannot read at expected levels by grade 3 are less likely to enroll in
                                    college or graduate high school. In the United Kingdom, two-
                                    thirds of prisoners have a reading age <11 years. Furthermore, test
                                    results in children with NAS worsened as they entered high
                                    school.” 582

                           iv.      A recent study found developmental delays among infants exposed
                                    to opioids in utero, even where the newborns displayed no overt
                                    symptoms of NAS. The authors reported, “Compared to infants
                                    with no detected exposures the diagnosis of developmental delay
                                    was highest among infants with NAS (7.6% versus 28.3%).
                                    However, the diagnosis was still twice as likely among opioid
                                    exposed infants without NAS (7.6% versus 15.6%).” 583

                  c.       Loss of Parental Caregivers and Impacts on Foster Care: A 2018 study of
                           the relationship between drug use and foster care reported, “Higher rates
                           of overdose deaths and drug hospitalizations correspond with higher child
                           welfare caseload rates. We estimate that in the average county nationwide,

 580
     Id.
 581
     Id.
 582
     Id.
 583
     Hall ES et al. Developmental disorders and medical complications among infants with subclinical intrauterine
 opioid exposures. Population Health Management. 2019;22;19-24, at p. 21.

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                              a 10 percent increase in the overdose death rate corresponded to a 4.4
                              percent increase in the foster care entry rate. Similarly, a 10 percent
                              increase in the average county’s drug-related hospitalization rate
                              corresponded to a 2.9 percent increase in its foster care entry rate.” 584
                              While the increased rates of overdose deaths are not exclusively linked to
                              opioids, data cited previously support the significantly greater share of
                              drug mortality attributable to opioids than to other drugs. 585 The increased
                              need for foster care is supported by the CaliforniaState data described
                              above, showing the substantial increase in opioid mortality among
                              individuals between ages 25-44, who were in their prime child-rearing
                              years when they died.

                     d.       Exodus from the workforce: It is well-known that widespread distribution
                              and use of opioids has had a significant adverse effect on the availability
                              of workers, both due to increased mortality and the myriad problems
                              associated with opioid use. According to a recent analysis, “The opioid
                              epidemic is preventing a huge portion of the population that is sidelined
                              from joining the labor force because labor intensive jobs are also the ones
                              that require workers who can pass drug tests.” 586 The opioid epidemic is
                              responsible for this detrimental impact. Franklin (2008) found that “receipt
                              of opioids for more than 7 days (odds ratio 2.2; 95% confidence interval,
                              1.5–3.1) and receipt of more than 1 opioid prescription were associated
                              significantly with work disability at 1 year.” Note also that a study of labor
                              force loss due to opioids estimates 919,400 individuals out of work force
                              due to opioids in 2015. 587

                     e.       Overdose (“OD”) deaths: A study by Dunn et al. found an increased risk
                              of opioid-related overdose death in a step-wise dose response relationship:

 584
       Radel, “Child Welfare System”, fn. 573, above, at p. 2-3.
 585
    See, e.g., Ctrs. for Disease Control and Prevention, Opioid Overdose,
 https://www.cdc.gov/drugoverdose/index.html: “Drug overdose deaths continue to increase in the United States.
 From 1999 to 2017, more than 702,000 people have died from a drug overdose. In 2017, more than 70,000 people
 died from drug overdoses, making it a leading cause of injury-related death in the United States. Of those deaths,
 almost 68% involved a prescription or illicit opioid.” (emphasis added).
 586
    Anora M. Gaudiano, How the Opioid Epidemic Is Exacerbating a US Labor-Market Shortage, MarketWatch
 (June 29, 2018), https://www.marketwatch.com/story/how-the-opioid-epidemic-is-exacerbating-a-us-labor-market-
 shortage-2018-06-28.
 587
   Ben Gitis, Isabel Soto, The Labor Force and Output Consequences of the Opioid Crisis, American Action Forum
 (Mar. 27, 2018), https://www.americanactionforum.org/research/labor-force-output-consequences-opioid-crisis/.

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                              “Compared with patients receiving 1 to 20 mg/d of opioids (0.2% annual
                              overdose rate), patients receiving 50 to 99 mg/d had a 3.7-fold increase in
                              overdose risk (95% CI, 1.5 to 9.5) and a 0.7% annual overdose rate.
                              Patients receiving 100 mg/d or more had an 8.9-fold increase in overdose
                              risk (CI, 4.0 to 19.7) and a 1.8% annual overdose rate. … Patients
                              receiving higher doses of prescribed opioids are at increased risk for
                              overdose, which underscores the need for close supervision of these
                              patients.” 588 The HRs from the Dunn study are represented in the graph at
                              paragraph 11.b. iii, below.

                              i.     Dunn reported that 4 of the 51 overdose cases (7.8%) “had notes
                                     indicating overdoses associated with applying extra fentanyl
                                     patches or sucking on a patch.” 589 This represents a 13-fold
                                     multiple of the small percentage of patients in the study population
                                     who used the fentanyl patch (0.6%). 590 This is consistent with
                                     fentanyl’s known lethality (50-100 times as potent as heroin),
                                     which may be moderated by the mechanism of a patch on the skin,
                                     but is not moderated when multiple patches are used or the patch is
                                     chewed to release the full dose at once. Furthermore, if the patch or
                                     the individuals’ skin is at a higher temperature, it will release
                                     fentanyl more quickly, increasing risk of overdose even when used
                                     as indicated.

                              ii.    In the Dunn study, the authors noted that the risk analysis was
                                     based on a comparison of overdose events among higher dose
                                     patients to those who received lower doses, rather than the patients
                                     who received none. 591 The authors also provided data on the rate
                                     of ODs at all levels of exposure, including those with no exposure,
                                     and these data further demonstrate the magnitude of increased risk.
                                     For the population with no prescribed opioids, the OD rate was 36
                                     per 100,000 person years (PYR), while increasing to 677 per
                                     100,000 PYR at doses of 50-99 mg, and 1791 per 100,000 PYR at
                                     doses of 100 mg or greater, representing rate increases of 18.8 and


 588
   Dunn KM, Saunders KW, Rutter CM, et al. Opioid prescriptions for chronic pain and overdose: A cohort study.
 Ann Intern Med. 2010;152(2):85-92, at p. 85.
 589
     Id. at p. 88.
 590
     Id. at Table 1, p. 88.
 591
     Id. at p. 90

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                                49.8, respectively, compared to no prescription opioid use. 592
                                These data are represented in the graph below:




 592
       Id. at Table 3, p. 89.

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                       iii.   Dunn also noted that their study “provides the first estimates that
                              directly link receipt of medically prescribed opioids to overdose
                              risk, and suggests that overdose risk is elevated in patients
                              receiving medically prescribed opioids, particularly in patients
                              receiving higher doses.” 593 These are important data, since they
                              direcly refute the Industry’s position that only those who misuse
                              the drugs are at risk of OUD and mortality.




 593
       Id. at p. 90.


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                            iv.       As shown in the graph above, studies by Dunn et al. and by
                                      Bohnert et al. both found an increased risk of opioid-related
                                      overdose death at each level of increased dose, and particularly at
                                      doses greater than 100 MME. In the Dunn study, compared to the
                                      reference dose of 1-<20 mg, the adjusted hazard Ratio (HR) for 20-
                                      <50 mg was 1.44; for 50-100 mg, the HR was 3.73; and for > 100
                                      mg, the HR was 8.87. In the Bohnert study, Compared to the same
                                      reference dose of 1 to < 20 MME, the HR for 20 to < 50 mg was
                                      1.88; for 50 to < 100 mg, the hazard ratio was 4.63; and at > 100
                                      mg, the hazard ratio was 7.18. All results were statistically
                                      significant. A similar pattern held for each of three diagnostic
                                      groups in the Bohnert study (substance use disorders, chronic pain,
                                      and cancer): “The adjusted hazard ratios (HRs) associated with a
                                      maximum prescribed dose of 100 mg/d or more, compared with
                                      the dose category 1 mg/d to less than 20 mg/d, were as follows:
                                      among those with substance use disorders, adjusted HR = 4.54
                                      (95% confidence interval [CI], 2.46-8.37; absolute risk difference
                                      approximation [ARDA] = 0.14%); among those with chronic pain,
                                      adjusted HR = 7.18 (95% CI, 4.85-10.65; ARDA = 0.25%); among
                                      those with acute pain, adjusted HR = 6.64 (95% CI, 3.31-13.31;
                                      ARDA = 0.23%); and among those with cancer, adjusted HR =
                                      11.99 (95% CI, 4.42-32.56; ARDA = 0.45%).” 594 Opioid therapy
                                      is generally accepted as appropriate for cancer patients, especially
                                      in late stages or severe pain. Nevertheless, with the advent of
                                      improved cancer therapies, more patients are living longer with
                                      disease or remission, and opioid therapy should be implemented
                                      with caution, to minimize risk of addiction.

                            v.        A population based nested case control study of 607,156 people
                                      prescribed opioids found that an average daily dose of 200 mg or
                                      more of morphine or equivalent was associated with a nearly 3-
                                      fold, statistically significant increased risk of opioid-related
                                      mortality relative to low daily doses (< 20 mg of morphine or




 594
     Bohnert, et al., “Association Between Prescribing Patterns,” fn. 508, above, at p.p. 1315; Olsen, et al., “Pain
 relief that matters”, fn. 264, above.


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                                     equivalent), Odds Ratio (OR) 2.88, 95% CI 1.79-4.63. 595 This is
                                     illustrated in the graph below:




                            vi.      A 2019 cohort study from the United Kingdom examined 98,140
                                     new long-term (three or more opioid prescriptions within 90 days)
                                     opioid users for 3.4 years. The authors found that “[l]ong-term
                                     opioid use is associated with serious adverse events such as major

 595
    Gomes et.al, “Opioid Dose,” fn. 554, above, at p. 686. It is noteworthy that Gomes studied “Non-Malignant
 Pain,” without regard to duration of exposure, requiring only “at least one” opioid prescription in the 120 days prior
 to death. (p. 687) This may explain the lower relative risk in the Gomes study compared to those in Bohnert (study
 of pain patients specified those with “chronic pain” conditions) and Dunn (inclusion criteria required 3 or more
 opioid prescriptions within 90 days prior to the overdose). As Edlund demonstrated, duration of exposure is a key
 factor in determining the magnitude of increased risk of opioid-related harm.

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                                       trauma, addiction and overdose. The risk increases with higher
                                       opioid doses.” 596

                             vii.      The evidence of increased dose as the cause of higher mortality is
                                       supported by evidence of the converse, that is, lower mortality
                                       following decreased dose. Recent experience in Oregon
                                       demonstrated a significant decrease in overdose deaths after
                                       policies were implemented to prioritize non-opioid pain
                                       management and to lower the doses when opioid therapy was
                                       prescribed. 597

                             viii.     We are now in the second and third waves of this epidemic, with a
                                       spike in deaths from illicit opioids, particularly heroin (second
                                       wave) and illicit fentanyl (third wave). The prescription opioid
                                       epidemic led to transition to heroin/fentanyl, and the cumulative
                                       death toll remains higher for prescription opioids, despite recent
                                       spikes in fentanyl-related mortality.

                             ix.       Based on CDC data, between 1999 and 2018, 245,218 people died
                                       from opioid pain relievers (excluding non-methadone synthetics,
                                       predominantly fentanyl). In the same time period, 115,568 died
                                       from heroin, and 124,486 people died from non-methadone
                                       synthetics (predominantly fentanyl), for a total of 240,054 deaths
                                       due to heroin and illicit fentanyl. Although these numbers are
                                       staggering, the cumulative death toll from opioid pain relievers
                                       through 2018 (245,218) was more than that of heroin and illicit
                                       fentanyl combined (240,054). 598 In short, while there has been an

 596
    Bedson J, Chen Y, Ashworth J, Hayward RA, Dunn KM, Jordan KP. Risk of adverse events in patients
 prescribed long-term opioids: A cohort study in the UK Clinical Practice Research Datalink. Eur J Pain. 2019;
 23:908-922, at p. 908.
 597
     Hedberg K, et al. Integrating public health and health care strategies to address the opioid epidemic: the Oregon
 Health Authority’s opioid initiative. Journal of Public Health Management & Practice. 2019;25(2):214-220, at pp.
 214-215.
 598
     Centers for Disease Control and Prevention, Data Brief 356. Drug Overdose Deaths in the United States, 1999–
 2018, at Data Table for Figure 3, https://www.cdc.gov/nchs/data/databriefs/db356_tables-508.pdf. Recently
 released provisional mortality data reported 12,068 prescription-opioid-related deaths in 2019, and 51,415 total
 deaths related to heroin and fentanyl in that year. These data if confirmed, will cause heroin and fentanyl deaths to
 exceed those related to prescription opioids for the first time in the 20+ year history of the epidemic. Katz, J., et al.,
 In Shadow of Pandemic, U.S. Drug Overdose Deaths Resurge to Record. The New York Times, July 15, 2020.
 https://www.nytimes.com/interactive/2020/07/15/upshot/drug-overdose-deaths.html.


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                                  obvious recent spike in deaths related to heroin and illicit fentanyl,
                                  the number of deaths caused by non-fentanyl prescription opioids
                                  remains unacceptably high, and cumulatively exceeds deaths
                                  associated with heroin and fentanyl.

                          x.      Prescription opioid related deaths, excluding fentanyl and
                                  methadone, continued to rise through 2017, with 2018 registering
                                  the first substantial annual decline in prescription opioid related
                                  deaths since 1999 (14,495 deaths in 2017; 12,550 in 2018). 599 A
                                  report recently released by the CDC shows that drug overdose
                                  deaths in women aged 30–64 years due to prescription opioids
                                  have been steadily rising between 1999 and 2017. “The crude rate
                                  for deaths involving prescription opioids increased from 1999 to
                                  2017 for every age group, with the largest increases (>1,000%)
                                  among women aged 55–64 years.” 600

                 f.       Nonfatal overdose: While fatal cases justifiably capture our attention, it
                          must also be recognized that the cost of a nonfatal overdose is far greater
                          in terms of medical and community resources, both in terms of medical
                          costs to treat the overdose episode itself, and to provide long-term care for
                          an OUD that may have given rise to the overdose event.

                          i.      According to the CDC, among approximately 45 million
                                  emergency department visits reported by the 16 Enhanced State
                                  Opioid Overdose Surveillance (ESOOS) states from July 2016
                                  through September 2017, “a total of 119,198 (26.7 per 10,000
                                  visits) were suspected opioid overdoses.” 601

                          ii.     Unlike the available fatal overdose data, which are categorized
                                  according to non-fentanyl prescription opioids, heroin, etc., the
                                  CDC/ESOOS on emergency department visits are not broken out
                                  into categories. Although the cumulative total of prescription
                                  opioid mortality since 1999 exceeds mortality for fentanyl plus
 599
       Id.
 600
   VanHouten JP, Rudd RA, Ballesteros MF, Mack KA. Drug Overdose Deaths Among Women Aged 30–64 Years
 — United States, 1999–2017. MMWR Morb Mortal Wkly Rep. 2019;68(1):1-5, at p. 2.
 601
   Vivolo-Kantor AM, Seth P, Gladden RM, et al. Vital Signs: Trends in Emergency Department Visits for
 Suspected Opioid Overdoses — United States, July 2016–September 2017. MMWR Morb Mortal Wkly Rep.
 2018;67:279–285, at p. 281.


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                                         heroin, the mortality rate for the latter category has recently begun
                                         to exceed the former; it is likely that the nonfatal overdose hospital
                                         admissions have occurred in a similar ratio of prescription opioids
                                         to illicit heroin and fentanyl.

                               iii.      Tens of thousands of Americans experience non-fatal overdose,
                                         both in medical settings, like the emergency department, and in the
                                         field, creating a significant burden on the health care system and
                                         on first responders, not to mention the victims of near overdose
                                         themselves. In the paper by Dunn et al., previously discussed, the
                                         authors found “[m]ore than 7 nonfatal overdose events occurred
                                         for each fatal overdose” in the study cohort. 602 “The overall
                                         overdose rate in the sample was 148 per 100,000 person-years,
                                         indicating that fatal overdose represents only the tip of the iceberg
                                         (88% of identified overdose events were nonfatal). Most of the
                                         nonfatal overdoses were clinically serious.” 603 These data mean
                                         that on a nationwide basis, the over 14,000 fatal prescription opioid
                                         overdoses in 2017 604 would translate to over 100,000 nonfatal
                                         overdoses during that same year. Similarly, the approximately
                                         1000 opioid-related overdose deaths in Cabell County between
                                         2001-2018 would translate to over 7,000 non-fatal overdoses.

                        g.     Suicide: The 2019 cohort study from the United Kingdom which
                               examined 98,140 new long-term (three or more opioid prescriptions within
                               90 days) opioid users for 3.4 years, and found that long-term use was
                               associated with serious adverse events, also found that the risk of suicide
                               by intentional overdose increases with higher opioid doses.” 605 The
                               authors also report that intentional opioid overdose was nearly 4x more
                               likely in patients prescribed long-term opioids at the highest doses
                               (>50mg).. 606


 602
       Dunn, et al., “Opioid Prescriptions,” fn. 588, above, at p. 89.
 603
       Id., p. 91.
 604
       CDC, Data Brief 356, fn. 598, above, at p. 4.
 605
    Bedson J, Chen Y, Ashworth J, Hayward RA, Dunn KM, Jordan KP. Risk of adverse events in patients
 prescribed long-term opioids: A cohort study in the UK Clinical Practice Research Datalink. Eur J Pain. 2019;
 23:908-922, at p. 908.
 606
       Id. at p. 913.


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                               i.       Writing in the journal Pain, Ilgen et al. found that the higher the
                                        dose of opioids, the greater the suicide risk, an association which
                                        was not present in patients with chronic pain on acetaminophen, a
                                        non-opioid pain pill. The authors write, “Increased dose of opioids
                                        was found to be a marker of increased suicide risk, even when
                                        relevant demographic and clinical factors were statistically
                                        controlled . . . . There was no significant association between
                                        acetaminophen dose and regimen and suicide risk, suggesting that
                                        the observed effects may be specific to opioids.” 607

                               ii.      In a New England Journal of Medicine article on opioids and
                                        suicide risk, Bohnert et al. note that “A reduction in the quantity of
                                        prescribed opioids may function as a ‘means restriction’ by
                                        reducing patients’ access to a lethal means of causing an
                                        intentional or unintentional opioid overdose. To this end, clinicians
                                        should ask about their patients’ access to opioids, including past
                                        prescriptions and medications prescribed to others in the same
                                        home. Taper protocols that involve small decreases in dosage over
                                        time are successful for reducing dosages and may actually reduce
                                        pain intensity. However, whether tapering changes the risk of
                                        either suicide or overdose is unknown.” 608

                               iii.     As above, intentional opioid overdose, i.e. suicide, was nearly 4x
                                        more likely in patients prescribed long-term opioids at the highest
                                        doses (>50mg). 609

                     h.        Opioids are associated with more adverse medical outcomes and increased
                               mortality and morbidity than non-opioid analgesics (NSAIDs), 610 contrary




 607
    Ilgen MA, Bohnert AS, et al. Opioid Dose and Risk of Suicide. Pain. 2016 May; 157(5): 1079–1084.
 doi:10.1097/j.pain.0000000000000484, at p. 5.
 608
    Bohnert ASB, Ilgen MA. Understanding Links among Opioid Use, Overdose, and Suicide. N Engl J Med. 2019.
 doi:10.1056/nejmra1802148, at p. 76.
 609
       Bedson et al. “Risk of Adverse Events”, fn. 605, above, at p. 913.
 610
    Solomon DH, Rassen Ja, Glynn RJ, Lee J, Levin R, Schneeweiss S. The comparative safety of analgesics in older
 adults with arthritis. Arch Intern Med. 2010;170(22):1968-1976. doi:10.1001/archinternmed.2010.391, at p. 1968.


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                           to the claim that morbidity and mortality of non-opioid medications
                           (NSAIDs) for pain are comparable. 611

                  i.       The opioid epidemic is also partly responsible for the spread of Hepatitis
                           C, HIV and other infectious diseases across the country in recent years, as
                           people who become addicted to prescription opioids, transition to injection
                           drug use and share needles with others who are infected. For example, the
                           outbreak of Hepatitis C and HIV in Scott County, Indiana in 2015,
                           “resulted from inappropriate prescribing of opioid medications.” 612

                  j.       Misuse and addiction: 11 million people misused prescription opioids in
                           2016, compared to the approximately 1 million people using heroin. In
                           2011, according to a CDC report, 11 million people reported nonmedical
                           use of opioid analgesics. “Moreover, chronic nonmedical use of opioid
                           analgesics (i.e. nonmedical use on 200 days or more in the past year)
                           increased roughly 75% between 2002-2003 and 2009-2010. This increase
                           means that on average in 2009-2010 there were nearly 1 million people in
                           the U.S. with chronic nonmedical use of opioid analgesics.” 613 Nearly 2
                           million (0.8%) of people in the United States are addicted to opioids based
                           on estimates from the 2015 National Survey on Drug use and Health
                           (NSDUH). 614



              12.    Today’s opioid crisis would not have occurred without the overprescribing
       and excessive supply of opioids, which together contributed substantially to the scourge
       of addiction and death.



 611
    Tayeb BO, Barreiro AE, Bradshaw YS, Chui KKH, Carr DB. Durations of opioid, non-opioid drug, and
 behavioral clinical trials for chronic pain: Adequate or inadequate? Pain Med (United States). 2016.
 doi:10.1093/PM/PNW245, at p. 2043.
 612
     Strathdee SA, Beyrer C. Threading the Needle — How to Stop the HIV Outbreak in Rural Indiana. N Engl J
 Med. 2015. doi:10.1056/NEJMp1507252, at p. 398.
 613
     United States Dep’t of Health and Human Servs. Addressing Prescription Drug Abuse in the United States. 1-36,
 at pp., 9-10, https://www.cdc.gov/drugoverdose/pdf/hhs_prescription_drug_abuse_report_09.2013.pdf.
 614
    Han B, Compton WM, Blanco C, Crane E, Lee J, Jones CM. Prescription Opioid Use, Misuse, and Use Disorders
 in U.S. Adults: 2015 National Survey on Drug Use and Health. Annals of Internal Medicine. 2017;167(5):293-301.
 Epub 2017/08/02. doi: 10.7326/m17-0865. PubMed PMID: 28761945, at p. 293.


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                    a.      As I wrote in my book, Drug Dealer, MD, 615 doctors were “duped” by the
                            myths that the risk of addiction to prescription opioids was “rare,” and that
                            the drugs were beneficial for chronic pain. I also wrote at that time, and I
                            continue to hold the opinion, that others had some responsibility for the
                            opioid epidemic.

                    b.      The Food and Drug Administration (FDA) is an agency within the U.S.
                            Department of Health and Human Services responsible for assuring the
                            safety, effectiveness, and quality of medical drugs. It is responsible for
                            approving drugs before they reach the market, and monitoring the safety
                            and marketing of those drugs after they are publicly available. In my book,
                            Drug Dealer, MD, I assigned some responsibility for the prescription drug
                            epidemic to the FDA, and to the Defendants for efforts to influence the
                            FDA. 616

                    c.      The Toyota-ization of Medicine

                            i.       The majority of doctors today work in large integrated health care
                                     systems. During the 1990’s and 2000’s, there occurred a mass
                                     migration of doctors out of private practice and into managed care
                                     organizations. In 2002, 70% of U.S. physician practices were
                                     physician-owned. By 2008, more than 50% of U.S. physician
                                     practices were owned and operated by hospitals or integrated
                                     health delivery systems, and that number continues to rise. 617

                            ii.      The migration of doctors into integrated health care systems
                                     (hospital factories) has transformed medical treatment. Doctors
                                     work much less autonomously. Treatment options are often
                                     dictated by hospital administrators, guidelines (see Joint
                                     Commission, §4.h, above), and third-party payers (health insurance
                                     companies). The result is that doctors experience enormous
                                     pressure to get patients in and out quickly, to palliate pain, and to

 615
       Lembke, “Drug Dealer, MD,” fn. 2, above.
 616
    Lembke, “Drug Dealer, MD,” fn. 2, above; Fauber J. FDA and Pharma: Emails Raise Pay-for-Play Concerns.
 Sentinal/MedPage Today. October 7, 2003, see
 http://www.medpagetoday.com/PainManagement/PainManagement/42103,at p. 1.
 617
   Kocher R, Sahni N. Hospitals ‘ Race to Employ Physicians — The Logic Behind a Money Losing Proposition. N
 Engl J Med. 2011:1790-1793, at p. 1791.


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                                    have “satisfied customers." This too has contributed to the problem
                                    of overprescribing. 618

                            iii.    These structural factors opened the doors, but the aggressive
                                    misrepresentation of risks and benefits took advantage of these
                                    conditions to maximize sales and maximize harm.

                      d.    I have also written, in Drug Dealer, MD, about the manipulative behaviors
                            of patients in attempting to obtain opioid drugs from their doctors. These
                            behaviors are not surprising; in fact they are diagnostic of the disease of
                            addiction, whether the drug is OxyContin, or Opana, or heroin. In my
                            opinion, the Pharmaceutical Opioid Industry has attempted to blame
                            victims of the disease of addiction for the epidemic resulting from their
                            own misleading statements regarding their dangerously addictive drugs,
                            while at the same time promoting the false message that patients taking
                            these drugs for pain under a doctor’s prescription have little or no risk of
                            addiction or overdose.

                      e.    An article published in Science in 2018 by Jalal, et al., “Changing
                            Dynamics of the Drug Overdose Epidemic in the United States from 1979-
                            2016,” 619 suggests that mortality data from numerous “drug-specific
                            subepidemics” can be fitted to a smooth exponential curve during that
                            time period. However, the authors note the “paradox” presented by these
                            results, since the data combine mortality associated with subepidemics as
                            disparate as heroin and fentanyl deaths in the northeastern United States
                            with methamphetamines in the southwestern states. 620 Accordingly, an
                            after-the-fact fitting of 38 years of combined data to a smooth curve does
                            not obviate the need to understand each subepidemic on its own terms. In
                            the case of prescription opioids, factors relevant to that epidemic have
                            been addressed throughout this report, and are summarized as follows:

                            i.      The apparent continuity of the overdose mortality rate curve in the
                                    Jalal et al. article, on closer inspection, shows a definitive rise


 618
       Lembke A. Why Doctors Prescribe Opioids to Known Opioid Abusers. N Engl J Med. 2012;367(17):1580-1581.
 619
    Jalal H, Buchanich JM, Roberts MS, Balmert LC, Zhang K, Burke DS. Changing dynamics of the drug overdose
 epidemic in the United States from 1979 through 2016. Science. 2018. doi:10.1126/science.aau1184.
 620
       Id. at p. 1.


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                                       above the smooth curve between 2001 and 2010, corresponding to
                                       the prescription opioid epidemic. 621

                              ii.      The problem of addiction more broadly in society and culture
                                       today does not negate the significant role of opioids manufacturers
                                       and distributors in causing this epidemic. The misrepresentations
                                       of risks and benefits and the oversupply of prescription opioids
                                       through the distribution chain were essential contributing factors to
                                       the resulting epidemic.

                              iii.     Although forces may be operative to accelerate demand, such as
                                       despair, loss of purpose, and dissolution of communities, studies
                                       show that the ‘push’ of increased access to opioids has played a
                                       bigger role than the ‘pull’ of despair. 622

                     f.       Overdose deaths in West Virginia were low and stable from 1979 until the
                              onset of the prescription opioid epidemic. It has been suggested that there
                              has been an increasing rate of drug overdose deaths from 1979-2016, as
                              part of a unitary drug epidemic in the United States. This argument is
                              flawed, for reasons discussed above. In West Virginia, the data show a
                              convincing pattern of low, and stable, overdose deaths from 1979 until
                              1999, followed by rapidly increasing overdose mortality in conjunction
                              with the onset of the prescription opioid epidemic, as shown below, based
                              on the report of Gordon Smith, MD, citing official data from the National
                              Center for Health Statistics:




 621
       Id.
 622
       Ruhm, et al., “Deaths of Despair,” fn. 562, above.



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           13.     Ending the epidemic of opioid addiction, dependence, and death will
    require significant investment of resources. An effective strategy will be multifaceted,
    and will accomplish the following: prevent new cases of addiction, dependence, and
    other related harms (primary prevention), limit progression of harm (secondary
    prevention), and treat existing cases (treatment). These changes will require curbing
    opioid prescribing, re-educating patients and health care providers, creating de-
    prescribing clinics, promoting naloxone and other harm-reduction strategies, and
    building an enduring medical infrastructure to treat addiction.

               a.      Primary prevention: Preventing new cases of the disease by limiting
                       access to opioids, re-educating prescribers, and rebuilding communities
                       devastated by the epidemic.

                       i.     Opioids should not be prescribed as first line treatment for most
                              forms of pain. Exceptions include cases of severe tissue injury,
                              peri-operatively when multimodal analgesia is insufficient, and as
                              palliative/end of life care.

                              A.     For acute pain, the CDC guidelines recommend no more
                                     than 3 to 7 days of opioid treatment. Even within this
                                     general guideline, it is important to limit both the dose and
                                     frequency of administration of opioid drugs during the 3-7

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                                            day window, to minimize the increase in long-term use that
                                            has been documented following higher doses of opioids for
                                            acute pain, and to limit the diversion of unused pills.

                                   B.       First line treatment for pain should include non-opioid
                                            medications and non-medication treatment for pain (non-
                                            opioid medications, physical therapy, psychotherapy). The
                                            latter are especially important for the treatment of chronic
                                            pain. 623

                                   C.       There may be unusual instances when opioid medications
                                            can be used to good effect in the treatment of chronic pain;
                                            but even in this setting, avoiding daily use to avoid
                                            tolerance and dependence is recommended. Further, very
                                            close monitoring for the emergence of adverse medical
                                            consequences, including misuse and addiction, using
                                            objective criteria such as urine toxicology and database
                                            scrutiny, are essential components of a safe and effective
                                            treatment plan. Further, an exit strategy for cessation of
                                            opioid therapy is necessary, should risks outweigh benefits
                                            at any point in the treatment, in recognition that most
                                            patients will have become dependent and will taper with
                                            difficulty. 624

                           ii.     Data on the impact of interventions to curb opioid prescribing have
                                   recently become available supporting the view that limiting opioid
                                   prescribing in a systematic way reduces prescription opioid-related
                                   overdose deaths without adversely compromising pain treatment.

                                   A.       Massachusetts had the first of its kind state-wide acute care
                                            prescribing limits and a required-check of the Prescription
                                            Drug Monitoring Programs (PDMPs) prior to opioid
                                            prescribing. As a result it reduced opioid prescriptions by
                                            30%. 625

 623
     Delgado, et al., “National Variation,” fn. 505, above, at p. 389.
 624
     Dunn, et al., “Opioid Prescriptions,” fn. 588, above, at p. 86.
 625
     Sandoe, E., et al., “Policy Levers That States Can Use to Improve Opioid Addiction Treatment And Address the
 Opioid Epidemic”, Health Affairs Blog. (Oct. 2, 2018).
 https://www.healthaffairs.org/do/10.1377/hblog20180927.51221/full/.

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                         B.    The Department of Public Health determines mean and
                               median quantity and volume of prescriptions for opioids,
                               within categories of similar specialty or practice types.
                               Prescribers who exceed mean or median will be sent
                               notice. 626

                         C.    The law establishes a drug stewardship program to be paid
                               for by drug companies that makes it easier for patients to
                               safety dispose of unwanted and unused medications.
                               Effective Jan. 1, 2017. 627

                         D.    The State of Massachussetts has launched core
                               competencies for safe prescribing of opioids in the state’s
                               medical schools, community health centers, nursing,
                               physician assistant, dental schools and schools of social
                               work.” (emphasis in original) Commensurate with
                               decreases in opioid prescribing, Massachusetts has seen a
                               decrease in opioid-related overdose deaths: “Opioid-related
                               overdose deaths in Massachusetts have fallen steadily over
                               the past three quarters even as the presence of fentanyl in
                               overdose deaths reached an all-time high…Overall in 2017
                               there was a 4 percent decrease in opioid-related overdose
                               deaths from 2016. The data also shows that the
                               Commonwealth has experienced a 30 percent decline in
                               opioid prescriptions since the launch of the Massachusetts
                               Prescription Monitoring Program (MassPAT) in August
                               2016. 628

                         E.    A successful program in Chittenden County, Vermont
                               achieved a 50% decline in opioid mortality through a multi-
                               faceted program that included an increased capacity “hub”
                               (the County) and increased number of physicians treating
                               opioid addiction (the “spokes”); a Safe Recovery syringe
                               exchange center and low-barrier sites for buprenorphine
                               treatment; and support for a recent statute requiring such


 626
     Id.
 627
     Id.
 628
     Id.

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                                           medications to be provided to prisoners with addiction
                                           treatment. 629

                          iii.    As noted previously, an article in the New England Journal of
                                  Medicine in 2010 included the comment that prescription opioids
                                  are “essentially legal heroin” as well as a comment as to how the
                                  FDA should revise a Risk Evaluation and Management Strategy
                                  (REMS) for use of opioids, a FDA Advisory Board member stated,
                                  “We need to think about how we would construct a REMS if we
                                  were going to be marketing heroin.” 630 I agree with these
                                  statements, since prescription opioids are as addictive as heroin
                                  and operate on the same neuro-circuitry in the same manner.
                                  Current REMS training is insufficient to educate prescribers about
                                  the risks of opioids. We need more comprehensive prescriber
                                  training on the evidence of benefits and harms with opioids for
                                  medical use, how to monitor patients taking opioids for medical
                                  use, how to taper patients off opioids, and how to intervene when a
                                  problem arises.

                          iv.     Medical and nursing schools across the country are beginning to
                                  implement addiction medicine curricula, an essential part of the
                                  reform process to combat this epidemic. I have led an initiative
                                  here at Stanford University School of Medicine to create our first
                                  ever addiction medicine curriculum since 2017, and I am involved
                                  in promoting similar initiatives across the country.

                                  A.       As explained at paragraph 26, above, I have been asked to
                                           “re-educate” doctors in many jurisdictions, to correct
                                           misinformation and provide accurate data on the significant
                                           risks and minimal benefits of opioid therapy, particularly
                                           for chronic pain. Such re-education is designed to reduce or
                                           eliminate over-prescribing of opioids, and thereby reduce
                                           or eliminate the panoply of ill effects that they cause


 629
     City of Burlington, Mayor’s Office, Press Release, “Mayor Miro Weinberger and Community Partners Announce
 50 Percent Decline in Opioid-Related Overdose Fatalities in Chittenden County in 2018 (Feb. 14, 2019),
 https://www.burlingtonvt.gov/Press/mayor-miro-weinberger-and-community-partners-announce-50-percent-decline-
 in-opioid-related.
 630
     Okie, “A flood of opioids”, fn. 289, above, at p. 1981.

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                                    B.       I testified at a White House symposium 631 on the
                                             importance of educating health care providers on addiction
                                             treatment and safe prescribing. At that symposium, I
                                             suggested a school loan repayment program to incentivize
                                             health care providers to treat addiction in underserved areas
                                             after completing their training. This suggestion was taken
                                             up by Representative Clark and Representative Rogers as
                                             the Substance Use Disorder Workforce Loan Repayment
                                             Bill, which was included as a key provision in the
                                             Substance Use-Disorder Prevention that Promotes Opioid
                                             Recovery and Treatment for Patients and Communities Act,
                                             also known as the SUPPORT Act, passed September 28,
                                             2018. Although the legislation was approved, there is yet to
                                             be a source of funding.

                                    C.       I am the Program Director for Stanford’s Addiction
                                             Medicine Fellowship, a one-year fellowship to provide
                                             advanced training in addiction medicine. I also work on a
                                             national level to promote these fellowships, and was the
                                             inaugural president of the Addiction Medicine Fellowship
                                             Directors’ Association (AMFDA).

                                    D.       I have authored articles on the importance of teaching
                                             addiction medicine to medical students, residents, and
                                             fellows, including “The Opioid Epidemic as a Watershed
                                             Moment for Physician Training in Addiction Medicine”
                                             (Academic Psychiatry, 2018) 632 and “Qualitative
                                             Assessment of Clerkship Students’ Perspectives of the
                                             Topics of Pain and Addiction in their Preclinical
                                             Curriculum (Academic Psychiatry 2018). 633 In these
                                             articles, I address the need for more robust training in the
                                             screening and intervention of patients with the full
                                             spectrum of opioid use disorders (including misuse and

 631
     The Addiction Medicine Foundation, “Congressional Briefing – Addiction Medicine: The Urgent Need for
 Trained Physicians” (Sep. 28, 2017), https://www.youtube.com/watch?v=y6kBoQckmHw.
 632
     Lembke A, Humphreys K. The Opioid Epidemic as a Watershed Moment for Physician Training in Addiction
 Medicine. Acad Psychiatry. 2018;42(2):269-272. doi:10.1007/s40596-018-0892-8.
 633
     Raber I, Ball A, Papac J, Lembke A, et al. Qualitative Assessment of Clerkship Students’ Perspectives of the
 Topics of Pain and Addiction in their Preclinical Curriculum. Acad Psychiatry. 2018;42(5):664-667.

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                                 dependence). I further recommend increasing medical
                                 school hours of training in addiction medicine, including
                                 safe prescribing of controlled substances.

                   v.     Consider prohibiting the pharmaceutical industry from funding or
                          influencing Continuing Medical Education (CME) courses for
                          prescribers.

                   vi.    Consider promoting CME education which explicitly eschews
                          industry funds and influence, and providing academic detailing
                          (unbiased, evidence based information for prescribers).

                   vii.   Earmark money to provide medical school, residency, and
                          fellowship training in addiction treatment.

             b.    Secondary prevention: limit progression of harm by helping patients on
                   dangerously high doses come down or off of opioids, independent of
                   whether they are addicted, and by implementing harm reduction strategies
                   to mitigate the dangers of opioids.

                   i.     To accomplish effective, safe, and compassionate opioid tapers in
                          this country, we need funding to build de-prescribing clinics to
                          provide treatment for opioid dependent patients. Where de-
                          prescribing clinics are not feasible, we need to embed an
                          interdisciplinary, chronic care treatment team inside of primary
                          care to support deprescribing/opioid tapering. This chronic care
                          team would consist of physicians, nurses, social workers, case
                          workers, psychologists, and others trained to help patients manage
                          the physically and emotionally taxing process of decreasing
                          prescribed opioids. Primary care doctors, already overloaded with
                          responsibilities, are unlikely to achieve successful tapers in opioid
                          dependent, high dose legacy patients, without significant
                          incentives and support. This will require an enormous investment
                          of resources, as it is estimated that millions of Americans are
                          dependent on opioids and suffering from or at heightened risk for
                          adverse consequences.

                   ii.    I worked with colleagues at Stanford to develop a protocol for
                          helping opioid dependent patients compassionately and safely
                          taper down or off of prescribed opioids: “The BRAVO Protocol.”
                          The protocol has been adopted by the Oregon Pain Guidance, the
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                                 Oregon Pain Task Force, and has influenced other opioid task
                                 forces around the country who are struggling with the problem of
                                 opioid dependent (but not addicted) chronic pain patients. 634

                         iii.    We have created a free online continuing medical education course
                                 - “The BRAVO Protocol: How to Taper Patients Off of Chronic
                                 Opioid Therapy.” This course, created in conjunction with the
                                 Stanford continuing medical education office, teaches prescribers
                                 how to safely and compassionately taper opioids, something that is
                                 not currently taught in medical schools.

                         iv.     As mentioned above (§A¶24A), our tapering protocol was
                                 endorsed by the United States Department of Health and Human
                                 Services in 2019, and it became the subject of a Continuing
                                 Medical Education course in 2020. The course has also been
                                 positively featured in the lay press, highlighting that it features the
                                 first-person account of a patient who was, with support, able to
                                 taper off of opioids and experienced improved chronic pain as a
                                 result. 635 We have created a companion page summarizing The
                                 BRAVO Protocol, which has gained wide informal distribution
                                 among prescribers. It summarizes the key learning points as below.
                                 (See BRAVO Protocol summary attached to this report.) The
                                 bottom line is, helping patients to decrease or discontinue long
                                 term opioid therapy presents a challenging clinical scenario,
                                 especially in patients on high doses (greater than 80 MEDs), with
                                 moderate to severe chronic pain, and co-occurring mental health
                                 disorders (depression, anxiety, PTSD). For this type of complex
                                 chronic pain patient, the usual recommendation to decrease opioids
                                 by 10% of the starting dose every week frequently will not apply.
                                 These patients often need slower tapers on the order of 5-10%
                                 decreases or less every month. Expert consensus suggests the taper
                                 speed should be tailored to the individual needs of the patient.
                                 Some patients who have been on opioids for years to decades, may
                                 require years to taper their dose. With this complex chronic pain

 634
     Oregon Health Authority Oregon Opioid Taper Guidelines Task Force Resources.
 https://www.oregon.gov/oha/PH/PREVENTIONWELLNESS/SUBSTANCEUSE/OPIOIDS/Documents/taskforce/ta
 pering-taskforce/2019-Opioid-Taper-Task-Force-Resources.pdf.
 635
     Parloff R. Tapering off long-term Rx opioids: a first-hand account, Opioid Institute. (Oct. 15, 2018),
 https://opioidinstitute.org/2018/10/15/tapering-opioids-lembke/.

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                                  patient in mind, the BRAVO protocol outlines a safe and
                                  compassionate strategy to approach opioid tapering, while also
                                  maintaining a therapeutic alliance between the treatment team and
                                  each patient.

                          v.      Other harm reduction strategies include increasing naloxone
                                  distribution, promoting clean needle exchanges, improving patient
                                  education regarding safe medication storage and appropriate
                                  disposal of excess medications, and increasing public awareness of
                                  poison center services. In July 2020, the FDA changed its labeling
                                  for opioid pain medication and medication to treat opioid use
                                  disorder, to include the statement: “… as a routine part of
                                  prescribing these medicines, health care professionals should
                                  discuss the availability of naloxone with patients and caregivers,
                                  both when beginning and renewing treatment.” 636

                 c.       Treatment

                          i.      We need a robust infrastructure to treat addiction, both within and
                                  outside the traditional sources for medical care. Such an
                                  infrastructure does not currently exist. Instead what we have are
                                  siloes of care with limited and contingent funding, or treatment
                                  centers accessible only by the rich.

                          ii.     Addiction treatment should be offered within every hospital, clinic,
                                  emergency room, jail, drug court, etc., across America. “Meeting
                                  patients where they are” has become a mantra for the field. Patients
                                  with this complex behavioral illness are more likely to engage in
                                  treatment when they are offered treatment in settings where they
                                  are frequently found, like in hospitals, emergency rooms, jails, and
                                  even in settings where they might be using drugs (such as at the
                                  site of first responders, clean needle exchange sites, safe
                                  consumption sites, etc.).

                          iii.    An effective addiction treatment infrastructure should be based on
                                  evidence-based treatments for addiction, including buprenorphine,

 636
    FDA News Release: FDA Requiring Labeling Changes for Opioid Pain Medicines, Opioid Use Disorder
 Medicines Regarding Naloxone, July 23, 2020, https://www.fda.gov/news-events/press-announcements/fda-
 requiring-labeling-changes-opioid-pain-medicines-opioid-use-disorder-medicines-regarding

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                                    methadone maintenance, and naltrexone. Opioid agonist therapy
                                    (buprenorphine or methadone maintenance) has one of the most
                                    robust evidence bases of any addiction treatment. Multiple placebo
                                    controlled trials over many decades have demonstrated the efficacy
                                    of opioid agonist therapy in the treatment of opioid use disorder. 637

                           iv.      Addiction is a chronic relapsing and remitting disorder, requiring a
                                    chronic care model and a team based approach, including a peer
                                    recovery coach, care coordinator, behavioral health specialist,
                                    licensed counselor, and a primary care professional. 638 One way to
                                    address this problem within our current health care system, is to
                                    co-locate behavioral health specialists within primary care, or
                                    create a hub and spoke model with specialty clinics providing
                                    support to primary care clinics. A concurrent strategy is to build
                                    Centers of Excellence for Addiction Treatment at every major
                                    medical center around the country, similar to existing Centers of
                                    Excellence for cancer, cardiac disease, and diabetes.

                           v.       As a chronic illness, addiction can require lifelong treatment. In
                                    my clinical experience, most people with moderate to severe
                                    opioid use disorder struggle to some degree to remain abstinent for
                                    the rest of their lives and there is a high rate of relapse when
                                    individuals go off of MAT (Medication-Assisted
                                    Treatment). Thus, the abatement plan to address the opioid
                                    epidemic should focus on providing the maximum level of both
                                    MAT and non-MAT resources possible, as quickly as possible, and
                                    should maintain this level of treatment long-term, as contemplated
                                    in the proposed abatement plan.

                           vi.      A successful treatment system would allow for those with the
                                    disease to titrate their treatment based on illness severity over time,
                                    with the recognition that the normal course of addiction involves
                                    periods of remission and recurrence, just like cancer.



 637
     Strang J, Babor T, Caulkins J, Fischer B, Foxcroft D, Humphreys K. Drug policy and the public good: evidence
 for effective interventions. Lancet. 2012;379(9810):71-83, at p. 78.
 638
     “The Addiction Recovery Medical Home As An Alternative Payment Model,” Health Affairs Blog, December
 12, 2018. DOI: 10.1377/hblog20181211.111071. Heal Aff Blog. doi: 10.1377/hblog20181211.111071, at p. 3.

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                         vii.     Addiction treatment and recovery requires intensive individual
                                  and/or group therapy interventions, which should be integrated into
                                  treatment alongside medications.

                         viii.    Mutual help groups such as Narcotics Anonymous have a long
                                  tradition of aiding people with addiction achieve and maintain
                                  recovery. New models employing peer counselors as part of an
                                  interdisciplinary medical team to treat and target addiction, are
                                  being investigated. These models should be considered as a way to
                                  bridge inpatient and outpatient treatment and sustain recovery as
                                  patients return to their normal lives. Undergirding the creation of a
                                  robust infrastructure to target and treat addiction, is the need for a
                                  trained workforce to deliver this care.

 D.      Conclusion

         Addiction is a chronic, relapsing and remitting disease with a behavioral component,
 characterized by neuroadaptive brain changes resulting from exposure to addictive drugs. One of
 the biggest risk factors for addiction is simple access to addictive drugs. When supply of an
 addictive drug is increased, more people become addicted to and suffer the harms of that drug.
 The Defendants’ conduct in promoting increased supply and widespread access to prescription
 opioids, including through misleading messaging, has resulted in an epidemic of opioid addiction
 and overdose death. Increased supply contributed to more pain patients becoming addicted to
 opioids, including those who turned from prescription opioids to illicit sources of opioids such as
 heroin (The Gateway Effect). Increased supply contributed to more pain patients and newborns
 becoming dependent on opioids, increasing their risk for opioid-related morbidity and mortality
 (The Dependence Effect). Increased supply contributed to more diversion of prescription opioids,
 causing a dramatic increase in the widespread availability of opioids to persons for whom they
 had not been prescribed (The Tsunami Effect). The increased supply of prescription opioids
 through licit and illicit sources resulted in a prescription opioid epidemic in the United States.
 Others bear some lesser responsibility for the opioid epidemic. However, today’s opioid crisis
 would not have occurred without the paradigm shift encouraged by the Pharmaceutical Opioid
 Industry, whose actions resulted in the overprescribing and excessive distribution of prescription
 opioids. In a New England Journal of Medicine commentary regarding the CDC Opioid-
 Prescribing Guideline, CDC physicians Thomas Frieden and Debra Houry stated, “We know of
 no other medication routinely used for a nonfatal condition that kills patients so frequently.” 639


 639
   Frieden TR, Houry D. Reducing the Risks of Relief — The CDC Opioid-Prescribing Guideline. N Engl J Med.
 2016. doi:10.1056/nejmp1515917, at p. 1503.

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        Ending the epidemic of opioid addiction, dependence, and death will require significant
 investment of resources. An effective strategy will be multifaceted and will accomplish the
 following: prevent new cases of addiction, dependence, and other related harms (primary
 prevention), limit progression of harm (secondary prevention), and treat existing cases
 (treatment).




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 Exhibits to this Report:
 Attached as Exhibit A is a copy of my current curriculum vitae and a list of all publications
 authored by me in the past 10 years.
 Attached as Exhibit B is a list of data or other information considered by me in forming the
 opinions expressed herein.
 Attached as Exhibit C is a statement of my compensation for services performed in this case.
 Attached as Exhibit D is a list of all cases in which I have testified as an expert at trial or by
 deposition during the past four years.


 Pursuant to 28 U.S.C. S 1746, I declare under penalty of perjury that the foregoing is true and
 correct.
 Executed on: August 1, 2020
                                                     Anna Lembke, M.D.




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                 Anna Lembke, M.D. Report



                        APPENDIX I
                      Misleading Promotional Messages

                             I.A: Purdue Pharma
                             I.B: Teva/Cephalon
                             I.C: Janssen
                             I.D: Endo
                             I.E: Allergan




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 Appendix I.A: Purdue Pharma

 Purdue Misleading Messaging

 A.    Benefits of Opioids Overstated


       1.       Myth: Opioids are effective for chronic pain

            •   "[W]e now know that many patients with chronic, nonmalignant pain respond
                very well to opioids and that, contrary to our teaching, addiction is very rare and
                possibly nonexistent as a result of treating such patients with opioids. The barriers
                to vastly improved treatment for hundreds of thousands of people in pain, are
                simply the misinformation and prejudice of doctors, pharmacists and regulatory
                bodies." Purdue Physicians' Pain Management Speaker Training Program, April
                18-20, 1997. PKY181654940 at 4966.

                Comment: This quote summarizes the essential message promoted initially by
                Purdue and subsequently by other opioid sellers: that opioids are effective for
                chronic pain, and that “addiction is very rare and possibly nonexistent,” as a result
                of such treatment. With some variation, the promotional messages detailed in this
                appendix follow those two themes. As to the claim of efficacy for chronic pain,
                there was not then, and there has never been, reliable evidence to support the
                claim; as to the assertion of “rare” addiction risk with opioid therapy, there were
                numerous studies that had reported a range of addiction as high as 24% before the
                opioid sellers began the aggressive marketing campaign that omitted any
                reference to those data, and numerous additional, subsequent studies consistent
                with the earlier results.

            •   "Opioid analgesics are indicated for moderate to severe pain that cannot be
                relieved with other agents. Opioids are effective, easily titrated, and have a
                favorable benefit-to-risk ratio. Large doses of opioids may be needed to control
                pain if it is severe, and extended courses may be necessary if the pain is chronic.
                Tolerance and physical dependence are normal physiologic consequences of
                extended opioid therapy and must not be confused with addiction. Patients and
                family members must be educated regarding the difference between tolerance,
                physical dependence, and addiction. Patients with chronic, severe pain must not
                consider themselves addicts because they are being treated with opioids. Concerns
                about addiction should not prevent the appropriate use of opioids. McPhee JS,
                Schroeder SA. In Lange's Current Medical Diagnosis Treatment, 1996 p 13."


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                Purdue Physicians' Pain Management Speaker Training Program, April 18-20,
                1997. PKY181654940 at 4969.

                Comment: This quote builds on the basic message (above) by recommending
                titration to “large doses,” without disclosing that risk goes up as dose goes up; and
                by downplaying the significance of physical dependence, which is a significant
                medical problem.

            •   Presentation by Dr. Melvin Gitlin entitled “The Use Of Opioids in the Treatment
                of Chronic Non-Cancer Pain” at the Purdue Physician's Pain Management
                Speakers Training Program, November 5-7, 1999. PKY181655140 at 5155-5157
                in which he states, “Historically the use of opioids for pain management has been
                influenced less by scientific data than by subjective attitudes, personal opinion
                and legislative regulatory influence….Regulatory agencies in the United States
                are increasingly acknowledging this; some are seeking to reassure clinicians that
                the legitimate use of opioids should not engender fear of reprisal…. A well
                designed, double-blind, randomized cross over trial utilizing patient controlled
                analgesia morphine studied opioid responsiveness in chronic pain. The authors
                demonstrated that although nociceptive pains exhibited a better analgesic
                response than did neuropathic pain, approximately 50% of patients with
                neuropathic pain did show a good or better analgesic response to the opioid.” The
                study to which Dr. Gitlin refers, by Jadad, et al, “Morphine responsiveness of
                chronic pain”, Lancet 1992, is not in fact a study of the use of long term opioid
                therapy in the treatment of chronic pain. Rather it is a study of one-day dosing of
                opioids in a population of patients with chronic pain, answering an entirely
                different question than whether opioids work for the treatment of chronic pain.
                Treating chronic pain patients for a day is not comparable to treating the same
                population with opioids on a long-term basis.

            •   Presentation by Dr. Mary Stegman entitled “Pain Management in the Elderly
                Patient, Special Considerations,” for Purdue’s Physician's Pain Management
                Speakers Training Program, November 5-7, 1999. PKY181655140 at 5168, in
                which she states “opioid analgesic drugs are effective for moderate to severe pain,”
                under the heading “AGS Clinical Practice Guidelines for Chronic Pain,” without
                clarifying the lack of reliable evidence for the use of opioids in the treatment of
                chronic pain.

       2.       Myth: Opioids are first-line treatment for all types of pain
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            •   "Opioids are our strongest and safest medications for most disablingly-severe pain.
                Our obligation is to consider them in all such cases." “Control of Pain: Every
                Person's Right " Pain Management Speaker Training Program for Physicians,
                May 5-7, 2000. PKY180170528 at 0545. Part of a Purdue sponsored speakers
                training program in Beverly Hills, CA.

            •   "Opioids for Neuropathic Pain--All patients & all types of pain are opioid
                responsive. There can be variation in the degree of response. May need to titrate
                to adequate analgesia but intolerable side effects; change opioids. Nociceptive
                (visceral, somatic) and neuropathic pain responsive to opioids." HSS Training
                Presentation, August 25, 2000. PKY180435433 at 5565. Purdue sales reps are
                called "Health Systems Specialists" (HSS) and this was a Purdue Training
                Presentation for Reps and District Managers.

                Comment: The quotes above do not distinguish between acute pain and chronic
                pain. While there was reliable evidence of efficacy of opioids for acute pain, as
                noted above and in the Report, there was no reliable evidence of efficacy for
                chronic, non-cancer pain. It was misleading to make a blanket statement of
                efficacy without making this distinction clear.

       3.       Myth: Opioids are safer than the alternatives

            •   "We now know that in appropriately selected patients, opioids have a low
                morbidity (perhaps less than NSAIDS), and a low addiction potential. Although
                tolerance may occur in some cases, generally patients become tolerant to
                bothersome side effects more so than to analgesic effects. Evidence from cancer
                studies suggests that when patients clinically stable on a certain opioid dose,
                request a dose escalation, it may be more related to progression in their disease
                than to tolerance." Physicians' Pain Management Speakers Training Program,
                March 20-22, 1998. PKY181655057 at 5092.

            •   Presentation by Dr. Mary Stegman entitled “Pain Management in the Elderly
                Patient, Special Considerations,” for Purdue’s Physician's Pain Management
                Speakers Training Program, November 5-7, 1999. PKY181655140 at 5166, in
                which she highlights the risks of acetaminophen, including renal and
                hepatotoxicity, and in which she claims opioids are “safer than NSAIDS,” but
                never discusses the absolute or relative risks of opioids.

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                Comment: There was no reliable evidence to claim that opioids were “safer, or
                “perhaps” safer than NSAIDs or acetaminophen. As to NSAIDs, the best
                available evidence shows that opioids confer greater risk of mortality and adverse
                events. (Solomon study); also, the Krebs study (SPACE trial) found more adverse
                events in the opioid group than among the non-opioid group that consisted of
                acetaminophen and NSAIDs, with a small percentage of patients on tramadol.

       4.       Myth: Opioids improve function and quality of life

            •   "In studies of patients with non-malignant pain...Rapid reduction in pain intensity
                over the first 24 hours; By day three, patients had achieved 94% of their total pain
                reduction; Patients reported improved ability to sleep, walk, perform normal work,
                get along with other people, enjoy life." OxyContin Launch Plan, September 27,
                1995. PURCHI-003286781 at 6804.

            •   "Provides quality of life benefits-relative to placebo, OxyContin significantly
                decreased pain, and improved quality of life, mood and sleep." OxyContin
                Advertising and Black Box Warnings, June 15, 1998. PKY180625450 at 5455

            •   "Controlled-release opioids - Cognitive Effects: decreases anxiety, decreased
                hostility, no declines in cognitive function, improved psychomotor speed,
                improved sustained attention." Physician's Pain Management Speakers Training
                Program, November 5-7, 1999. PKY181655140 at 5175.

            •   "Benefits of Long acting opioids -- Better pain reduction with better function.
                Improved sleep. Reduced anxiety. Reduced hostility. No impairment of cognitive
                function. Improved psychomotor speed. Improved sustained attention." HSS
                Training Presentation, August 25, 2000. PKY180435433 at 5635.

                Comment: The statements above are misleading because they were intended to
                justify long-term OxyContin therapy for chronic pain, based on short-term
                studies.

       5.       Myth: Not using opioids is tantamount to undertreating pain, is hence immoral,
                and may make pain worse in the long run.

            •   Presentation by Dr. Neil Irick entitled “Can We Justify Undertreating Pain?” for
                Purdue’s Physician's Pain Management Speakers Training Program, November 5-
                7, 1999 in which he invokes The Joint Commission Requirements as justification
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              and persuasion: “The patient’s right to pain management is respected and
              supported,” “Pain as the 5th vital sign,” “Statement of patient rights available to
              all.” Dr. Irick also states, “Remember: resolve that no patient should suffer
              needlessly, listen to the patient, believe the patient, document, be your patient’s
              advocate.” PKY181655140 at 5150,5152.

          •   Presentation by Dr. Mary Stegman entitled “Pain Management in the Elderly
              Patient, Special Considerations,” for Purdue’s Physician's Pain Management
              Speakers Training Program, November 5-7, 1999. PKY181655140 at 5161 in
              which she states, “In 2000, JACHO will demand pain TX [treatment].”

          •   "Based on new literature on the Pathophysiology of pain, it is important to
              PREVENT the pain as opposed to simply treating the pain. Otherwise, you could
              have patients develop what is referred to as ‘Wind up’ which can lead to a
              complex pain syndrome. Let's say you had a patient present with low back pain
              from lifting heavy boxes. When that patient lifted the boxes and the injury
              occurred, the C fibers in his body were stimulated and started firing pulses
              basically like a strobe light. Those fibers synapsed with the secondary neurons
              and carried the pain signals to the brain. Think of the secondary neurons like the
              aperture of a camera, except that instead of the aperture closing when that strobe
              light hits it, the aperture actually opens. The more light/or stimulus that spills
              through the aperture, the greater the sensation of pain. So, what happens is even
              though that stimulus may be diminishing, the threshold for pain has been lowered,
              and the number of signals have actually increased. This whole process starts a
              CASCADE OF EVENTS because once these signals are recognized on a
              consistent basis, they turn on the NMDA receptors which then release
              prostaglandins and nitric oxide initiating the ENTIRE chain of events again in the
              adjacent neurons. And what that does is lowers the threshold for pain again, and
              they start firing spontaneously. UNTIL these pain signals can be turned off the
              patient will remain in this ‘wind up mode’ and could develop a complex pain
              syndrome." HealthSouth Pain Management Plan, April 19, 2001. PKY181246683
              at 6851. Document is part of "OxyContin Files (HD)" which includes
              presentations and papers made by Purdue to HealthSouth re: adoption of their new
              pain management plan.

              Comment: The statements above were misleading and detrimental to patients, for
              the following reasons. First, these statements represent the opioid sellers’ efforts
              to increase prescribing by instilling fear of reprisal from the State Medical Boards
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                and/or The Joint Commission, as well as patients demanding opioids and
                complaining about their care. The message to prevent pain before it happens was
                leveraged to support the controversial idea that untreated pain can lead to
                centralizing pain disorders, which would not only leave acute pain untreated, but
                also risk a life-time condition if a centralizing pain disorder were to develop. Even
                if this centralizing pain phenomenon exists, opioids are the worst possible
                treatment, because these disorders are closely linked to depression and addiction,
                and the risks for such conditions are exacerbated by opioid therapy.

 B.    Risks of Opioids Understated


       1.       Myth: Addiction is rare

            •   “Realize that drugs and doctors do not cause drug addiction. Admit that
                withholding pain medication can be deleterious. Admit that true addiction is much
                less of a problem than presumed." Purdue Physicians' Pain Management Speakers
                Training Program, March 20-22, 1998. PKY181655057 at 5080.

            •   Presentation by Dr. Melvin Gitlin at the Purdue Physician's Pain Management
                Speakers Training Program, November 5-7, 1999. PKY181655140 at 5156, in
                which he states, “Persuasive evidence that the use of opioid presents either a risk
                to the health of the individual or to society is lacking. Similar prejudices had been
                advocated to impede the opioid treatment of patients with malignant pains and are
                being overcome.”

            •   Presentation by Dr. Mary Stegman entitled “Pain Management in the Elderly
                Patient, Special Considerations,” for Purdue’s Physician's Pain Management
                Speakers Training Program, November 5-7, 1999. PKY181655140 at
                PKY181655169, in which she states "Myth: Opiates create addicts” outlining a
                study of 10,000 burn patients, 0 patients (0.00%) were addicted; another study of
                25,000 patients, only 7 patients (0.03% patients) were addicted, concluding
                “Forget That Excuse!'" As discussed in my Report, the studies to which she refers
                are non-representative samples in studies ill-designed to assess for misuse and
                addiction.

       2.       Myth: The problem is the ‘addicts,’ not the drug


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            •   "Are Opioids Always Addictive? No! Watch out for cherry syrup addicts! Opioid
                addicts should not be given opioids without careful consideration of the
                circumstances." Accredited Pain Management Program for the Educator, April 3-
                6, 2000. PKY180775599 at 5650.

                Comment: By using the term “cherry syrup addicts,” the author is presumably
                referring to patients with opioid addiction getting treated with methadone in liquid
                form from a methadone maintenance clinic. This pejorative usage is typical of the
                ways in which Purdue labeled and stigmatized people with opioid use disorder,
                and promoted the idea that by separating opioid addicted persons as a distinct
                population, the remaining patients could be prescribed opioids without risk.

            •   “Molecules don’t hook patients, patients with psychopathology take drugs to be
                fixed. Addicts want medications for wrong reason, trying to get high, not to have
                less physical pain.” Accredited Pain Management Program for the Educator, April
                3-6, 2000. PKY180775599 at 5652.

                Comment: This statement perpetuates the myth that ‘addicts’ are a separate
                category from ‘legitimate’ pain patients. The reality is that legitimate pain patients
                can and do get addicted through an opioid prescription.

       3.       Myth: No dose is too high; optimal dose is determined by titrating upwards
                until analgesia

            •   "No ‘ceiling’ to analgesic efficacy - may be titrated upward as necessary. With
                full agonists, such as oxycodone, ‘effectiveness with increasing doses is not
                limited by a 'ceiling'’." OxyContin Launch Plan, September 27, 1995. PURCHI-
                003286781 at 6804.

            •   "No maximum daily dose or ‘ceiling’ to analgesic efficacy. May be titrated every
                1 to 2 days, if necessary. Common opioid side effects may be effectively
                managed- many, except constipation, diminish over time for most patients."
                OxyContin Advertising and Black Box Warnings, June 15, 1998. PKY180625450
                at 5452.

            •   Presentation by Dr. Mary Stegman entitled “Pain Management in the Elderly
                Patient, Special Considerations,” for Purdue’s Physician's Pain Management
                Speakers Training Program, November 5-7, 1999. PKY181655140 at 5172, in
                which she states “Titrate to effectiveness not to milligrams.”
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            •   "There are no standard opioid doses. Patients experience their pain uniquely.
                Dosages not consistent due to individual variations in pain intensity mechanisms
                of action. Patients need doses that relieve or modify the pain without toxicity.
                Milligrams Just Don't Matter...Milligrams are not the issue, pain control and
                absence of toxicity are the issues." Accredited Pain Management Program for the
                Educator, April 5, 2000. PKY180775599 at 5647.

                Comment: The statements above are misleading because they omit that increased
                dose increases risk of dependence, addiction, and numerous adverse effects,
                including death.

       4.       Myth: Dependence is not a significant problem and is easily reversible

            •   "Now, when was the last time that you took a patient off insulin because their
                blood sugar had gotten to normal? Do you taper your patients off their
                antihypertensive when their blood pressure gets to normal? In primary care our
                assumption is that we're going to be treating people with chronic diseases for
                long-term, so why don't we do that with pain patients?" "Legal and Ethical Issues
                Affecting Pain Management", © 2001 a “Free CME” course “supported by an
                education grant from Purdue Pharma” and distributed by FamilyPractice.com and
                Purdue.. PKY180769094 at 9123,9095

                Comment: Comparing opioids to insulin is a false analogy because insulin does
                not cause diabetes; whereas exposure to opioids causes opioid dependence, and in
                a subset, opioid addiction.

            •   "Addiction is a behavioral disorder of 'compulsive drug use, despite harm.' This
                has not been recorded as a result of the medical use of opioids. Opioids do cause
                physical dependence, i.e. there is a brief, flu-like withdrawal syndrome on
                suddenly stopping them. But this is not addiction, it is not dangerous and is easily
                avoided by tapering opioids over about 2 weeks. (By contrast, the withdrawal
                syndrome for benzodiazepines can be very dangerous, and very prolonged.
                Preventing it may require tapering over a period of several months.)" Purdue
                Physicians' Pain Management Speaker Training Program, April 18-20, 1997.
                PKY181654940 at 4966.

            •   Presentation from Dr. Neil Ellison at the Purdue’s Physicians Pain Management
                Speakers Training Program in San Antonio, Texas on April 19, 1997: “Physical

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                dependence will occur in most patients regularly taking opioids for prolonged
                periods of time (usually great than several weeks); however, if the cause of the
                pain is relieved, these patients can safely and rapidly be withdrawn completely by
                fractionating (usually by 1/3-1/2 their doses daily or every other day). The patient
                can usually discontinue completely without withdrawal symptoms…”
                PKY181654940 at 4950.

                Comment: Dependence and tolerance are serious physical conditions in
                themselves; they also lead to increased doses and addiction in a subset of patients,
                and to long, slow, and often failed attempts at tapering.

       5.       Myth: Tolerance is rare - respond with higher dose

            •   "(Despite different findings in experimental animals), a remarkable phenomenon
                is observed in the clinical setting. Loss of analgesia rarely occurs in patients with
                stable pain syndromes. Patients without progressive disease…typically achieve
                stable dosing that extends for a prolonged period. When the need for dose
                escalation occurs, an alternative explanation, typically worsening of the
                underlying disease, can usually be identified." Physicians' Pain Management
                Speaker Training Program, April 18-20, 1997. PKY181654940 at 4969, quoting
                Portenoy RK. In "Pain Management: Theory and Practice," ed. Portenoy Kanner,
                FA Davis Company, 1996: Chapter 11, p255.

            •   "Tolerance is defined as the need for increasing doses of medication to maintain
                the same effect. This is easily and reliably produced in animal models, yet is
                rarely seen in humans. In fact, in the case of cancer pain, what has thought to be
                tolerance has been shown to typically be disease progression necessitating the
                need for increased opioids to maintain comfort." Purdue Physicians' Pain
                Management Speaker Training Program, presentation by David Haddox April 18-
                20, 1997. PKY181654940 at 4962.

            •   "Although tolerance may occur in some cases, generally patients become tolerant
                to bothersome side effects more so than to analgesic effects. Evidence from
                cancer studies suggests that when patients clinically stable on a certain opioid
                dose, request a dose escalation, it may be more related to progression in their
                disease than to tolerance." Physicians' Pain Management Speakers Training
                Program, March 20-22, 1998. PKY181655057 at 5092.


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                Comment: Tolerance is not “rare” in humans. It is common. Tolerance leads to
                increased dosage and increased risk.

       6.       Myth: Pseudo-addiction – respond with more opioids

            •   "[I]n the setting of undertreated pain, some patients develop aberrant behaviors
                that may be quite similar to those associated with addiction. When pain is relieved,
                the behaviors cease and opioids and other drugs are used responsibly.” Physicians'
                Pain Management Speakers Training Program, March 20-22, 1998.
                PKY181655057 at 5100.

            •   Types of Pseudoaddiction Behavior: "Hoarding; Concern about supply; May be
                going to multiple physicians and pharmacies; Drug-seeking behaviors common;
                First described in cancer patients." Physicians' Pain Management Speakers
                Training Program, March 20-22, 1998. PKY181655057 at 5081.

            •   "Pseudoaddiction: appropriate drug seeking behavior demanding doses before
                they are scheduled; viscous cycle of anger, isolation, and avoidance leading to
                complete distrust. Weissman DE, Haddox DJ. Pain 1989;36:363-6. Increase the
                opioid dose by 50%, assure that breakthrough doses are available; complaints
                resolve when analgesia is established." Physician's Pain Management Speakers
                Training Program, November 5-7, 1999. PKY181655140 at 5208. Haddox is now
                a Purdue Pharma VP of Health Policy. See Haddox ResearchGate Profile page at
                <https://www.researchgate.net/profile/J_Haddox> Accessed on January 25, 2019.

            •   "Pseudoaddiction Relative to Psychiatric Pain Consultations--Involves
                appropriate attempts to obtain medication to relieve pain. "Clock watching"
                behavior is indicative of under treatment of pain. We should believe patients
                unless evidence proves otherwise. Consider 50 to 100% dose increase to see if the
                behavior changes." Accredited Pain Management Program for the Educator,
                August 5, 2000. PKY180775599-PKY180775707 at 5649.

            •   "...the more the patient insists on the need for stronger pain medicine, the more
                likely we are to withhold analgesia, on the grounds that this insistence shows
                ‘substance abuse’ for which the treatment is abstinence from the ‘offending
                substance’. We equate this ‘drug seeking behavior’ with addiction, and use it to
                justify further undertreatment or even complete withdrawal of analgesics. This
                further reinforces the patient's desperate pursuit of pain relief. If this leads to
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              manipulativeness or frank deceit, the misdiagnosis of addiction is reinforced. Not
              only the doctors, but also the patient and family may conclude that the problem is
              drug addiction. This is called ‘pseudo-addiction,’ a term first defined by
              Weissman and Haddox." From presentation “Control of Pain: Every Person's
              Right "," Pain Management Speaker Training Program for Physicians, May 5-7,
              2000. PKY180170528 at 0545.

          •   "The distinction can usually be made quite simply. For a period of about a week,
              prescribe a substantially increased dose of opioid, preferably with a range of
              doses so that the patient can explore the optimum dose. The aim is to challenge
              the patient's ability to shed drug-seeking behavior when adequate analgesics are
              available. Every day the patient records pain level, activities tolerated, and total
              pills taken. After a week, he/she brings the record to the physician, along with
              remaining pills. Ideally the partner should come also. lf the problem is
              pseudoaddiction, the patient will be visibly more comfortable and refreshed; the
              partner will corroborate the patient's account of improved activity tolerance; the
              daily pill count will be medically credible; and the remaining pill count will fit
              with the record. None of the aberrant behaviors listed above will have occurred:
              drug-seeking behavior has been extinguished at a stroke.” From "Control of Pain:
              Every Person's Right" presentation, Pain Management Speaker Training Program
              for Physicians, May 5-7, 2000. PKY180170528 at 0545.

              Comment: As detailed in the Report, pseudo-addiction is not a reliable diagnosis;
              the term pseudo-addiction was developed by a physician (Haddox) who became
              an executive at Purdue, and a review article found that impartial scientists
              criticize its usage, whereas authors affiliated with the opioid sellers advocate the
              concept.




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 Appendix I.B.: Teva/Cephalon

 Teva/Cephalon Misleading Messaging

 A.    Benefits of Opioids Overstated


       1.       Myth: Opioids are effective for chronic pain

            •   “Opioid analgesics are another important class of medications that are very
                effective pain relievers As mentioned before, they may also be called ‘narcotics.’
                Unfortunately, this term is used by law enforcement to refer to drugs that are
                abused. Cocaine and heroin are called narcotics even though they are very
                different kinds of drugs. Calling opioid analgesics ‘narcotics’ reinforces myths
                and misunderstandings as it places emphasis on their potential abuse rather than
                on the importance of their use as pain medicines.” American Pain Foundation
                Guide for People Living with Pain (TEVA_MDL_A_01090496 at 0514) The
                APF Guide discussed here and below was produced with the financial support of
                Cephalon and Purdue. (TEVA_MDL_A_01090496 at 0499) KOL’s Scott
                Fishman and Russell Portenoy were named as physician reviewers and members
                of APF’s Board of Directors. (TEVA_MDL_A_01090496 at 0501) Fishman and
                Portenoy also provided testimonials for the APF Guide, calling it a “must have”
                and “a very good resource” for chronic pain patients.
                (TEVA_MDL_A_01090496 at 0579)

                Comment: This quote summarizes the essential message promoted by
                Teva/Cephalon in a patient-facing document that promoted misleading messages
                under the guise of education. The authors describe non-opioid medications such
                as Tylenol and NSAIDs as “effective for mild to moderate pain,” but never as
                “very effective pain relievers,” a phrase reserved for opioids. Indeed the sections
                on NSAIDs and Tylenol emphasize the risks of these drugs. By contrast, when the
                authors detail opioids, the risks are underplayed, as in this statement in which
                heroin is called a “very different kind of drug,” even though the only difference
                between heroin and morphine is two acetyl groups, and prescription opioids are as
                addictive as heroin. Indeed heroin and morphine are very similar drugs, yet are
                portrayed here as different to mislead readers as to the addictive potential of
                prescription opioids.

            •   “Despite the great benefits of opioids, they are often under-used. For a number of
                reasons, providers may be afraid to give them and the public may be afraid to take
                them. Some feel opioids should not be used to treat persistent pain except in
                persons who are dying. Others are concerned that the average person will become
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             addicted to these drugs. These concerns lead to confusion and hesitation on the
             part of some providers to prescribe these for pain control. Adding to the problem
             is the increase in abuse of prescription drugs in the U.S. Persons with addictive
             disease (in the past, the term ‘addicts’ was used) have obtained and misused these
             drugs. Others have taken them illegally through pharmacy thefts or under false
             pretenses in order to sell them ‘on the street’ for profit.” American Pain
             Foundation Guide for People Living with Pain (TEVA_MDL_A_01090496 at
             0514-5)

             Comment: The authors claim “great benefits of opioids.” In fact, there is no
             reliable evidence that opioids are effective treatment for chronic pain, or what
             authors here describe as “persistent pain.” Further, there is abundant evidence that
             opioids taken long term (greater than 3 months) incur considerable and life-
             threatening harms. Yet the authors suggest that “confusion and hesitation” on the
             part of prescribers is unfounded. They then go on to suggest that the current
             opioid crisis is a result of “addicts,” a stigmatizing term they use for supposed
             historical clarification, to imply that “addicts” are the source of the current opioid
             epidemic. In fact, increased access to opioids through the Defendants’ misleading
             marketing is the primary culprit, making the public more vulnerable to opioid
             addiction.

       2.    Myth: Opioids are first-line treatment for all types of pain

             •      “Opioids are an essential option for treating moderate to severe pain
                    associated with surgery or trauma, and for pain related to cancer. They
                    may also be an important part of the management of persistent pain
                    unrelated to cancer. These medicines block pain messages in the body, but
                    they also affect the way we feel about our pain and help us better tolerate
                    it. Our body produces natural opioids (endorphins) as part of its survival
                    response to danger and injury. Because the medications of this class work
                    in the same way as endorphins, they work very well in blocking pain.”
                    American Pain Foundation Guide for People Living with Pain
                    (TEVA_MDL_A_01090496 at 0514)

                    Comment: By calling opioids an “essential option,” the authors are
                    suggesting that opioids are necessary to treat different types of pain. By
                    introducing the concept of “natural opioids,” the authors are further trying
                    to make a link between prescription opioids and something that is “natural”
                    and thereby safer or necessary. Again they introduce the statement “they
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                    work very well in blocking pain,” to suggest their superiority compared to
                    other pharmacologic strategies. In fact, head-to-head trials show that
                    opioids are no better than Tylenol in the treatment of chronic pain, and
                    incur more risks. Further, these statements do not distinguish between
                    acute pain and chronic pain. While there was reliable evidence of efficacy
                    of opioids for acute pain, as noted above and in the Report, there is no
                    reliable evidence of efficacy for chronic, non-cancer pain. It is misleading
                    to make a blanket statement of efficacy without making this distinction
                    clear.

             •      “Targeting (APM, PM&R, RHU, N, ONC, PCP)” in sales presentation A
                    Manager’s Perspective on Actiq (TEVA_MDL_A_09062111 at *13,
                    produced natively)

                    Comment: Note here how marketing materials targeted many types of
                    pain and pain providers, including “PCPs” [Primary Care Physicians],
                    contributing to the paradigm shift away from using opioids rarely in
                    specialty care, to using opioids as first line treatment in primary care.

       3.    Myth: Breakthrough Pain is a distinct clinical phenomenon that should be
             treated with opioids (rather than an artifact of tolerance and withdrawal in
             patients on long-term opioids).

             •      “Breakthrough Pain. Breakthrough pain occurs on a background of
                    otherwise controlled persistent pain; it is distinct from uncontrolled pain.
                    Breakthrough pain is described as a transitory exacerbation or flare of
                    moderate to severe pain in patients with otherwise stable persistent pain
                    who are receiving chronic opioid therapy. In one study, the median
                    duration of breakthrough pain was about 60 minutes. Breakthrough pain
                    tends to be the most intense pain. Figure 6 illustrates this type of pain.
                    Payne, 2007, S3; Portenoy, 2006, 586; Davis, 2004, 629.” Fentora
                    Introduction to Pain (TEVA_MDL_A_00890305 at 0334). Figure 6 is




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                   reproduced below:




             •     “Fentanyl is also available in a lozenge. In this formulation, it has a quick
                   onset and short duration of effect that makes it especially useful for the
                   treatment of ‘breakthrough’ pain.” American Pain Foundation Guide for
                   People Living with Pain (TEVA_MDL_A_01090496 at 0516)
             •     “Breakthrough pain is often managed by adding a medication in addition
                   to the drug used for the persistent pain. [Payne, 2007, S4-S5; Duragesic,
                   2008, I]” Fentora Introduction to Pain (TEVA_MDL_A_00890305 at
                   0335)
             •     “Third, frequent pain reassessment will help gauge the effectiveness of
                   analgesic therapy. Assessment may help health care professionals choose
                   more effective agents, titrate the dose or dosing interval appropriately,
                   check the usefulness of the current route of administration, manage side
                   effects, and assess the need for more effective breakthrough pain
                   medication alongside the around-the-clock medication. [Carver. 2005, 10-
                   11; McCarberg, 2007, S8]” Fentora Introduction to Pain
                   (TEVA_MDL_A_00890305 at 0341)
             •     “ACTIQ is fentanyl in a unique oral transmucosal delivery system that
                   provides the most rapid onset of analgesia of any non-invasive opioid
                   formulation available which makes it the ideal agent for BTP or rapid
                   onset pain, such as BTCP.” 2005 ACTIQ Marketing Plan


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                    (TEVA_CAOC_00759630 at 9675) (ACTIQ 2005 Positioning Statement,
                    emphasis in the original)
             •      “2005 Key Marketing Issues and Strategies: The overall marketing
                    strategy for 2005 will continue to build on the platform developed in
                    previous years, which will be to raise awareness of BTCP and ACTIQ and
                    differentiate ACTIQ from its competitors by educating clinicians about the
                    core product benefits (rapid onset of analgesia, portability, convenience
                    and patient controlled administration). The key marketing issues facing
                    ACTIQ in 2005 that must be addressed include providing the sales force
                    with effective tools as well as providing them with optimal messages for
                    key targets; ensuring a smooth transition to sugar free ACTIQ; increasing
                    awareness in assessing and treating BTCP; and addressing the fears and
                    concerns surrounding opioids. Also, growing managed care issues must
                    be addressed as well as increasing and improving Key Opinion Leader
                    (KOL) relationships.” 2005 ACTIQ Marketing Plan
                    (TEVA_CAOC_00759630 at 9633)
             •      “The goals are to maximize ACTIQ sales until patent expiry with focused
                    sales efforts on specific targets and to ensure that any efforts toward
                    establishing BTP can also be leveraged for OVF” [Teva OraVescent®
                    containing fentanyl product]. 2005 ACTIQ Marketing Plan
                    (TEVA_CAOC_00759630 at 9674)

                    Comment: Teva/Cephalon promoted the idea of “breakthrough pain” as a
                    physiologic phenomenon, when in fact it is a made up term to explain the
                    loss of opioid efficacy when taken long term, due to tolerance and
                    withdrawal. Promoting the idea of breakthrough pain as a legitimate
                    medical phenomenon was advantageous for Defendants, because they
                    could then promote their products as “treatment” for breakthrough pain.
                    Actiq and Fentora were aggressively promoted as treatment for
                    breakthrough pain.

       4.    Myth: Not using opioids is tantamount to undertreating pain, is hence immoral,
             and may make pain worse in the long run.

             •      “Obviously, it is very important to get the facts about these effective and
                    powerful pain medicines because their under-use has been responsible for
                    much unnecessary suffering. Those affected by pain, providers, patients
                    and family alike, need to be well-informed to be sure that myths and

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                   misunderstandings do not get in the way of effective pain control.”
                   American Pain Foundation Guide for People Living with Pain
                   (TEVA_MDL_A_01090496 at 0515)

                   Comment: Such statements are misleading and detrimental because they
                   suggest to patients that doctors who are not prescribing opioids are not
                   doing their job and indirectly causing suffering by withholding opioids. In
                   fact, withholding opioids to a person in pain may be shielding them from
                   long-term harms. Further, this fact has been known well before
                   Defendants launched their misleading marketing campaign. A paper
                   published in a peer reviewed medical journal in 1954 had this to say about
                   prescribing opioids for pain, “Morphine is not the answer to chronic pain.
                   Because of the development of tolerance to the analgesic effects of
                   morphine, alleviation of pain becomes inadequate. Under such
                   circumstances the physician, by gradually withdrawing narcotics, does not
                   deprive the patient of any actual benefit but protects him and his family
                   from the possible legal, social, or economic difficulties attendant on opiate
                   addiction. The administration of morphine to a patient with chronic pain is
                   a short-lived type of kindness. Long-term kindness would begin when
                   opiates are withheld or withdrawn in favor of other therapeutic measures.”
                   Rayport M. Experience in the Management of Patients Medically
                   Addicted to Narcotics. JAMA, 1954:684-691, at p. 690.

             •     “Physicians often undertreat pain due to a lack of education about pain.
                   This results in an inadequate pain assessment and less than optimal
                   treatment, such as use of nonsteroidal analgesics for severe pain.” Fentora
                   Introduction to Pain (TEVA_MDL_A_00890305 at 0350)

                   Comment: This statement suggests that not prescribing opioids is
                   tantamount to not treating pain, ignoring the fact that even limited
                   exposure to opioids is risky, and that many studies show comparable
                   efficacy between opioids and other forms of pain treatment, with much
                   less risk for non-opioid medications.




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 B.    Risks of Opioids Understated


       1.    Myth: Addiction is rare

             •      “Family members/caregivers may worsen patient concerns and fears about
                    analgesic use. Caregivers may lack information about proper pain
                    management and its benefits. Like patients, caregivers may need
                    reassurance that few people using opioids for a legitimate medical reason
                    become addicted to the drug, and that physical dependence to a drug is
                    easily overcome through scheduled dosing decreases, if the patient
                    improves to the point where opioids are no longer needed... [Willis, 2007,
                    261- 262; AACPI, 2004, 6-7]” Fentora Introduction to Pain
                    (TEVA_MDL_A_00890305 at 0346)
             •      “Patients can also inhibit therapy by refusing to take pain medications or
                    by taking them inappropriately. Patients may hear descriptions of physical
                    dependence about certain medications (opioids) and fear the stigma or
                    behaviors they associate with drug addicts - behaviors that are not
                    common in patients without previous history of addiction. Patients may
                    believe that analgesics should be ‘saved’ until the end of life so that they
                    are effective then; patients may need reassurance that an appropriate
                    dosage of opioid will be available as pain increases, and they need not
                    suffer now to avoid analgesic tolerance in subsequent disease stages.
                    [Carver, 2005, 10-11,Gunnarsdottir, 2003, 426, Willis, 2007, 261]”
                    Fentora Introduction to Pain (TEVA_MDL_A_00890305 at 0345)
             •      “Pain appears to reduce the euphoric effects of opioids, so people taking
                    opioids to manage their pain may be at a lower risk for addiction. [APA,
                    2005, 2]” Fentora Introduction to Pain (TEVA_MDL_A_00890305 at
                    0355)
             •      “Less potential for abuse” in sales presentation A Manager’s Perspective
                    on Actiq (TEVA_MDL_A_09062111 at *10, produced natively)

                    Comment: The authors misleadingly convey that the risk of opioid misuse
                    and addiction is low if patients with pain are prescribed opioids by their
                    doctors. In fact, reliable evidence shows that one in four chronic pain
                    patients prescribed opioids will develop an opioid misuse problem, and
                    one in ten will become addicted to opioids. Further, these risks were
                    known before Defendants began the aggressive marketing campaign. As to
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                   the assertion that behaviors indicating addiction are “not common in
                   patients without a previous history of addiction,” Edlund et al’s 2014
                   study shows that the largest contributor to risk of addiction is dose and
                   duration (OR = 122 for opioid doses over 120 MMEs for 3 months or
                   longer), a far more impactful risk than personal history of addiction (OR
                   3-9). (Edlund MJ, et al. The role of opioid prescription in incident opioid
                   abuse and dependence among individuals with chronic noncancer pain.
                   Clin J Pain. 2014;30:557-564 at p. 557.) It is false to equate feeling
                   “euphoria” from opioids as a marker of addiction. Many people who get
                   addicted to opioids do not endorse feeling euphoric from opioids. Indeed,
                   many describe pain relief as the initial driver. Further, once people
                   become addicted to opioids, they stop feeling euphoric effects. Instead
                   they’re compelled to continue consuming opioids just to feel normal and
                   avoid the pain of withdrawal.

             •     “The most common side effects of opioids include constipation, nausea
                   and vomiting, sedation (sleepiness), mental clouding and itching. Some
                   people may also experience dizziness or difficulty urinating. Respiratory
                   depression, a decreased rate and depth of breathing, is a serious side effect
                   associated with overdose. The good news is that most side effects go away
                   after a few days.” American Pain Foundation Guide for People Living
                   with Pain (TEVA_MDL_A_01090496 at 0517)

                   Comment: In this patient-facing educational material, the risk of
                   addiction is underplayed, not mentioned once in the section subheading
                   “Most Common Side Effects.” Yet according to World Health
                   Organization classification of risk, the risk of addiction to prescription
                   opioids is “common” to “very common”: one in four persons prescribed
                   an opioid for chronic pain will develop an opioid misuse problem, and at
                   least one in ten will become addicted.

             •     “Usually has a friend who was addicted to fentanyl in med. school, failed
                   out and is an addict? It's amazing how often it happens??” Actiq Physician
                   Segmentation Guide (TEVA_MDL_A_01327081 at 7082)

                   Comment: This was from a sales training document to train sales
                   specialists how to approach doctors who are more “cautious” in their
                   opioid prescribing habits. The casual disregard for a personal exposure to
                   addiction is consistent with a corporate culture in which every indication

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                    of the serious risks of addiction is framed as a sales obstacle to be
                    overcome with marketing tactics. Further, this statement reveals that
                    corporate executives fully understand the high prevalence of addiction to
                    fentanyl products: “amazing how often it happens??”

       2.    Myth: The problem is the “addicts,” not the drug

             •      “Others are concerned that the average person will become addicted to
                    these drugs. These concerns lead to confusion and hesitation on the part of
                    some providers to prescribe these for pain control. Adding to the problem
                    is the increase in abuse of prescription drugs in the U.S. Persons with
                    addictive disease (in the past, the term ‘addicts’ was used) have obtained
                    and misused these drugs. Others have taken them illegally through
                    pharmacy thefts or under false pretenses in order to sell them ‘on the street’
                    for profit.” American Pain Foundation Guide for People Living with Pain
                    (TEVA_MDL_A_01090496 at 0515)

                    Comment: By implying that the “average person” need not fear addiction
                    to prescribed opioids, and that the U.S. opioid crisis is the result of
                    “Persons with addictive disease” who “obtained and misused these drugs,”
                    the authors are suggesting that the addiction exists before the individual is
                    prescribed opioids, excluding the possibility that a patient could become
                    addicted through a prescription. With this misleading messaging, authors
                    are perpetuating the myth that “legitimate” pain patients prescribed an
                    opioid from a doctor can’t get addicted. In fact, as referenced in my
                    Report, the CDC and the Director of NIDA the Report, Nora Volkow,
                    have stated that anyone can become addicted to prescription opioids, and
                    sources such as the ASPPH confirm that the opioid epidemic was fueled
                    by the oversupply of prescription opioids. This misleading messaging
                    further promotes the idea that by separating opioid-addicted persons as a
                    distinct population, the remaining patients can be prescribed opioids
                    without risk. The reality is that legitimate pain patients can and do get
                    addicted through an opioid prescription.

             •      “Opioids get into the hands of drug dealers and persons with an addictive
                    disease as a result of pharmacy theft, forged prescriptions, Internet sales,
                    and even from other people with pain. It is a problem in our society that
                    needs to be addressed through many different approaches.” American Pain


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                    Foundation Guide for People Living with Pain
                    (TEVA_MDL_A_01090496 at 0518)

                    Comment: Although it is true that diversion of prescription drugs is an
                    important factor in this opioid epidemic, it is also true that people misuse,
                    overuse, get addicted to, and die from prescription opioids received
                    directly from their doctor to treat a medical condition. This statement is
                    misleading because it implies that only people engaging in illegal activity
                    are at risk. In fact, anyone exposed to an opioid for any reason is at risk.

       3.    Myth: No dose is too high; optimal dose is determined by titrating upwards until
             analgesia

             •      “The other opioids can relieve severe pain. Their doses can be gradually
                    increased over time. There is no ceiling dose as there is with the NSAIDs.
                    As pain worsens, these medications continue to be useful unless side
                    effects occur. It is a myth that opioids, like morphine should only be used
                    at the final stages of a seriously painful disease. When pain is severe,
                    opioids should be considered.” American Pain Foundation Guide for
                    People Living with Pain (TEVA_MDL_A_01090496 at 0515)

                    Comment: Statements like these are misleading because they ignore that
                    risks of opioids increase with increasing dose, and that many organs are
                    adversely affected by opioids, not least of all the brain. Increasing doses
                    can lead to the risks of tolerance, dependence, withdrawal, addiction,
                    depression, cognitive impairment, and numerous other adverse effects,
                    including risk of overdose and death.

       4.    Myth: Dependence is normal, not a significant problem, and easily reversible.

             •      “Physical dependence means that a person will develop symptoms and
                    signs of withdrawal (e.g., sweating, rapid heart rate, nausea, diarrhea,
                    goosebumps, anxiety) if the drug is suddenly stopped or the dose is
                    lowered too quickly. Physical dependence is normal; any patient who is
                    taking an opioid on a regular basis for a few days should be assumed to be
                    physically dependent. This does NOT mean you are addicted. In fact,
                    many non-addictive drugs can produce physical dependence. To prevent
                    withdrawal from occurring, the dose of the medication must be decreased


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                   slowly.” American Pain Foundation Guide for People Living with Pain
                   (TEVA_MDL_A_01090496 at 0517)

                   Comment: Comparing dependence on opioids to dependence on non-
                   addictive drugs is a false analogy because opioids work on the brain’s
                   reward pathway and are therefore reinforcing beyond their pain-relieving
                   properties. Further, there is significant overlap between those who become
                   dependent on opioids and those who become addicted to opioids, and this
                   statement minimizes that significant overlap.

             •     “Family members/caregivers may worsen patient concerns and fears about
                   analgesic use. Caregivers may lack information about proper pain
                   management and its benefits. Like patients, caregivers may need
                   reassurance that few people using opioids for a legitimate medical reason
                   become addicted to the drug, and that physical dependence to a drug is
                   easily overcome through scheduled dosing decreases, if the patient
                   improves to the point where opioids are no longer needed. Because
                   caregivers play an integral role in therapeutic success, it may be helpful
                   for health care providers to educate both patients and their caregivers
                   about pain management programs in a joint discussion. [Willis, 2007, 261-
                   262; AACPI, 2004, 6-7]” Fentora Introduction to Pain
                   (TEVA_MDL_A_00890305 at 0346)

                   Comment: Dependence and tolerance are serious physical conditions in
                   themselves and are not, as the authors state, always “easily overcome
                   through scheduled dosing decreases.” See Weimer et al regarding the
                   great difficulty many opioid-dependent patients have with tapering
                   opioids. (Weimer MB, et al. A chronic opioid therapy dose reduction
                   policy in primary care, Substance Abuse, 2016;37:1,141-147,)




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       5.    Myth: Pseudo-addiction – respond with more opioids

             •     “Certain behaviors are sometimes mistaken for addiction. If patients
                   receive inadequate pain relief, they may exhibit drug-seeking behaviors.
                   This is called pseudoaddiction. When these patients receive adequate pain
                   management, they no longer exhibit the same behaviors. Patients in pain
                   do not usually become addicted to opioids. [Kahan, 2006, 1082-1083;
                   NPC and JCAHO, 2001, 17]” Fentora Introduction to Pain
                   (TEVA_MDL_A_00890305 at 0355)

                   Comment: As detailed in the Report, pseudo-addiction is not a reliable
                   diagnosis; the term pseudo-addiction was developed by a physician
                   (Haddox) who became an executive at Purdue. A review article found that
                   there was no empirical evidence to support such a diagnosis, and that
                   impartial scientists have criticized its usage, whereas authors affiliated
                   with the opioid sellers have advocated the concept. Greene MS, Chambers
                   RA. Pseudoaddiction : Fact or Fiction ? An Investigation of the Medical
                   Literature. Curr Addict Rep 2015:310-317. doi:10.1007/s40429-015-0074-
                   7.




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 Appendix I.C: Janssen

 Janssen Misleading Messaging

 A.    Benefits of Opioids Overstated

       1.    Myth: Opioids are effective for chronic pain

             •      “Effective Pain Relief Improves Physical Function In Patients With
                    Chronic Pain. Patients with chronic low back pain receiving opioid
                    analgesia reported significantly greater reduction in pain intensity and
                    improved exercise performance vs patients receiving placebo.” Chronic
                    Pain Management Message Platform, August 20, 2009. JAN-MS-
                    00068759- JAN-MS-00068828 at 8798

                    Comment: This quote is misleading because it is part of a “Chronic Pain
                    Message Platform,” but it relies on short-term studies to support claims of
                    long-term pain relief. There are not now and have never been any reliable
                    scientific studies showing efficacy of opioids for chronic pain.

       2.    Myth: Opioids are first-line treatment

             •      “Duragesic: A First-Line Choice for Chronic Around-the-Clock Opioid
                    Therapy. Consider as first-line for patients with moderate-to-severe
                    chronic pain who require continuous opioid analgesia: Degenerative joint
                    disease; Chronic back pain; Cancer pain; Has been shown to be effective
                    in certain cases of chronic neuropathic pain.” Optimizing Chronic Pain
                    Management with Duragesic, December 14, 2001. JAN-MS-00653403, at
                    *19 (produced natively).

                    Comment: By not distinguishing between cancer pain and non-malignant
                    pain, or between acute and chronic pain, the statement is misleading, in
                    that there was no reliable evidence that opioid therapy was effective for
                    chronic, non-malignant pain. A similarly misleading statement appears in
                    the 2007 DURAGESIC Patient Brochure for pain expected to last for
                    “weeks or longer,” stating that DURAGESIC has been used “for more
                    than 16 years to effectively relieve pain,” yet citing, as support for that
                    claim, a 1995 article written by an industry employee that states, “Clinical
                    trials have established the efficacy and safety of transdermal fentanyl for
                    the treatment of cancer pain. Transdermal fentanyl is not licensed for the
                    treatment of acute pain, e.g. postoperative pain, and should not be
                    prescribed for this purpose.” JAN00222296_POT-01DR1050AR2.pdf, at
                                            207
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                    pp. 7, 28; citing Southam, “Transdermal fentanyl therapy: system design,
                    pharmacokinetics and efficacy,” Anticancer Drugs 1995; 6:29-34, at 29.

       3.    Myth: Opioids improve function and quality of life

             •      “…we have enhanced our current promotional message to maximize our
                    product benefits and address relevant issues among chronic pain
                    physicians…research shows: 1) functionality is a key driver of brand
                    selection, 2) functionality is the end-benefit of physician treatment goals
                    and 3) no brand owns functionality.” Duragesic Market Update, July 3,
                    2002. JAN-MS-00310227 at 0228.

             •      Janssen’s Let’s Talk Pain website states that the use of opioids for the
                    treatment of chronic pain can lead to patients regaining functionality and
                    features an interview claiming that opioids were what allowed a patient to
                    “continue to function.” Resources for Pain Management: Understanding
                    Tolerance, Physical Dependence and Addiction, Let’s Talk Pain,
                    https://web.archive.org/web/20120322234928/http://www.letstalkpain.org/
                    real_story/addictions.html.

             •      Janssen’s patient education guide Finding Relief states that opioids can
                    make it possible for people with chronic pain to “return to normal, e.g., to
                    get back to work, walk or run, play sports, and participate in other
                    activities.” JAN-MS-00829901 at JAN-MS-00829910.

             •      A consumer webcast video for Ultram ER contained the statement”
                    "Because my chronic pain was waking me up throughout the night, I
                    worked with my doctors and found a medication called Ultram ER, that
                    provides management of moderate to moderately severe chronic pain in
                    adults who require around-the-clock treatment of their pain for an
                    extended period of time. Ultram ER not only helped to manage my
                    chronic pain, but because Ultram ER is a 24-hour treatment, I no longer
                    found myself waking up due to chronic pain. This was and is important to
                    my overall chronic pain management program, because sleep is a critical
                    factor in my overall mood, which affects my relationships." ENDO-
                    OPIOID_MDL-03850803 at 0806.

                    Comment: The FDA reprimanded Janssen for its “quality of life claims,

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                    including but not limited to, ‘And the #1 reason to convert your patients to
                    the Duragesic patch: QUALITY OF LIFE,’ and ‘. . .without pain, patient’s
                    sleep better, increase daily activities, and spend more quality time with
                    their families.’ Health related quality of life claims such as these require
                    substantial supporting evidence in the form of adequate and well -
                    controlled studies designed to specifically assess these outcomes.
                    Therefore, without substantiation from adequate studies, the claims
                    presented in this ‘homemade’ promotional piece are misleading.” FDA
                    Letter to Janssen RE: NDA 19-813, March 30, 2000. JAN-MS-00238338
                    at JAN-MS-00238341, see also at JAN-MS-00238344- JAN-MS-
                    00238345. There was a further FDA reprimand for the webcast video
                    because it “misleadingly implies that patients treated with the drug will
                    experience an improvement in their sleep quality. The webcast cites no
                    support of these claims and there is neither evidence nor substantial
                    clinical experience to support this effect of Ultram ER. FDA Warning
                    Letter. RE: NDA 21-692, ENDO-OPIOID_MDL-03850803. There is no
                    reliable evidence to date that opioid pain medications improve long-term
                    function or quality of life.

 B.    Risks of Opioids Understated

       1.    Myth: Addiction/abuse is rare/low/uncommon/less than 1%

             •      “In 10 years of use, low and stable reported rate of abuse.” Optimizing
                    Chronic Pain Management with Duragesic, December 14, 2001. JAN-MS-
                    00653403, at *17 (produced natively).

             •      “Iatrogenic addiction from opioid analgesia in patients experiencing pain
                    is exquisitely rare. The Boston Collaborative Drug Surveillance Program
                    study revealed only four cases of iatrogenic addiction among 11,882
                    patients without a prior history of substance abuse who received opioids
                    for a broad range of indications.” Opioidphobia PowerPoint, August 1,
                    2001. JAN-MS-00653426, at *25 (produced natively).

             •      “[P]atients may have concerns: ‘I’m afraid I’ll become a drug addict.’
                    Addiction is relatively rare when patients take opioids appropriately.”
                    Duragesic Website Pages, April 10, 2006. JAN00222151, at *89
                    (produced natively).


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             •     “Problematic Opioid Analgesic-Related Behavior Reported In An
                   Evidence-Based Review Was Low. Structured evidence-based review on
                   abuse/addiction and aberrant drug-related behaviors (ADRBs) in patients
                   with chronic pain receiving chronic opioid analgesia. Abuse/addiction rate
                   of 3.27% (24 studies, N = 2,507). Amongst patients with no previous or
                   current history of abuse/addiction, the rate was 0.19%. ADRB rate was
                   11.5% (17 studies, N = 2,466). Among patients with no previous or
                   current history of abuse/addiction, the rate was 0.59%.” Chronic Pain
                   Management Message Platform, August 20, 2009. JAN-MS-00068759-
                   JAN-MS-00068828 at 8811, citing Fishbain et al. Pain Med. 2008; 9:444.

             •     “[S]tudies indicate that the de novo development of addiction when
                   opioids are used for the relief of pain is low.” Duragesic Information on
                   Opioid Dependence, Tolerance and Addiction, 2002. JAN-MS-00303825,
                   at *2 (produced natively), referencing Definitions Related to the Use of
                   Opioids for the Treatment of Pain: A Consensus Document from the
                   American Academy of Pain Medicine, the American Pain Society, and the
                   American Society of Addiction Medicine.

             •     “Given the relatively decreased potential of misuse of long-acting (e.g.,
                   methadone) and sustained-release opioids (e.g., transdermal fentanyl) in
                   chronic pain patients, these may be preferred over short-acting opioids.”
                   Speakers Notes, Assessing Risk of Substance Abuse, 2002. JAN-MS-
                   00310473 at *18 (produced natively).

             •     Speaker’s notes from a Janssen sales training presentation cite to Joranson
                   (2000) to state that “investigators concluded that the trend of increasing
                   medical use of opioid analgesics to treat pain does not appear to contribute
                   to increases in the health consequences of opioid use.” JAN-MS-
                   00302787, at *29 (produced natively).

             •     Janssen’s Prescribe Responsibly website states that concerns about opioid
                   addiction are “often overestimated,” and that “true addiction occurs in
                   only a small percentage of patients.” Keith Candiotti, M.D., Use of Opioid
                   Analgesics in Pain Management, Prescribe Responsibly,
                   http://www.prescriberesponsibly.com/articles/opioid-pain-management.


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             •     Janssen’s Prescribe Responsibly website states: “In those cases when a
                   patient expresses concern about addiction,” it is important to have a
                   further discussion, because if the concern turns out to fall within the
                   technical definition of “physical dependence,” the patient’s addiction
                   concerns can be overcome by “reassurance from the healthcare
                   professional.” Keith Candiotti, M.D., Use of Opioid Analgesics in Pain
                   Management, Prescribe Responsibly,
                   http://www.prescriberesponsibly.com/articles/opioid-pain-management.

             •     Janssen’s patient education guide Finding Relief dismisses as “myths” the
                   facts that opioids are addictive, can make functioning more difficult, and
                   often must be prescribed in higher doses over time. JAN-MS-00829901, at
                   JAN-MS-00829910.

             •     Janssen’s Prescribe Responsibly website states that addiction risk
                   screening tools allow HCPs to identify patients predisposed to addiction,
                   thereby allowing prescribers to manage the risk of opioid addiction in their
                   patient populations. Keith Candiotti, M.D., Use of Opioid Analgesics in
                   Pain Management, Prescribe Responsibly,
                   http://www.prescriberesponsibly.com/articles/opioid-pain-management.

             •     Janssen regarded the Let’s Talk Pain and Prescribe Responsibly websites
                   as integral to the launch of Nucynta ER. JAN-MS-00015864 at JAN-MS-
                   00015878.

             •     Presentation for a Janssen unbranded campaign promoted as one of the
                   “Key messages”: “Although many physicians are reluctant to prescribe
                   controlled substances, the risks (for both patient addiction/misuse, and
                   physician disciplinary action) are much smaller than commonly believed.”
                   JAN-TX-00002318 at slide 13. The presentation also provided this
                   “Execution tip”: “Avoid the Addiction Ditch…Use Portenoy’s study to
                   create dialogue about Opiophobia as a barrier...Many HCP’s will find the
                   2.6% incidence of addiction to be extremely low.” JAN-TX-00002318 at
                   slide 14.

             •     A Janssen sales training document proposed sample language to use on
                   calls to prescribers, “it is a common misconception that the incidence of
                   addiction and misuse is high when patients are prescribed an opioid. The
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                    reality is, according to Dr. Portenoy’s landmark registry study, behavior
                    suggestive of misuse was seen in only 2.6% of patients. In addition, many
                    physicians fear that if they prescribe opioids for too many of their patients,
                    they might be subject to disciplinary action by their state medical boards.
                    The reality is that only a tiny percentage of disciplinary actions have
                    anything at all to do with controlled substances, and none of them were
                    solely concerned with overprescribing.” JAN-MS-01135846 at 5852.

                    Comment: As detailed in the Report, addiction is common among
                    patients treated with opioids (10-30% of patients treated with opioid pain
                    medication will develop an opioid use disorder/addiction), and the risk of
                    addiction increases with increasing dose and duration. Studies quoting low
                    rates of addiction were methodologically flawed and biased by drug
                    company sponsorship. The Porter and Jick letter was not relevant to
                    addiction resulting from chronic opioid therapy. The Fishbain reference
                    did not disclose that Fishbain was an expert witness for an opioid seller
                    (Purdue); did not disclose that Fishbain had written an earlier review that
                    reported addiction rates as high as 18.9%; and did not disclose the
                    numerous flaws in the Fishbain 2008 article described in the Report. The
                    reference to Joranson did not disclose that Purdue financially supported
                    Joranson’s Pain and Policy Studies Group (WIS_PPSG_008286) , and did
                    not disclose that by 2004 even Joranson had published an updated report
                    documenting substantially increased Emergency Department admissions
                    for the period 1997-2002, compared to the period 1990-1996 covered by
                    his previous article. (“In 2002, opioid analgesics accounted for 9.85% of
                    all drug abuse, up from 5.75% in 1997.” Gilson, Ryan, Joranson and Dahl,
                    J Pain Symptom Manage. 2004 Aug; 28(2):176-88.). Portenoy, assessing
                    Oxycontin misuse/addiction, used a questionable denominator with 133
                    patients dropping out, excluded patients with self-reported past or present
                    substance or alcohol abuse, and was sponsored by Purdue. Portenoy, et al.,
                    Long Term Use of Controlled-release Oxycodone for Noncancer Pain:
                    Results of a 3-year Registry Study. Clin. J. Pain 2007; 23: 287-299, DOI:
                    10.1097/ 01.brs.0000186860.23078.a8.

       2.    Myth: No dose is too high

             •      Emails to district sales managers pushed higher dosage messaging for
                    Ultram ER: “Focused message geared toward 200[mg]- get out of the
                    ‘letter of the law’ mentality (ie-stop the state w/ 100[mg] for opioid naïve

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                   patients and just say other Dr.’s are having success starting at 200mg)”
                   JAN-TX-00053505.

             •     Emails to sales representative and managers pushed a high dosage
                   message: “We also discussed the importance of sampling- save the
                   titration packs for the primary care physicians and the 200mg bottles for
                   the specialists. Our goal is to get the patient to start on 200 mg or more if
                   they need to titrate up. ‘Doctor, why would you start a patient on a
                   minimal dosage of tramadol when your patient is in pain. The minimum
                   dose of tramadol IR would be 200-400kmg daily…So, you need to start
                   the patient on 200mg.’ The beauty of Ultram ER is the flexibility in
                   dosing. We cannot flinch on the sale for fear of side effects.” JAN-TX-
                   00277835 at 77836.

             •     “Doctor, there is no established ceiling dose for Nucynta ER” and “Note
                   to Sales Representatives: A ceiling dose is the threshold at which
                   additional dose increases produce no change in efficacy and often lead to
                   greater side effects. It is a plateau effect that is common to most
                   medications. However, it is important to note that pure opioid agonists,
                   such as morphine, do not have a ceiling dose.” Nucynta ER Frequently
                   Asked Questions, November 17, 2011. JAN-MS-00016372-JAN-MS-
                   00016397 at 6379.

             •     “In your practice you may titrate your patients at your discretion, based on
                   your assessment of their pain management needs.” Nucynta ER Frequently
                   Asked Questions, November 17, 2011. JAN-MS-00016372-JAN-MS-
                   00016397 at 6380. “There is no ceiling dose for opioids. Titrate the dose
                   upward to obtain maximum pain relief without unacceptable side effects.
                   Always prescribe rescue medication for breakthrough pain.” Optimizing
                   Chronic Pain Management with Duragesic, December 14, 2001. JAN-MS-
                   00653403, at *26 (produced natively).

                   Comment: The statements and messaging above are misleading because
                   they omit that increased dose increases risk of adverse side effects,
                   including but not limited to dependence, addiction, and death. The
                   statement, “We cannot flinch on the sale for fear of side effects,” in the
                   context of upselling higher doses, gives rise to particular concern, since it
                   shows awareness of the accompanying increased risk, yet nevertheless
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                    promotes the higher dose.

       3.    Myth: Dependence is not a significant problem and is easily reversible

             •   “Opioids can be discontinued in dependent patients without withdrawal
                 difficulties by simply tapering them over about a week.” Opioidphobia
                 PowerPoint, August 1, 2001. JAN-MS-00653426, at *24 (produced natively).

             •   “Physical dependence may be managed by gradually reducing the dose of the
                 medication if the patient’s physician decides it is appropriate to discontinue
                 therapy.” Duragesic Information on Opioid Dependence, Tolerance and
                 Addiction, 2002. JAN-MS-00303825, at *1 (produced natively), (citing Passik
                 SD, Portenoy RK, Ricketts PL. Substance abuse issues in cancer patients: part
                 1: prevalence and diagnosis. Oncology. 1998: 4:517-521).

                 Comment: Dependence and tolerance are serious physical conditions in
                 themselves, leading to increased doses and addiction in a subset of patients,
                 and to long, slow, and often failed attempts at tapering. “Tapering them over
                 about a week” would cause extreme suffering in the majority of patients on
                 chronic opioid therapy, and may even lead some to experience suicidal
                 thoughts and/or turn to illicit sources of opioids.

       4.    Myth: Tolerance – Respond with higher dose

             •      “Tolerance does not mean that the medication has lost its effectiveness.
                    Rather, the dose must be adjusted to achieve an effective level of pain
                    relief.” Duragesic Information on Opioid Dependence, Tolerance and
                    Addiction, 2002. JAN-MS-00303825, at *2 (produced natively).

             •      “Increases in opioid doses may be required over the first few days or
                    weeks of therapy during titration to response. Tolerance to opioid
                    analgesia typically does not occur once an effective dose of opioid is
                    identified and administered regularly.” Opioidphobia PowerPoint, August
                    1, 2001. JAN-MS-00653426, at *26 (produced natively).

             •      “Tolerance rarely ‘drives’ dose escalation. Tolerance does not cause
                    addiction.” Assessing the Risk For Substance Abuse, 2002. JAN-MS-
                    00310473, at *8 (produced natively).

                    Comment: These statements are misleading, because tolerance is
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                   common, is associated with addiction, and is in fact one of the DSM-5
                   criteria for addiction.

       5.    Myth: Pseudo-addiction –Respond with more opioids

             •     “Pseudoaddiction is a term used to describe patient behavior that can
                   occur when pain is under-treated. Patients with unrelieved pain may
                   become focused on obtaining medications and may seem to
                   inappropriately seek drugs.” Duragesic Information on Opioid
                   Dependence, Tolerance and Addiction, 2002. JAN-MS-00303825, at *2
                   (produced natively), (citing Savage S, et al.)

             •     “Pseudoaddictive behaviors mimic those of true addiction, but in reality
                   may reflect undertreatment. This may include drug-seeking behavior,
                   taking larger than prescribed doses, and running out of medications
                   prematurely, tolerance, and withdrawal. Although adequate pain relief
                   should eliminate the abnormal behavior if it is truly pseudoaddictive, it is
                   important to recognize that pseudoaddiction and addiction can coexist.”
                   Speaker’s Notes, Assessing the Risk For Substance Abuse, 2002. JAN-
                   MS-00310473, at *1(produced natively) (citing Passik et al. 2000, p 73;
                   Portenoy et al. 1997, p 563.)

             •     “Pseudoaddiction: Syndrome of abnormal behavior resulting from
                   undertreatment of pain that is misidentified by the clinician as
                   inappropriate drug-seeking behavior. Behavior ceases when adequate pain
                   relief is provided. Not a diagnosis; rather, a description of the clinical
                   intention.” Addressing the Barriers to Effective Pain Management and
                   Issues of Opioid Misuse and Abuse, 2013. JAN-MS-01509021, at *19
                   (produced natively).

             •     Janssen’s Let’s Talk Pain website describes the concept of
                   “pseudoaddiction” as “patient behaviors that may occur when pain is
                   under-treated” but differs “from true addiction because such behaviors can
                   be resolved with effective pain management.” Resources for Pain
                   Management: Understanding Tolerance, Physical Dependence and
                   Addiction, Let’s Talk Pain,
                   https://web.archive.org/web/20120322234928/http://www.letstalkpain.org/
                   real_story/addictions.html.
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             •     Janssen’s Prescribe Responsibly website states that addiction might be
                   “pseudoaddiction,” defined as “a syndrome that causes patients to seek
                   additional medications due to inadequate pharmacotherapy being
                   prescribed,” and “[t]ypically when the pain is treated appropriately, the
                   inappropriate behavior ceases.” Keith Candiotti, M.D., Use of Opioid
                   Analgesics in Pain Management, Prescribe Responsibly,
                   http://www.prescriberesponsibly.com/articles/opioid-pain-management.

                   Comment: As detailed in the Report, pseudo-addiction is not a reliable
                   diagnosis; the term pseudo-addiction was developed by a physician
                   (Haddox) who became an executive at Purdue, and a review article found
                   that impartial scientists criticize its usage, whereas authors affiliated with
                   the opioid sellers advocate the concept. Further, by introducing the
                   concept of pseudo-addiction, Defendants made it more difficult for
                   prescribers to detect and treat prescription opioid addiction, encouraged
                   prescribers to increase opioid doses, and thereby further endangered those
                   patients who became addicted to the opioids received through the health
                   care system.




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 Appendix I.D: Endo Pharmaceuticals

 Endo Misleading Messaging

 A.    Benefits of Opioids Overstated

       1.    Myth: Opioids are effective for chronic pain

             •      “[P]ain leaders recognize the need… to arrive at a unified agenda and
                    establish a framework that supports better understanding of this therapy
                    and the benefits and risks of prescribing opioid medication. While the pain
                    community must call attention to the epidemic of chronic pain, its
                    undertreatment, and the utility of opioid therapy as a safe and effective
                    strategy to relieve pain and improve functioning in appropriately selected
                    and monitored patients, it also must acknowledge the societal and public
                    health concerns raised by reports of increasing prescription drug abuse.”
                    “Provider Prescribing Patterns and Perceptions: Identifying Solutions to
                    Build Consensus on Opioid Use in Pain Management—A Roundtable
                    Discussion,” American Pain Foundation. Published April 2008. (emphasis
                    added). The Report states that it was “supported by an educational grant
                    from Endo Pharmaceuticals.” ENDO-OPIOID_MDL-02212377 at 2380-
                    2381.

             •      “Pain affects more Americans than diabetes, heart disease and cancer
                    combined. Now is the time to build consensus on pain management on
                    opioid use in America and drive perceptions towards a more balanced
                    view. Alleviating pain in patients with legitimate medical needs remains
                    an important medical imperative. Patients deserve optimal pain relief,
                    which includes access to safe and effective pain medications balanced
                    with appropriate risk management. When properly prescribed by a
                    healthcare professional and taken as directed, these medications provide
                    important pain relief and can improve functioning.” Id. at
                    2381(emphasis added).

             •      “A key challenge is the lack of scientific studies that have evaluated
                    long-term safety and efficacy of opioids for non-cancer pain.” Id. at 2380
                    (emphasis added).

             •      “The absence of controlled clinical trials evidence must not be
                    misinterpreted to be ‘lack of evidence.’ As defined by the principles of
                    evidence-based medicine, the cumulative experience of myriad
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                    practitioners and their patients presents a robust body of evidence;
                    however, the need for better science in this area is abundantly clear.” Id. at
                    2387 (emphasis added).

                    Comment: These quotes exemplify the Industry’s misleading promotional
                    messages, which perpetuated the unsupported claim that opioids are ‘safe
                    and effective’ for ‘chronic pain,’ and minimized the importance of
                    controlled trials showing safety and efficacy beyond 16 weeks. As to the
                    claim of efficacy of opioids for chronic pain, there was not then, and there
                    has never been, reliable evidence to support the claim. The Endo-
                    sponsored report tries to have it both ways. While acknowledging the lack
                    of “scientific studies that have evaluated long-term safety and efficacy,”
                    the Report asserts that “cumulative experience” constitutes “robust
                    evidence” under principles of evidence-based medicine. That is not correct.
                    “Cumulative experience” is anecdotal and does not qualify as evidence-
                    based medicine. While experience may complement scientific studies,
                    experience is not a substitute for such studies, especially in the face of
                    mounting evidence of harms. Further, a gold standard one-year
                    randomized clinical trial (Krebs, 2018) demonstrated that opioids are not
                    superior to non-opioid therapy for patients with chronic pain. This result
                    refutes 20 years of the Industry’s reliance on anecdotal, non-scientific
                    studies to claim that long-term opioid therapy is “safe and effective.”

                    Comment: The American Pain Foundation (APF), which published the
                    2008 Report, dissolved in 2012 due to irreparable economic circumstances
                    after a ProPublica/Washington Post article “detailed its close ties to
                    drugmakers.” The article found that APF’s “guides for patients, journalists
                    and policymakers had played down the risks associated with opioid
                    painkillers while exaggerating the benefits.” See Charles Ornstein, et al.,
                    American Pain Foundation Shuts Down as Senators Launch Investigation
                    of Prescription Narcotics, ProPublica (May 8, 2012)
                    https://www.propublica.org/article/senate-panel-investigates-drug-
                    company-ties-to-pain-groups.

       2.    Myth: Opioids are effective for long-term use based on short-term studies

             •      “Opana ER’s 12 hour dosing has been proven in many patient types
                    including opioid-naïve patients with low back pain. In a clinical trial with
                    opioid-naïve patients, 81% of patients on OPANA ER had a >= 30% pain
                    score reduction compared with only 52% of patients on placebo. Even
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                    more impressive, greater than 70% of these patients achieved a >= 50%
                    pain score reduction.” Endo OPANA ER Call Plan Document Message
                    and Support Materials, February 2007. ENDO-CHI_LIT-00210473 at
                    0475.

                    Comment: This quote, created for its sales representatives, was a
                    reference to an article by Katz et al. which was biased and misleading, and
                    included Endo employees as authors and was Endo sponsored. The claim
                    that over 70% of patients on oxymorphone extended release (Opana ER)
                    achieved greater than 50% pain relief was misleading because the “>70%”
                    figure, who purportedly achieved > 50% pain reduction, was based on
                    only the fraction of patients randomized to Opana who were able to
                    complete the randomized controlled trial. In reality, 325 patients were
                    recruited for the open label “enriched enrollment” phase which exposed all
                    325 to Opana. 120 discontinued before the randomized controlled trial
                    (RCT) even began. So only 63% (205/325) could tolerate Opana at all, let
                    alone achieve >50% pain relief. Furthermore, following the initial
                    enriched enrollment phase, another 33% of the subjects randomized to
                    Opana also failed to complete the trial due to adverse effects or lack of
                    efficacy. By ignoring the substantial percentage of patients who could not
                    tolerate Opana at all (37%), and those who subsequently dropped out of
                    the drug arm of the trial (33%), Endo trained its sales team to mislead
                    physicians about its efficacy by making the false claim that “over 70%”
                    achieved over 50% pain relief. Further, although the Katz article did not
                    explicitly state that Opana can be used long-term for chronic pain, the
                    training does not instruct the salesforce to limit use to 12 weeks. (ENDO-
                    CHI_LIT-00210473at 0474) Also note that the Hale study, to be used for
                    the same sales calls, explicitly stated in the abstract that Opana provides
                    “long-term analgesia,” despite a study length of only 12 weeks. The claim
                    of “long-term analgesia” is misleading in the context of a 12-week study.

       3.    Myth: Opioids are first-line treatment

             •      Listed under benefits of Opana ER - “Proven first line therapy for opioid-
                    naïve patients.” Endo OPANA ER Call Plan Document Message and
                    Support Materials, February 2007. ENDO-CHI_LIT-00210473 at 0475.

                    Comment: By not distinguishing between acute pain and chronic pain,
                    this quote sends the misleading message that using Opana ER for chronic
                    pain is evidence-based. While there is reliable evidence of efficacy of
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                    opioids for acute pain, as noted above and in the Report, there is no
                    reliable evidence of efficacy for chronic, non-cancer pain.

 B.    Risks of Opioids Understated

       1.    Myth: Opioid Therapy is “Safe”

             •      Comment: As to the assertion in the 2008 APF Report that opioid therapy
                    is “safe” in “appropriately selected and monitored patients,” (see above):
                    There were numerous studies that had reported a range of addiction as
                    high as 24% before the opioid sellers began increased, widespread sale
                    and distribution of opioids, without any reference to those data, and
                    numerous additional, subsequent studies consistent with the earlier results.
                    There was no reliable basis to assert that addictive drugs were not
                    addictive simply because they had been prescribed by a doctor. As noted
                    in the Volkow/McClellan article cited in the Report, “no patient is immune
                    from addiction.” Regarding “appropriately selected and monitored
                    patients,” as detailed in the Report, we do not have any reliable tools or
                    screening instruments to predict who will get addicted to opioids
                    prescribed in the course of medical treatment.

       2.    Myth: Opioid dependence is not a significant problem and no different from
             other drugs

             •      “Physical dependence and tolerance are related phenomena that occur with
                    chronic use of many types of drugs, including many that are not associated
                    with addiction or abuse (such as beta blockers for high blood pressure).
                    Both result from changes in the body as it adapts to the constant presence
                    of the drug. Physical dependence is due to adaptive changes that cause the
                    body to depend on the drug’s actions to drive a process.” Oxymorphone
                    Learning System, Module 3, Oxymorphone Risk Management Program
                    (For Sales Training Background Purpose Only), 2006. ENDO-CHI_LIT-
                    00053284 at 3299.

                    Comment: This statement is misleading because withdrawal from “beta
                    blockers for high blood pressure” cannot compare to withdrawal from
                    opioids, which is so painful that it can lead to suicide, death due to
                    autonomic instability, and pursuit of illicit sources of opioids.

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       3.    Myth: Pseudo-addiction – respond with more opioids

             •      The Learning System manual noted that “[t]he physician can differentiate
                    addiction from pseudoaddiction by speaking to the patient about his/her
                    pain and increasing the patient’s opioid dose to increase pain relief.” Id. at
                    3299.

             •      “Pseudoaddictive behaviors such as clock watching (counting down the
                    time until the next dose) will resolve when the pain is properly treated.”
                    Id. at 3299.

             •      “The syndrome of drug-seeking behaviors that arises when a patient
                    cannot obtain adequate relief with the prescribed dose of analgesic and
                    seeks alternate sources or increased doses of analgesic is referred to as
                    pseudoaddiction. This may be the result of increasing pain due to disease
                    progression, development of a new condition, or inadequate instruction or
                    dose provision by the clinician.” Opioid Analgesics for Pain Management:
                    Critical Thinking to Balance Benefits & Risk [Endo had financial
                    relationships with 5/5 faculty for this CME] June 2007, expires June 2009.
                    CHI_001222272 at 2279

                    Comment: As detailed in the Report, pseudo-addiction is not a reliable
                    diagnosis; the term pseudo-addiction was developed by a physician
                    (Haddox) who became an executive at Purdue, and a review article found
                    that impartial scientists criticize its usage, whereas authors affiliated with
                    the opioid sellers advocate the concept. “Speaking to the patient” is
                    particularly misleading advice, since numerous studies have documented
                    the false statements provided by patients to their doctors in order to
                    maintain access to addictive opioids.

       4.    Myth: Abuse deterrent formulations decrease risk of addiction

             •      “Options . . . 1. The next generation of Opana ER was formulated using
                    the INTAC™ technology which is designed to discourage misuse and
                    abuse of the medication. 2. The next generation Opana ER was formulated
                    to reduce the likelihood of abuse and misuse. 3. The FDA-approved
                    formulation of Opana ER was developed with tamper-resistant properties
                    to discourage abuse and misuse. 4. With a formulation that is designed to
                    be crush-resistant, Opana ER represents the next generation of pain
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                          management medications. 5. The reformulated tablet is designed to make
                          it more difficult for Opana ER to be split, chewed, crushed, or dissolved to
                          release the medication more rapidly than intended.” Draft Communication
                          Messages for Opana ER, November 17, 2011. END00099670 at 9670-
                          9671.

                  •       “A study of prescription opioid abusers in a drug rehabilitation program
                          found that 80% tampered with opioid tablets to accelerate drug release by
                          chewing or administering the drug intra-nasally or intravenously. The
                          authors suggest that formulations that incorporate physical or
                          pharmacologic impediments to altering the recommended routes of
                          administration may deter tampering; The attractiveness of an opioid for
                          abuse is in large part dependent on characteristics of the tablet formulation
                          particularly the ease with which it can be crushed or dissolved in fluids.”
                          Letter requesting support from Julie Suko Regarding: Reformulated Opana
                          ER (oxymorphone hydrochloride) Extended-Release Tablets, CII with
                          INTAC® technology (Designed to be crush resistant), November 6, 2012.
                          ENDO-OR-CID-00772464 at 2464.

                          Comment: Opana ER was at the center of the injection opioid epidemic in
                          Scotts County, Indiana in 2015 that led to the spread of HIV in that
                          community. “From November 18, 2014 to November 1, 2015, HIV
                          infection was diagnosed in 181 case patients. Most of these patients
                          (87.8%) reported having injected the extended-release formulation of the
                          prescription opioid oxymorphone…Persons who reported injecting
                          oxymorphone frequently described crushing, dissolving and cooking
                          extended-release oxymorphone (Opana ER, Endo Pharmaceuticals).” 640 In
                          other words, “abuse via injection” was not more difficult. The most
                          common way that people misuse and get addicted to prescription opioids,
                          is to ingest oral formulations orally as prescribed. Although tamper-
                          resistant formulations may make it more difficult to crush, snort, or inject
                          these substances, that is no protection against getting addicted to them in
                          the first place, taken as prescribed. Further, as with Opana ER, which was
                          supposed to be tamper resistant, addicted persons were able to crush and
                          inject it.

 640
   See Peters, et.al., “HIV Infection Linked to Injection Use of Oxymorphone in Indiana, 2014-2015” N Engl J Med
 2016;375:229-39, at pp. 229 and 232.

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       5.    Myth: Addiction/abuse is rare/low

             •      “What is the risk of becoming addicted to a long-acting opioid?” “Most
                    healthcare providers who treat patients with pain agree that patients treated
                    with prolonged opioid medicines usually do not become addicted.” 2009
                    Opana ER “Instant Savings” card ad Resource Kit promising up to $300 in
                    savings. 2009 Opana ER “Instant Savings” card and Resource Kit, ENDO-
                    CHI_LIT-00541205 at 1211.

             •      “Most doctors who treat patients with pain agree that patients treated with
                    prolonged opioid medicines usually do not become addicted.” Endo’s
                    website for Opana, www.Opana.com (until at least 2012). END00474717 at
                    4739.

                    Comment: These comments are misleading because they suggest
                    addiction is rare in patients treated with opioids. Addiction risk with
                    opioid therapy is common, not rare.

       6.    Myth: No dose is too high

             •      “Some people taking opioids may need to take a higher dose after a period
                    of time in order to have relief from their pain. This is ‘tolerance’ to
                    opioids medications that doesn’t affect everyone who takes them and does
                    NOT mean addiction. (Emphasis in original). If tolerance develops, it
                    does not mean you will ‘run out’ of pain relief. Your healthcare provider
                    can adjust your dose or prescribe another medicine.” 2009 Opana ER
                    “Instant Savings” card and Resource Kit, ENDO-CHI_LIT-00541205 at
                    1211.

             •      “[W]hat should I know about opioids and addiction?” “If tolerance does
                    occur, it does not mean you will ‘run out of’ pain relief. Your dose can be
                    adjusted or another medicine can be prescribed.” Understanding Your Pain:
                    Taking Oral Opioid Analgesics brochure. ENDO-CHI_LIT-00237187 at
                    7189.

                    Comment: In fact, tolerance is a good indicator that the patient will ‘run
                    out’ of pain relief. Tolerance indicates neuroadaptation to the opioid
                    molecule, and the need for higher doses to get to same effect and/or stave
                    off withdrawal. Since higher doses are associated with more morbidity and
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                   mortality, increasing doses of opioids are dangerous. These statements
                   perpetuate the misleading claim that tolerance is a benign condition that is
                   not associated with addiction.




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 Appendix I.E: Allergan

 Allergan Misleading Messaging

 A.    Benefits of Opioids Overstated

       1.     Myth: Opioids are effective for chronic pain

              •      “Longer-acting agents are more effective than short-acting agents for
                     chronic pain; “around-the-clock” dosing for “around-the-clock pain”.
                     Managing Chronic Pain and the Importance of Customizing Opioid
                     Treatment, October 27, 2009. ALLERGAN_MDL_01741588 at 1596.

                     Comment: This quote exemplifies the claim that opioids are effective for
                     chronic pain, which was not then, and has never been, supported by
                     reliable evidence.

              •      “Morphine and morphine-like drugs work well for pain and are safe when
                     taken as directed by a doctor.” Id. at 6826.

                     Comment: As detailed in the Report, there is not now and has never been
                     reliable evidence that opioids are effective for long-term treatment of
                     chronic pain.

       2.     Myth: Opioids are first-line treatment

              •      “How does Kadian fit into your prescribing habits? If first line…Thank
                     the HCP for their business and remind them of the key features and
                     benefits of Kadian. If not first line: Why don’t you use Kadian first line?”
                     Kadian Marketing Overview - Sales Representative Training, October
                     2011. ALLERGAN_MDL_00007268 at 7294. Same presentation used in
                     February 2013, see ALLERGAN_MDL_00026506 at 6533.

                     Comment: The quote above does not distinguish between acute pain and
                     chronic pain. The implied “key feature” of Kadian is its longer duration of
                     action for “around the clock” pain, i.e. chronic pain. While there was
                     reliable evidence of efficacy of opioids for acute pain, as noted above and
                     in the Report, there was no reliable evidence of efficacy for chronic, non-
                     cancer pain. It was misleading to make a blanket statement of efficacy
                     without making this distinction clear.



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       3.    Myth: Opioids are safer than the alternatives

             •      “Maintenance therapy with opioids can be safer than the long-term use of
                    other analgesics, such as COX-2 inhibitors, nonselective NSAIDs, or
                    acetaminophen . . .” Managing Chronic Pain and the Importance of
                    Customizing Opioid Treatment, October 27, 2009.
                    ALLERGAN_MDL_01741588 at 1598.

                    Comment: There was no reliable evidence to claim that opioids were
                    “safer, or “perhaps” safer than NSAIDs or acetaminophen. As to NSAIDs,
                    the best available evidence shows that opioids confer greater risk of
                    mortality and adverse events. (See Solomon study in the Report ); also, the
                    Krebs study (SPACE trial) in the Report, found more adverse events in the
                    opioid group than among the non-opioid group that consisted of
                    acetaminophen and NSAIDs, with a small percentage of patients on
                    tramadol.

       4.    Myth: Opioids improve function/quality of life

             •      “Proven efficacy and improvement in quality-of-life (QOL) sleep scores in
                    patients with chronic back pain.” Managing Chronic Pain and the
                    Importance of Customizing Opioid Treatment, October 27, 2009.
                    ALLERGAN_MDL_01741588 at 1632.

             •      “. . . Many Americans suffer from chronic or ongoing pain. It can cause
                    you to miss work and can even keep you from enjoying life. If left
                    untreated, pain can place stress on your body and your mental health” and
                    “Chronic pain . . . can be inconvenient and can keep you from your daily
                    tasks.” The FDA objected to these statements in prior brochures. Letter to
                    FDA from Actavis, July 16, 2010. ALLERGAN_MDL_01237743 at 7750.

                    Comment: The above quotes imply that opioids will improve function
                    and mental health, when the data show little or no improvement in
                    function with opioid therapy, and more adverse medical events. Indeed the
                    high drop outs rates in many opioid studies, even short term, suggest that
                    many people do not tolerate opioids. Also, studies have linked the use of
                    opioids with depression and suicidality, not improvements in mental
                    health. Burgeoning evidence shows significant morbidity and mortality
                    with opioids, increasing with dose and duration.

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 B.    Risks of Opioids Understated

       1.    Myth: Addiction is rare

             •      “Opioids can be used with minimal risk in chronic pain patients without a
                    history of abuse or addiction.” Managing Chronic Pain and the Importance
                    of Customizing Opioid Treatment, October 27, 2009.
                    ALLERGAN_MDL_01741588 at 1596.

                    Comment: Opioids cannot be used for chronic pain without imposing
                    significant risks of addiction, dependence, withdrawal and multiple
                    adverse effects. It is misleading to claim that risks were “minimal.”

       2.    Myth: The problem is the ‘addicts,’ not the drug

             •      “However, despite the continued unscientific beliefs of some clinicians,
                    there is no evidence that simply taking opioids for a period of time will
                    cause substance abuse or addiction. It appears likely that most substance-
                    abusing patients in pain management practices had an abuse problem
                    before entering practice.” Kadian Learning System.
                    ALLERGAN_MDL_01052119 at 2254.

                    Comment: This quote perpetuates the misleading idea that the problem is
                    the addicted patient, not the inherently addictive nature of the opioid. In
                    fact persons with no personal or family history of addiction can become
                    dependent on, addicted to, and die from opioids through a medical
                    prescription.

       3.    Myth: Tolerance - Respond with higher dose

             •      “Upward titration of pure opioid agonists can theoretically be continued
                    indefinitely, because there is no absolute ceiling effect to these
                    medications. In practice, however, although this is sometimes performed
                    in cases of cancer pain, most physicians will try an alternative medication
                    once they have exceeded their own comfort level with a given drug.”
                    Kadian Learning System. ALLERGAN_MDL_01052119 at 2221.

             •      “Pseudotolerance—Pseudotolerance is the need for an increase in dosage
                    that is not due to tolerance, but is due to other factors, such as disease

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                    progression, new disease, increased physical activity, lack of compliance,
                    change in medication, drug interaction, addiction, and deviant behavior.”
                    Kadian Learning System. ALLERGAN_MDL_01052119 at 2305.

                    Comment: The statements above are misleading because they omit that
                    increased dose increases risk of dependence, addiction, and numerous
                    adverse effects, including death. “Pseudotolerance” is not a recognized
                    diagnosis, whereas “tolerance” is almost universally the reason why opioid
                    users seek increased dosage of the drugs.

       4.    Myth: Pseudo-addiction – respond with more opioids

             •      “The problem is even more complex because some patients who are
                    undertreated for their physical pain show the symptoms of
                    “pseudoaddiction.” Pseudoaddiction is a set of behaviors . . .that are
                    exhibited by patients with inadequately treated pain, including patients
                    with cancer pain. Pseudoaddictive behaviors are not signs of substance
                    abuse, but rather should be considered symptoms of inadequate treatment.”
                    Kadian Learning System. ALLERGAN_MDL_01052119 at 2150.

             •      “Pseudoaddiction—Pseudoaddiction is drug-seeking behavior that seems
                    similar to addiction but is due to unrelieved pain. This behavior stops once
                    the pain is relieved, often through an increase in opioid dose.” Kadian
                    Learning System. ALLERGAN_MDL_01052119 at 2305.

                    Comment: As detailed in the Report, pseudo-addiction is not a reliable
                    diagnosis; the term pseudo-addiction was developed by a physician
                    (Haddox) who became an executive at an opioid seller, and a review
                    article found that impartial scientists criticize its usage, whereas authors
                    affiliated with the opioid sellers advocate the concept.

       5.    Myth: Opioid dependence is easily reversible

             •      “Development of Tolerance and Physical Dependence is a major reason
                    some clinicians feel opioid therapy should be limited for patients with
                    CBP. Most clinicians do not consider this a major issue, however.
                    Although tolerance and dependence do occur with long-term use of
                    opioids, many studies have shown that tolerance is limited in most patients
                    with CBP. Physical dependence simply requires a tapered withdrawal

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                   should the opioid medication no longer be needed.” Kadian Learning
                   System (Altier Ex. 2 / ALLERGAN_MDL_01610522 at 0848).

                   Comment: Dependence and tolerance are serious physical conditions in
                   themselves, leading to increased doses and addiction in a subset of
                   patients, and to long, slow, and often failed attempts at tapering. Abrupt
                   discontinuation or rapid tapering of opioids can cause extreme suffering in
                   the majority of patients on chronic opioid therapy, and may even lead
                   some to experience suicidal thoughts and/or turn to illicit sources of
                   opioids.




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                 Anna Lembke, M.D. Report



                       APPENDIX II
         Summary of Documents from the University of Wisconsin
                 Pain and Policy Study Group (PPSG)




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   Appendix II: Documents from the University of Wisconsin Pain and Policy Study Group

         1.     Documents produced by the University of Wisconsin Pain and Policy Studies
 Group (PPSG) in this case are supportive of Dr. Joel Saper’s statements concerning the
 relationship between “narcopharma,” as he referred to the Industry, and David Joranson, who
 was Director of the PPSG. (See Report at section C.4.g.) These documents provide evidence that
 the Industry funded PPSG over a period of many years, and that PPSG, in turn, carried out
 programs that benefitted the Industry by increasing access to opioids and limiting regulatory
 scrutiny of prescribing doctors.

         2.      On September 9, 1996, John Stewart wrote an email to Robert Kaiko of Purdue
 Pharma, recounting a discussion with David Joranson and Sophie Colleau at a pain conference in
 Vancouver, and Dr. Colleau’s follow-up letter that included a reference to a UN report
 concluding that “the medical need for opioids is far from being met, and recommend[ing]
 specific steps that should be taken by governments, non-governmental organizations and health
 professionals- to increase the availability and use of opioids.” Stewart informs Kaiko that “In the
 past, we have provided modest financial support for the Wisconsin Pain Research Group (in the
 form of annual corporate membership) and would be inclined to provide same ($1,000 to $2,000)
 toward this activity.” Kaiko wrote back “They are seeking support that will not only cover this,
 but also, subsequent issues of the publication. To date I believe they are planning for 5k from
 Janssen and from Purdue 4k (2k in basic support and 2k for ?# copies in Spanish for our use in
 Latin America.)” PPLPC013000017513.

         3.      On December 20, 1996, PPSG Director Joranson and several others wrote a letter
 to “Dear Colleague,” to inform about “the new Pain & Policy Studies Group (PPSG),” following
 the departure of the former head of the Pain Research Group to a new position. The letter advised
 that, “In the US, our group will continue its work to identify and address regulatory barriers to
 pain management . . . . We will expand our work with cancer and palliative care organizations
 and governments in a number of countries in order to achieve more balanced opioid regulation
 and improved availability of opioid analgesics.” PDD1701481531. The stated goals of PPSG
 thus included making opioids more available for treatment of pain, an objective that matched
 well to those of the sellers of such drugs.

         4.     On October 5, 2000, Director Joranson sent an email to David Haddox and Robert
 Kaiko of Purdue Pharma, enclosing four items that Joranson had been working on, including a
 document titled, “Evaluating federal and state policy for balance,” which had also been sent to
 Dr. Sackler. Dr. Joranson’s email closed with, “Hope to have a cocktail or something with you in
 not too long!” Haddox replied, “I think it is an excellent work product.” WIS_PPSG_001791. As
 noted throughout the PPSG documents, the principle of “balance” asserts that efforts to control
 diversion and abuse should not interfere with access to prescription opioids for pain; this
 principle was central to the Pharmaceutical Opioid Industry’s ability to achieve widespread
 opioid use.

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        5.      On August 30, 2001, Joranson wrote to Chris Neumann, Senior Director of
 Medical Education at Purdue Pharma, to acknowledge receipt of a $75,000 grant to “help us
 maintain our program and accomplish our pain and policy goals.” WIS_PPSG_013938.

          6.     On September 9, 2002, Joranson wrote to Robert Kaiko of Purdue, regarding “the
 points I would make about the value of our work: … 2. “We have improved state medical board
 policies: … Many states now have improved pain/opioid policies that address concerns about
 regulatory scrutiny; we developed much of it from behind the scenes, we wrote the two models
 that states have used, the medical board guidelines from CA and the model guidelines of the
 federation of state medical boards… 4. Evaluation of state policies for impediments to the use of
 opioids for pain.” WIS_PPSG_006938

         7.     On October 9, 2002, Joranson again wrote to Mr. Kaiko, expressing appreciation
 for support provided by Purdue “for the past several years. Without your support, some of the
 progress reported below would not have been possible.” Joranson then asked for an additional
 grant of $175,000 for this year, renewable for two more years. WIS_PPSG_006457.

         8.      On February 21, 2005, PPSG Director Joranson/PPSG gave a presentation to the
 American Pain Society, entitled, “Pain Policy in the U.S.: Are We Moving Forward?” The
 presentation included slides providing results of 3 national surveys of medical board members, in
 1991, 1997, and 2004, under the heading “Education and research with medical regulators.” The
 next slide stated that “Prescribing an opioid analgesic for more than several months to treat a
 patient with Chronic non-cancer pain was “Lawful/generally accepted medical practice for 12%
 (1991), 33% (1997) and 67% (2004) of surveyed medical boards.” WIS_PPSG_000703,
 produced natively at *6. PPSG’s Industry-funded efforts to remove prescribing restrictions
 significantly contributed to this drastic change in the acceptability of opioid treatment of chronic
 non-cancer pain.

         9.      Joranson’s 2005 presentation continued with a description of PPSG’s Model
 Policy Development, in particular, the FSMB Model Guidelines (1998) and FSMB Model Policy
 (2004), adopted in full by 13 states and in part by 12 states. The Model Policy advanced by
 PPSG “Recognizes need for opioids;” “Pain relief part of quality medical practice;” “Should not
 fear investigation:” and that “Inappropriate tx [treatment] includes over, under, non-treatment,
 continued ineffective tx.” (Id. at *8-*10). The designation of “undertreatment” of pain as
 “inappropriate” was a common theme in the promotion of opioids as the solution. The question
 of undertreatment of pain and the scope of the population arguably affected vary widely
 according to how the terms are defined. Regardless, the use of long-term opioid therapy is not
 and has never been the solution to chronic non-cancer pain.

         10.    Joranson’ presentation included a slide on “The Principle of Balance,” which
 stated, “Central to protecting public health and safety: Opioids are safe and effective, necessary,”
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 and that “Opioids have potential for abuse, pose risks.” (Id. at *16). Reliable scientific evidence
 demonstrates that opioids are dangerous and deadly, not “safe;” no reliable scientific evidence
 demonstrated that opioids were effective for the treatment of chronic non-cancer pain. Joranson’s
 industry-funded presentation was misleading.

         11.     Another of Joranson’s February 2005 presentation slides listed “16 States
 Improved Pain Policies (2000-2003), including West Virginia among them. “Examples of Policy
 Changes” included “Encourage pain management, pain management part of quality professional
 practice, address fear of regulatory scrutiny.” (Id. at *18-*19). Eight slides are devoted to the
 topics of diversion and abuse (Id. at pp. *23-*30). The presentation stated, “The reasons for
 increased abuse should be studied, taking into consideration all the sources of abused opioids,
 including deliberate criminal activities to divert opioids from all levels of the distribution system.
 Source and amount matter. Meanwhile, we should ensure that efforts to address abuse and
 diversion do not interfere in pain management.” (Id. at *31). No slides in the presentation are
 devoted to risk of addiction or the powerful addictive properties of prescription opioids,
 including the risk to individuals who are receiving opioids as medical treatment, and not only to
 “abusers.”

         12.      On June 6, 2005, PPSG Director David Joranson and Assistant Director Aaron
 Gilson wrote to Robert Kaiko, VP of Clinical Research at Purdue and Pamela Bennett, Purdue,
 Director of Advocacy, to express appreciation for “the last three years of financial support that
 Purdue Pharma has provided to [PPSG], amounting to $100,000 annually for the US program
 and $175,000 annually for the international program.” This amounts to $825,000 of financial
 support to PPSG from Purdue alone, in that 3-year period. The letter summarized PPSG’s “recent
 achievements” and requested an additional $2.2 million from Purdue for the years 2006-2010.
 The first listed “achievement was as follows: “In the USA, between 2000 and 2003, 16 States
 took legislative and regulatory actions to improve their pain policies. Many of these actions were
 based on our evaluations, recommendations and technical assistance and were accomplished in
 collaboration with many governmental and nongovernmental groups which use PPSG policy
 evaluations as a road map.” WIS_PPSG_008286.

         13.     In an August 2005 email thread referencing the enactment of the “North Dakota
 Pain Bill,” an email was sent to Aaron Gilson, Assistant Director of PPSG, asking: “Did you
 guys have a hand in this one? This is certainly what I’ve espoused for years, since we realized
 intractable pain acts weren’t really that helpful—that all we needed in statute was a statement
 that practitioners could legally prescribe opioids for pain.” WIS_PPSG_000026;
 WIS_PPSG_000036. Gilson responded, “I’m impressed that you could detect our finger prints . .
 .I’ll wear gloves next time. Yes, we worked with Bruce Levi, Executive Director of the North
 Dakota Medical Association, to change ND’s IPTA[Intractable Pain Treatment Act] to a general
 pain statute, which also removed the prescribing restriction for ‘addicts.’” WIS_PPSG_000026;

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 WIS_PPSG_000036. This exchange is indicative of not only the type of PPSG projects that
 benefited the Industry by easing prescribing restrictions and penalties, but also shows the
 surreptitious, behind-the-scenes nature of PPSG’s efforts.

         14.     In a November 2005 “Prospectus,” PPSG listed a number of policies and
 programs to attract financial support. The Prospectus described PPSG’s promotion of “the
 principle of ‘balance’ which recognizes that policies aimed at preventing drug abuse must not
 interfere with medical practice and patient care.” To promote that policy, PPSG published “State
 Profiles that identify provisions in each state that have the potential to enhance or impede pain
 management. … PPSG assigns grades to each state to draw attention to the need to improve pain
 policy. … A Progress Report Card compared the policies in 2003 with those in 2000 and found
 that many states had improved the degree of balance in their pain and regulatory policies. PPSG
 identifies and recommends ‘best’ or model policies and assists in their development.”
 WIS_PPSG_008292 at pp. 2-3. The “Accomplishments” section of the Prospectus stated, “PPSG
 played a central role in revising the Federation of State Medical Board’s Model Guidelines on
 the Use of Controlled Substances for Pain Management, now entitled Model Policy for the Use
 of Controlled Substances for Pain Management.” (Id. at p. 4). The FSMB Model Guidelines
 played a significant role in exacerbating the prescription opioid epidemic, by eliminating or
 reducing restrictions on use of opioids for pain, and by threatening regulatory action for
 “undertreated pain.”

         15.      PPSG also worked with the FSMB to develop and present an educational program
 for “workshops for state medical board members held across the U.S.; PPSG staff served as
 faculty, and administered a pre- and post-test survey to evaluate changes in knowledge and
 attitudes as a result of workshop participation.” WIS_PPSG_008292, 11/30/2005.

        16.    On December 1, 2005, Joranson and Gilson of PPSG wrote to Bobbie Sue Brown,
 Clinical Development & Education Manager-Southwest, at Endo Pharmaceuticals, recounting
 the work of PPSG and requesting $225,000 for the period 2006-2008. WIS_PPSG_007994.

         17.     A document titled, “U.S. Program Accomplishments: July 2009-June 2010,”
 stated: “PPSG remains a member of the Federation of State Medical Boards Research and
 Education Foundation’s advisory committee that recently developed a handbook to educate
 physicians about the Federation’s Model Policy to promote safe and effective prescribing and
 reduce the risk of abuse, addiction, and diversion of opioids and other controlled substances in
 office-based pain management; the Handbook was published mid-2007 and is being made
 available to state medical boards to distribute to their licensees. [Fishman SM. Responsible
 opioid prescribing: A physician’s guide. Washington, DC: Waterford Life Sciences; 2007.]”
 WIS_PPSG_007680, 02/07/2011, at p. 3.


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         18.     The 2007 Fishman Handbook encouraged use of prescription opioids for chronic
 pain, despite absence of reliable evidence of long-term efficacy. Dr. Fishman’s disclosure for a
 Continuing Medical Education (CME) program based on the Handbook listed Endo, Janssen and
 Cephalon among his financial supporters. https://archive.org/stream/279187-responsible-opioid-
 prescribing-info/279187-responsible-opioid-prescribing-info_djvu.txt. The CME website listed
 the consortium members who supported publication of the Handbook, including Purdue Pharma,
 Endo, Cephalon, Alpharma, and the PPSG; the CME target audience was described as
 “Physicians who prescribe opioid analgesics as part of pain management strategies in their
 clinical practice.” (Id.) In short, PPSG cooperated with the Pharmaceutical Opioids Industry to
 produce a Handbook funded by the Industry to promote its views of “responsible prescribing;”
 that book was then used to “educate” physicians for CME credit, to be earned by reading the
 book and passing an online test on its contents.

         19.     The “U.S. Program Accomplishments: July 2009-June 2010” document also
 included the following entry: “PPSG published a review article describing the implications of
 inaccurate addiction-related terminology, contained in current federal and state laws, regulations,
 and guidelines/policy statements, on effective pain management and patient care; data used to
 inform sections of this manuscript was obtained through a recently-completed grant to examine
 the legislative and regulatory origins of restrictive policy language that currently is present in
 state law and has a potential to interfere with the adequate and effective use of controlled
 substances for pain management. [Gilson AM. The concept of addiction in law and regulatory
 policy: A critical review. Clinical Journal of Pain. 2010; 26(1):70-77.]” WIS_PPSG_007680
 (emphasis added). Removing restrictions and interference with opioid prescribing were the stated
 goals of PPSG and aligned with its Industry funders.

        20.      A PPSG Spreadsheet lists financial contributions from the Pharmaceutical Opioid
 Industry between November 2000 and August 2007, including: Purdue Pharma, $1,256,500;
 Janssen/J & J: $238,990; Endo, $140,000; Ortho-McNeil, $125,000; Cephalon, $25,000;
 Alpharma, $25,000; Roxane, $15,000; and Abbott, $15,000 for a total of $1,840,490. The
 spreadsheet lists 27 separate contributions by Purdue, and 10 each by Janssen/J&J and Endo; the
 frequency and collegial nature of the communications between PPSG and company
 representatives like David Haddox suggests a cooperative relationship. Additional payments
 occurred outside of the years covered by the spreadsheet. WIS_PPSG_007783.

        21.      A presentation by Joranson on February 16, 2008 disclosed financial relationships
 with Abbott, Alpharma, Cephalon, Endo, Ortho-McNeil, and Purdue
 Pharma.WIS_PPSG_007991. However, Joranson’s presentation slides did not include such
 disclosures in February 2005. WIS_PPSG_000703.



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         22.    A 2011 spreadsheet lists the following contributions as “Pending”: Actavis, “to be
 $55k;” Allergan $50,000; Endo, $46,106; $649,779; $46,057; and $75,000; Janssen Ortho
 Pricara, $50,000; and $10,000; and Purdue, $50,000. WIS_PPSG_003892.

         23.     These documents provide supportive evidence for my opinion that one of the
 ways that the Pharmaceutical Opioid Industry created the opioid epidemic in the United States
 was by funding the PPSG to “educate” the medical community as to the “necessity” for such
 drugs, to influence state legislatures to increase access while loosening restrictions on
 prescribing, and to change the very culture of opioid prescribing, by suggesting that failing to
 prescribe opioids was tantamount to “undertreating” pain and violating a patient’s “rights.”




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                      APPENDIX III
  Case Specific Data: Cabell County Commission and City of Huntington,
          West Virignia, (The Cabell Huntington Community) v.
    AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
                         McKesson Corporation




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 Appendix III: Case specific data and information

 A.       Background of the Case:

       1. It is my understanding that the plaintiffs in this action are the Cabell County Commission
          and the City of Huntington, West Virginia.

       2. It is my understanding that the defendants in this action are as follows:
          AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson
          Corporation.

       3. It is my understanding that the claim of relief in this litigation is Public Nuisance, as
          described in the Complaint: 1) Defendants created and maintained a public nuisance
          which proximately caused injury to Plaintiff; 2) Defendants repeatedly engaged in
          unlawful and wrongful conduct which reasonably interfered with and had a substantial
          impact upon the public health, giving rise to the opioid epidemic; 3) A public nuisance
          results from conduct that caused an unreasonable and substantial interference with a right
          common to the general public, which is the proximate cause of, and/or substantial factor
          leading to, Plaintiffs’ injury. 4) Defendants have created and maintained a public
          nuisance by marketing, distributing, selling opioids, and/or exacerbating the flood of
          opioids into Plaintiff’s Community in ways that unreasonably interfere with the public
          health, welfare, and safety in Plaintiffs’ Community. Plaintiffs and residents of Plaintiffs’
          Community have a common right to be free of such conduct and to be free from conduct
          that creates a disturbance and reasonable apprehension of danger to person and property.

 B.       Opioid Prescribing:

       1. As shown in the Tables below, between 2006-2014, West Virginia’s average annual
          dosage unit per capita for oxycodone and hydrocodone was significantly greater than the
          national annual dosage unit per capita for oxycodone and hydrocodone. 641

              a. The Average Annual Dosage Unit per capita for 2006-2014 in West Virginia
                 amounted to 72.05 compared to 39.90 for the nation. 642 Within West Virginia,
                 Cabell County and the City of Huntington had a substantially higher average level
                 of 122.08 Total Dosage Units per year. 643 The average for Cabell/Huntington was
                 approximately 3 times greater than the national average.



 641
     Report of Craig McCann, Appendix 10 at pp.75,90
 642
     Id.
 643
     Id.at p. 106

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               b. Morphine Milligrams Equivalent (MME) is a standard measure of the strength (and magnitude of risk) of opioids. As
                  shown by the Tables below, average annual MME for Cabell County and the City of Huntington was 1,168.81, which
                  was significantly higher than the average for West Virginia (642.75), which, in turn, was significantly greater than the
                  average for the US (384.51). As is true for annual dosage units per capita (above) the average annual MME per capita
                  for Cabell County/City of Huntington was also approximately 3 times greater than for the US generally, increasing
                  annual MME per capita of 642.75 for the period from 2006-2014. 644




644
      Report of Craig McCann, Appendix 10 at pp.76, 91, 106.

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        2. Between 2006-2014, Defendants AmerisourceBergen, McKesson and Cardinal Health
           distributed 79,263,830 Total Dosage Units of opioid pain relievers (OPRs) in Cabell
           County, accounting for 34%, 21% and 17% of the market for OPRs respectively
           (combined total 72% of the Cabell County market). 645




        3. As shown below, opioid prescribing in Cabell County and West Virginia significantly
           exceeded the rate for the United States generally. These rates bore little or no relation to
           the legitimate needs of the population for pain relief, but instead represent an unnecessary
           oversupply of addictive drugs.

                    Retail opioid                    Retail opioid                  Retail opioid
                    prescriptions dispensed          prescriptions dispensed        prescriptions dispensed
        Year        per 100 persons                  per 100 persons (West          per 100 persons
                    (United States)                  Virginia)                      (Cabell County)
        2006                  72.4                            129.9                          175.3
        2007                  75.9                            135.1                          194.7
        2008                  78.2                            145.5                          209.5
        2009                  79.5                            146.9                          205.3
        2010                  81.2                            143.1                          194.3
        2011                  80.9                            139.6                          186.6
        2012                  81.3                            136.9                          167.5
        2013                  78.1                            129.0                          149.7
        2014                  75.6                            126.4                          148.8
        2015                  70.6                            111.3                          135.7
        2016                  66.5                             96.0                          122.3
        2017                  59.0                             81.3                          106.8
        2018                  51.4                             69.3                           92.1
 645
       Report of Craig McCann, Appendix 10 at p. 2436.

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        Source: Ctrs. for Disease Control and Prevention. U.S. State and County Opioid Prescribing
        Rates. Maps, 2006-2018; https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.


 C.                 Opioid Overdose Deaths:

        1. As shown in the graphs 646 below, mortality in Cabell County due to prescription opioids
           greatly exceeded mortality due to heroin during the onset of the opioid epidemic and for
           many years thereafter, resulting in a population of opioid addicted individuals who
           transitioned to heroin and later to illicit fentanyl, when those drugs became less expensive
           or prescription opioids became more difficult to obtain:


                                  Cabell County Heroin vs. Prescription Opioid
                                         Overdose Deaths (2001-2011)
                            400

                            350
                                                                             Prescription Opioids
                            300                                              (Buprenorphine, Codeine,
          Overdose Deaths




                                                                             Fentanyl, Hydrocodone,
                            250
                                                                             Hydromorphone, Methadone,
                            200                                              Morphine, Oxycodone,
                                                                             Oxymorphone, Tramadol)
                            150
                                                                             Heroin
                            100

                            50

                             0
                                              2001-2011
                                                Years




 646
       Based on data in the Report of Gordon Smith.

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                                    Cabell County Heroin vs. Prescription
                                    Opioid Overdose Deaths (2001-2011)
                               60

                                                                          Prescription Opioids
                               50
                                                                          (Buprenorphine, Codeine,
                                                                          Fentanyl, Hydrocodone,
                               40                                         Hydromorphone,
             Overdose Deaths




                                                                          Methadone, Morphine,
                                                                          Oxycodone,
                               30                                         Oxymorphone, Tramadol)
                                                                          Heroin
                               20


                               10


                                0




        2. As described in my Report, the second and third waves of the epidemic (heroin and illicit
           fentanyl) began in more recent years in the US generally, and the graph 647 below shows
           that this was also the pattern in Cabell County:




 647
       Based on data in the Report of Gordon Smith.

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                               Cabell County Illicit Opioid vs. Prescription
                                 Opioid Overdose Deaths (2001-2018)
                         180
                         160                                                Prescription Opioids
                                                                            (Buprenorphine, Codeine,
                         140                                                Fentanyl, Hydrocodone,
                                                                            Hydromorphone, Methadone,
       Overdose Deaths




                         120
                                                                            Morphine, Oxycodone,
                         100                                                Oxymorphone, Tramadol)
                         80                                                 Heroin
                         60
                         40
                         20
                          0                                                 Illicit Fentanyl
                               2001
                               2002
                               2003
                               2004
                               2005
                               2006
                               2007
                               2008
                               2009
                               2010
                               2011
                               2012
                               2013
                               2014
                               2015
                               2016
                               2017
                               2018

       3. A 2011 CDC publication shows that, as of 2008, West Virginia had the second highest
          opioid pain reliever (OPR) death rate of any state in the United States (25.8 per 100,000
          population), which was more than double the national average (11.9 per 100,000
          population). (Table 2, below). The same article shows that West Virginia was among the
          top category for both OPR mortality and OPR sales (Figure 1, below), and that OPR
          deaths, hospital admissions, and sales increased in parallel between 1999-2010 (Figure 2,
          below). The CDC article cited as a “Key Point,” that “[d]eath from opioid pain relievers
          (OPR) is an epidemic in the United States,” and West Virginia was among the most
          afflicted by that epidemic. 648




 648
    Vital Signs: Overdoses of Prescription Opioid Pain Relievers --- United States, 1999—2008; MMWR,
 November 4, 2011 / 60(43);1487-1492.


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        4. Cabell County Community Health Assessment Updates reported on overdose calls and
           deaths.

               a. As shown in a graph included in the September 2015 Cabell County Community
                  Health Assessment Update, drug overdoses called in to Cabell County 911
                  increased from 113 in 2007 to 272 in 2014. 649




 649
       CHHD_0005048 at 5102.

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               b. The same health assessment also showed that overdose deaths per 100,000 in
                  Huntington, WV in 2015 were 145.09 compared to 23.5 for the entire state of
                  Rhode Island. 650




 650
       CHHD_0005048 at 5103.

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              c. Charts from the September 2017 Cabell County Community Health Assessment
                 Update showed prescription opioids accounted for 19% of all overdose deaths in
                 West Virginia. 651 An additional 40% were related to heroin and fentanyl, often
                 described as “intertwined with,” or “interrelated to” the OPR epidemic wave that
                 preceded the heroin/fentanyl waves. 652




              d. The same Health Assessment also reported Cabell was the #1 ranked county in
                 West Virginia for opioid deaths in 2017 through June 15. 653




 651
     CHHD_0000871 at 0999.
 652
     See Report at Paragraph C.8, re the Gateway Effect.
 653
     CHHD_0000871 at 1000.

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       5. In a historical overview the West Virginia Department of Health and Human Resources
          reported:

              a. Opioid were detected in 6,001 drug deaths in West Virginia form 2001 through
                 2015, increasing from 148 in 2001 to 638 in 2015. 654




 654
    West Virginia Drug Overdose Deaths Historical Overview 2001-2015, West Virginia Department of Health and
 Human Resources, August 17, 2017, at p.7, https://dhhr.wv.gov/oeps/disease/ob/documents/opioid/wv-drug-
 overdoses-2001_2015.pdf.

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             b. Cabell County accounted for 566 of the opioid-related overdose deaths that
                occurred in West Virginia from 2001-2015. 655




 655
       Id.

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 D.    Conclusion:

       The data shown above support my opinion that West Virginia, and Cabell County/City of
       Huntington in particular, were among the hardest hit by the oversupply of opioid pain
       relievers, igniting the opioid wildfire that continues to the present. It must be noted that
       data tables of opioid sales beginning in 2006, while important, do not show the full extent
       of the increased sales that fueled the epidemic, which had begun years earlier. For
       example, CDC data, reported in the MMWR article cited above, showed a four-fold
       increase in opioid sales between 1999-2010, and the graph above (Figure 2, Paragraph
       C.1) appears to show that sales had tripled between 1999-2006, from under 2 kg per
       10,000 population to approximately 6 kg per 10,000 population, before reaching
       approximately 7 kg per 10,000 by 2010. Accordingly, a comparison of OPR sales data
       from 1999 through 2014 would show an even greater oversupply to West Virginia
       generally, and Cabell County/Huntington in particular. There is no basis to believe that
       this oversupply was linked to either increased population or increased experience of pain
       during the relevant period of time. Instead, these alarming figures indicate the combined
       effect of misrepresented risks and benefits, failure to monitor the vastly increased supply
       and exposure, and the highly addictive nature of OPRs.
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                      APPENDIX IV
   Statement of Anna Lembke, MD on the Proper Indication for Opioids




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 Appendix IV: Statement of Anna Lembke, MD on the Proper Indication for Opioids

 A.      Chronic Noncancer Pain (CNCP).

         The recent, authoritative report of the National Academy of Science, Engineering

 and Mathematics (NASEM) concluded that “available evidence does not support the

 long-term use of opioids for management of chronic noncancer pain. On the other hand,

 evidence indicates that patients taking opioids long-term are at increased risk of OUD and

 opioid overdose, as well as a number of other adverse outcomes.” 656 I concur. Prescription

 opioids are not recommended in the treatment of chronic pain. A growing body of

 evidence demonstrates serious risks of harm with long-term opioid use, made worse with

 increasing dose and duration. Further, there is no robust evidence for efficacy of opioids

 in the treatment of pain beyond 12 weeks. 657 In short, long-term opioid therapy for

 chronic pain is contrary to the evidence and not good medical practice.

          A large and growing body of evidence shows dose and duration-dependent harms

 caused by chronic opioid therapy, including but not limited to addiction and death. 658




 656
     National Academies of Science Engineering and Medicine (NASEM). Pain Management and the Opioid
 Epidemic: Balancing Societal and Individual Benefits and Risks of Prescription Opioid Use; 2017.
 doi:10.17226/24781, at p.51 (emphasis added).
 657
     A single RCT of oxvcodone and morphine versus placebo was carried out for 16 weeks. Jamison RN,
 Raymond SA, Slawsby EA, Nedeljkovic SS, Katz NP. Opioid therapy for chronic noncancer back pain. A
 randomized prospective study. Spine (Phila Pa 1976). 1998;23(23):2591-2600. doi:10.1097/00007632-
 199812010-00014.
 658
     See, e.g., Bohnert, fn. 1, above; Dunn KM, Saunders KW, Rutter CM, et al. Opioid prescriptions for chronic pain
 and overdose: A cohort study. Ann Intern Med. 2010;152(2):85-92

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 Further, opioids can make pain worse over time through a process called opioid induced

 hyperalgesia, which is closely linked to neuroadaptation and tolerance.

         The claims of benefits of long-term opioids for chronic pain are based on low

 quality, anecdotal evidence, and contrary to the randomized controlled trial (RCT)

 evidence and consensus views. A recent meta-analysis by Busse, et al., assessed available

 RCTs of opioids, finding that compared to placebo, the difference in pain relief did not

 meet a pre-specified “Minimally Important Difference” (MID), defined as “the smallest

 amount of improvement in a treatment outcome that patients would recognize as important.” 659

 Nevertheless, the authors stated that approximately 12% percent of chronic pain patients

 might choose to evaluate whether, in their individual experience, opioids might provide

 improved pain relief compared to other medications, despite the known, increased risk of

 opioids, an assertion that is not supported by their data. 660

         The NASEM Report’s conclusion was subsequently reinforced by the 2018

 publication of the Strategies for Prescribing Analgesics Comparative Effectiveness

 (SPACE) study in the Journal of the American Medical Association, by Krebs, et al. As

 the only long-term, RCT of chronic opioid therapy compared to non-opioid pain


 659
     Busse JW, Wang L, Kamaleldin M. Opioids for Chronic Noncancer Pain: A Systematic Review and Meta-
 analysis. JAMA. 2018;320(23):2448-2460. doi:10.1001/jama.2018.18472.
 660
     According to the CDC, approximately 3-4% of prescription opioid users take these drugs for long-term
 treatment of pain. Dowell D, Haegerich TM, Chou R. CDC guideline for prescribing opioids for chronic pain—
 United States, 2016. JAMA 2016;15(15):1624–1645. Therefore, the number of opioid users who might choose
 to evaluate whether opioids provide greater pain relief would be 12% x of the approximately 3.5% who use
 opioids for chronic pain, or 0.4% of all opioid users.

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 medications, it provides the best available evidence on the subject. The SPACE trial

 found that non-opioid medications (for example nonsteroidal anti-inflammatory drugs

 such as naproxen or acetaminophen) provide equivalent or greater pain relief compared to

 opioids, while opioids confer significantly greater risks, leading Krebs et al. to conclude

 that chronic opioid therapy is not advisable. 661

         As a clinician, I have treated hundreds of patients with chronic pain for associated

 conditions of opioid misuse, dependence, and OUD. My experience is consistent with the

 authorities referenced above, in that the claimed benefits of long-term opioid therapy for

 chronic pain do not outweigh the risks; to the contrary, when patients successfully

 followed a compassionate, patient-centered tapering program to reduce or cease opioid

 therapy, they reported improvement in their overall well-being and level of pain, and none

 reported worsening of pain except for the pain of withdrawal from the opioids themselves,

 which was time-limited.

         Based on the consensus view stated in the NASEM Report, research findings, and

 my own clinical experience, it is my view that at a population level, the risks of long-term

 opioids for chronic pain far outweigh the benefits. For very few patients, benefits might

 outweigh the risks; but even then risks increase with higher dose and longer duration of



 661
   Krebs et al., “Effect of Opioid vs Nonopioid Medications on Pain-Related Function in Patients with Chronic
 Back Pain or Hip or Knee Osteoarthritis Pain the SPACE Randomized Clinical Trial,” JAMA - J Am Med Assoc.
 2018. doi:10.1001/jama.2018.0899, at p.872.


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 opioid treatment, such that risks may eventually exceed any small possible benefit over

 other less dangerous pain reduction strategies.

 B.     Whether or Not Pain is “Undertreated,” Opioids Are Not the Solution

        The epidemic of opioid over-prescribing in the past 25 years was fueled, in part,

 by industry assertions that chronic pain was “undertreated” in the United States. On this

 subject, I agree with the conclusion in the NASEM Report: “The very real problems of

 underdiagnosis and undertreatment of pain are valid concerns, but it would be a mistake

 to infer that greater utilization of opioids would ameliorate these problems.” 662 This

 conclusion follows directly from NASEM’s conclusion that evidence does not support

 efficacy of long-term opioids for chronic pain, while the risks of such therapy are

 significant and well-established.

        There are many estimates of the prevalence of chronic pain in the United States,

 which vary depending on the definitions of the investigators. A reasonable, recent

 estimate is found in an article by Pitcher, et al., sponsored by the National Institutes of

 Health as a part of the “National Pain Strategy” (NPS), which reported overall Chronic

 Pain at 18.4%, and High Impact Chronic Pain (HICP) at 4.8%. 663 The NPS defines HICP

 as the experience of pain on most days over the past 3 months, with concomitant

 limitations on activities due to pain. To the extent that long-term opioid therapy would

 662
    NASEM Report (2017) at p. 51. (emphasis added).
 663
    Pitcher MH, Von Korff M, Bushnell MC, Porter L. Prevalence and Profile of High-Impact Chronic Pain
 in the United States. J Pain. 2019;20(2):146-160. doi:10.1016/j.jpain.2018.07.006.

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 ever be warranted, it is my opinion that only the severity of HICP might justify imposing

 the known risks of long-term opioid treatment.

 C.      Tapering Is Appropriate for Opioid Dependence and OUD

         After nearly three decades of opioid overprescribing, we now find ourselves in the

 lamentable situation wherein millions of Americans are physiologically dependent on opioids,

 some of whom may never be able to taper down and/or off of opioids, due to irreversible

 neuroadaptation. The most compassionate approach to these patients is a slow, patient-centered

 opioid taper. 664 In cases of severe prescription opioid dependence where opioid tapering fails,

 continuing opioids at low and closely monitored doses may be the most compassionate harm-
                        665
 reduction approach.

 D.      Non-opioids Have Been Found to Be Equivalent or Superior to Opioids in Many
         Acute Pain Settings.

         Opioids are indicated for short-term use (days to weeks, up to 90 days) in the

 management of acute pain (e.g., trauma, dental procedures, and post-surgery). However,

 there are numerous studies finding that non-opioids provide equivalent pain relief with

 lower risk. For example, a 2018 study of dental pain by Moore, et al., found non-opioids

 superior to opioids: “The best available data suggested that the use of nonsteroidal

 medications, with or without acetaminophen, offered the most favorable balance between


 664
     Lembke, “BRAVO! A Collaborative Approach to Opioid Tapering.”, Oregon Pain Guidance, March 2020,
 https://www.oregonpainguidance.org/wp-content/uploads/2020/03/BRAVO-FINAL-3.13.20-1.pdf
 665
     Chou, R., Ballantyne, J., Lembke, A., Rethinking Opioid Dose Tapering, Prescription Opioid Dependence, and
 Indications for Buprenorphine, Annals of Internal Medicine, 2019; doi:10.7326/M19-1488

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 benefits and harms, optimizing efficacy while minimizing acute adverse events.” 666 The

 Moore study supports that opioids are not an appropriate choice for dental pain, according

 to evidence-based principles comparing risks and benefits. Nonetheless, a recent survey

 found that 23% of patients who received an opioid prescription in a one-year period were

 prescribed opioids by a dentist or oral surgeon. 667

         Opioids are also commonly prescribed for the pain of acute trauma in emergency

 medicine. However, the results of a recent study of opioids and non-opioid pain relievers

 in emergency care concluded that “there are no clinically meaningful differences between the

 analgesic effects of these 4 analgesics and suggest that a combination of ibuprofen and

 acetaminophen represents an alternative to oral opioid analgesics for the treatment of acute

 extremity pain in the ED,” and that nonopioid patients experienced greater pain relief with

 fewer adverse events. 668

         In the context of post-surgery treatment, numerous studies have found that non-opioids

 can be substituted for opioids, or that the number of opioids prescribed post-surgery can be

 substantially reduced, with equivalent pain relief. For example, in a study in which patients

 were treated with Tylenol/ibuprofen after parathyroid and thyroid surgery, the authors

 666
     Moore, et al., Benefits and harms associated with analgesic medications used in the management of acute dental
 pain. 2018; 149: 256-263, J Am Dental Assoc. 2018; 149: 256-265.
 667
     Press Release: One-Third of Americans Have Received an Opioid Prescription in the Past Two Years, NORC at
 the University of Chicago, September 27, 2018.
 https://www.norc.org/NewsEventsPublications/PressReleases/Pages/one-third-of-americans-have-received-an-
 opioid-prescription-in-the-past-two-years.aspx
 668
     Chang, Effect of a Single Dose of Oral Opioid and Nonopioid Analgesics on Acute Extremity Pain in the
 Emergency Department: A Randomized Clinical Trial. JAMA 2017; 318:1661-1667.

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 concluded that such patients “need very little, if any, post-operative opioids.… Decreasing the

 volume of opioid medications prescribed at discharge will decrease waste and reduce potential

 for addiction.” 669 Other authors stated, “ we have completely stopped prescribing opioids” for

 cervical neck operations, and reduced Norco (acetaminophen + 5mg hydrocodone) prescribing

 from 40 pills down to 5 pills for adrenalectomy, finding that non-opioid medications provided

 comparable pain relief; they concluded that perioperative and post-surgery opioid use is “less

 about inherent pain associated with operations, but more about misperceptions and biases that

 both physicians and patients have about post-operative pain and required management..”670

         Based on the state of scientific inquiry, the CDC has found the evidence sufficient to

 support the conclusion that naproxen, an NSAID, is as effective as opioids for acute pain, and

 with lower risk of adverse effects. 671

 E.      Risk of Persistent Use following Opioids for Acute Pain

         There is a consensus that opioids for acute pain lead to persistent use among 5 to

 13% of short-term users, with most studies reporting toward the higher figure, and there is

 significant concern over such persistent use after initiating conditions have abated. 672 This


 669
    Shindo M, Lim J, Leon E, Moneta L, Li R, Quintinalla-Diek L. Opioid Prescribing Practice and Needs in Thyroid
 and Parathyroid Surgery. JAMA Otolaryngology - Head and Neck Surgery. 2018, at p. 1102.
 670
     Kuo JH, et al. Use and Misuse of Opioids after Endocrine Surgery Operations. Annals of Surgery. 2020:1-6.
 671
     Opioids for Acute Pain: Get the Facts, Ctrs. for Disease Control and Prevention.
 https://www.cdc.gov/drugoverdose/pdf/patients/Get-the-Facts-a.pdf
 672
     See, e.g., Deyo RA et al. Use of Prescription Opioids Before and After an Operation for Chronic Pain (lumber
 fusion surgery). Pain. 2018 Jun;159(6):1147-1154. doi: 10.1097/j.pain.0000000000001202, at p. 5 (13% persistent
 users); Cook DJ et al. Benchmarks of Duration and Magnitude of Opioid Consumption After Total Hip and Knee
 Arthroplasty: a database analysis of 69,368 patients. J. Arthroplasty. 2019; 34: 638-644, at p. 638 (10-13%).

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 subset of patients receives no benefit from continued opioid use, since the initiating

 painful condition is no longer in need of treatment; instead, such patients have become

 dependent and are at increased risk of OUD and mortality due to the known exacerbation

 of risk with longer duration of exposure.

 F.      Over-prescribing for Acute Pain Is a Source of Diversion

         Additional harms of overprescribing for acute pain arise from the fact that patients

 commonly do not use all of the pills prescribed for their condition, since they are not

 needed for pain relief, or because of adverse side effects. The unused pills become a

 source of sale, gift, theft, or barter, to individuals for whom the drugs were not

 prescribed, and who are by definition misusing the opioids to maintain a habit, or to get

 high. 673

 G.      Opioid Use for Specific Painful Disease States

         Opioids are indicated for treatment of certain painful diseases (e.g., sickle cell

 crisis, post-herpetic neuralgia (PHN)), 674 end-of-life suffering (hospice care). Opioids are

 also indicated for cancer pain, based in significant part on the expectation that cancer

 673
     National Academies of Sciences, Engineering, and Medicine (NASEM 2020). 2020. Framing Opioid Prescribing
 Guidelines for Acute Pain: Developing the Evidence. Washington, DC: The National Academies
 Press..https://www.nap.edu/catalog/25555/framing-opioid-prescribing-guidelines-for-acute-pain-developing-the-
 evidence, at p.26.
 674
     Sickle cell disease affects 100,000 Americans, and 1 of every 365 Americans of African descent. Data &
 Statistics on Sickle Cell Disease, Ctrs. For Disease Control and Prevention,
 https://www.cdc.gov/ncbddd/sicklecell/data.html (last reviewed October 21, 2019) . Approximately 1 million cases
 of herpes zoster (HZ, or “shingles”) occur annually in the US; it is estimated that 5%–20% of those with HZ go on
 to develop PHN. Malick-Searle, Postherpetic neuralgia: epidemiology, pathophysiology, and pain management
 pharmacology. Journal of Multidisciplinary Healthcare 2016;9 :447–454.

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 patients have a limited life expectancy, and that the risks of Opioid Use Disorder (OUD)

 and mortality are outweighed by the benefits of pain relief. However, with advanced

 treatment methods, more cancer patients are surviving for longer periods of time, and the

 risks of addiction and overdose mortality among cancer patients have been identified in

 the peer-reviewed medical literature 675 Thus, even in the setting of cancer pain, caution

 should be exercised to treat with the lowest dose for the shortest time, and to treat with

 low dose opioids intermittently rather than continuously, to reduce the risks of OUD and

 mortality.

 H.      Conclusion

         The adverse effects of opioids are well-known and devastating. These include

 dependence, opioid use disorder (OUD)/addiction, overdose mortality, primarily due to

 respiratory suppression, non-fatal overdose, and neonatal abstinence syndrome (NAS),

 which afflicts newborns well into childhood. These conditions are severe, fatal or life-

 threatening, permanent or of long duration. The Cabell Huntington Community has been

 even more severely impacted than the US as a whole.

         In contrast, the benefits of prescription opioids are limited or ephemeral. I agree

 with the consensus of leading authorities that there is no reliable evidence that long-term


 675
    For example, the Bohnert study found a hazard ratio (HR) of 11.99 for opioid-associated mortality among
 cancer patients exposed to 100 mg MME opioids, compared to those exposed to 1-20 mg, and this HR
 exceeded even the significantly elevated HR for patients with acute and chronic pain conditions. Bohnert
 ASB, Valenstein M, Bair MJ, et al. Association between opioid prescribing patterns and opioid overdose-related
 deaths. JAMA - J Am Med Assoc. 2011;305(13):1315-1321, at p. 1315

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 opioids provide clinically significant relief of CNCP, and the best evidence supports

 equivalent pain relief and fewer risks with non-opioids such as NSAIDs. Although

 opioids are indicated for acute pain, numerous studies show equivalent relief and lower

 risk with non-opioids; a significant minority of acute-pain opioid patients go on to

 become persistent users who suffer dependency but do not benefit from opioid use; over-

 prescribing for acute conditions results in diversion to inappropriate users, a source of

 community harm that further offsets any pain relief benefits to appropriate users; and the

 pain relief in acute conditions is inherently brief, compared to the long-term or permanent

 harms of fatal and non-fatal overdose, OUD and NAS.

        In summary, it is my clinical opinion that the harms of prescription opioids to the

 Cabell Huntington Community far outweigh any benefits that may be conferred.




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                 Anna Lembke, M.D. Report



                       APPENDIX V
                        Summary of BRAVO Protocol




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 Appendix V: Summary of BRAVO Protocol

 Broaching the Subject
    • Involve the patient
    • Take more time
    • Get the support of your team
    • Use motivational interviewing (reflection, validation, support)
    • For inherited patients, maintain the current dose and document if considering a taper

 Risk Benefit Assessment
    • Consider tapering for the following reasons:
    • Patient request
    • Pain and function not improved
    • Adverse opioid effects
    • Co-occurring conditions (including mental health)
    • Dose over 90 MED
    • Concurrent sedatives
    • Opioid use disorder
    • Opioid overdose

 Addiction and Dependence Happen
    • Addiction = The 3 C’s: Control, Craving, continued use despite Consequences
    • Dependence = Tolerance, withdrawal, without the 3 C’s
    • Anyone can become addicted or dependent
    • Reassure patients there is effective treatment for both
    • Consider buprenorphine

 Velocity and Validation
    • Go slowly (Tapering Examples)
    • Maintain the same schedule (BID, TID)
    • Let the patient drive “Which opioid would you like to taper first?”
    • Take breaks, but never go backwards
    • Warn patients that pain gets worse before it gets better
    • Validate that opioid tapering is hard

 Other Strategies for Coping with Pain
    • Help patients understand how pain works
    • Encourage regular, restful sleep
    • Promote healthy activities
    • Maintain a positive mood
    • Foster social connections
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    •   Make good nutritional choices
    •   Consider non-opioid pain medications




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                 Anna Lembke, M.D. Report



                          EXHIBIT A
                  Curriculum Vitae and List of Publications
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                                      Anna Lembke, M.D.
        Associate Professor of Psychiatry and Behavioral Sciences (Primary Appointment)
                   Anesthesiology and Pain Medicine (Courtesy Appointment)
                             Stanford University School of Medicine
                       Department of Psychiatry and Behavioral Sciences
                             401 Quarry Road, Stanford, CA, 94305
                            Office: 650 725-9570 Fax: 650 725-8048
                                     alembke@stanford.edu
                                  Last updated (July 23, 2020)

 Education and Training

 1985-1989     Yale University (BA, Humanities; summa cum laude)
               New Haven, CT

 1989-1990     University of Beijing (Mandarin Chinese)
               Beijing, China

 1992-1995     Stanford University School of Medicine (MD)
               Stanford, CA
       A.
 1995-1997     Residency, Pathology
               Stanford University School of Medicine, Stanford, CA

 1997-1998     Internship, Internal Medicine
               Highland Hospital, Alameda, CA

 1998-2000     Residency, Psychiatry
               Stanford University School of Medicine, Stanford, CA

 2000-2002     Fellowship in Mood Disorders, Psychiatry and Behavioral Sciences
               Stanford University School of Medicine, Stanford, CA


 Honors and Awards

 1989          Summa cum laude in Humanities
               Yale University

 1989          Outstanding Contributor to Community Life
               Yale University

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 1989        Yale-China Fellowship
             Yale University

 1995        Outstanding Teacher in Structural Biology
             Stanford University School of Medicine
 1999        Outstanding Research in Severe Mental Illness
             Janssen Scholar

 2000        Travel Scholarship
             Medical Education and Research Foundation (MERF)

 2000        Outstanding Research in Severe Mental Illness
             American Psychiatric Association

 2002        Laughlin Fellowship
             American College of Psychiatrists

 2009        Travel Scholarship
             Alcohol Medical Scholars Program

 2011        Travel Scholarship
             Association of Medical Education, Research, Substance Abuse

 2013        Faculty Fellowship
             Stanford University School of Medicine

 2014        Excellence in Academic Teaching
             Stanford University School of Medicine

 2015        Chairman’s Clinical Innovation Award
             Stanford University School of Medicine

 2017        Distinguished Visiting Professorship
             Johns Hopkins Bayview, Department of Internal Medicine

 2018        Distinguished Flexner’s Dean Lecturer
             Vanderbilt University School of Medicine

 2018        Distinguished Marcel Malden Lecturer
             Tacoma, Washington

 2018        Distinguished Alpha Omega Alpha Visiting Professorship
             University of Kansas School of Medicine
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 2018           Distinguished Alumni Award
                Evanston Township High School, Evanston, IL

 2018           Excellence in Academic Teaching Award
                Stanford University School of Medicine


 2019           Distinguished Baldwin Lecturer
                The Accreditation Council for Graduate Medical Education (ACGME)

 2019           Distinguished Tector Lecturer
                69th Annual Course for Family Physicians, Montreal, Canada

 2019           Distinguished James Platt White Memorial Lecturer
                Buffalo, New York OB/GYN Society

 2019           Distinguished Crowley Lecturer
                Lucile Packard Children’s Hospital, Stanford University

 2019           Distinguished University of Tampa Honors Symposium Lecturer
                University of Tampa, Florida

 2019           Distinguished Evelyn G. Keever Bioethics Day Lecturer
                Eastern Virginia Medical School, Virginia

 2020           Fellowship Training Directors Award
                American Society of Addiction Medicine

 2020           Hazelden Betty Ford Foundation Humanitarian Kelly Clark Spirit Award
                Hazelden Betty Ford Foundation, Portland, Oregon

 2020           Irma Bland MD Certificate of Excellence in Teaching Residents
                American Psychiatric Association

 2021           Distinguished Alpha Omega Alpha Visiting Professorship
                University of Nevada, Reno School of Medicine

 Academic and Clinical Appointments

 Stanford University School of Medicine

 2012-present          Chief, Addiction Medicine Dual Diagnosis Clinic
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                        Department of Psychiatry and Behavioral Sciences

 2013-present           Program Director, Addiction Medicine Fellowship
                        Department of Psychiatry and Behavioral Sciences

 2016-present           Courtesy Appointment
                        Department of Anesthesiology and Pain Medicine

 2017-present           Medical Director, Addiction Medicine
                        Stanford Health Care and Stanford University Hospital

 7/2017-6/2022          Associate Professor of Psychiatry and Behavioral Sciences

 5/2010-4/2017          Assistant Professor of Psychiatry and Behavioral Sciences

 9/2003-4/2010          Instructor Department of Psychiatry and Behavioral Sciences

 Other Previous Employment

 1991-1992       Bilingual Teacher (grades K-8), State Certified in Chinese (Mandarin) Healy
                 Elementary School, Chicago, IL

 1989-1990       English Teacher, Yali Middle School
                 Changsha, China

 Medical Licensure and Specialty Board Certification

 1995            California medical license #A62241

 2003            Diplomate, American Board of Psychiatry and Neurology
                 Certificate #51988; recertified 2/18/2013

 2012            Diplomate, American Board of Addiction Medicine
                 Certificate #2012288; certified 12/15/2012 (Exp date 12/31/2022)

 2013            DEA-X waivered to prescribe buprenorphine products

 Educational Leadership

 2003-2005       Chair, Curriculum Committee
                 Department of Psychiatry and Behavioral Sciences
                 Stanford University School of Medicine

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 2009-present Course Director, CME-accredited monthly Stanford seminar series for community
              physicians - “Closing the Gap: Moving towards Best Practices in Psychiatry”

 2012-2014     Principal Organizer and Lecturer of the free Buprenorphine Certification Course
               and CURES registration for Stanford University

 2013-present Program Director, Addiction Medicine Fellowship
              Department of Psychiatry and Behavioral Sciences
              Stanford University School of Medicine

 2014          Expert Consultant, Alcohol and Women Task Force
               Office of the Vice Provost for Student Affairs, Stanford University

 2014-2016     Annual Medical Student Town Hall Meetings on Wellness and Professionalism
               (Issues of Substance Use and Addiction)
               Office of the Dean of the School of Medicine, Stanford University

 2015-2016     Expert Consultant, Alcohol and Other Drug (AOD) Subcommittee of the Mental
               Health and Well-Being Advisory Committee
               Stanford University

 2016-present Chair, Addiction Medicine Task Force
              Stanford University School of Medicine
              (Goal: create a new curriculum for addiction/safe opioid prescribing)

 2017-present Committee on Professionalism
              Stanford University School of Medicine

 Teaching and Mentoring

 Stanford University School of Medicine Ongoing Lecture Series

 2002-present Course Director, Addiction Medicine, Stanford University School of Medicine

 2009-present Course Director, Stanford CME series “Closing the Gap in Psychiatry”

 2012-present Course Lecturer, Substance Use Disorders, Stanford Child Psychiatry Fellowship

 2012-present Course Lecturer, Substance Use Disorders, Stanford Palliative Care Fellowship

 2012/’14/’16 Biennial lecture on addiction medicine to Stanford undergraduates as part of the
              Hum Bio Molecular and Cellular Physiology 256 seminar

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 Stanford University School of Medicine Clinical Supervision (weekly year round)

 2002-present Inpatient Psychiatry                  Medical Students, Residents/Fellows

 2010-present Addiction Med/Dual Dx Clinic          Medical Students, Residents/Fellows

 2013-present Pain and Addiction Clinic             Addiction Medicine/Pain Fellows


 Stanford University School of Medicine Addiction Medicine Fellows Advisor

 2013-14       Stacie Solt, MD, Emergency Medical and Addiction Medicine, now at San Mateo
               Medical Center, San Mateo, CA

 2014-15       Mitika Kanabar, MD, Family Medicine Physician and Addiction Medicine, now
               at Southern California Permanente Medical Group, Lancanster, CA

 2015-16       Chinyere Ogbonna, MD, Family Medicine, Psychiatry, and Addiction Medicine,
               now Medical Director of Chemical Dependency Services at Kaiser Permanente,
               San Jose, CA

 2016-17       Rachel Sussman, MD, Family Medicine and Addiction Medicine, now Assistant
               Professor at Stanford School of Medicine and Indian Health Center/O’Connor,
               San Jose, CA

 2017-18       Amer Raheemullah, MD, Internal Medicine and Addiction Medicine, now
               Assistant Professor and Director of the Inpatient Addiction Medicine Consult
               Service at Stanford School of Medicine, Stanford, CA

 2017-18       Anusha Chandrakanthan, MD, Family Medicine and Addiction Medicine, now
               Adjunct Clinical Assistant Professor in Addiction Medicine at Stanford
               University School of Medicine, Stanford, CA, and Staff Physician at Valley
               Homeless Health, San Jose, CA

 2018-19       Huiqiong Deng, MD, PhD, Psychiatry and Addiction Medicine, now Assistant
               Professor in Addiction Medicine at Stanford University School of Medicine,
               Stanford, CA

 2018-19       Michael Polignano, MD, Psychiatry and Addiction Medicine, now Assistant
               Professor in Addiction Medicine at Stanford University School of Medicine,
               Stanford, CA

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 2019-20      Ori Ben-hamou, MD, Psychiatry and Addiction Medicine, Stanford Addiction
              Medicine Fellowship, Stanford, CA

 2019-20      Nathaniel Lepp, MD, Family Medicine and Addiction Medicine, Stanford
              Addiction Medicine Fellowshhip, Stanford, CA


 Stanford University School of Medicine MedScholars Advisor

 2016         MedScholar Advisor for Inbar Raber, Qualitative Assessment of Clerkship
              Students’ Perspectives of Pain and Addiction Curriculum at Stanford, Stanford
              University School of Medicine, Stanford, California

 2017         MedScholar Advisor for Alex Ball, Developing the Addiction Curriculum at
              Stanford, Stanford University School of Medicine, Stanford, California

 2019         MedScholar Advisor for Emily Keamy-Minor, Alcohol Screening for Patients
              Receiving Prescriptions for Benzodiazepines and Opioids, Stanford University
              School of Medicine, Stanford, California

 Stanford University School of Medicine Junior Faculty Advisor

 2016 -2020   Junior Faculty Advisor for Yasmin Owusu, MD in the development of the POM
              Curriculum for Stanford Medical Students, Stanford University School of
              Medicine, Stanford, California

 Stanford University and Palo Alto University PsyD Consortium Dissertation Review

 2016         Dissertation Advisor and Review Committee Member for Jennifer Bielenberg,
              Addiction and Stigma, PsyD Consortium, Department of Psychiatry and
              Behavioral Sciences, Stanford University School of Medicine, Stanford,
              California

 2017         Dissertation Chair and Review Committee Chair for Shelby Schwartz, PsyD
              Consortium, Department of Psychiatry and Behavioral Sciences, Stanford
              University School of Medicine, Stanford, California

 2018         Dissertation Chair and Review Committee Chair for Julia Yasser, PsyD
              Consortium, Department of Psychiatry and Behavioral Sciences, Stanford
              University School of Medicine, Stanford, California

 2020         Dissertation Committee, Sarah Krasner, Gender Differences in Cannabis
              Vaporizer Use, PsyD Consortium, Department of Psychiatry and Behavioral
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              Sciences, Stanford University School of Medicine, Stanford, California

 2020         Dissertation Committee, Rebecca Rothberg, Harm Reduction and Addiction
              Treatment, PsyD Consortium, Department of Psychiatry and Behavioral Sciences,
              Stanford University School of Medicine, Stanford, California

 2020         Dissertation Chair and Review Committee Chair for Benjamin Greenberg, Shared
              Medical Appointments for Buprenorphine Prescribing for Individuals with Opioid
              Use Disorder: A Qualitative Study, PsyD Consortium, Department of Psychiatry
              and Behavioral Sciences, Stanford University School of Medicine, Stanford,
              California

 Professional Associations

 2011-present Member, American Society of Addiction Medicine (ASAM)

 2011-present Member, California Society of Addiction Medicine (CSAM)

 2011-2016    Member, Association of Medical Education and Research in Substance Abuse
              (AMERSA)

 2019-present Member, American Psychiatric Association

 Regional and National Service

 Professional Societies and Advisory Boards and Committees

 2012-2015    Facilitator, California Society of Addiction Medicine (CSAM) Annual
              Conference, San Francisco, California

 2013-2014    Advisor, American Board of Addiction Medicine Practice Improvement and
              Performance Measures Action Group (PIPMAG)

 2013-2018    Advisor, American Board of Addiction Medicine Fellowship Development
              Working Group

 2013-2019    Board Member, Medical Education and Research Foundation (MERF) for the
              Treatment of Addiction

 2013-2020    Member, Public Policy Committee, CSAM

 2014-2020    Member, California Society of Addiction Medicine Education Committee

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 2014-2018    Member, California Society of Addiction Medicine Conference Planning

 2015-2019    Board Member, California Society of Addiction Medicine

 2015-2016    Representative, American Society of Addiction Medicine PCORI
              Workshop: Long-Term Use of Opioids for Chronic Pain

 2015-2017    Representative, Appointed by Governor Jerry Brown to the Research Advisory
              Panel of California, January 2015

 2015-2019    Member, Public Policy Committee, American Society of Addiction Medicine

 2015-2016    Chair, Conference Planning Committee, California Society of Addiction Medicine
              Annual Conference

 2016-2017    Vice-Chair, Conference Planning Committee, California Society of Addiction
              Medicine Annual Conference

 2016-2020    Member, Physicians for Responsible Opioid Prescribing (PROP)

 2016-2018    President, Addiction Medicine Fellowship Directors Association (AMFDA)

 2019         Advisor, Task force for The Center on Addiction (a merger between Partnership
              for Drug Free Kids and CASA Columbia)

 2019-2023    Board Member, American College of Academic Addiction Medicine

 Editorial Work

 2003-2004    Guest Editor, Academic Psychiatry, Issue on Women in Academia

 2013-2014    Reviewer, How to Find Quality Addiction Treatment, CASAColumbia

 2014-2017    Associate Editor, Addiction Science and Clinical Practice (ASCP)

 Ad-Hoc Manuscript/Report Review

 Academic Psychiatry
 Addiction
 Addiction Science and Clinical Practice
 Agency for Healthcare Research and Quality (AHRQ)
 American Journal of Psychiatry
 Annals of Internal Medicine
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 Archives of General Psychiatry
 Asian Journal of Psychiatry
 Biological Psychiatry
 Bipolar Disorder
 British Medical Journal
 Culture, Medicine, and Psychiatry
 Current Biomarker Findings
 Drugs: Education, Prevention & Policy
 Expert Opinion on Pharmacotherapy
 Expert Review of Neurotherapeutics
 General Hospital Psychiatry
 Healthcare: The Journal of Delivery Science and Innovation
 Journal of Addiction Science and Clinical Practice
 Journal of Affective Disorders
 Journal of the American Medical Association
 Journal of Psychiatric Research
 Journal of Studies on Alcohol and Drugs
 Medical Journal of Australia
 New England Journal of Medicine
 New Recovery Community Institutions
 Pain Medicine
 Psychological Medicine
 Rationality and Society
 Sociologic Forum
 Substance Abuse
 Substance Use and Misuse


 Current Funding

 7/20-6/25     Funder: Health Resources and Services Administration (HRSA), $1,452,178, 0.1
               Calendar
               Title: Addiction Medicine Fellowship
               Purpose: Stanford University Department of Psychiatry proposes to expand its
               existing Addiction Medicine Fellowship by two fellows in medically underserved
               communities in Santa Clara County
               Role: Principal Investigator/Project Director (CoPI: Louie)

 7/20-6/24     Funder: NIDA, $1,050,000, 0.1 Calendar
               Title: Western Node of NIDA Clinical Trials Network
               Purpose: Oregon Health Sciences University, Stanford University/Palo Alto VA,
               UC San Francisco, and the San Francisco Health Department propose to serve as

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               a node in NIDA’s national network which generates and support randomized
               clinical trials of drug addiction treatment.
               Role: Co-Investigator (MPI: Korthuis and Humphreys)

 12/19-11/22   Funder: Stanford Center for Health Education (“SCHE”)
               Title: Psychology of Addiction and Recovery
               Purpose: Stanford University Department of Psychiatry in partnership with SCHE
               and Getsmarter proposes to create an online professional education course on
               addiction medicine for learners around the world.
               Role: Academic Director

 7/18-7/21     Funder: Department of Governmental Relations, Stanford Hospital/Clinics
               Title: Addiction Medicine Peer Mentor Program
               Purpose: To explore the feasibility and safety of integrating a peer mentor into the
               Addiction Medicine Dual Diagnosis Clinic Treatment Team
               Role: Co-Investigator (MPI: Raheemullah and Gallagher)

 10/15-10/20   Funder: National Institute of Alcohol Abuse & Alcoholism
               Title: CNS Deficits: Interaction of Age & Alcoholism, R01 AA005965
               Purpose: Determine the impact of heavy, chronic alcohol use on brain structure
               and function, and the capacity of the brain to heal in a period of abstinence.
               Role: Co-Investigator (MPI: Pfefferbaum and Zahr)


 Previous Funding

 1/00-1/01     Funder: American Psychiatric Association and Eli Lilly Training Grant
               Title: Facial Emotion Processing in Patients with Bipolar Disorder
               Role: PI

 7/01-7/02     Funder: National Institute of Mental Health Research Fellowship
               Title: Facial and Vocal Emotion Processing in Mood Disorders
               Role: PI

 11/01-11/03   Funder: National Institute of Mental Health
               Title: Systematic Treatment Enhancement Program for Bipolar Disorder
               Role: Site-Investigator (PI: Sachs, Mass General)

 12/08-12/10   Funder: National Institute of Mental Health
               Title: HPA Axis in Psychotic Depression, 2 RO1 MH050604-12
               Role: Co-Investigator (PI: Schatzberg)

 10/09-10/14   Funder: National Institute on Drug Abuse
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               Title: Extended Treatment for Smoking Cessation, R01 DA017441
               Role: Co-Investigator (PI: David)

 7/11-7/14     Funder: National Institute of Health
               Title: Genetics of Symptomatology and Treatment Response in Depression
               Role: Investigator (PI: Murphy)

 1/12-1215     Funder: Michael Alan Rosen Foundation
               Title: Screening and Brief Intervention for Substance Misuse/Abuse
               Role: Co- PI (Co-PI: Humphreys)

 11/13-11/14   Funder: Stanford Center at Peking University (SCPKU)
               Title: Narratives of Addiction in Contemporary China
               Role: PI

 1/14-1/15     Funder: Peter F. McManus Charitable Trust, SPO #112718
               Title: Exploring Physician Opioid Prescribing Using a Novel Approach to Data
               Mining of Medical Records
               Role: PI

 1/14-1/15     Funder: American Board of Addiction Medicine/Conrad N. Hilton Foundation
               Title: 2014 Next Generation Award for Adolescent Substance Use Prevention
               Role: PI

 11/14-11/15   Funder: Stanford Center for Continuing Medical Education (SCCME)
               Title: Prescription Drug Abuse: Compassionate Care for a Complex Problem
               Role: PI

 1/15-1/16     Funder: American Board of Addiction Medicine/Conrad N. Hilton Foundation
               Title: 2015 Next Generation Award for Adolescent Substance Use Prevention
               Role: PI

 7/16-7/17     Funder: Stanford Center for Continuing Medical Education (SCCME)
               Title: Tapering Patients off of Chronic Opioid Therapy
               Role: PI

 11/2017       Funder: VA Center for Innovation to Implementation
               Title: The Hidden Role of Benzodiazepines in the Prescription Drug Epidemic
               Role: Small grant awardee

 Scholarly Work

 Books
                                             -12-
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 Lembke, A. Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
      So Hard to Stop, Johns Hopkins University Press, November 15, 2016


 Peer-Reviewed Online Stanford EdX CME Courses

 1.     Lembke, A. Prescription Drug Misuse and Addiction: Compassionate Care for a
        Complex Problem: Enduring Online Course, Stanford Center for Continuing Medical
        Education, Stanford, California https://www.edx.org/bio/anna-lembke

 2.     Lembke, A. Tapering Patients Off of Chronic Opioid Therapy, Enduring Online Course,
        Stanford Center for Continuing Medical Education, Stanford, California,
        https://www.edx.org/bio/anna-lembke


 Peer-Reviewed Original Research Articles

 1. Lembke A, Ketter TA. Impaired Recognition of Facial Emotion in Mania American Journal
    of Psychiatry 2002; 159(2):302-4.

 2. Menon V, Levitin DJ, Smith BK, Lembke A, Krasnow BD, Glazer D, Glover GH,
    McAdams S. Neural Correlates of Timbre Change in Harmonic Sounds Neuroimage 2002;
    17(4):1742-54.

 3. Janenawasin S, Wang PW, Lembke A, Schumacher M, Das B, Santosa CM, Mongkolcheep
    J, Ketter TA. Olanzapine in Diverse Syndromal and Subsyndromal Exacerbations of Bipolar
    Disorders Bipolar Disorders 2002; 4(5):328-34.

 4. DeBattista C, Lembke A, Solvason HB, Ghebremichael R, Poirier J. A Prospective Trial of
    Modafinil as an Adjunctive Treatment of Major Depression. Journal of Clinical
    Psychopharmacology 2004; 24(1):87-90.

 5. Lembke A, Miklowitz D, Otto M, Wisniewski S, Sachs N, Thase M, Ketter TA.
    Psychosocial Service Utilization by Patients with Bipolar Disorders. Journal of Psychiatric
    Practice 2004; 10(2):81-87.

 6. Miklowitz, D.J., Otto, M.W., Wisniewski, S.R., Araga, M., Frank, E., Reilly-Harrington,
    N.A., Lembke, A., Sachs, G.S. Psychotherapy, Symptom Outcomes, and Role Functioning
    Over One Year among Patients with Bipolar Disorder. Psychiatric Services 2006; 57(7):959-
    65.


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 7. Lembke, A., Bradley, K.A., Henderson, P., Moos, R. Harris, A.H.S., Alcohol Screening
    Scores and the Risk of New-Onset Gastrointestinal Illness or Related Hospitalization.
    Journal of General Internal Medicine, 2011; 26(7):777-782.

 8. Che, A., Gomez, R., Keller, J., Lembke, A., Tennakoon, L., Cohen, G., Schatzberg, A., The
    relationships of positive and negative symptoms with neuropsychological functioning and
    their ability to predict verbal memory in psychotic major depression. Psychiatry Research,
    2012; 198(1):34-8.

 9. Harris, A.H.S., Lembke, A., Henderson, P., Gupta, S., Moos, R., & Bradley, K.A. Risk of
    Future Trauma Based on Alcohol Screening Scores: A Two-Year Prospective Cohort Study
    Among US Veterans. Addiction Science & Clinical Practice, 2012; 7(1):6.

 10. Lembke, A., Gomez, R., Tenakoon, L., Keller, J., Cohen, G., Williams, G. H., Kraemer,
     F.B., Schatzberg, A.F., The mineralocorticoid receptor agonist fludrocortisone, differentially
     inhibits pituitary-adrenal activity in humans with psychotic major depression.
     Psychoneuroendocrinology, 2012, 38(1):115-121.

 11. Del Re, A.C., Gordon, A.K., Lembke, A. Harris, A.H.S., Utilization of Topiramate to Treat
     Alcohol Use Disorders in the Veterans Health Administration. Addiction Science and
     Clinical Practice, 2013;8(12).

 12. Harris, AHS, Ellerbe, L, Reeder, RN, Bowe, T, Gordon, AJ, Hagedorn, H, Oliva, E,
     Lembke, A, Kivlahan, D, Trafton, JA. Pharmacotherapy and Alcohol Dependence:
     Perceived treatment barriers and action strategies among Veterans Health Administration
     service providers. Psychological Services, 2013; 10(4):410-419.

 13. Kelley, R., Garrett, A., Cohen, J., Gomez, R., Lembke, A., Keller, J., Reiss, A.L.,
     Schatzberg, A. Altered brain function underlying verbal memory encoding and retrieval in
     psychotic major depression. Psychiatry Research: Neuroimaging, 2013; 38 (1):115-121.

 14. Lembke, A. 2013. Sacrifice, stigma, and free-riding in Alcoholics Anonymous (AA): A
     new perspective on behavior change in self-help organizations for addiction. In:
     University, S. (ed.). https://www.chapman.edu/research/institutes-and-centers/institute-
     religion-economics- society/_files/guest-lectures/lembke-paper.pdf.

 15. Yuen KW, Garner JP, Carson DS, Keller J, Lembke A, Hyde SA, Kenna HA, Tennakoon L,
     Schatzberg AF, Parker KJ. Plasma oxytocin concentrations are lower in depressed vs. healthy
     control women and are independent of cortisol. Journal of Psychiatric Research, 2014;
     51:30-6.

 16. Schatzberg AF, Keller J, Tennakoon L, Lembke A, Williams G, Kraemer FB, Sarginson JE,
     Lazzeroni LC, Murphy GM. HPA axis genetic variation, cortisol and psychosis in major
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    depression. Molecular Psychiatry, 2014; 19(2):220-7.

 17. Maclean D, Gupta S, Lembke A, Manning CD, Heer J. Forum77: An Analysis of an Online
     Health Forum Dedicated to Addiction Recovery. ACM Computer-Supported Cooperative
     Work (CSCW), https://idl.cs.washington.edu/papers/forum77/; 2015; Role: Data analysis,
     manuscript preparation. *Best Paper Honorable Mention.

 18. Lembke, A., Cheng, Niushen. A Qualitative Study of Treatment-Seeking Heroin Users in
     Contemporary China, Addiction Science and Clinical Practice, 2015;10:23.

 19. Chen, J., Humphreys, K., Shah, N.H., Lembke, A. Distribution of Opioids by Different
     Types of Medicare Prescribers, JAMA Internal Medicine, 2016; 176(2):259-261.

 20. Haug, N.A., Bielenberg, J., Linder, S. H., Lembke, A. Assessment of provider attitudes
     toward #naloxone on Twitter. Substance Abuse, 2016; 37(1):35-41.

 21. Lembke, A., Chen, J. Use of Opioid Agonist Therapy for Medicare Patients in 2013. JAMA
     Psychiatry, 2016;73(9):990-992. doi:10.1001/jamapsychiatry.2016.1390

 22. Keller, J., Gomez, R., Williams, G., Lembke, A., Lazzeroni, L., Murphy, G.M. Jr,
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     Genetic Variation Predict Cognition, Molecular Psychiatry, Feb; 19(2): 220–227. doi:
     10.1038/mp.2016.120 2016. Role: Study physician, manuscript preparation.

 23. Stein, M., Kanabar, M., Anderson, B.J., Lembke, A., Bailey, G.L. Reasons for
     Benzodiazepine Use Among Persons Seeking Opioid Detoxification, Journal of Substance
     Abuse Treatment, 2016; September; 68: 57–61.                     Role: Data analysis,
     manuscript preparation.

 24. Leyro, T. M., Crew, E. E., Bryson, S. W., Lembke, A., Bailey, S. R., Prochaska, J. J.,
     Henriksen, L., Fortmann, S. P., Killen, J. D., Killen, D. T., Hall, S. M., David, S. P.
     Retrospective analysis of changing characteristics of treatment-seeking smokers: implications
     for further reducing smoking prevalence. BMJ 2016; 6 (6).            Role: Study physician,
     manuscript preparation.

 25. Laude, J. R., Bailey, S. R., Crew, E., Varady, A., Lembke, A., McFall, D., David, S. P.
     (2017). Extended treatment for cigarette smoking cessation: A randomized control trial.
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     Role: Study physician, manuscript preparation.

 26. Raber, I., Ball, A., Papac, J., Aggarwal, A., Sussman, R., Basaviah, P., Newmark, J.
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     Pain and Addiction in their Preclinical Curriculum, Academic Psychiatry, 2018;42:664, doi:
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 27. Azad, Lembke, A. et al, Patterns of Opioid and Benzodiazepine Use in Opioid-Naïve
     Patients with Newly Diagnosed Low Back and Lower Extremity Pain, Journal of General
     Internal Medicine, 2020, 35(1):291-297. doi: 10.1007/s11606-019-05549-8. Role: Data
     interpretation, manuscript preparation

 28. Haug, N. A., Morimoto, E. E., Lembke, A. Online mutual-help intervention for reducing
     heavy alcohol use. Journal of Addictive Diseases,
     2020. https://doi.org/10.1080/10550887.2020.1747331


 Published Peer-Reviewed Perspectives, Case Reports, and Reviews

 1. Lembke A. A Piece of My Mind: "A letter from the foreign legion" JAMA, 1996;
    276(21):1704.

 2. Crowley RS, Lembke A, Horoupian DS. Isolated Meningeal Vasculopathy Associated with
    Clostridium Septicum Infection Neurology 1997; 48(1):265-7.

 3. Barry JJ, Huynh N, Lembke A. Depression in Individuals with Epilepsy Current Treatment
    Options in Neurology, 2000; 2(6):571-585.

 4. Lembke A. "Mind" and "Brain" American Journal of Psychiatry, 2001; 158(11):1939-1940.

 5. DeBattista C, Trivedi M, Kern J, Lembke A. The Status of Evidence-Based Guidelines and
    Algorithms in the Treatment of Depression Psychiatric Annals, 2002; 32(11):658-663.

 6. Sommer B, Fenn H, P. P, DeBattista C, Lembke A, Wang P, Flores B. Safety of
    Antidepressants in the Elderly. Expert Opinion on Drug Safety, 2003; 2(4):367-383.

 7. Lembke A. A Friday in the Life of an Academic Psychiatrist Academic Psychiatry, 2003;
    27(3):214-215.

 8. Barry J.J., Lembke A., Bullock K.D. Current Status of the Utilization of Antiepileptic
    Treatments in Mood, Anxiety and Aggression: Drugs and devices. Clinical EEG and
    Neuroscience, 2004; 35(1):4-13.

 9. Lembke, A. Why is this Special Issue on Women's Professional Development in Psychiatry
    Necessary? Academic Psychiatry, 2004 28(4):275-277.

 10. Debattista, C., Lembke, A., Update on Augmentation of Antidepressant Response in
     Resistant Depression. Current Psychiatry Report, 2005; 7(6):435-40.
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 11. Lembke A, Johnson K, DeBattista C. Depression and Smoking Cessation: Does the
     Evidence Support Psychiatric Practice? Neuropsychiatric Disease and Treatment, 2007;
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 12. DeBattista, C, Lembke, A. Psychotic Major Depression: Phenomenology and the Pursuit of
     Optimal Treatment. Primary Psychiatry, 2008; 15(4):59-64.

 13. Schatzberg, A.F., Solvason, H.B., Keller, J., Lembke, A. Antidepressant Interventions in the
     HPA system. Journal of Affective Disorders, 2008; 107(Suppl.1):S40-S41.

 14. Lembke, A. Depressed Smokers: A Guide to Treatment Based on the Evidence. Depression:
     Mind and Body, 2009;4(3):96-101.

 15. Lembke, A. Optimal Dosing of Lithium, Valproic Acid, and Lamotrigine in the Treatment of
     Mood Disorders. Primary Psychiatry, 2009; 16(10):33-38.

 16. Lembke, A., Humphreys, K., Moderation Management: A Mutual-Help Organization for
     Problem Drinkers who are not Alcohol Dependent. Journal of Groups in Addiction and
     Recovery, 2012; 7(2-4):130-141.

 17. Lembke, A. Time to Abandon the Self-Medication Hypothesis in Patients with Psychiatric
     Disorders. The American Journal of Drug and Alcohol Abuse, 2012, 38(6):524-529.

 18. Lembke, A. Why doctors prescribe opioids to known opioid abusers. New England Journal
     of Medicine. October 25, 2012; 367(17):1580-1581

 19. Lembke, A. From Self-Medication to Intoxication: Time for a Paradigm Shift. Addiction,
     2013; 108(4):670-671.

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     USA. Drug and Alcohol Review, 2014; 33 (1):13-18.

 21. Lembke, A, Humphreys, K. A Call to Include People with Mental Illness and Substance Use
     Disorders Alongside ‘Regular’ Smokers in Smoking Cessation Research, Tobacco Control,
     2015;25(3):261-2.

 22. Lembke, A., Humphreys, K., Newmark, J. Weighing the Risks and Benefits of Chronic
     Opioid Therapy, American Family Physician, 2016; 93(12):982-990.

 23. Ogbonna, C., Lembke, A. Tapering Patients Off of Benzodiazepines, American Family
     Physician, 2017 Nov 1;96(9):606-608.

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 24. Prekupec, M.P., Sussman, R.S., Sher, Y., Lembke, A. Relapse on ketamine followed by
     severe and prolonged withdrawal: A cautionary case and review of potential medical
     therapies. J Nat Sci, 3(10):e450, 2017.

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     British Medical Journal, published online October 30, 2017
     http://blogs.bmj.com/bmj/2017/10/31/anna-lembke-the-opioid-epidemic-is-a-symptom-of-
     our-faltering-healthcare-system/

 26. Lembke, A. Why Addiction Should Be Considered a Disease, Judges' Journal, 2018 Jan;
     Volume: 57 Issue: 1

 27. Lembke, A., Papac, J., Humphreys, K. Our Other Prescription Drug Problem, NEJM, 2018;
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 28. Lembke, A., Humphreys, K. The Opioid Epidemic as a Watershed Moment for Physician
     Training in Addiction Medicine, Academic Psychiatry, 2018; 42(2):269-272.

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     for the Patient with Opioid Use Disorder on Buprenorphine, Methadone, or Naltrexone
     Maintenance Therapy. Anesthesiology Clinics, 2018; 36(3), 345–359.
     https://doi.org/10.1016/j.anclin.2018.04.002

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     in the Inpatient Setting: A Teachable Moment, JAMA Internal Medicine, 2019; 179(3):427-
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     Opioid Dependence, and Indications for Buprenorphine, Annals of Internal Medicine, 2019;
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 33. Lembke, A., Tapering Long Term Opioid Therapy, American Family Physician, Volume
     101, Number 1, January 1, 2020

 34. Raheemullah, A., Lembke, A. Buprenorphine Induction Without Opioid Withdrawal: A
     Case Series of 15 Opioid-Dependent Inpatients Induced on Buprenorphine Using Microdoses
     of Transdermal Buprenorphine. American Journal of Therapeutics, 2019.

 Peer-Reviewed Book Chapters
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       Epilepsy: A Practical Guide to Diagnosis and Treatment. Edited by Ettinger AB, Kanner
       AM. Philadelphia, Lippincott Williams and Wilkins, 2001, pp 45-72

 2.    Ketter T, Wang P, Dieckmann N, Lembke A, Becker O, Camilleri C: Brain Anatomic
       Circuits and the Pathophysiology of Affective Disorders, in Brain Imaging in Affective
       Disorders. Edited by Soares J. New York, Marcel Dekker, Inc., 2002, pp 79-118

 3.    Ketter T, Wang P, Lembke A, Sachs N: Physiological and Pharmacological Induction of
       Affect, in The Handbook of Affective Science. Edited by RJ D, KR S, HH G. New York,
       Oxford University Press, 2002, pp 930-962

 4.    Constantino MJ, Lembke A, Fischer C, Arnow BA: Adult Depression: Characteristics,
       Burdens, Models, and Interventions, in Mental Disorders of the New Millenium, vol 1:
       Behavioral Issues. Edited by Plante RG, Praeger Publishers, 2006, pp. 139-166

 5.    Barry JJ, Lembke A, Gisbert PA, Gilliam F. Affective Disorders in Epilepsy, in
       Psychiatric Issues in Epilepsy. Edited by Ettinger AB, Kanner AM. Philadelphia,
       Lippincott Williams & Wilkins, 2007, pp 203-247

 6.    Lembke A, DeBattista C. Review of a Randomized-Controlled Trial of Adjunctive
       Bupropion in the Treatment of SSRI-Induced Sexual Dysfunction, in Progress in
       Neurotherapeutics and Neuropsychopharmacology, vol 2. Edited by Cummings JL,
       Cambridge University Press, 2007, pp 187-192

 7.    Lembke, A, Humphreys, K. Alcoholics Anonymous, in Encyclopedia of Drugs, Alcohol
       & Addictive Behavior, 3rd Edition. Edited by Korsmeyer P and Kranzler H, Macmillan
       Reference USA, 2008, pg. 122

 8.    Cohen, G., Lembke, A. Childhood Behavior and Later Substance Use, in Encyclopedia
       of Drugs, Alcohol & Addictive Behavior, 3rd Edition. Edited by Korsmeyer P and
       Kranzler H, Macmillan Reference USA, 2008

 9.    Lembke A, Humphreys K. Chapter 26: Substance Use Disorder Presenting as a Mood
       Disorder in How To Practice Evidence Based Psychiatry: Basic Principles and Case
       Studies. Edited by Taylor CB, APPI, Washington, D.C., 2009 , pp 233-246

 10.   Lembke, A., Humphreys, K. Moos, R. Diagnosis, Development, and Treatment of
       Substance Use Disorders among Adolescents and Young Adults, in Stanford School of
       Medicine Handbook of Developmental Psychiatry. Edited by Steiner, H, NY,
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       model of addiction. In Shaffer HJ (Editor-in-Chief), LaPlante DA and Nelson SA
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       and other Issues, Washington, DC: American Psychological Association, 2012, pp. 157–
       168

 12.   Lembke, A., Stanford, M. Clinical Management of Alcohol Use Disorders in the
       Neurology Clinic, Handbook of Clinical Neurology, Vol 125, 3rd Series, Alcohol and the
       Nervous System 1E, Edited by Sullivan, EV Pfefferbaum, A, Elsevier, 2014

 13.   Hall R, Lembke A. Substance Use Disorders in Adolescence. In: Steiner H (Ed) with
       Hall R. Treating Adolescents (2nd Edition). Westford, Massachusetts: Wiley, 2015, pp
       141-164

 14.   Lembke, A., Alcoholism and drug abuse, sociology of. In S. Martin (Ed.), The SAGE
       encyclopedia of alcohol: Social, cultural, and historical perspectives. (Vol. 1, pp. 98-
       104). Thousand Oaks, CA: SAGE Publications, Inc. 2015 doi:
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 15.   Lembke, A., Moderation management. In S. Martin (Ed.), The SAGE encyclopedia of
       alcohol: Social, cultural, and historical perspectives. (Vol. 13, pp. 872-874). Thousand
       Oaks, CA: SAGE Publications, Inc. 2015 doi:
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 16.   Lembke, A., Humphreys, K. Self-Help Organizations for Substance Use Disorders, in
       Oxford Handbook on Substance Use Disorders, Edited by Sher, KJ, Oxford University
       Press, 2016
 17.   Ogbonna C, Lembke A. Alcohol and substance use and co-occurring behaviors. In
       Roberts LW (editor). University Student Mental Health: A Guide for Psychiatrist,
       Psychologists, and Leaders Serving in Higher Education. Arlington, VA: American
       Psychiatric Publishing, Inc., 2018.

 18.   Lembke, A., Raheemullah, A. Addiction and Exercise. In Noordsy DL, (editor).
       Lifestyle Psychiatry: Using Exercise, Diet and Mindfulness to Manage Psychiatric
       Disorders. Washington DC: American Psychiatric Publishing. (2019)\


 Other Publications
 1.    Lembke, A. A Psychosocial Approach to Postpartum Depression Psychiatric Times 2002;
       XIX(6):11


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 2.    Lembke, A. A downside of electronic health records: How 90 percent of Merced County,
       California patients became Albanian, Scope, the Stanford University School of Medicine
       blog, October 11, 2012.

 3.    Lembke, A. To reduce use, educate teens on the risks of marijuana and prescription
       drugs, Scope, the Stanford University School of Medicine blog, October 18, 2012.

 4.    Lembke, A. Why doctors prescribe opioids to patients they know are abusing them,
       Scope, the Stanford University School of Medicine blog, October 25, 2012.

 5.    Lembke, A. How to make alcoholics in recovery feel welcome this holiday season,
       Scope, the Stanford University School of Medicine blog, December 10, 2012.

 6.    Lembke, A. The DSM-V Gets it Right. The Fix, April 11, 2013.

 7.    Lembke, A. Inside the Mind of an Addiction Medicine Physician, The Fix, December 4,
       2014.

 8.    Lembke, A. Unmet Expectations: Testifying before Congress on the Opioid Abuse
       Epidemic, Scope, the Stanford University School of Medicine blog, April 29, 2015

 9.    Lembke, A. Ask an Expert. Should I go off Suboxone? If so, how? The Fix, April 29,
       2015

 10.   Lembke, A. Ask an Expert: Should I Go Through Detox if I'm Not Sure I Want to Be
       Abstinent? The Fix, May 10, 2016

 11.   Lembke, A. Prince, opioids and the rest of us: America needs a massive public education
       campaign to help people hooked on Percocet and related drugs, New York Daily News
       Op-Ed, May 11, 2016

 12.   Lembke, A. Be sure the check the PDMP before prescribing controlled medications,
       Psychiatric News, June 17, 2016
       http://psychnews.psychiatryonline.org/doi/full/10.1176/appi.pn.2016.pp6b2

 13.   Lembke, A. The Compassionate Doctor, the Narcissistic Injury, and the Prescription
       Opioid Epidemic. The Fix, Nov 30, 2016 https://www.thefix.com/compassionate-doctor-
       narcissistic-injury-and-prescription-opioid-epidemic

 14.   Lembke, A. Commentary provided in response to Joseph Bernstein’s “Not the Last
       Word: Viscosupplementation, Opioid Overuse, and the Excesses of Empathy”, Clin
       Orthop Relat Res (2017) 475:2369–2372

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 15.    Lembke, A. Purdue Pharma is Done Promoting Opioids: Here’s Why It’s a Big Deal,
        Fortune Magazine, Feb 2018 http://fortune.com/2018/02/13/purdue-pharma-oxycontin-
        opioid-crisis/

 16.    Lembke A. Can medical marijuana replace opioids to relieve cancer pain? HemOnc
        Today. 2018;19(24):13.

 Selected Invited Lectures/Testimony (last 5 years)

 Regional Audience

 1. Feb 2015 Drug Addiction and the Internet: Justin’s Story, Psychiatry Grand Rounds, Alta
    Bates Summit Medical Center, Berkeley, CA

 2. Feb 2015 Pain, Addiction, and the Drug-Seeking Patient: Compassionate Care for a
    Complex Problem, Santa Clara Valley Medical Center CME Symposium on Addiction, Santa
    Clara, CA

 3. Mar 2015 The Prescription Drug Epidemic: Technology as Both Friend and Foe, Northern
    California Psychiatric Society Annual CME Conference, Monterey, CA

 4. Sept 2015 The Prescription Drug Epidemic: Preserving Compassion for the Drug-Seeking
    Patient, Mills Peninsula Health Services CME Lecture Series, San Mateo, CA

 5. Oct 2015 Addiction Medicine: Managing Prescription Drug Misuse and Addiction,
    Emerging and Innovative Trends in Psychiatry and Behavioral Health, Stanford University
    School of Medicine, Stanford, CA

 6. Oct 2015 The Prescription Drug Epidemic: How Doctors are Complicit, and How We Can
    Do Better, Regional Medical Center of San Jose CME Lecture Series, San Jose, CA

 7. Dec 2015 Exploring Dual Diagnosis: What came first, the substance use disorder or the
    psychiatric disorder, and does it even matter? Mills Peninsula Health Services CME Lecture
    Series, San Mateo, CA

 8. Jan 2016 The Prescription Drug Epidemic and the Doctor Patient Relationship, San
    Francisco General Hospital Primary Care Grand Rounds, San Francisco, CA

 9. Mar 2016 Protecting our Developing Youth: Adolescent Addiction, Prevention and
    Recovery, Keynote Speaker, Adolescent Counseling Services, East Palo Alto, CA

 10. Mar 2016 Opioid Therapy for Chronic Non-Cancer Pain, 2016 Third Annual Addiction
     Medicine Conference, San Jose Valley Medical Center, San Jose, CA
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 11. Mar 2016 The Prescription Drug Epidemic, Keynote Speaker, Stanford Annual Adjunct
     Faculty Retreat, Palo Alto, CA

 12. Sept 2016 Pharmacotherapy for Substance Use Disorders, Department of Psychiatry Annual
     CME Conference, Stanford University School of Medicine, Stanford, CA

 13. Nov 2016 Prescription Drug Misuse and the Doctor Patient Relationship, Psychiatry, San
     Mateo County Health Systems Grand Rounds, San Mateo, CA

 14. Mar 2017 The Worst Opioid Epidemic in U.S. History: How did we get here, and how can
     we get out? Santa Cruz Health Care Initiative, Santa Cruz, CA

 15. Mar 2017 The Canary in the Coal Mine: The Prescription Drug Epidemic as a Symptom of a
     Faltering Health Care System Valley Care Medical, Pleasanton, CA

 16. Mar 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why
     It’s So Hard to Stop, Northern California Psychiatric Society, Napa Valley, CA

 17. Apr 2017 Pharmacotherapy for Addictive Disorders, Alta Bates Grand Rounds, Alta Bates
     Hospital Berkeley, CA

 18. May 2017 The Worst Opioid Epidemic in U.S. History: How did we get here, and how can
     we get out? Stanford Health Matters, Stanford, CA

 19. May 2017 The Compassionate Doctor, the Suffering Patient, and the Prescription Drug
     Epidemic, Central California Alliance for Health (the Alliance), Merced, California

 20. May 2017 The Compassionate Doctor, the Suffering Patient, and the Prescription Drug
     Epidemic, Janus of Santa Cruz, Seaside, California

 21. June 2017 Overprescribing in the Elderly: Causes, Risks, and Interventions, Keynote
     Speaker at the 17th Annual California Senior Injury Prevention Educational Forum, Oakland,
     CA

 22. Feb 2018 Is Marijuana a Harm Reduction Strategy?, Stanford Psychiatry Grand Rounds,
     Stanford University School of Medicine, Stanford, CA

 23. Mar 2018 Raising T(w)eens in a Dopamine Saturated World, Woodside Priory High School,
     Woodside, CA

 24. Mar 2018 Raising T(w)eens in a Dopamine Saturated World, Sacred Heart High School,
     Menlo Park, CA
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 25. Apr 2018 The Opioid Epidemic: What Doctors and Hospitals Can Do, California Pacific
     Medical Center Internal Medicine Grand Rounds, San Francisco, CA

 26. Apr 2018 Adolescent Substance Abuse: Risk, Resilience, Prevention, and Treatment, 2018
     Adolescent Mental Wellness Conference, sponsored by Stanford University, Santa Clara, CA

 27. Jul 2018 Understanding the Opioid Crisis at the End of Life, San Francisco Bay Area
     Hospice and Palliative Nurses Association, Stanford, CA

 28. Aug 2018 The Opioid Epidemic: How We Got Here, and How to Get Out, Apple
     Corporation, Cupertino, CA

 29. Oct 2018 The Pleasure Pain Balance, Los Altos High School “STEAM Week”, Los Altos,
     CA

 30. Jan 2019 From Freud to Fentanyl: The Opioid Epidemic as a Symptom of a Faltering
     Health Care System, Internal Medicine Grand Rounds, Santa Clara Valley Medical Center,
     Santa Clara, CA

 31. Feb 2019 Our Other Prescription Drug Problem (Benzodiazepines and How to Taper),
     Internal Medicine Grand Rounds, San Mateo Medical Center, San Mateo, CA

 32. Jul 2019 Social Media and Device Addiction, 27th Annual Pediatric Update, Stanford
     University School of Medicine, Stanford, DA

 33. Aug 2019 Medical Cannabis: Clinical Issues, 8th Annual Navigating Spine Conference,
     Stanford University School of Medicine, Stanford, CA

 34. June 2020, From Freud to Fentanyl: The Opioid Epidemic as a Symptom of our Faltering
     Health Care System, Alta Bates Grand Rounds, Berkeley, CA

 35. Aug 2020 Medical Cannabis: Clinical Issues, 8th Annual Navigating Spine Conference,
     Stanford University School of Medicine, Stanford, CA

 National/International Audience

 1. Sept 2015 The Prescription Drug Epidemic: Compassionate Care for a Complex Problem,
    Psychiatry Grand Rounds Speaker, Oregon Health Sciences University, Portland, CA

 2. Oct 2015 Chronic Pain and Addiction: The Compassionate Doctor, The Narcissistic Injury,
    and the Primitive Defense, California Society of Addiction Medicine, State of the Art Annual
    Conference, San Francisco, CA
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 3. Oct 2015 Prescription Drug Misuse and the Doctor Patient Relationship, Keynote Speaker,
    American Correctional Healthcare Services Association, Tailoring Health Care for Inmates,
    Sacramento, CA

 4. Mar 2016 Chronic Opioids: Shifting the Paradigm, Keynote Speaker, Samaritan Center &
    Health Career and Training Center, Lebanon, OR

 5. Jun 2016 The Compassionate Doctor, the Drug Seeking Patient, the Narcissistic Injury, and
    the Primitive Defense, Keynote Speaker, Cedar Sinai Annual Psychiatric Conference, Los
    Angeles, CA

 6. Sept 2016 Myths and Facts about Opioids, DCRx: The DC Center for Rational Prescribing;
    http://doh.dc.gov/dcrx, Washington, DC

 7. Sept 2016 Getting Patients Off of Opioids, DCRx: The DC Center for Rational Prescribing;
    http://doh.dc.gov/dcrx, Washington, DC

 8. Oct 2016 State of the Art Treatment for Substance Use Disorders and other Addictions,
    Keynote Speaker, 3-part lecture series, Beijing University, #6 Hospital, Beijing, China

 9. Jan 2017 Effective Strategies for the Non-Adherent Buprenorphine Patient: Rational
    Monitoring and Contingency, California Society of Addiction Medicine, Treating Addiction
    in the Primary Care Safety Net, Webinar

 10. Feb 2017 How to safely taper patients off high dose prescription opioids for chronic pain,
     Keynote Speaker, California Center for Care Innovations, Treating Addiction in the Primary
     Care Safety Net, Los Angeles, CA

 11. Feb 2017 The Worst Opioid Epidemic in U.S. History: How did we get here, and how can
     we get out? Stanford Parents Weekend Back to School, Stanford, CA

 12. Feb 2017 When Pain Treatment Becomes Addiction Treatment, American Psychological
     Association Annual Meeting, San Francisco, CA

 13. Feb 2017 Parallel Crises: The Over and Under Prescription of Opioids, American
     Association of Medical Colleges (AAMC) Webinar

 14. Mar 2017 How Doctors Contributed to the Opioid Epidemic, and What We Can Do to Fix It,
     Intermountain Health Care Book Club Speaker for Drug Dealer, MD, Intermountain Health
     Care, Salt Lake City, UT


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 15. Mar 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Culture and Politics of Mental Health, Anthropology 1737-1020, Professor
     Tomas Matza, University of Pittsburg, Pittsburg, PA

 16. Apr 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Stanford TEDx, Stanford, CA

 17. Apr 2017 Invited speaker, 6th Annual Health Technology Forum Innovation Conference:
     Common Good! Stanford University School of Medicine, Stanford, CA

 18. Apr 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Keynote Speaker, 8th Annual Lloyda C. Elam Symposium, Meharry
     Medical College, Nashville, TN

 19. Apr 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Keynote Speaker, Association of Contextual Behavioral Sciences (ACBS),
     Chicago, IL

 20. May 2017 Invisible Forces Driving the Opioid Epidemic: From Disability Reform to Illness
     Narratives, Keynote Speaker, OPG 6th Annual Pain Conference Agenda, Ashland, OR

 21. May 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Internal Medicine Residency Program Invited Visiting Professor and Grand
     Rounds Speaker, Johns Hopkins Bayview Medical Center, Baltimore, MD

 22. June 2017 Invisible Forces Driving the Opioid Epidemic: From Disability Reform to Illness
     Narratives, Keynote Speaker, PharmedOut Annual Conference, Georgetown University
     Medical Center, Washington, DC

 23. Sept 2017 The Opioid Epidemic, Keynote Speaker, Department of Labor West Coast
     Symposium, San Francisco, CA

 24. Sept 2017 Treating Addiction without Feeding It, Keynote Speaker, American Correctional
     Health Services Association (ACHSA) "Modern Challenges in Jails and Prisons", San Jose,
     CA

 25. Sept 2017 Invisible Forces Driving the Prescription Drug Epidemic: From Disability
     Reform to Illness Narratives, Keynote Speaker, The International Benzodiazepine
     Symposium, Redmond, OR

 26. Sept 2017 Reframing Medical Practice Involving Controlled Substances, Keynote Speaker,
     The Association of State and Territorial Health Officials (ASTHO) 2017 Annual Conference,
     Washington, DC
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 27. Oct 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Keynote Speaker, The Patient Safety Institute for Mission Health 3rd
     Annual National Patient Safety Conference – Cultivating a Culture of Safety, Asheville, NC

 28. Nov 2017 The Opioid Epidemic, How We Got Here, and How We Can Get Out, Keynote
     Speaker, American Association of Medical Colleges, Learn, Serve, Lead, Boston, MA

 29. Nov 2017 The Opioid Fallout: Lives, Jobs and a Lost Generation, Bloomberg News Live,
     The Year Ahead, Bloomberg Headquarters, New York City, NY

 30. Nov 2017 Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s
     So Hard to Stop, Grand Rounds Speaker, Westchester Medical Center, Westchester, NY

 31. Dec 2017 The Opioid Epidemic: How We Got Here, and How We Can Get Out, Keynote
     Speaker, Primary Care and Behavioral Health Integration Summit, Health Quality Partners,
     San Diego, CA

 32. Jan 2018 How to Survive in a Dopamine Saturated World, Psychiatry Grand Rounds,
     Vanderbilt University School of Medicine, Nashville, TN

 33. April 2018 Drug Dealer, MD, Keynote Speaker, STAR Trauma Recovery Center, Ohio State
     University Medical School, Columbus, OH

 34. May 2018 The Opioid Epidemic: What Doctors and Hospitals Can Do, Alpha Omega Alpha
     Visiting Professorship, Psychiatry Grand Rounds, University of Kansas School of Medicine,
     Kansas City, KS

 35. May 2018 Opioids, Pain and Addiction Treatment: Pioneering Change, Oregon Pain
     Guidance Annual Conference, Eugene, OR

 36. June 2018 The Opioid Epidemic, How We Got Here and How to Get Out, Indiana
     Prosecuting Attorneys Council (IPAC), invited speaker, French Lick, IN

 37. June 2018 What is Addiction and How to Treat It, Perrin’s Opioid Litigation Conference,
     Dallas, TX

 38. Aug 2018 Moderator, Beyond Nature and Nurture – Social Determinants of Addiction and
     Health, California Society of Addiction Medicine State of the Art Annual Conference, San
     Francisco, CA

 39. Aug 2018 Drug Dealer, MD: The Opioid Crisis, Apple Corporation Wellness Outreach,
     Cupertino, CA
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 40. Sept. 2018 The Opioid Epidemic: How We Got Here, and How to Get Out, Public Funds
     Forum, Laguna Beach, CA

 41. Sept 2018 Drug Dealer, MD: The Opioid Crisis, Baton Rouge Health District Community
     Service Talk and Medical Center Grand Rounds, Baton Rouge, LA

 42. Sept 2018 Drug Dealer, MD: The Opioid Crisis, Montrose Annual CME Conference,
     Montrose, CO

 43. Oct 2018 The Opioid Epidemic: From Freud to Fentanyl, Keynote Speaker, PerformRX
     Pharmacy Benefits Manager Annual Conference, Orlando, FL

 44. Oct 2018 The Opioid Epidemic: How We Got Here, Where We Are Now, and How to Get
     Out, Keynote Speaker, Distinguished Lecture Series, Annual Meeting of the American
     Academy of Psychiatry and the Law (AAPL), Austin, TX

 45. Oct 2018 Drug Dealer MD: The Opioid Epidemic, Keynote Speaker, Psych Congress,
     Orlando, FL

 46. Dec 2018 How to Taper Patients Off of Chronic Opioid Therapy: 69th Annual Refresher
     Course for Family Physicians, Montreal, Canada

 47. Feb 2019 The Opioid Epidemic: How We Got Here, Where We Are Now, and How to Get
     Out, National Keynote Speaker, Ohio State University Inter-Professional Summit, Columbus,
     OH

 48. Feb 2019 The Opioid Epidemic: How We Got Here, Where We Are Now, and How to Get
     Out, Keynote Speaker, Pain and Addiction Summit, AT&T Conference Center/University of
     Texas, Austin, TX

 49. April 2019 The Opioid Epidemic: From Freud to Fentanyl, Keynote, Speaker, Geminus
     Community Partners Annual Conference, Merrillville, IN

 50. April 2019 Invited commentator on Deaths of Despair for honorees Princeton Economists
     Ann Case and Angus Deaton, The 2019 Tanner Lectures on Human Values, Sponsored by
     the Office of the President and the McCoy Family Center for Ethics in Society, Stanford, CA

 51. April 2019 The Opioid Epidemic: Where We Are Now, Keynote speaker for the National
     Council on Alcoholism and Drug Abuse (NCADA) Spring Awards Luncheon, St. Louis, MO

 52. May 2019 The Opioid Epidemic: Where We Are Now, Faculty presenter Stanford Sierra
     Camp Womens’ Alumni Wellness Retreat, Fallen Leaf Lake, CA
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 53. May 2019 The Opioid Epidemic: From Freud to Fentanyl, The American Psychiatric
     Association Annual Meeting, San Francisco, CA

 54. July 2019 Rethinking Opioid Tapers, Buprenorphine Induction, and Perioperative
     Buprenorphine, Opioid Response Network Texas Grand Rounds National Webinar Series

 55. July 2019 Tapering Guidance for Opioids, National Academy of Medicine webinar
     https://nam.edu/event/webinar-tapering-guidance-for-opioids-existing-best-practices-and-
     evidence-standards/ ; https://nam.edu/wp-content/uploads/2019/08/Tapering-webinar-two-
     pager-FINAL.pdf.

 56. November 2019 Tapering Opioids: Compassionate Care or Punitive Policy, AMERSA
     Conference, Boston, MA

 57. December 2019 From Freud to Fentanyl: The Opioid Epidemic as a Symptom of our
     Faltering Health Care System, Southwestern Gynecologic Assembly 54th Annual Meeting:
     Patient and Provider at Their Best: Caring for Patients and Yourself, Dallas, TX

 58. March 2020 Dismantling the Addiction Industrial Complex, 13th Annual Haas Healthcare
     Conference, “Foresight is 2020,” San Francisco, CA

 United States Government Testimony/White House Appearances/Consulting

 1. Apr 2015 Expert testimony for the Congress of the United States, House of Representatives,
    Committee on Energy and Commerce, Subcommittee on Oversight and Investigations
    hearing entitled “Combatting the Opioid Abuse Epidemic: Professional and Academic
    Perspectives,” Washington, D.C. https://democrats-energycommerce.house.gov/committee-
    activity/hearings/hearing-on-combatting-the-opioid-abuse-epidemic-professional-and

 2. Sept 2015 Expert testimony for the White House Symposium, “Medicine Responds to the
    Need for Addiction Expertise”, The Office of National Drug Control Policy, The White
    House, Washington, D.C. https://obamawhitehouse.archives.gov/the-press-
    office/2015/09/18/white-house-drug-policy-office-hosts-%E2%80%9Cmedicine-responds-
    addiction%E2%80%9D

 3. Sept 2016 Expert testimony for the United States Senate, Committee of Homeland Security
    and Government Affairs, Permanent Subcommittee on Investigations, on the overuse and
    overprescribing of prescription opioids, “Combatting the Opioid Epidemic: A Review of
    Anti-Abuse Efforts by Federal Authorities and Private Insurers”, Washington, D.C.

 4. Oct 2016 Expert testimony for the White House Symposium, “Academic Medical Centers
    as Centers of Excellence in Addiction Medicine”, The Office of National Drug Control
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    Policy, The White House, Washington, D.C. http://www.abms.org/news-events/white-house-
    symposium-briefing-session-on-addiction/

 5. May 2017 Provided consultation on curbing the opioid epidemic to Nevada’s Office of the
    Governor

 6. May 2017 Provided consultation on curbing the opioid epidemic to Kentucky’s Office of the
    Governor

 7. Sept 2017 Expert Spoken and Written Testimony for the Congress of the United States,
    House of Representatives, “Addiction Medicine: The Urgent Need for Trained Physicians”,
    hosted by The Addiction Medicine Foundation and co-sponsored by the Congressional
    Prescription Drug Abuse Caucus, the Congressional Addiction Treatment and Recovery
    Caucus, and the Congressional Bipartisan Heroin Task
    Forcehttps://www.youtube.com/watch?v=y6kBoQckmHw

 8. Jan 2018 Expert testimony in federal court, Judge Dan Polster presiding, in the multi-
    district litigation lawsuit against opioid manufacturers and distributors
    https://www.law360.com/articles/1008010/inside-the-opioid-mdl-s-big-closed-door-hearing

 9. March 20, 2019 Testimony by Stanford University Professor Anna Lembke to Joint Hearing
    of Senate and General Assembly Health and Human Services Committees on “Opioids,
    cannabis, and vaping: Using science to protect public health” State of Rhode Island

 Medical Expert Witness (last 5 years)

 1. People v. Ingram, Philip Morris (Sup. Ct. of CA, Docket 62-144622), (2018)
 2. Federal (MDL) and state (California, New York, Texas, West Virginia, Washington)
    litigation against opioid manufacturers, distributors, and other defendants (plaintiff side) (Jan
    2018 ongoing)

 Media Appearances (last 5 years)

 1. Apr 2015 Public Radio International-To the Point, hosted by Warren Olney, prescription
    opioid and heroin abuse in America, invited expert.

 2. Oct 2015 OnPoint, National Public Radio, the prescription opioid epidemic, invited expert

 3. Mar 2016 Al Jazeera live programming, the new CDC guidelines on opioid prescribing,
    invited expert

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 4. Mar 2016 KCBS Radio, San Francisco, the new CDC guidelines on opioid prescribing,
    invited expert

 5. Apr 2016 The Today Show on NBC, NY, New York, appearance with Mehmet Oz discussing
    “The Opioid Epidemic”

 6. May 2016 KCBS Radio, San Francisco, the FDA approves Probuphine, a buprenorphine
    implant, invited expert

 7. Oct 2016 Opioids: Last Week Tonight with John Oliver (HBO),
    https://www.youtube.com/watch?v=5pdPrQFjo2o

 8. Nov 2016 Sirius XM Radio, invited guest to discuss Drug Dealer, MD: How Doctors Were
    Duped, Patients Got Hooked, and Why It’s So Hard to Stop

 9. Nov 2016 Wisconsin Public Radio's "Central Time" Show, invited guest to discuss Drug
    Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
    http://www.wpr.org/connection-between-illicit-drugs-and-doctors

 10. Nov 2016 The Healthcare Policy Podcast with David Introcaso, invited podcast to discuss
     Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard
     to Stop http://www.stitcher.com/podcast/david-introcaso-2/the-healthcare-policy-
     podcast/e/what-explains-the-opioid-epidemic-dr-anna-lembke-discusses-48277528

 11. Nov 2016 Straight Talk MD with Frank Sweeny invited podcast to discuss Drug Dealer,
     MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
     http://straighttalkmd.com/podcast/drug-dealer-md-opioid-epidemic-anna-lembke-md/

 12. Nov 2016 Conversation on Healthcare Reach MD Radio, invited guest to discuss Drug
     Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
     http://www.chcradio.com/episode.php?id=360

 13. Nov 2016 KALW Local Public Radio, invited guest to discuss Drug Dealer, MD: How
     Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
     http://kalw.org/post/city-visions-how-doctors-fueled-opioid-epidemic#stream/0

 14. Nov 2016 Forum with Michael Krasny (KQED-FM) invited panelist to discuss “The Surgeon
     General’s Report: Facing Addiction in America,”
     https://ww2.kqed.org/forum/2016/11/28/addiction-is-illness-not-a-moral-failing-says-
     surgeon-general/

 15. Nov 2016 Stanford Scope 1:2:1 Podcast with Paul Costello invited podcast to discuss Drug
     Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
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    http://med.stanford.edu/news/all-news/one-to-one/2016/drug-dealer--md--how-physicians-
    are-fueling-the-opioid-epidemic.html

 16. Dec 2016 Straight Talk MD with Frank Sweeny invited podcast to discuss “The Surgeon
     General’s Report: Facing Addiction in America,”
     https://www.acast.com/straighttalkmd/facing-addiction-in-america-the-surgeon-generals-
     report

 17. Dec 2016, NPR Fresh Air with Terry Gross 'Drug Dealer, M.D.': Misunderstandings And
     Good Intentions Fueled Opioid Epidemic invited interview to discuss Drug Dealer, MD:
     How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
     http://www.npr.org/sections/health-shots/2016/12/15/505710073/drug-dealer-md-contends-
     that-well-meaning-docs-drove-the-opioid-epidemic

 18. Dec 2016 The Jimmy Moore Show invited podcast to discuss Drug Dealer, MD: How
     Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop

 19. Feb 2017 WILK Radio, The Sue Henry Show invited guest to discuss Drug Dealer, MD:
     How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop

 20. Feb 2017 Reach, MD with host John J. Russell, MD invited guest to discuss Drug Dealer,
     MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop
     https://www.reachmd.com/programs/book-club/drug-dealer-MD-how-doctors-duped-
     patients-hooked-why-so-hard-stop/8512/

 21. Mar 2017 MSNBC with Chris Hayes, live guest appearance to discuss the opioid epidemic in
     West Virginia https://www.youtube.com/watch?v=0Ar30-kDSUQ&sns=em

 22. Mar 2017 Stanford Law School Wellness Project Podcast, with Dr. Joseph Bankman and Dr.
     Sarah Weinstein, to discuss Drug Dealer, MD: How Doctors Were Duped, Patients Got
     Hooked, and Why It’s So Hard to Stop www.law.stanford.edu/wellnessproject

 23. Mar 2017 SiriusXM’s Tell Me Everything with John Fugelsang, invited guest to discuss
     Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard
     to Stop

 24. June 2017 The Texas Standard Radio Show, invited guest to discuss the FDA decision to ask
     Endo Pharmaceuticals to withdraw Opana ER from the market
     http://www.texasstandard.org/stories/fda-wants-painkiller-favored-by-opioid-abusers-off-the-
     market/

 25. June 2017 NBC Television Sunday Night with Megyn Kelly, invited expert to discuss
     marijuana legalization http://www.nbc.com/sunday-night-with-megyn-kelly/video/sunday-
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    night-with-megyn-kelly/3536915

 26. June 2017 KCBS Radio in San Francisco invited guest to discuss the ongoing opioid
     epidemic

 27. July 2017 KPCC's AirTalk with host Larry Mantle, live guest appearance to discuss the
     opioid crisis http://www.scpr.org/programs/airtalk/2017/07/20/58084/in-the-context-of-the-
     opioid-crisis-doctors-discus/

 28. July 2017 Jose Calderon Mindful Psychiatry Live Radio and Podcast, invited guest to
     discuss Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So
     Hard to Stop http://wholebodymentalhealth.libsyn.com/hard-pill-to-swallow-drug-dealer-md-
     with-dr-anna-lempke-md-7-5-17

 29. Aug 2017 KQED Forum with Michael Krasny Live Radio Broadcast, invited guest to
     discuss Rise in High-Risk Drinking a Public Health Crisis, New Study Finds

 30. Aug 2017 MSNBC with Chris Hayes, live guest appearance to discuss President Trumps
     inaction on the opioid epidemic http://www.msnbc.com/all-in/watch/donald-trump-has-done-
     nothing-on-the-opioid-crisis-1032009795986

 31. Sept 2017 KPCC's AirTalk with host Larry Mantle, live guest appearance to discuss CVS
     Pharmacy’s announcement it will limit opioid prescriptions to seven days for certain
     conditions for new patients seeking drugs for pain relief.
         http://www.scpr.org/programs/airtalk/2017/09/22/59288/how-much-would-cvs-s-7-day-
     limit-on-painkiller-pre/

 32. Oct 2017 BBC Newshour on BBC World Service radio on the opioid epidemic with host
     James Menendez http://www.bbc.co.uk/programmes/w172vghc8jkrr3g

 33. Oct 2017 NBCUniversal live in the studio with Dr. John Torres, One Nation Overdosed:
     Doctors Speak Out http://qlnk.io/ql/59f0f15be4b0945e5d8ff73f

 34. Oct 2017 KPIX 5 CBS San Francisco Trump declares the opioid epidemic a public health
     emergency http://sanfrancisco.cbslocal.com/video/3752604-critics-say-trumps-opioid-
     announcement-doesnt-go-far-enough/

 35. Oct 2017 KPIX 5 CBS San Francisco commentator on bay area parents using marijuana
     http://sanfrancisco.cbslocal.com/2017/11/04/marin-mom-marijuana-makes-her-better-parent/

 36. Jan 2018 KQED with Brian Watt on “smartphone addiction”
     https://soundcloud.com/kqed/investors-urge-apple-to-take-action-to-curb-digital-device-
     overuse-among-children
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 37. Feb 2018 Sirius/XM radio with Clare Marie Gauthier, Co-Host, Dave Nemo Weekends,
     RadioNemo of North America, on the opioid epidemic and Drug Dealer, MD: How Doctors
     Were Duped, Patients Got Hooked, and Why It’s So Hard to Stop

 38. Feb 2018 KQED News radio, report on Purdue Pharma’s decision to stop marketing opioids
     directly to doctors

 39. Feb 2018 NPR Smartphone Detox, How to Power Down in a Wired World
     https://www.npr.org/sections/health-shots/2018/02/12/584389201/smartphone-detox-how-to-
     power-down-in-a-wired-world

 40. Mar 2018 Sirius/XM Radio with Clare Marie Gauthier, Co-Host, Dave Nemo Weekends,
     RadioNemo of North America, on addiction treatment

 41. Mar 2018 Sirius/XM Radio “Doctor Radio”, on the silent benzodiazepine epidemic

 42. Mar 2018 Sirius XM Radio: POTUS Channel 124, "Steele & Ungar", on new Center for
     Medicare and Medicaid Services regulations to restrict opioid prescribing

 43. Mar 2018 KPCC's AirTalk with host Larry Mantle, live guest appearance to discuss new
     Center for Medicare and Medicaid Services regulations to restrict opioid prescribing

 44. Mar 2018 Science VS. with Rose Rimler, “Opioids: Kicking America’s Addiction”
     https://www.gimletmedia.com/science-vs/opioids-kicking-americas-addiction#episode-player

 45. April 2018 KQED Forum with Michael Krasny, Medical Community Divided On Medicare's
     Policy to Shorten High-Dose Opioid Prescriptions,
     https://www.kqed.org/forum/2010101864587/medical-community-divided-on-medicares-
     policy-to-shorten-high-dose-opioid-prescriptions

 46. May 2018 Radio Health Journal with Reed Pence: The Opioid Epidemic,
     http://mediatracks.com/shows/RHJ_18-17.mp3

 47. May 2018 Straight Talk MD: Health | Medicine | Healthcare Policy | Health Education |
     Anesthesiology, The Cannabis Conversations: Part II with Anna Lembke MD
     http://straighttalkmd.com/podcast/the-cannabis-conversations-part-ii-with-anna-lembke-md/

 48. June 2018 The Future of Everything with Russ Altman (Stanford Radio), 06/18/18. In a
     recent segment on Stanford Radio, Russ Altman discussed the rise of the opioid epidemic in
     the United States with Anna Lembke. https://soundcloud.com/user-458541487/facing-
     addiction-with-guest-anna-lembke

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 49. July 2018 NBC News with Dr. John Torres to discuss
     benzodiazepines https://www.nbcnews.com/nightly-news/video/is-anti-anxiety-medication-
     the-next-u-s-drug-crisis-1287215683720?cid=eml_onsite

 50. Oct 2018 NOVA/PBS documentary ADDICTION, Produced, Directed and Written by
     Sarah Holt, Co-producer Julie Crawford http://www.holtproductions.org;
     http://www.pbs.org/wgbh/nova/body/addiction.html

 51. Mar 11, 2019 Spectrum News In Focus, What’s Causing the Opioid Crisis, with Renee Eng,
     https://spectruminfocus.com/section/in-focus/in-focus/2019/03/11/in-focus--what-s-causing-
     the-opioid-crisis#

 52. April 29, 2019 KALW City Visions, California’s drug rehabilitation industry,
     https://www.kalw.org/post/city-visions-reforming-californias-drug-rehabilitation-
     industry#stream/0

 53. May 20, 2019 Groundless Ground podcast with Lisa Dale Miller, Chronic Pain, Dual-
     Diagnosis and Addiction Treatment, https://groundlessground.com/episodes/anna-lembke-
     chronic-pain-dual-diagnosis-and-addiction-treatment

 54. June 24, 2019 KCBS News Radio San Francisco 10 Q's w/Stan & Susan, to discuss rising
     rates of fentanyl overdose in San Francisco https://kcbsradio.radio.com/blogs/margie-
     shafer/fentanyl-becomes-san-francis

 55. July 18, 2019 Russian Television News (RT International) “The Opioid Epidemic in the
     United States: Where Are We Now?” https://www.youtube.com/watch?v=KP-Vn2d6LWk

 56. Aug 26, 2019 Russian Television News (RT International) on the Oklahoma vs Johnson &
     Johnson opioid litigation https://youtu.be/sNKrMYIrPtE

 57. Aug 29,2019 Monocle 24 Radio in London on the opioid crisis in follow up to the outcome
     of the Oklahoma vs Johnson & Johnson opioid litigation

 58. Sept 2019 American Journal of Psychiatry Residents’ Journal podcast series
     http://ajpresidentsjournal.apapublishing.libsynpro.com

 59. Sept 2019 The Voice of Medicine podcast, m.hulik@radiolutions.com

 60. Oct 2019 This is Life with Lisa Ling, Benzodiazepines,
     https://www.cnn.com/2019/10/04/health/benzodiazepines-this-is-life-with-lisa-
     ling/index.html ; https://itunes.apple.com/us/tv-season/this-is-life-with-lisa-ling-season-
     6/id1480545936

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 61. Oct 2019 Straight Talk with Frank Sweeny, Benzodiazepines,
     https://podcasts.apple.com/us/podcast/straight-talk-md-health-medicine-healthcare-
     policy/id1060256849#episodeGuid=78d97afe7ea14dac8261193a2aa3d69 ;
     https://open.spotify.com/episode/1jrtfq60dmraRnzTtsUNeb?si=jO2RZqjDTM-
     c1VJUVsWcuw

 62. Dec 2019 CBSN Bay Area, 12/09/19 Medical Monday: How to avoid overindulging in
     alcohol during the holiday season and setting healthy drinking limits
     https://sanfrancisco.cbslocal.com/live/cbsn-bay-area/video/3439448-20191209162159-
     medical-mondays-dr-anna-lembke-addiction-recovery-relapse-triggers/

 63. Feb 2020 Netflix's "The Pharmacist" explores how pill mill doctors fanned the flames of the
     country's opioid epidemic by flagrantly overprescribing three particular
     drugs. Anna Lembke, associate professor of psychiatry and behavioral sciences, is quoted in
     this piece. https://www.oxygen.com/true-crime-buzz/oxycontin-soma-xanax-the-holy-trinity-
     from-the-pharmacist-explained

 64. Feb 2020 What Makes Up Your Mind: Opioids And Addiction with Dr. Anna Lembke,
     Stanford University Department of Psychiatry Podcast,
     https://m.soundcloud.com/stanfordpsy/february2020/s-kBmxv

 65. Feb 2020 Sirius XM Doctor Radio, invited guest to discuss benzodiazepines,
     Scott.Uhing@SiriusXM.com

 66. Mar. 2020, "The Defining Moments of the Opioid Epidemic,
     https://www.mdmag.com/medical-news/defining-moments-opioid-epidemic

 67. Mar. 2020, Redefining Medicine with special guest Dr Anna Lembke,
     https://www.youtube.com/watch?v=6AYSavowleA

 68. April 2020 Doc to Doc with Dr. John Torres, Medical Correspondent NBC News and
     MSNBC, Facebook Live, Mental Health During Quarantine

 69. July 2020 The Therapy Show with Dr. Bridget Nash,
     https://www.therapyshow.com/podcasts/episode/2986f561/drug-dealer-md-author-dr-anna-
     lembke-discusses-the-latest-treatments




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                 Anna Lembke, M.D. Report


                          EXHIBIT B
                         List of Materials Considered
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                                   Materials Considered

 1.    Abigail Zuger, A Doctor’s Guide to What to Read on the Opioid Crisis, N.Y.Times (Dec.
       17, 2018)

 2.    Achenbach, Joel. New Guidelines on Opioid Tapering Tells Doctors to Go Slow.
       Washington Post (Oct. 10, 2019)

 3.    Adams EH, et al. A comparison of the abuse liability of tramadol, NSAIDs, and
       hydrocodone in patients with chronic pain. J Pain Symptom Manage 2006; 31:465–76.

 4.    Adams EH. A study of Avinza ® (morphine sulfate extended-release capsules) for
       chronic moderate-to-severe noncancer pain conducted under real-world treatment
       conditions–The ACCPT Study. Pain Practice 2006; 6(4):254-264.

 5.    Adewumi, Adeleke D. et al. Prescription Opioid Fatalities: Examining Why the Healer
       Could be the Culprit, Drug Saf, 2018

 6.    Afilalo, M., Efficacy and Safety of Tapentadol Extended Release Compared with
       Oxycodone Controlled Release for the Management of Moderate to Severe Chronic Pain
       Related to Osteoarthritis of the Knee A Randomized, Double-Blind, Placebo- and Active-
       Controlled Phase III Study, Clinical Drug Investigation 30:489 (2010)

 7.    Agency for Healthcare Research and Quality, Medication-Assisted Treatment Models of
       Care for Opioid Use Disorder in Primary Care Settings (2016)

 8.    Agrawal S, et al. The Sunshine Act—effects on physicians. N Engl J Med.
       2013;368(22):2054–2057.

 9.    Ahmad FB, et al. Provision Drug Overdose Death Counts. National Center for Health
       Statistics. NVSS. Vital Statistics Rapid Release

 10.   Ahmed SH, Imbalance between drug and non-drug reward availability: a major risk
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 11.   Aitken P, et al. A Single Dose, Four-Way, Open-Label Bioavailability Study of Oral
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       Conditions. J. Bioequiv Availab (2018)

 12.   Ajay Manhapra MD, Albert J. Arias MD & Jane C. Ballantyne MD (2018) The
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 13.   Ali MM, Cutler E, Mutter R, Henke RM, O'Brien PL, Pines JM, Mazer-Amirshahi M,
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       Commercial and Medicaid Claims, 2005-2015. J Med Toxicol. 2019

 14.   Allan L, et al. Randomized crossover trial of transdermal fentanyl and sustained release
       oral morphine for treating chronic non-cancer pain. BMJ 2001; 322.

 15.   Allan, L. Transdermal fentanyl versus sustained release oral morphine in strong- opioid
       naïve patients with chronic low back pain. Spine 2005; 30(22)2484-2490

 16.   American Academy of Family Physicians. Clinical Practice Guidelines Opioid
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 17.   American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders.
       Washington, DC. American Psychiatric Association; 2013.
       https://doi.org/10.1176/appi.books.9780890425596

 18.   American Society of Addiction Medicine Definition of Addiction. Public Policy
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       of-addiction. Accessed June 20, 2018.

 19.   Anderson TS et al. Financial payments to teaching hospitals by companies marketing
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 20.   Anderson VC, Ph D, et al. Prospective Study of Long-term Intrathecal Morphine in the
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 21.   Anora M. Gaudiano, How the opioid epidemic is exacerbating a US labor-market
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       opioid-epidemic-is-exacerbating-a-us-labor-market-shortage-2018-06-28

 22.   Anora M. Gaudiano, How the opioid epidemic is exacerbating a US labor-market
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       opioid-epidemic-is-exacerbating-a-us-labor-market-shortage-2018-06-28.

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 26.   Ashburn, M. et al. Increasing Evidence for the Limited Role of Opioids to Treat Chronic
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 27.   ASPPH 2019 Report and Recommendations from the ASPPH Task Force On Public
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 28.   ASPPH Task Force on Public Health Initivatives to Address the Opioid Crisis. Bringing
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 29.   Atluri S, et al. Assessment of the trends in medical use and misuse of opioid analgesics
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 30.   Ayoobi F, et al. Impact of Opium Dependency on Clinical and Neuropsychological
       Indices of Multiple Sclerosis Patients, Neurological Sciences (2019)

 31.   Azad, Lembke, A. et al, Patterns of Opioid and Benzodiazepine Use in Opioid-Naïve
       Patients with Newly Diagnosed Low Back and Lower Extremity Pain, , J Gen Intern Med,
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 All Expert Witness reports and supplements from MDL 2804 served on March 25, 2019 and May
 10, 2019 as well as materials identified within.

 All Expert Witness reports from the NY Opioid Litigation 400000/2017 served on December 19,
 2019 and February 3rd, 2020 as well as materials identified within.

 All Expert Witness reports from Cabell County Commission and City of Huntington, West
 Virginia, (The Cabell Huntington Community) v. AmerisourceBergen Drug Corporation,
 Cardinal Health, Inc., and McKesson Corporation served on August 3, 2020 as well as materials
 identified within.

 All items referenced in Dr. Lembke’s expert witness reports or listed on Materials Considered
 lists.

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 847.   ABDCMDL00002828

 848.   ABDCMDL00269293

 849.   ABDCMDL00323380-ABDCMDL00323439

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 855.   ACTAVIS0006823

 856.   ACTAVIS0220239

 857.   ALLERGAN_MDL_00007268- 312

 858.   ALLERGAN_MDL_00026506-52

 859.   ALLERGAN_MDL_01052119–465

 860.   ALLERGAN_MDL_01237743-62

 861.   ALLERGAN_MDL_01361692
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 862.   ALLERGAN_MDL_01741588- 639

 863.   ALLERGAN_MDL_03733544

 864.   CAH_MDL2804_00132701

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 870.   CHI_001222272-87

 871.   E01_00015979

 872.   END00099670-71

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 874.   ENDO-CHI_LIT-00053284-35

 875.   ENDO-CHI_LIT-00210473-76

 876.   ENDO-CHI_LIT-00237187

 877.   ENDO-CHI_LIT-00294169-ENDO-CHI_LIT-00294178

 878.   ENDO-CHI_LIT-00541205

 879.   ENDO-CHI_LIT-00541211

 880.   ENDO-OPIOID MDL-03850803

 881.   ENDO-OPIOID_MDL-01407115

 882.   ENDO-OPIOID_MDL-02002494

 883.   ENDO-OPIOID_MDL-02002495

 884.   ENDO-OPIOID_MDL-02212377-392
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 885.   ENDO-OPIOID_MDL-03739179

 886.   ENDO-Opioid_MDL-04929187

 887.   ENDO-OPIOID_MDL-05550271

 888.   ENDO-OR-CID-00418114-ENDO-OR-CID-00418117

 889.   ENDO-OR-CID-00772464-65

 890.   Excerpt of PKY183320282

 891.   PKY183320390-PKY183320395

 892.   JAN00222151

 893.   JAN00222296

 894.   JAN-MS-00000001

 895.   JAN-MS-00000002

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 899.   JAN-MS-00068759-828

 900.   JAN-MS-00106322

 901.   JAN-MS-00238338-45

 902.   JAN-MS-00287030

 903.   JAN-MS-00302787

 904.   JAN-MS-00303825

 905.   JAN-MS-00306713

 906.   JAN-MS-00310227

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 908.   JAN-MS-00313080

 909.   JAN-MS-00313196

 910.   JAN-MS-00362490

 911.   JAN-MS-00402671

 912.   JAN-MS-00476031

 913.   JAN-MS-00481055

 914.   JAN-MS-00653403

 915.   JAN-MS-00653426

 916.   JAN-MS-00704213

 917.   JAN-MS-00779345

 918.   JAN-MS-00785752

 919.   JAN-MS-00785795

 920.   JAN-MS-00829901

 921.   JAN-MS-00864412

 922.   JAN-MS-00890573

 923.   JAN-MS-00924772

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 925.   JAN-MS-01019418

 926.   JAN-MS-01071368

 927.   JAN-MS-01071368-JAN-MS-01071428

 928.   JAN-MS-01135846

 929.   JAN-MS-01238002

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 936.   JAN-TX-00005143

 937.   JAN-TX-00015731

 938.   JAN-TX-00022608

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 940.   JAN-TX-00059363

 941.   JAN-TX-00066294

 942.   JAN-TX-00068278

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 945.   JAN-TX-00319956

 946.   MCKMDL00334317

 947.   MCKMDL00334324

 948.   MCKMDL00334328

 949.   MCKMDL00353277

 950.   MCKMDL00353277-MCKMDL00353278

 951.   MCKMDL00353279-MCKMDL00353280

 952.   MCKMDL00353282-MCKMDL00353283

 953.   MCKMDL00353307
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 954.   MCKMDL00353368

 955.   MCKMDL00353368-MCKMDL00353369

 956.   MCKMDL00385864

 957.   MCKMDL00726854-MCKMDL00726884

 958.   MDL_RWJF_0000001

 959.   MDL_RWJF_0000003

 960.   MDL_RWJF_0000004

 961.   MDL_RWJF_0000005

 962.   MDL_RWJF_0000009

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 964.   MDL_RWJF_0000012

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 966.   MNK-T1_0000098099

 967.   MNK-T1_0000098925-26

 968.   MNK-T1_0000529044-126

 969.   MNK-T1_0000607120-21

 970.   MNK-T1_0000626241-69

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 973.   MNK-T1_0001347664-93

 974.   MNK-T1_0001531482

 975.   MNK-T1_0001531484

 976.   MNK-T1_0001786857
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 977.   MNK-T1_0001786865

 978.   MNK-T1_0002159712

 979.   MNK-T1_0002183036

 980.   MNK-T1_0002183040

 981.   MNK-T1_0002248914

 982.   MNK-T1_0002248919

 983.   MNK-T1_0002315694

 984.   MNK-T1_0005981734-MNK-T1_0005981750

 985.   MNK-T1_0006127321-83

 986.   MNK-T1_0006632298

 987.   MNK-T1_0007201839

 988.   MNK-T1_0007819281

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 990.   MNK-T1-0007808356

 991.   PDD1501814066

 992.   PDD1701396088-118

 993.   PDD1701481531

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 999.   PDD801303375
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 1000. PDD8023035114-60

 1001. PDD8023045826-945

 1002. PDD8801126680-81

 1003. PDD8801183361-64

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 1006. PDD9521403491 - PDD9521403495

 1007. PKY180170528-653

 1008. PKY180435433-707

 1009. PKY180625450-745

 1010. PKY180769094-535

 1011. PKY180775599-707

 1012. PKY180796628-PKY180796639

 1013. PKY180947673-701

 1014. PKY181246683-7419

 1015. PKY181654940-82

 1016. PKY181654950

 1017. PKY181655057-139

 1018. PKY181655140-233

 1019. PKY181655155

 1020. PKY181655160

 1021. PKY181884704-751

 1022. PKY181889263-9806
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 1023. PKY182921037-PKY182921073.

 1024. PKY183063227

 1025. PKY183220480-0558

 1026. PKY183320282

 1027. PLTF_2804_000003844

 1028. PPLP003337352

 1029. PPLP003370086

 1030. PPLP003478540

 1031. PPLP003478540-PPLP003478553

 1032. PPLP003517021-042

 1033. PPLP003877439

 1034. PPLP004058443

 1035. PPLP004345894

 1036. PPLPC002000140782

 1037. PPLPC002000140782-PPLPC002000140783

 1038. PPLPC004000146529-PPLPC004000146531

 1039. PPLPC009000022561

 1040. PPLPC012000475869 - PPLPC012000475883

 1041. PPLPC013000017513

 1042. PPLPC016000255303

 1043. PPLPC017000046138

 1044. PPLPC017000453148-49

 1045. PPLPC017000514276
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 1047. PPLPC018000201219

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 1049. PPLPC018000784990-91

 1050. PPLPC019000790159

 1051. PPLPC031000385886

 1052. PPLPC031000425439

 1053. PPLPC031001481881-PPLPC031001481890

 1054. PPLPC032000262924

 1055. PPLPC045000004928-33

 1056. PURCHI-003286781-881

 1057. SUMMIT_002103849

 1058. SUMMIT_002103858

 1059. TEVA_AAMD_00791885

 1060. TEVA_CAOC_00759630

 1061. TEVA_MDL_A_ 09667462

 1062. TEVA_MDL_A_00890304

 1063. TEVA_MDL_A_01327080

 1064. TEVA_MDL_A_02401119

 1065. TEVA_MDL_A_04313917

 1066. TEVA_MDL_A_09062111

 1067. WIS_PPSG_000026

 1068. WIS_PPSG_000036
                                      -76-
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 1069. WIS_PPSG_002042

 1070. WIS_PPSG_008292




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                 Anna Lembke, M.D. Report



                          EXHIBIT C
                       Statement of Compensation Rate
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                                     Anna Lembke, M.D.
                           Stanford University School of Medicine
                       Department of Psychiatry and Behavioral Sciences

  Expert Witness Fee Schedule: Case No. 1:17-op-45053-DAP and No. 1:17-op-45054 Opioid
                                        Litigation


    Work                         Details                        Fee
    Preliminary Work             Telephone conferences,         $500 per hour
                                 record review, report
                                 writing, and travel
    Court Work                   Court appearances and          $800 per hour
                                 depositions
    Expenses                     Travel and other reasonable    Reimbursement
                                 out-of-pocket expenses




                                          Ex. C - 1
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                 Anna Lembke, M.D. Report



                          EXHIBIT D
                               Prior Testimony
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                                  Anna Lembke, M.D.
                        Stanford University School of Medicine
                    Department of Psychiatry and Behavioral Sciences

                                    Prior Testimony

       1.    People v. Philip Morris Ingram, (Cal. Sup. Ct., Docket 62-144622)
       2.    National Prescription Opiate Litigation, MDL No. 2804
             (N.D. Ohio, Case 1:17-md-2804)
       3.    In Re Opioid Litigation, (Suffolk County, New York Supreme Court, Index No.
             400000/2017), relating to Case Nos. County of Suffolk, 400001/2017; County of
             Nassau, 400008/2017; and New York State, 400016/2018




                                         Ex. D - 1
